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                                             EXHIBIT A-2
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                                                                                                                 Parking                                                systems

                                                                                tion to the vehicle's surroundings when you start                            -The ignition is switch off and back on again.
      Parking system pLus
                                                                                to drive.                                                                    -The parking brake is set and then released.
                                                                                                                                                             -The selector lever n1ust be in the P position.

                                                                                                                                                             Segments in the visual display
      Parking system plus provides audio and visual
      signals when parking.
                                                                                                                                                             The segments in front of and behind the vehicle
                                                                                                                                                             c; fig. 153 help you to determine the distance be·
                                                                                                                                                             tween your vehicle and an obstacle. The red
                                                                                                                                                             lines• mark the expected direction of travel ac-
                                                                                                                                                             cording to the steering angle. A white segment
                                                                                                                                                             indicates an identified obstacle that is outside of
                                                                                                                                                             the vehicle's path. Red segments show Identified
                                                                                                                                                                                                                   Fig. 155 Area,covered Q) <tnd are11 not mvered ~)by the
                                                                                                                                                             obstacles that are in your vehicle's path. As your    rearview cRrnera (~:.cqmple)
                                                                                                                                                             vehicle comes closer to the obstacle, the seg-
                                                                                                                                                             ments move closer to the vehicle. The collision
                                                                                                                                                             area has been reached when the next to l11st seg-
       flg.l51 Hlu>ttatlon:                                                                                                                                  ment is displayed. Obstacles in the collision area,
                                                                                                                                                             including those outside of the vehicle's path, are
      Sensors are located in the front and rear bump-                                                                                                        shown in red, Do not 'continue driving forward or
      ers. If these detect an obstacle, audible and visu-                                                                                                    in revers(~ r~~ ill in Cerwral inforrnation on
      al signals warn you.                                                                                                                                   page 146, "''CD in General information on
      Make sure the sensors are not covered by stick-                                                                                                        page 146!
      ers, deposits or any other obstructions as it may
                                                                                                                                                                                                                   Fig, 156 lle~r Ud: tot~tlon of the rc.<HVIew camera {exam~
      impair the function. of the system. For informa-                                                                                                       Rearview camera                                       pie)
                                                                                 Fig, 153 1nfotamment ~ystem:   v!sut~!   dist:ance   dl~ptily
      tion on cleaning, see o:> page 347.
                                                                                Switching on                                                                                                                       The rearview camera is located above the rear li·
      The display fidd begins approximately at:
                                                    .........................                                                                                                                                      cense plate bracket. t<'\ake sure that the lens for
                                                                                • Shift into reverse, or                                                                                                           the parking system":> fig. 156 is not covered by
      :@                         4 ft(UO m)
                                                                                >Press the F'•IA button in the center console
                                                                                                                                                                                                                   deposits or any other obstructions because this
      I®                         3ft (0.90 m)
                                                                                  ,,·:·fig. 152, A short confirmation tone sounds                                                                                  can affect the function of the parking system. For
      I©                         5.2 ft (1.60 rnl                                 and the LED in the button turns on.
                                                                                                                                                                                                                   information on cleaning, seo "~ pag!! 347,
      I@                         3ft (0.90 m)
                                                                                Switching off                                                                                                                      The rearview camera coverage area includes 0)
      The closer you get to the obstacle, the shorter                                                                                                                                                              cC> fig. 155. Only this area Is shown in the Info·
                                                                                • Drive faster than 6 mph (10 km/h), or
      the interval between the audible signals. A con-                                                                                                                                                             tainrnent display. Objects that arc outside of this
                                                                                • Press the P·'A button, or
      tiriLious tone sounds when the obstacle is less                                                                                                                                                              area 0 are not displayed,
                                                                                >- Switch the ignition off.
      than approximately 1 foot (0.30 meters) away.
      Do not continue driving forward or in reverse                             Activating automatically                                                                                                                   WARNING
      c;, &.. in General information on page 146, c;,(i) in
                                                                                The parking aid is activated automatically 11t                                The rearvlew camera helps you to park or maneu-       -Always read and follow the applicable warn-
      General informot/on on page 146!
                                                                                speeds less than 6 mph (10 km/h} and when ap·                                 ver using the orientation llne5.                        ings c:' !J\ in General Information on
      If the distance to an obstacle remains constant,                          proaching an obstacle from approximately                                                                                              page 146.
      the volume of the distance warning gradually                              3.1 feet (95 em) away. There are audible signals                                                                                    -If the position and the installation angle of
      lowers after a few seconds until it is muted (this                        when approximately 1.6 feet (50 em) away from                                                                                         the rearview camera was changed, for ex·.
      is not apply In the continuous tone range). If the                        the obstacle. If you press the F''~ button to switch                                                                                  ainple after a collision, do not continue to
      obstacle becomes closer than it was before the                            the parking aid off, it can only be reactivated au-                                                                                   use the system for safe!:'; reasons. Have it
"'    sound was muted, the tone will sound again. If                            tomatically when one of the following conditions                                                                                      checked by an. authorized Audi dealer or au-
~     the obstacle is father away than it was before the                         Is met:                                                                                                                              thorized Audi Service Facility.                           !>'
"'~   sound was muted, no tone wilt sound. Pay atten-
                                                                                -The vehicle speed exceeds 6 mph (10 km/h).                            I"'
"'>
"'
                                                                                                                                                 147          148
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                                                                                                systems


 -Only use the rearview camera to assist you If           tone sounds and the LED in the button turns            extension of the vehicle's outline by approxi-      Error messages
      it shows a good, dear picture. For example,         on.                                                    mately 16ft (5 meters) to the rear.
      the Image may be affected by the sun shin·                                                               • While driving in reverse gear, adjust the steer·
                                                         Switching off                                           ing wheel angle to fit the parking space using
      lng into the lens, dirt on the lens, or if there
                                                                                                                 the orange orientation lines for assistance
                                                                                                                                                                     III Rear park assist: malfunction I Obstacles
      is a malfunction.                                  • Drive faster than 6 mph (10 km/h), or                                                                     cannot be detected
 .... Use the rearview camera only if the luggage        ~ Press the P·'~ button, or                             o &. in General information on page 148, o(i)
      compartment lid is completely dosed. Ifthe         ~Switch the ignition off.                               in General information on page 149. (~) repre·      III Front park assist: malfunction! Obstacles
                                                                                                                 sents the rear bur11per. Stop the vehicle, at the   cannot be detected
      luggage compartment lid is open the orien-
      tation lines and blue surfaces are hidden.                                                                 latest, when the red orientation line@ borders      [II Park assist: malfunction! Obstacles cannot
      Make sure any objects you may have lllOUnt-                                                                an object.                                          be detected
                                                          -The visual display in the right part of the
      ed on the luggage compartment lid do not              display should help you detect the critical                                                              When one of these messages appears, there is a
      block the rearview camera.                            vehicle area.                                      Adjusting the parking aid
                                                                                                                                                                     system malfunction. The LED in the P>~A button at-
 - The camera lens enlarges and distorts the              -You can change the volume of th~ signals                                                                  so blinks when switching it on. The relevant mes·
      field of vision. The object appears both al·          and the display 9 page 150.                                                                              sage only appears again when you manually acti·
      tered and Inaccurate on the screen.                                                                      The (({nctions ore cnljustwl in the Tnfotninment·
                                                                                                                                                                     vate the parking aid with the button.
 - ln certain situations, people or objects In                                                                 system.
      the display appear closer or farther away:                                                                                                                     [II Rear parking aid: obstacle detection restrict·
                                                                                                               • Select in the Jnfot<linrnent system: !MENU! but·    ed
      -For objects that do not touch the ground,                                                                 ton> Vehicle> left control button> Driver as·
                                                         This view may be used when parking in a gorage
         such as the bunlPer of a parked vehicle, a                                                              sistante > Parking aid. Or                          The rear cross-traffic assist' "''page 142, Rear
                                                         or in a parking space.
        trailer hitch or the rear of a truck. Do not                                                           • When the parking aid is active, select in the In-   cross-traffic assist' is not available. Eilher lhe ESC
         use the orienta lion lines in this case.                                                                fotainment system: right control button'.           is switched off, or the radar sensors may be cov-
      -If driven from a level surface onto an in·                                                                                                                    ered by a bike rack, stickers, leavt•s, snow or oth·
         cline, or a downward slope.                                                                           .End system' ·stop the parking aid                    er objects. Switch the ESC on, or clean the area in
      - rr driven toward protruding objects.                                                                   Activate automatically· switch <1utornatic activa-    front of the sensors if necessary"" page 140,
      - If the vehide ·is carrying too much load in                                                            tion on/off                                           fig. 147. If this message continues to be dis-
         the rear.                                                                                                                                                   played, drive imrrwdial:ely to an illlthorized Au eli
                                                                                                               Front volume• ·volume for the front area              dealer or authorized Audi Service Facility to have
(D        Note                                                                                                 Rear volume· volume for the rear area                 the malfunction repaired.
 -Always read and follow the applicable warn·                                                                  Entertainment fader- the volume of the audio/         Parking system plus•
   lngs co:> CD In General information on                                                                      video source is lowered when the parking system
   page 146.                                                                                                                                                         lf a sensor or speaker is faulty, the Ji-1 symbol
                                                                                                               is turned on.                                         will appear in front of/behind the vehicle in the
 -The orange-colored orientation lines in the
   Infotainment display show the vehicle path                                                                  The newly selected level is demonstrated briefly      Infotainment system display. If a rear sensor is
   based on the steering wheel angle. The                                                                      by the sound generator.                               faulty, only obstacles that are in areas@ and@
                                                                                                                                                                     are shown,. .~ page 147, fig. 151. If a front sensor
   front. of the vehicle swings out more than
   the rear of the vehicle. Maintain plenty of                                                                 (D    Tips                                            is faulty, only obstacles that are In areas© and
   distance so that an exterior mirror or a cor·                                                                .... Several menus can be accessed with.the          ©are shown.
   ner of the vehkle does not collide with any                                                                       right control button only when the parking
   obstacles.                                            • Turn the Jnfotainn1et1t system on and shift into          aid is active.
                                                            reverse gear.                                         .. The settings for volume and automatic acti-
                                                         ,. The orange orientation lines@ show the direc·            vation are automatically stored and as·
.AppUes                                                     tion oftravel of the vehicle, Turn the steering          signed to the remote control key being
                                                            wheel until the orange orientation lines appear          used.
Switching on
                                                            in the parking space"'-' fig. 157. Use the mark-
• Shift into reverse, or                                    ings@ to help you estimate tho distance from
• Press the p.,, button in the center console               an obstacle. Each marking represents approxi-
  0page 147, fig. 152. A short confirmation                 mately 3ft (1m). The blue area represents an I!>


                                                                                                      149      150
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InteLLigent Technology                                  In extreme cases, EDL aLJtomaticatly switches off              -Press the accelerator pedal carefully when                                                               condition, Different tire sizes can lead to a
                                                        to keep the brake on the braked wheel from over-                 accelerating on even, slippery surl'aces such                                                           reduction in engine power.
Electronic Stabilization                                heating. The vehicle is still working correctly. EDL             as ice and snow, The drive wheels can ·spin                                                           -You may hear noises when the systems de"
Control (ESC)                                           will switch on again automaticolly when rondi-                   even when these .control systems are instal-                                                            scribed are working.
                                                        tions have returned to normaL                                    led and this can affect driving stability and
                                                                                                                         increase the risk of a rollision.
                                                        Steering recommendation
Electron it Stabilization Control (ESC) supports
driver safety. It reduces the risk of slipping and      The ESC helps to stabilize the vehicle by changing           (D         Tips
improves driving stability. ESC detects critical sit"   the steering torque.
                                                                                                                       -The ABS and ASR only function correctly
uations such as the vehicle oversteering and un-        Selective wheel torque control                                  when all four wheels have a similar wear
dersteering or the wheels are spinning. The vehi"
cle is stabilized by applying the brakes or reduc-      Selective wheel torque control is used when driv-
ing engine torque. When the ESC engages, the            ing on curves. The front wheel on the inside of
m    indicator light blinks in the instrument dus-      the curve or both wheels on the inside of the
                                                        curve are braked selectively as needed. This al-
                                                                                                                     ESC turns on automatically when you start· the engine.
ter.
                                                        lows more precise driving in curves.                                                                                                                                function of the ESC is limited or switched off. The
!'he following systems are integrated in the ESC:                                                                                                                                                                           amount of stabilization control will differ de"
                                                        Automatic post-collision braking system                                                                                                                             pending on the leveL
Anti-lock braking system (ABS)
                                                        The "automiltiC post-collision braking system"                                                                                                                      The following examples are unusual situations
ASS prevents the wheels from locking when brak·         can help to reduce the risk of sliding and of addi·                                                                                                                 where it may make sense to switch sport mode
in g. The vehicle can still be steered even during      tional collisions after an accident. If the airbag                                                                                                                  on In order to allow the wheels to spin:
hard braking. Apply steady pressure to the broke        control module detects a collision above a certain
pedaL Do not pump the pedaL A pulsing in the            vehicle speed, the vehicle is braked by the ESC.                                                                                                                    -Rocking the vehicle to free it when it is stLJck
brake pedal indicates that the system is acting to                                                                                                                                                                          -Driving in deep snow or on loose ground
stabilize the vehicle.                                  The vehicle does not brake automatically if:
                                                                                                                      Fig. 159 Uppei'centcrwnsoll:!: ESC bolton                                                             -Driving with snow chains
                                                        -the driver presses the accelerator pedal, or
Brake assist system
                                                        -the ESC, the brake system or the vehide electri-            The ESC is designed to function in levels. Depend·
The brake assist system can decrease braking dis-         cal system are not functioning.                            ing on the level that is selected, the stabilization
tance. It increases braking power when the driver
presses the brake pedal quickly in emergency sit·       &_WARNING                                                                                Sport mode on                                                                           Sport mode off or
uations. You must press and hold the brake pedal                                                                                                                                                                                         ESC/ASRon
                                                         -The ESC and its Integ rated systems cannot
until the dangerous situation is over. ln vehicles                                                                    Behavior                    The ESC and ASR stabiliza-                               The stabilization function is The full stabilization func·
                                                           overcome the limits imposed by natural
with adaptive cruise control', the brake assist                                                                                                   tion functions are limited                               not available '~ &. ESC and tion of the ESC and ASR is
                                                           physical laws. This is especially important
system is more sensitive if the distance detected          on slippery or wet roads. If the systems be·
                                                                                                                                                  "¢!:\.                                                   ASR are switched off.         available again.
to the vehicle driving ahead is too smalL                  gin acting to stabilize your vehicle, you                  Operation                   Press                      button brief-                 Press and hold                                button again.
                                                           should immediately alter your speed to                                                 ly.
Anti-slip regulation (ASR)
                                                           match the road and traffic conditions. Do                                                                                                       onds.
ASR reduces engine power when the drive wheels                                                                       i~di~~t~;······+·=--··t···u··--·1--.·n·····s····o·····n··-.·............................................+m;~;JlJtililli t~~n   on.
                                                           not let the increased safety provided tempt
begin spinning ond adapts the force to the road
                                                           you into taking risks, This could increase
conditions. This makes it easier to start, acceler-        your risk of a collision.                                  Messages                    Stabllization control (ESC): Stabilization control (ESC): Stabilization control
ate and drive up hills.
                                                         ·-Please note the risk of a collision increases                                          sport. Warning! Restricted off. Warning! Restricted       (ESC): on
Electronic differential lock (EDl)                         when driving fast, especially through curves                                           stability                    stability
                                                           and on slippery or wet roads, and when driv,
The EDL applies the brakes to a wheel that starts
spinning and transfers the drive power to the
                                                           ing too close to objects ahead, The ESC and               & WARNING                                                                                                 --The stabilization function is limited when
                                                                                                                                                                                                                                 sport mode is switched on. The driving
                                                           its integrated systems cannot always pre-                   You should only switch sport mode on or
other driving wheel or wheels (if the vehicle is                                                                                                                                                                                 wheels could spin and the vehicle could
                                                           vent collisions- there is still a risk of acci·             switch ESC/ASR off if your driving abilities
equipped with all wheel drive•). This function is                                                                                                                                                                                swerve, especially on slick or slippery road
                                                           dents!                                              lo/
                                                                                                                       and road conditions p>:rrnit.
not available at higher speeds,                                                                                                                                                                                                  surfaces.


                                                                                                       151           152
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        -There Is no vehicle stabilization when ESC/          intervals and ensures a better reaction time for            - Never let the vehicle roll while the engine Is     If the indicator light turns on, the steering wheel
                                                              the brakes In wet weather.                                    stopped because this increases the risk of an      rnay be more difficult lo move or more sensitive
                                                                                                                            accident.                                          than usual. The steering wheel rnay also be at an
                                                              The braking effect can also be reduced If you are
                                                                                                                                                                               angle when driving straight.

        - ESC/ASR cannot be switched off or sport
                                                              driving on salted roads and you do not apply the
                                                              brakes for long periods of time. The layer of salt
                                                                                                                         .CD   Note                                            Drive slowly to an authori~ed Audi dealer or au·
          mode cannot be switched on If the cruise            on the brake rotors and pads must be worn off               -Never let the brakes "rub" by pressing the          thorized Audi Service Facility to have the mal·
          control system' or the adaptive cruise con·         first when the brakes are applied.                           pedal lightly when braking is not actu<Jlly         function corrected.
          trol' Is switched on.                                                                                            necessary. This causes the brakes to over·
                                                              Corrosion
        -Malfunctions In the Audi magnetic ride'                                                                           heat and increases braking distance and
          may make it impossible to switch the ESC/           Leaving the vehicle parked for long periods of                causes wear.                                        If the Illor~ indicator light only stays on
          ASR off or to switch sport mode on.                 tirrw, low mileage and avoiding heavy braking               - Before driving on a long stretch with steep         for a short time, you may continue driving.
                                                              can contribute to corrosion on the brake rotors               slopes, reduce your speed and shift to the
       Brakes                                                 and to dirty brake pads.                                      next lower gear This makes use of the en·          AU wheeL drive (quattro)
                                                              If you usually avoid hNvy braking or if there is
                                                                                                                            gine braking effect and relieves the brakes.
       New brake pads                                                                                                       If you need to brake additionally, brake In
                                                              corrosion present, occasional heavy braking at                                                                   In all wheel drive, all four wheels are powered.
       New brake pads do not achieve their full braking       high speeds is recommended to clean the brake                 intervals and not continuously,
       effect during the first 250 mi (400 km). They          rotors and pads c:> /i),                                                                                         General information
       must be "broken in" first, However, you can corn·                                                                 @rips
                                                                                                                                                                               In all wheel drive, the driving power is divided be-
       pensate for the sUgl1tly reduced braking force by      Brake system malfunction                                     It the brake booster is not working, you
                                                                                                                                                                               tween all four wheels. This happens automatical·
       pressing firmly on the brake pedaL Avoid heavy         If you notice that the brake pedal travel has sud·            must press the brake pedal with much more          ly depending on your driving behavior as well as
       brakin9 during the break-in period,                    denly Increased, then a brake circuit In the dual·            force than normaL                                  the current road conditions. Also see
                                                              circuit brake system may have malfunctioned.                -If you retrofit your vehicle with a front spoil·    '*page 151, Electronic Stabilization Control
       Wear
                                                              Drive to an authorized Audi de;:ller or authorized            er, wheel covers or similar items, make sure       (ESC),
       Brake pad wear depends largely on the way the          Audi Service Facility immediately to have the                 that the air flow to the front wheels is not
       vehicle is driven and on operating conditions.         problem corrected. On the way there, drive with               Interrupted. Otherwise the brake system            The all wheel drive concept is designed for high
       This is especially true ifyou are driving frequently   reduced speed and keep in mind that you will                  can become too hot.                                engine power. Your vehicle is exceptionally pow·
       in the city and on curves or with a sporty driving     need a longer distance to stop and you will need                                                                 crful and has excellent driving characteristics
       style.                                                                                                                                                                  both under normal driving conditions and on
                                                              to press the brake pedal harder.                           Electromechanical
                                                                                                                                                                               snow and Ice, Always read and follow safety pre·
       Operating noise                                        Low brake fluid level                                      steering                                              cautions"'> /h,.
       Noises may occur when braking depending on the         When the brake fluid level is low; malfunctions in         The electromechanicol steering supports the
                                                                                                                                                                               Winter tires
       speed, braking force <Jnd outside conditions such      the brake system may occur. The brake fluid level          driver's steering movements.
       as temperature and humidity.                           is electronically monitored.                                                                                     By using all wheel drive, your vehicle has good
                                                                                                                         Power steering adapts electroniwlly based on          forward motion with standard tires In winter con·
       Effect of water and road salt                          Brake booster                                              the vehicle speed.                                    ditlons, However, using winter or all season tires
       In certain situations, for example after driving       The brake booster amplifies the pressure you ap·           Indicator lights and messages                         on e11/ fo.ur wheels in Lhe winter is recommended,
       through water, in heavy rain, after overnight con·     ply to the brake pedal. It only operates while the                                                               because this will improve the braking effect.
       densation or <Jfter washing your car, the braking      engine is running or when the ignition is switched
                                                                                                                         Ill Do not drive vehicle: steering defective
                                                                                                                                                                               Snow chains
       effect can be reduced by moisture or ice on the        on (plug-In hybrid drive*) .                               If this indicator light turns on and stays on and
       brake rotors and brake pads. The brakes must be                                                                   this message <1ppears, the power steering may         If there are snow ch~in laws, snow chJins must
       "dried" first with a few careful brake applica·        .&_WARNING                                                 have failed.                                          also be used on vehicles with all wheel drive
       lions.                                                                                                                                                                  c;>page 342, Snow chains,
                                                               -Only apply the brakes for the purpose of                 Stop the vehicle in a safe location as soon as pos-
       At higher speeds and with the windshield wipers           cleaning the brake systen1 when road and                sible. Do not continue driving. See an authorized     Replacing tires
       turned on, the brake pads press against the brake         traffic conditions permit. You must not en·             Audi dealer or authorized Audi Ser~ice Facility for   For vehicles with all wheel drive, only wheels with
~      rotors for a short amount of tfrne. This action,          danger other road users. This increases the             assistance.                                           the same rolling circumference should be used.
S
..-<
       which is not felt by the driver, happens at regular       risk of an accident.                              I'>
                                                                                                                         l!nl Steering: malfunttion! You can continue          Avoid using tires with different tread depths
0
                                                                                                                         driving                                               <>page 335, New tires or wheels.                    I'>
"'>
"'
                                                                                                            153          154
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         Offroad vehicle?                                       The energy management system Is made up of               and at cold times of the year. A lot of energy is      cause for concern. By increasing the idling speed,
         Your Audi is not an offroad vehicle· there is not      battery diagnosis, idling current management,            used but little is generated. It is olso critical      the additional required energy will be genera led
         enough ground clearance. For this reason, avoid        and dynamic energy management.                           when the engine is not running but electrical          and the vehicle battery will be charged.
         difficult terrain.                                                                                              equipment is switched on. In this case, energy is
                                                                Battery diagnosis
                                                                                                                         used but none is generated.                            Notice about data
                                                                The battery diagnosis determines the vehicle bat"
                                                                                                                         In situations like this, energy management will        recorded by the Event
                                                                tery charge level. The sensors determine the bat·
          -Also, in vehicles with all wheel drive, adapt
                                                                tery voltage, the battery current, and the battery
                                                                                                                         actively regulate the distribution of energy.          Data Recorder and
           your driving style to the current road and                                                                                                                           vehicle control modules
                                                                temperature. The current charge level and the            Long periods without use
           traffic conditions. Do not let the increased
                                                                performance of the vehicle battery are deter·
           safety provided le1npt you iilto taking risks,                                                                If you do not drive your vehicle for several days or   Event Data Recorder
                                                                mined based on this.
            because this increases the risk of an acci·                                                                  weeks, electrical equipment is gradually scaled        This vehicle is equipped with an Event Data Re-
            denL                                                Idling current management                                bJck or switched off. This reduces energy use and
                                                                                                                                                                                corder (EDR). The main purpose of an EDRis to
          -The braking ability of your vehicle is limited                                                                ensures the vehicle will be able to start after long
                                                                The idling current management decreases the                                                                     record, In certain crash or near crash· like situ a"
            to the traction of the wheels. In this way, it                                                               periods of time. Some convenience functions
                                                                energy used while parked. With the engine                                                                       tions, such as an airbag deployment or hitting a
            is nat different from a two wheel drive vehl·                                                                such as opening with the remote control key may
                                                                switched off, it manages the energy distribution                                                                road obstacle, data that will assist in understand·
            cle. Do not be tempted to accelerate to a                                                                    not be available. These convenience functions
                                                                to the different electrical components. Data from                                                               ing how a vehicle's systems performed. The EDR
            high speed when the road is slippery, be·                                                                    will be ilVililuble agilln once you switch the igni·   Is designed to record data related to vehicle dy·
                                                                the battery diagnosis is taken into account for
           cause this increases the risk of an accident.                                                                 tion on and start the engine.
                                                                this.                                                                                                           narnics and safety systems for a short period of
          -Note that on wet streets, the front wheels                                                                                                                           time, typically 30 seconds or less. The EDR In this
                                                                Depending on the vehicle battery charge level,           With the engine switched off
           can "hydroplane" if driving at speeds that                                                                                                                           vehicle is designed to record such data as;
           are too high. Unlike front wheel drive               electrical equipment is switched off one item af"        'The vehicle battery will drain If you use lnfotain·
           vehicles, the engine does not rev higher sud·        ter the other to prevent the vehicle battery from        ment functions such 11s listening to the radio         -··How various systems in your vehicle were oper-
           denly when the vehicle begins hydroplaning.          draining and to maintain the starting ability.           while the engine is switched off.                         ating;
            For this reason, adapt your speed to the                                                                                                                            -Whether or not the driver and passenger safety
                                                                Dynamic energy management                                If the vehicle's ability to start may be impaired by
            road conditions to reduce the risk of an acci·                                                                                                                         belts were buckled/fastened;
                                                                                                                         the energy use, a message will appear in the In·
           dent.                                                While driving, dynamic energy management dis·                                                                   -How far (if at all} the driver was depressing the
                                                                                                                         fotainment system displ11y. The message lndi·
                                                                tributes the appropriate amount of energy to the                                                                   accelerator 11nd/or brake pedal; and,
                                                                                                                         cates that the system will switch off automatical·
                                                                electric<1l equipment. It controls the battery                                                                  -How fast the ve.hicle was traveling.
         Energy management                                      charge level so that the amount of energy is not
                                                                                                                         ly soon.lf you would like to continue using the
                                                                                                                         functions, you must start the engine.                  These data c,1n help provide a better understand·
                                                                greater than the amount being generated in or·
                                                                                                                                                                                ing of the circumstances in which crashes 11nd In·
                                                                der to maintain on optimal vehicle battery charge        With the engine running
         The energy management system manages the                                                                                                                               juries occur. NOTE; EDH data are recorded by your
                                                                [(!Vel.
         electrical energy distribution and optimizes the                                                                Although electrical energy is generated while          vehicle only if a non-trivial crash situation occurs;
                                                                                                                         driving, the vehicle battery can drain. This can       no data ore recorded by the EDR under normal
         availability of electrical energy far starting the     (D     Tips
                                                                                                                         happen if tittle energy is generated but much is       driving conditions and no personal data (e.g.,
         engine.
                                                                 ·- Energy management cannot overcome the                used, and the charge level of the vehicle battery      n<Hne 1 gender, age, and crash toctltion) are re~
         When a vehicle with a conventional energy sys·             laws of physics. Note that the charge level          is not optimal.                                        corded. However, other parties, such as law en·
         ten1 is not driven for a long time, the vehicle bat-       and length of the vehicle battery life are                                                                  forcement, could combine the EDR data with the
         tery is drained by equipment (for example, the             limit~d.
                                                                                                                         To restore the balance of energy, components
                                                                                                                                                                                type of personally identifying data routinely ac-
         immobilizer). In certain circumstances, there           - Wheq the starting ability is endangered, the          that require large amounts of energy are tempo"
                                                                                                                                                                                quired during a crash Investigation.
         could may not be enough energy to start the en·           liiJ
                                                                     indicator light turns on 9 page 29.                 mrily scaled back or switched off. He<1ting sys·
         gine.                                                                                                           tems In particular require a great deal of energy.     To read data recorded by an EDR. special equip·
                                                                                                                         If you notice, for example, that the seat heating'     mentis required, and access to the vehicle or the
         Your vehicle is equipped with an intelligent ener·                                                              or rear window defogger is not working, then it        EDRis needed. In addition to the vehicle manu·
         gy management system for distributing elect riel·      fv1aint·aining tile si'arting ability is i'he highest    has been temporarily reduced or switched off.          factw·er, other parties, such as law enforcement,
         ty. This significantly improves the starting ability   priority.                                                These systems arc available again as soon as the       that have the special equipment, can read the in·
~        and increases the vehicle battery Ufe.                                                                          energy supply has been restored.                       formation if they have access to the vehicle or the
"',...                                                          A lot of stress is placed on the vehicle battery                                                                EDR.                                                I!>
:::!                                                            when driving short distances, during city driving, I!>   In addition, you may notice that the idle speed
0
~                                                                                                                        has slightly increased. That is normal and no
"'
                                                                                                                   155   156
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                                                                                                         Multi Media Interface

Some state laws restrict the retrieval or down-        cations provider. For details regarding how in-   Multi Media Interface                                    (';) Buttons for opening menus
loading of data stored by EDRs installed In a vehi-    formation obtained through Audi connect is                                                                      directly .............. , . . . . . . .         160
cle for the express purpose of retrieving data af·     collected, processed, transmitted, used, and      Traffic safety                                           @I~~ENU]button                ,,,,, .. ,,,,,         160
ter an accident or crash event without the own-        shared, please see your contract with the         information                                              (u   liJA'ck\ button    ................             159
er's consent.                                          wireless telecommunications provider and the
                                                       "About Audi connect" tab in your vehicle's In·    Audi recommends performing certain Infotain-
Audi will not access the EDR and/or similar data
                                                       fotainment system: I~1ENUI button> Audi           ment system functions, such as entering <1 desti-        MMI On/Off knob with
or give it to others-
                                                       connect > right control button >About Audl        nation, only when the vehicle is stationary. Al-         joystick function
-unless the vehicle owner (or lessee If the vehi-      connect.                                          ways be prepared to stop operating the lnfotain·
  cle has been leased) agrees; or                                                                        ment system in the interest of your safety and
-upon the official request by the police; or                                                             the safety of other road users.
--upon the order of a court of law or a govern-
  ment agency; or
-for the defense of a lawsuit through the judicial                                                        Only use the Infotainment system when traf-
  discovery process.                                                                                      fic conditions permit and always in .a way that
- Audi may also use the data for research about                                                           allows you to maintain complete control over
  vehicle operation and safety performance or                                                             your vehicle.
  provide the data to a third party for research
  purposes without identifying the specific vehl·
  cle or information about the Identity of its own-                                                        Certain functions are nat available while drlv·         Fig, 161 ~1~~~ On/Off knob with joystick function
  er or lessee and only after the recorded vehicle                                                         in g.
  data has been accessed.                                                                                                                                         Switching the MMl on/off: the 1'1Ml can be
                                                                                                                                                                  switched on/off manually.
Vehicle control modull!s                                                                                 Introduction                                             -Switching on manually; press the On/Off knob
Your vehicle is also equipped with a number of                                                           The Multi Media interface, or MMI for short;               @···;.fig. 16.1 briafly. Or: pr~ss the r~:iln~UI but-
electronic control modules for various vehicle                                                           combines various systems for communication,                ton® "0 page 158, fig. 160 or one ofthe but-
systernsr such as engine management, emission                                                            navigation• and entertainment in your Audi. You            tons to open the menus directly@.
·control, airbags, and swfety belts.                                                                     can operate the MMJ using the MMJ control pan-
                                                                                                                                                                  -Switching off manually: press and ho(d the
                                                                                                         el, the multifunction steering wheel or the voice
These electronic control modules record data                                                                                                                        On/Off k11ob (j)'-~ fig. 161 until the MMl
                                                                                                         recognition system'.
during normal vehicle operation that may be                                                                                                                         switches off. If the MMI has been switched off
needed by trained technicians for diagnostic and                                                                                                                    manually, it does not switch on again automati·
repair purposes. The recording capability of these                                                                                                                  cally the next time the ignition is switched on.
modules is limited to data (no sound is record-                                                                                                                   Additional functions:
ed). Only a small amount of data is actually re-
                                                                                                                                                                  -Adjusting the volume: turn the On/Off knob Q)
corded over a very limited period of time, or star·                                                                                                                 c>fig. 16},
ed when a system fault is detected by a control
                                                                                                                                                                  -Muting: press the On/Off knob (j) ~>fig. 161
modllle. Some of the data stored may relate to
                                                                                                                                                                    bridly.
vehicle speed, direction, or braking, as well as re·
                                                                                                                                                                  -Selecting the previous/next function (for ex-
straint system use and performance in the event
                                                                                                                                                                    ample, a radio station/track): press the On/Off
of a crash. Stored data can also only be read and                                                         Flg.l60   ~1Ml   wnllolp>nel
                                                                                                                                                                    knob (j) ..;>fig. 161 briefly toward the left 1<1<1 or
downloaded with special equipment that is di-
                                                                                                                                                                    right 1»1.
rectly connected to the vehicle.                                                                         MMI control panel overview
                                                                                                                                                                  -Fast forwarding/rewinding (for e.xampte
                                                                                                         (j) Control knob with joystick fLtnction'
'(I} Tips                                                                                                    '' ' '' '''' ''' '' ' ' '' ' ' '' '''' '' 159, 163
                                                                                                                                                                    songs): press and hold the On/Off knob t:2)
                                                                                                                                                                    c:> fig. 161 toward the left 1<1<1 or right l»l.       !»
  Your vehicle may be equipped with Audi con·                                                            ®  MMI touch control pad• ....... ,                161
  nect:Yaur use of certain Audi connect fea·                                                             @ Left control button . . . . . . . . . . . .      160
  tures requires wireless services that are pro-                                                         G) Right control button , , , . , , , , . , .      160
  vided by a third party wireless telecommuni·

                                                                                                  157    158
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                                                                            Multi Media Interface           Multi Media Interface


I&    WARNlNG                                        MMI operation                                          Opening the main menu
                                                                                                            • Press the [EfmLJJ button@~ page 158,
                                                                                                                                                                    Options menu: using the options menu, you can
                                                                                                                                                                    select and confirm context-dependent functions
 Adjust the volume of the ~udio system so that                                                                                                                      as well <Js settings within a menu item (such as
                                                                                                              fig. 160. The MMI menus (such as Radio) are
 signals from outside the vehicle, such as po-                                                                                                                      Radio).
 lice and .fire sirens, can be heard easily at all                                                            displayed'"' fig. 16.3. Then you can select and
 times.                                                                                                       confirm a function using the control knob.            Requirement: the options n1enu symboll±l rnust
                                                                                                                                                                    be displayed in the Infotainment system display
                                                                                                            Opening a menu directly
'(D   Tips
                                                                                                            • Press the applicable button to directly open the
                                                                                                                                                                    ~fig. 164. Then you can select and confirm a
                                                                                                                                                                    function using the control knob.
 The M~1l switches off automatically If the en-                                                               menus®~ pogo 158, fig. 160 in the direction
 gine is not running and the vehicle battery is                                                               of the desired menu (such as fi'iJ\Dro]). Then        Opening/closing the options menu: press the
 low.                                                                                                                                                               right control button~ fig. 164. Then you can se-
                                                                                                              you can select and confirm a function using the
                                                                                                                                                                    lect and confirm a function using the control
                                                                                                              control knob.
Infotainment system                                                                                                                                                 knob.
display
                                                                                                                                                                    This guide shows you ot a glance tho paths for
The Infotainment system display automatically                                                                                                                       opening o desired menu and its settings and
extends and retracts when you switch the MMI                                                                                                                        functions.
on and off.
                                                                                                                                                                    Example of a path
-Manually extending/retracting: press the YJ
                                                                                                                                                                    • Select: [i~J'i:L.5.!'§] button > left control button >
 button@"~poge8, fig. 2.
                                                                                                                                                                      FM.
When the MM!. is switched off and the display is     Fig, 162 Operating the control knob
retracted, you can operate certain fUIKtions us-                                                                                                                    Following the path
ing the i'1Ml On/Off knob with the joystick func·    Selecting and confirming a function in a                                                                       • Press the [R/\616] button.
                                                     menu/list
lion "'page 158.                                                                                                                                                    • Press the left control button.
                                                     ~Selecting      a function: turn the control knob G)                                                           • Turn the control knob to the FM menu item to
(D    Tips                                            "~fig.   162 to the desired function (such as se·                                                               select it.
 -If the vehicle has a tell phone prep', the In·       lecting a frequency).                                                                                        • Press the control knob to confirm the selected
   fotainment system display will automatical·       • Confirming a selection: press the control knob                                                                 FM menu item.
   ly extend whenever there is an incoming             G) c.' fig . .162.                                                                                           • The se\ected and confirmed function is execut·
   phone call.                                                                                                                                                        ed. In this example, the FM frequency band is
                                                     Returning to functions at higher levels
 -There may be delays when extending or re-                                                                                                                           set.
   tracting the display.                             • Press the [BACK] button (f)'' poge 158,
                                                       fig. 160,
                                                                                                            Fig. 164 Control buttons on the t-1Ml control p;:~ne!

                                                                                                            Selection menu: through the selection menu,
                                                                                                            you can open additionfll functions within <1 menu
                                                                                                            item (such as Radio).
                                                                                                            Requirement: the selection menu symbol must
                                                                                                            be displayed in the Infotainment system display
                                                                                                            c>;>fig ..164.
                                                                                                            Opening/dosing the selection menu: press the
                                                                                                            left control button'* fig. 164. Then you can se·
                                                                                                            lcct and confirm n function using the control
                                                                                                            knob.



                                                                                                    159     160
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                                                                                  Multi Media Interface              Multi Media Interface


MMI touch                                                 Requirement: It must be possible to enter text or          Requirement: a map must be displayed                    -Moving the map: when the crosshairs are visi·
                                                          numbers and lhe symbol (_i) 0 fig. 166 must ap-            c!>page209.                                              b(e, pull two fingers in the desired direction
                                                          pear in the Infotainment system display.                                                                            across the MM! touch control pad e> fig. 168.
                                                                                                                     -Showing/hiding the crosshairs: press the con ..
                                                                                                                                                                             -Moving the map quickly: when the crosshairs
                                                          -Initial entry: write an individual upper case or              trol knob to show the crosshairs (i) ~·fig. 167.
You can enter data using handwriting recogni·                                                                                                                                 are visible, pull two fingers across the fvtMl
                                                               lower case letter or number/symbol on the                 Or: press on the MMI touch control pad. Press
tion on the f\1/11[ touch control pad.                                                                                                                                        touch control pad quickly in the desired direc-
                                                               MMI touch control pad using your finger. A                the [8Ac..Kj button (j) '"page 158, fig. 160 to
                                                                                                                                                                              tion. The map will come to a stop after several
                                                               symbol that is recognized clearly by the system           hide the crosshairs again.
                                                                                                                                                                              seconds.
                                                               is displ<Jyed in the lnfol<Jinrnent system displ<Jy   ... Moving the cross hairs on a map: move lhe
                                                               0) ¢page 161, fig. 165, confirmed with an au·             crosshairs shown in the desired direction using
                                                               dible signal if necessary, and transferred to the         your finger on the MMI touch control pad
                                                               input field.                                              "''fig. 167.
                                                          -Entering spaces: move your finger across the
                                                                                                                     Moving the crosshairs quickly: when the cross·
                                                               MMI touch control pad from left to right.
                                                                                                                     hairs are visible@ c> fig. 167, slide your finger
                                                          .... Deleting characters: move your finger across
                                                                                                                     quickly across the M~1I touch control pad in the
                                                               the MMI touch control pad from right to left.
                                                                                                                     desired direction c:> fig. 167. The crosshairs will
                                                          -Selecting the Input suggestion: press the con-            come to a stop after several seconds,
                                                               trol knob.
                                                          -Switching directly to the results list: turn the
                                                               control knob to the right
                                                          -Opening the speller: select the right control
                                                               button> Open speller. Text or numbers are en-                                                                  Fig. 169 Zootn in/Zoom out
                                                               tered in using the speller c> page 165.
                                                                                                                                                                             l~equirement:   a map must be displayed
                                                                                                                                                                             c> page 209.
                                                                                                                                                                             -Zooming in/out on the map: press the control
Fig. 165 Entering nuvigaUon destination uslng NMl touch
                                                                                                                                                                               knob to show the crosshairs. Touch the lvtMI
                                                                                                                                                                               touch control pad with two fingers and pull
The MMJ touch control pad is located between
                                                                                                                                                                               your fingers apart or together c> fig. 169.
the control buttons ¢fig. 165.
                                                                                                                                                                             Press the []l:£\:~!SJ button (f) to hide the crosshairs
ltiittitml§!t4Citi!hMUil.f.ifltil!t:1t                                                                                                                                       ~·page  158, fig. 160.


The /11/111 touch allows you to enter do to on the
/11M! touch control pad using hanclwriUng recog·
nition.                                                                                                                                                                      Requirement: the balance/fader function must
                                                                                                                                                                             be selected r.~ page 245.
                                                                                                                                                                             - Moving the cross hairs for sound focus: move
                                                                                                                                                                               your finger in the desired direction on the ~1M!
                                                                                                                      Fig. 168 Moving   tfl~   map                             touch control pad.
                                                                                                                                                                             -Storing the crosshairs location: press the con~
                                                                                                                     Requirement: a map must be displayed                      trot knob twice. Or: press the L\iZ5.£~] button (f)
                                                                                                                     '·?page 209.                                              <>page 158, fig. 160.
                                                                                                                     -Showing/hiding the crosshairs: press the con-
Fig.l66 Display when   ~Hill   touch is .active
                                                                                                                       trol knob to show the cross hairs (i) '":'fig. 168.
                                                           F!Q: 167 MoVing the crosshahs
                                                                                                                       Press the [sAcK I button (j) c> page .158,
                                                                                                                       fig. 160 to hide the crosshairs <19<1in.


                                                                                                            161      162
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                                                                                                    Multi Media Interface                        Multi Media Interfa.;e

                                                                                                                                                 Using the DVD main menu                                      Requirement: the selection menu symbol3 must
                                                                                                                                                 Requirement: a DVD must be playing                           be displayed in the Infotainment system display
                                                                                                                                                                                                              <':>fig. 171.
       Requirement: a DVD must be playing                           Displaying the input field/switching to                                      c.'page230.
       c:>page 230.                                                 speller input                                                                -- Sele<tlng a menu item: move the control knob              Opening/dosing the selection menu: push the
                                                                                                                                                    with joystitk function up or down or to the left          control knob to the left"-) fig. 171 to open the se-
       ·-Selecting a menu item: move your finger up/                Push the control knob up <• page 163, fig. 170 to
                                                                                                                                                    or right.                                                 lection menu. Then you Gln select and confirm a
         down or left/right on the f~fvll touch control             reach the beginning of a list in the central area or
                                                                                                                                                                                                              function using the control knob.
         pad.                                                       the input field. If the input field is already open,                         --Confirming~ selection: press the control knob,

       ·-Confirming ~ selection: press the control knob.            switch directly to the speller In the input field by                                                                                      Press the [8/i:t:K] button (7) ">page 158, fig.l60
                                                                    pushing the control knob Lip again"' poge .165.                                                                                           to return to the function one level up.
       (D     Tips
                                                                    On the map                                                                                                                                Opening/dosing the options menu: push the
        The volume of the voice guidance prompts for                                                                                                                                                          control knob to the right'* fig. 171 to open the
                                                                    Requirement: a map must be displayed
        the MNI touch' can be adjusted separately                                                                                                                                                             options rnenu. Then you can sel.,ct and confirm a
                                                                    qpage209.
        O:•page246.                                                                                                                                                                                           function using the control knob.
                                                                    -Displaying the Input field: push the control
                                                                                                                                                                                                              Press the [I'Ji\t;_~<:_j button (J) '*page 158, fig. 160
       Control knob with                                              knob up.
                                                                                                                                                                                                              to return to the function one level up.
                                                                      Displaying route guidance: when route guid-
       joystick function
                                                                      ance is active, you can also display the route
                                                                      guidance by pushing the control knob up
                                                                       "~ poge    204, fig. 188.
                                                                    -Zooming in/out on the map (zoom): turn the
                                                                      control knob to the right/left to zoom in/out on
                                                                      the map.
                                                                    -Additional options on the map: see
                                                                      ">page 211
                                                                    App\it>S tQ: V('hic\('S with(l\lt Mt1I   t01Kh with ;oy!.:ti[k hmctl(•ll
                                                                    ... Showing/hiding the crosshairs: press the con-
                                                                        trol knob. The crosshairs are shown on the
                                                                        map. Press the [BACK I button to hide the cross-
       Fig. 170 Operating concept for the- control knob with joy~
                                                                        hairs.
       st!d ftmction                                                -Moving the crosshairs: when the crosshairs are
                                                                                                                                                 Applk~ to. Hf"'\l wnlro! pilnel ·Nllb nmt!ol.kuuh and joy~
                                                                        visible, turn the control knob in the direction
                                                                                                                                                 stkk fund-ion
       You can push the control knob up or down (i)                     the crosshairs should move. Press the control                            Fig. 171 Opening the :')e{et~ion/options menu with the
       ··~fig. 170 or to the right or left@.                            knob and hold It until the crossh<Jirs ore in the                        r.:ontrol k:nob
                                                                        desired point on the map.
       1Wtfuftft41~ii§ll$¥ftihiit§iiijfflliai,i,,[§hf.              Adjusting the sound focus
                                                                    i\ppUe1 lo; w.·!Hdt•:; \•.ntl:out i''ll'''ll tour.h v~·llhjoystlck (um:Uon

       Openlng the entertainment sliding menu: push                 Requiren1ent: the balance/fader function must
       the control knob down to open the entertain-                 be selected'·~ page 245.
       ment sliding rnenu ® c:> page 167, fig. 174.
       Then you can select and confirm a function.                  - Moving the sound focus using the crosshairs:
                                                                      the cross hairs can be moved horizontally. Turn
       Closing the entertainment sliding menu: push                   the control km>b to the left or to the right.
       th~ control knob up to close the entertainment                 Press the control knob to move the crosshairs
"'     sliding menu. Or: press the [~~¢E.] button Q)                  vertically. Turn the control knob to the left or
,..~   c.> page 158, fig. 160.                                        to the right. Press the control knob again to
~                                                                     save the setting.                                1>-
a
r-J
&;

                                                                                                                                       163       164
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                                                                               Multi Media Interface                      Multi Media Interface
                                                                                                                                                • • •   ••••·-.·~·w••••»••••             ••


Letter/number speller                                                                                                                                     Symboi/Oescriptlon                                                                                         Description
                                                                                                                                    (1)                                                [C£~1.1 or [~J                                                                Switches to the results list.
                                                                                                                              ___@ ·t- ..........·.__. .r. .~. . .·~P. . ._~·. ._.1:._r_i~_._l.d. . . . . . . . . . . . . . . . . . . . 1. .o. . . ._i.'..._..p......t:..a. . .Y'.......':....·_;:~;,c-· ·~·.·_· ...•·~ ..~...;...;•.•_·~ .:.·.~.:.t.:i. .". . .r. .u:....
                                                                                                                                                                                                                                                                                                                                                               r.._.     t..:
                                                                                                                                                                                                                                                                                                                                                                          ... :..._................· .........._ .....- .................---·-·-................. _   ..................... - ..........   J
                                                                                                                                                                                                                                                                 1
                                                                                                                                                                                                                                                                     Displays a list with suggestions based on the letters already en·
                                                                                                                                    ®                                                  Results list
                                                                                                                                                                                                                                                                     tered.
                                                                                                                          f                     .... JI··············-"············                                                                              I
                                                                                                                                                                                                                                                                     Switches from lower case to upper case letters or from upper case
                                                                                                                                                                                                                                                                     to lower case letters.
                                                                                                                                                                                                                                                                                                                             ............................................                      . .....................    ········--····
                                                                                                                                                                                                                                                                     Opens additional speller options, for example Close speller and
                                                                                                                                    ®                                                                                                                                Clear input field
                                                                                                                          "®                                                                   ···~·
                                                                                                                                                                                                                                                                     Character sets and special characters
                                                                                                                                                                                                                                                                     Displays accented characters (such as                                                                                                     a,~.         li, 6).
                                                                                                                                                                                                                                                                  Switches from letter to number input or from number to letter in·
                                                                                                                                                                                                                                                                 [put,
 Fig.172 Diagram: letter/numbGr ~peUer
                                                                                                                                                                                                                                                                     Adds a space in the input field.
You can enter letters, numbers and symbols in            press the control knob. To delete all characters
lhe MMI using the letter/number speller. This            in the input field, press and hold the control                                                                Character selection                                                                           Highlights the selected                                                                           ~;haracter.
option is available when the input field® is ac·         knob on <R1 until all characters in the input field
tive <?fig.l72.                                                                                                                                                                                                                                                      Inserts the suggested word' when you push the control knob up.
                                                         are deleted.
-Opening/closing the letter/number speller:            -Entering special characters; select and con-
  move the control knob up/down when the input           firm[@.?.]@ c.> fig. 172, r:r.:t?.m 0 or r:I.:TI.l®. Se-                   @                                                                                                                                Deletes the character to the left of the cursor.
                                                         lect and confirm the desired special character
  field is active. Or: select the right control but·                                                                                                                                                                                                                                                                                               Opening free text search
                                                         (for example, a hyphen or period) with the                                                  Tips
  ton> Open spelter/Close speller.
                                                         number speller.                                                                                                                                                                                                                                                                           • Select: IMENU! button> desired menu item
-Entering characters: turn the control knob with                                                                                  Accented characters are not avai.lable for ev-
  the character sele~;tion@ c.> fig. 17 2 to the de·   - Input assistance: in some cases such as in navi·                                                                                                                                                                                                                                            (such as Telephone).
                                                                                                                                  ery letter.
                                                         gation', there is a word suggestion'~))                                                                                                                                                                                                                                                   • Keep turning the control knob to the left until
  sired symbol. Press the control knob to wnfinn
  the character. Your input is displayed in the in·
                                                         '·?fig. 172 based on available entries whi\e you                                                                                                                                                                                                                                            the free text search input field CD C:• fig. 173
                                                         are entering data. You can select this sugges·                   Free text search                                                                                                                                                                                                           appears. Or: push the control knob up to open
  put field@. Once you have entered all of the
  characters, sele~;t and confirm the button CD to       tlon by pushing the control knob upward.                                                                                                                                                                                                                                                    the input field (j).
                                                       -Results list: in some cases, such as in the rllrec-               Using the free text search, you can select the or-
  go to the results list. Or: push the control knob                                                                                                                                                                                                                                                                                                The handwriting recognition for the MMI touch
                                                         tory, the system switches automatically to the                   der thot the search terms are entered in the in-
  down.                                                                                                                                                                                                                                                                                                                                            control pad' is automatically activated. Simply
                                                         results list based on available entries®                         put field.
-Entering accented characters (such as a,~' i\,                                                                                                                                                                                                                                                                                                    start writing.
                                                         ""fig. 172. Select and confirm a suggestion
  o)•: turn the control knob with the character
  selection@¢ fig. 172 to a character. to open           from the list.                                                                                                                                                                                                                                                                             Free text search for an entry
  the selected accented characters, press and          Requirement: the input field@ "<·fig.l72 must                                                                                                                                                                                                                                                • Enter one or more search terms in any order in·
  hold the control knob. Turn the control knob         be active.                                                                                                                                                                                                                                                                                     to the input field. The individual sear<;h terms
  with the chara~;ter seledion@ c.> fig. 172 to an     -Switching between speller and MMI touch*:                                                                                                                                                                                                                                                     must be separated by .spacr.s when entering.
  accented ~;haracter. Press the control knob to         the handwriting recognition for the MMT touch                                                                                                                                                                                                                                             An input suggestion to complete the entry• ®
  insert the accented character. To close the ac-        control pad' is activated automatically, Simply                                                                                                                                                                                                                                           <>fig. 173 is shown depending on the input. Ad·
  cented ~;haracters without selecting <1 charac·        start writing.
                                                                                                                               Fig. 17 3 Ding ram: free text sedrch on tetephone                                                                                                                                                                   ditional entries that contain the entered seuch
  ter, press and hold the control knob again. Or:
                                                                                                                                                                                                                                                                                                                                                   term <lfe listed In the results list@.
  select and confirm~ 0 '*fig. 172. Select             Overview of symbols in the speller
  and confirm an accented character.                                                                                      Free text search is available In the Vehicle', Ra-                                                                                                                                                                       Jf the desired term is still not displayed, enter
                                                       The symbols in the letter/number spelter are ex-
                                                                                                                          dio', Media', Telephone', Navigation• and Audl                                                                                                                                                                           additional letters until it is displayed.
 Deleting characters: turn the control knob with       plained in the following table:                              11>
                                                                                                                          connect• menus.
 the selection arrow to <Rl@ c.> fig. 172 and



                                                                                                           165            166
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                                                                                                       Multi Media Interface               Multi Media Interface

It is often enough just to enter the first letters of                         Selecting an entry from the results list                                        Isy~b~i/oe""' '~'"u'                                                        Description
the search term in order for it to display in there·                          Requirement: at least one entry must be dis·                                        Exclamation point on the
sults list. For example, in the Telephone' menu,
                                                                              played in the results llst@s'fig.173.                             ®                       telephone
                                                                                                                                                                                           Indicates rnissed calls
write the initials of the contact being searched
                                                                              • MMI touch input•: tum the control knob to the                                                                                                             Reception strength of the active data connection or
separated by a space.                                                                                                                                                Data connection signal
                                                                                right. Select and confirm an ently from the list.               @                                                                                         PIN: Enter PIN (SIM)
                                                                                                                                                                         strength bars'
Selecting the input suggestion to complete                                    • Speller input: select and confirm [Uj;:'fl(j)                                                                                                             PUK: enter the PUK
the entry                                                                       '·~page 165, fig. 172. Or: push the control knob                                                                                                          Network coverage for the active data connection                                                                                  ·~·page             195
11equirement: an input suggestion to complete                                   down. Seled and confirm an entry from the                                                                                                                 2G: GSM network
                                                                                                                                                @                                   2G/3G/LTE'
                                                                                                                                                                                                                                          3G: Ut~TS network
the entry'® c:> fig. 173 must be displayed.                                     list.
                                                                                                                                                                                                                                          LTP: LTE network
~    MMI touch input*: press the control knob.
                                                                                                                                                @                                            Mute                                         The audio source is muted<:> page 245

 Menus and Symbols                                                                                                                                                                                                                        Outside the the mobile network for the connected cell phone or the
                                                                                                                                                @                                       Roaming
                                                                                                                                                                                                                                          inserted SIM card
                                                                                                                                                                                                                                                                                     ........................ --·······
                                                                                                                                           !~jm•••
                                                                                                                                                                           Importing pmcess                                               Import/update the contacts in the directory or the call lists
                                                                                                                                                                                                                                          Select and confirm context-dependent functions as well as settings
                                                                                                                                                @                              Options menu•
                                                                                                                                                                                                                                          within a menu Item
                                                                                                                                             @                                       Bluetooth'                                           Blue tooth device connected>¢ page 22S or..:. page 177
                                                                                                                                                                                                                                          Indicates a long list.
                                                                                                                                                ©                                    Scroll bars
                                                                                                                                                                                                                                          Move within lists by turning the control knob.
                                                                                                                                                                                                                                          Information that can be changed using the letter/number speller
                                                                                                                                                @                                    Input field
                                                                                                                                                                                                                                          copagfi 165 or the MMI touch'")pogc• .161.
                                                                                                                                                @                                   fvlfvll touch'                                        Operation using the MMI touch control pad is possible
                                                                                                                                                @                                            Knob                                         Setting for the selected function by turning the control knob

                                                                                                                                                @                                  Check boxes
                                                                                                                                                                                                                                          You can switch certain functions on                                                            R1 or otfO by pressing the con-
  Fig. 174 Dlagr;;rn: memn; and .symbols                                                                                                                                                                                                  trol knob.
                                                                                                                                                                                                                                          Settings for lhe selected function that are accessed by pressin9 the
                                                                                                                                                @                                 Selection list
                                                                                                                                                                                                                                          control knob
                                                                                                                                           ·····-····-·   .........._ ··-·-·-· ..............................   ··············-··--····--··   ······-···· ··········-···--·-·······-·-·····... -·-··-··----·-······ ······-··--· ·············-····--··--····--·· ·······--···· ·················-····· ··················---··

i·····-~'2>....... ...           TtvJC ............................ H1C/online traffic information reception q page 21.1
                                                                    Displays information about the media source that Is currently se·
                                                                    lected or a situation (such as an incoming call). Depending on vehl·
                         Entertainment sliding
                                                                    de equipment, operation might also be possible using the open en·
                                 menu
                                                                    tertoinment sliding menu (such as selecting a radio station or ar·
                                                                    cepting a call) '~page 163.                 ..
       ······------···---~·~·-··--~


                    jukebox• importing proc·         . .       .
     @                        ess            Copy audro/vrdeo frles to the Jukebox q page 224

...(Ej                        R~p~;t·;:;;~k-----       The track currently pl;yi~g~~-~;·;;~~~~d-_-;;-p~;g~JJJ
1-,_.;"'"-+-·~---              .....:..-..~-..-~ .........~~+--~---. . -~~---~~--~·-·~---~--·--~---·-·-~-. . -~-
                                                      All tiles on the playlist are played In random order o:> page 233,
                                 Shuffle
                                                      Shuffle
                                                      Access information by pressing the control knob when the selected
                                  Arrow
                                                      text is active
                           Telephone signal
                                                      Telephone signal strength
                            strength bars



                                                                                                                                   167     168
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                                                                                                  Voice recognition system




                                                                                                                                    switched on"~ page 158, thNe must not be any                -Direct your full attention to driv
                                                                                                                                    phone call in progress and the parking system                driver, you have complete respo
                                                                                                                                    must not be active.                                          safety in traffic. Only use the flll
                                                                                                                                    • Switching on: press the [iJ button (I)                      such a way that you always mair
                                                                                                                                      <!;page 15, fig. 11 or@ ''.·page 16, fig. 13                piete control over your vehicle ir
                                                                                                                                      briefly on the multifunction steering wheel and             situations.
                                                                                                                                      say the desired command after the Beep.                   -Do not use the voice recognition
                                                                                                                                    • Switching off: press and hold the fiJl button.              emergencies because your voice
                                                                                                1h•Hni'IH                             Or: press the [2] button.                                   in stressful situations. It may ta
                                                                           • 1dept!'<nP f;~voriH~'i
                                                                                                                                    • Pausing: say the command Pause. To resume,                  dial the number or the system n
                                                                                                                                      press the 5J button.                                        able to dial it at all. Dial the em<
                                                                                                                                    • Correcting: say the command Correction.                     number manually .
                                                                           • WntJ      1\Hib~   fu! (:.;'(j nhtv; /   mw. k
                                                                               tb~ Ot.'.;.;t ~)eci.;W)
                                                                           • Hod!e      Us..l                                       Input assistance                                           Q     Tips
                                                                                                                                    The system guides you through the input with                ···The dialog pauses when there is
                                                                                                                                    visual <1nd audio feedback.                                    ing phone call and will continue
                                           f.;t,)t~~
                                                                                                                                    -VIsual Input assistance: after switching on                   nore the call. The dialog ends if
                                               t;<Y}   ~H)/ IU
                                                                                                                                        voice recognition, a display with a selection of           the call.
                                                                                                                                         possible commands appears. This command                   There are no voice guidance' pn
                                                                                                                                        display can be switched on or off. Select:                 a dialog is active.
                         lll;:w                                                                                                         I.M.!':.N.\J.J button >Settings> left control button    -You tan select an item in the lisl
                              !'n,:1p ( )0 nutth !IO'.~iliuo fHi~(i / :Hl pJ;q~ I l)w,tnf,J\ipn HHP / OV!'r'f;~··w ~Pdp                                                                            ther the voice recognition syster
                                                                                                                                         > MMI settings >Speech dialog system.
                                                                                                                                    ····Audio Input assistance: to have the po»ible                control knob.
                                                                                                                                        commands read, turn the voice recognition sys-
                                                                                                                                        tem on and say Help.                                   Command overvie
                                                                                                                                    For the system to understand you:                          information
                                                                                                                                    Speak clearly and distinctly at a normal volume.
                                                                               MEDIA                                                                                                           The following overviews describe th
                                                                                                                                    Speak louder when driving faster.
  •   Ho~diu prt.<\PL                                                                                                                                                                          that can be used to operate the MM
  •1+1                                                                                                                              Emphasize the words in the commands evenly
  ~   H-1 / AH!   .~lUUlJ\   \H                                                                                                                                                                voice recognition system.
              O<J) /                                                                                                                and do not leave long pauses.
                                                                                                                                                                                               AlternJtive commands are separate
                                                                                                                                    Close the doors, the windows and the sunroof' to           for example say: Telephone I (or) N
                                                                                                                                    reduce background noise. Make sure lhat passen-            (or) Radio.
                                                                                         qp
                                                                           •   itW!kln\(lHyLL·H.~,:)rl/t>ff                         gers are not speaking when you are giving a voice
                                                                                                                                    command.                                                   Sequences of commands used toP'
                                                                                                                                                                                               tion are identified with a">", for ex
                                                                                                                                    Do not direct the air vents tow<Jrd the hands-free         Enter address > (then) Enter count
Fig, 175 Cormtrartd overview                                                                                                        microphone, which is on the roof headliner near
                                                                                                                                    the front interior lights.


                                                                                                                              169   170
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                                                                                                               Voice                                                    Voice

                                                                                                                                                                        .   ·······~"   ..   .........   ~   ..····· ..   .............................                                                    ...........................
The majority shown are main commands. This                                            es. For a Business address, you can also say busi·                                    Function                                                                      say:
system also recognizes synonyms in certain cas·                                       ness, work, office or at the office.                                              ICalling the last number dialed                                                   Redial
                                                                                                                                                                            Dialing a phone number                                                        Enter number> after being prompted, say the telephone nurn-
Commands                                                                                                                                                                                                                                                  ber in groups of individual numbers, for example. BBB 555
                                                                                                                                                                                                                                                          1212 >Dial
                                                                                                                                                                            Correcting the phone number that                                              Correction I Delete number
                                                                                                                                                                            was entered
You can always us" the global commands, re·
                                                                                                                                                                            Showing contact information                                                            > say the desired contact when prompted,
                                                                                                                                                                                                                                                          i Directot
gardless of the menu selected.
                                                                                                                                                                                                                                                          for example John Smith
 Function                                                  I.e: • .,.
1··························~···························11~.~··..•.. ···~·····························--· .................................... •··················· .j   ILlst~11ing to rnessilges                                                         iCall voice mall
 Opening a menu                                             Telephone I Directory I Navigation I Radio I Media I Audi con·                                                  Entering the PIN (SJM)                                                        , Enter PIN > when prompted, say the PIN in individual numbers
                                                            nect' I Car I Tone                                                                                                                                                                            1 >Save

 Having the possible commands                               Help I Help speech dialog system I Help Telephone I                                                             Correcting the PIN entry                                                      i Correction   I Delete PIN
 read aloud                                                 Help Navigation I Help Map I Help Radio I Help Media I Help                                                     r
                                                                                                                                                                            '-'  '""'"Y data input                                                        iNo I meant (XV)
                                                            Audi connect'
                                                                                                                                                                            Closing the full-screen command                                               Close
 Telephone functions                                        Call (XV), for example, Call "John Smith" I
                                                                                                                                                                            list
                                                             Enter number I Redial/ Directory I Read out new text mes·
                                                           , sage I Read out new e·mall                                                                                                                                                                                        -Please note that commands can or1ly be giv·
                                                                                                                                                                            (!)               Tips
                                                                                                                                                                                                                                                                                 en for the primary phone' 9 page 177.
 Navigation functions'                                      Drive me to (XV) or Navlgat~ to (XV), for e>:ample Navigate to
                                                                                                                                                                                . Contacts in the directory can selected using                                                 -For more information on supported cetl
                                                            "John Smith" I
                                                                                                                                                                                  the full name ("first name Last name" ar1d                                                     phones, visit www .audiusa.comlbluetooth
                                                            Enter address I Cancel route guidance I Map I Online destin a·
                                                                                                                                                                                  "Last name, first name") as well as with or1ly                                                 or contact an authorized Audl dealer or au-
                                                            tions' I Online destination (XY)'
                                                                                                                                                                                  the first or last name. This applies to cell                                                   thorized Audi Service Facility.
[__Acc~~-~_i_t~_Q_favorites                                                                                                                                                       phones that transmit names separated into
   Selecting an entry from a list                                                                                                                                                 first and last names.
 Scrolling through a list                                      Next page I Previous page
 Correcting the command given                               Correction                                                                                                  f!!li{*i,!h§Ji!bi@lh,,I§,if
 Switching the voice recognition ws- Cancel
 ~moff                                                     I                                                                                                            Requirement: The requirements for Audi connect
                                                                                                                                                                        (Infotainment) must bernet"' page 190.

                                                                                                                                                                            Function
                                                                                                                                                                            Accessing Audi connect Lnfotain·   Audi connect> follow the system prompts
Requirement: a cell phone must be connected to                                        You can s~y the following comrn~nds depending                                         ment services
the MM L'~page 177 and the Telephone menu                                             on the selected menu llem:
                                                                                                                                                                            Audi connect Infotainment services Weather I Online news I Fuel prices I Parking information I
must be open c> table on page 171.
                                                                                                                                                                                                               Travel information I Twitter I Online traffic information I City
                                                                                                                                                                                                               events I Flight information
                                                                                                                                                                            Search areas for Audi connect Info-                                            Near destination I Nearby I In a new city
                                                                                        I private llandline I cell phone,                                                   talnment services
                                                            rm· P><onnni;P       Call "John Smith" private                                                                              ;~~~;;,~d~t~i~p~t                                                  No l meant (XVI
 Selecting a phone number with an                           Call/ Call work I Call private I Calllandtine I Call cell phone
 address card open                                          work                                                                                                        •(!)                  Tips
 Calling a contact from your favor-                                                                                                                                             Always read the chapter 9 page 196, Audi
 ites list                                                                                                                                                                      connect (JnfotDinmenO general information.




                                                                                                                                                            171         172.
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                                                                                                           Voice                        Voice

                                                                                                                                                          ··•·••••······· ..   ·······~········
                                                                                                                                                                                                                                            ...................-....
                                                                                                                                         Function                            Say:
                                                                                                                                         Starting route guidance with an ad- Navigate I Navigate to private address I Navigate to business
Requirement: a cell phone with an active MAP                                                                                             dress card open                     address
(Message Access Profile) n1ust be connected to                                                                                           Entering a new destination/stop,                                                               Enter address >enter the desired address when prompted>
the Mtvll c.) poyc• 182.                                                                                                                 over when route guidance is active                                                            confirm the new destination/stopover if prompted
                                                                                                                                          Starting route guidance after enter- Start route guidance
                                                                                                                                          ing a destination
                                                          Read out (Add I Delete (Record everything again I Replace
                                                                                                                                          Canceling current route guidance                                                             Cancel route guidance
                                                          with (XY) I Add recipient f Send
                                                          Read out new text                           I Read out new e-mail
                                                                                                                                        ICalculating alternative routes                                                                Calculate alternative routes
                                                                                                                                                                                                                                      ...................              ········-···"     ··········-····"
                                                                                                                                          Entering a point of interest by se-                                                           Point of interest> Change search area >category or subcate·
                                                          Read out text message I Read out e-mail
                                                                                                                                          lecting a search area with guidance gory when prompted, for example "restaurant"
                                                          Reply                                                                           from the system
                                                          Forward> Add recipient I Insert template I Send                                 Destination input categories                                                                 Audi Service I Train station I Airport I Hotel I Hospital I Park·
                                                          No I meant (XY)
                                                                                                                                         ...................- ...... .................. ............... ........... ·- ..............
                                                                                                                                                                                                                                      I ing I Rest area I Restaurant I Gas station etr.
                                                                                    -Always read the chapter C:• page 196, Atldi          Search areas for entering points of Nearby I Along the route I Near destination I Near stopover I
                                                                                      connect (Jnfotnlnment) general informa-             interest                                                                                      In new ~ity I In a new s<ate/Cour try
 -For more information on supported cell                                              tion.                                               Entering an online destination'                                                               Online destination (XV), for example "Online destination
   phones, visit www.audiusa.comlbluetooth                                                                                                                                                                                             "Lakeview Hotel""
   or contact an authorized Alldi dealer or au-
                                                                                                                                          Correcting dato input                                                                         No I meant (XY)
   thorized Audi Service Facility.
                                                                                                                                          Closing the full-screen command                                                               Close
                                                                                                                                         list
                                                                                                                                        Requirement: you must be in the Navigation or
                                                                                                                                        Map menu. You r.~n say the following commands
Requirement: the Navigation menu must be                                          You can say the following commands for entering
                                                                                                                                        for more settings in Navigation:
open c:> table on poge 171.                                                       a destination depending on the selected menu
                                                                                  Item:                                                  Function                                                          Say:
 Function                             !Say:                                                                                              General map options                                               Map I Day map I Night map I Automatically change map color
                                                                                                                                        ~~~~    .. ~~"''"~~~~""""""""'~v••="m'"""'~~"'~""''""""""-         m'""""""""-..........,_..'"""'""-"~=•·""'"""._'--""""m'"'~~"''""""~~~"""''"''"~~--~·---·-~•



 Opening the list of previous naviga- Last destinations                                                                                  Map type                                                          2.D heading up map 12.D north up map I 3D map I Destination
 tion destinotlons                                                                                                                                                                                         m-~~-LOvervi:_~_ma~J2~nda~~-~~~:.1..9~~gt':. .~~~thr:nap•
 Accessing favorites                                      Navigation favorites                                                           Showing the route list                                            Route list
ISelecting the home addr•~ss                              Home address or Drive home                                                     Showing the remaining distance/
                                                                                                                                         time when route guidance is active
                                                                                                                                                                                                           Destination information
Entering an address with guidonce                         Enter address> follow the system prompts
from the system                                                                                                                          Speed limit prompt                                                How fast can I drive here?
Individual commands for entering a Enter country/state I Enter city I Enter ZIP code I Enter                                             Setting voice guidance for active                                 Voice guidance on I Voice guidance off I Voice guidance short·
destination                        street I Enter house number                                                                           route guidance                                                    :ne~JY.~.to;:,~,~!?~~..O::,:?_':',l,~I~~JY.~Ice guidance traffic
                                                                                                                                        '"'''""'"'~"~~•••••••••""~~·~           "'""'w·~~"""wmoom"""""~"




Making a correction while entering a Correction                                                                                          Blocking a certain section on the                                 Block route for (XY) meterslkllomet~~~~y~--;.ds/miles fBl~~i;'"
destination                                                                                                                              route                                                             next route I Avoid next section of route
Navigating to a contact                                   Drive me to (XY) or Navigate to contact, for example Drive me                                                                                                            ·-Always read the chapter'* pogo 196, Audi
                                                          to "John Smith"
                                                                                                                                         (D       Tips
                                                                                                                                                                                                                                     connect (Infotoinment) general informa-
                                     ····-··--·-·-----···········-·-···-···-·····--··---- .....................................           -Destinations may have to be spelled when
Navigating to a specific address for Navigate to contact (XV) business I private,                                                                                                                                                    tion.
                                                                                                                                            entered, depending on which region you are
a contact                                                 forexample"Navigate to "John Smith" private"
                                                                                                                                            in and which menu language you have se-
Navigating to favorites                                   Navigation favorites> Line (XY) I Line contents> Start route                      lected,
                                           ......................Iguidance wl1en prompted

                                                                                                                                  173   174
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                                                                                                                         Voice                    Voice


                                                                                                                                                    desired command after the external speech di·
                                                                                                                                                    alog begins.
                                                                                                                                                  • Continuing/resuming the dialog: the system
Requirement: the Radio must already be open.                                                You can say the following commands depending            remains ready to use for a short lirne after end-
                                                                                            on the selected frequency band:                         Ing the dialog. You can start a new external dia-
 Function                                                            Say:                                                                           log during this time. Press the 12] button if
                                                                                                                                                    needed, and say a new command. Or: select
Selecting the frequency band                                         FM' I SiriusXM' I FM I AM
·-··-····-··---····-·-·-·--·········-··········--·-·····--····-·····    ······-····-····--··-······--··-····-········-                              and confirm Resume Dn the MMI control panel.
 Selecting a station from the station Channel (XY) I Frequency (XV)                                                                               • Switching off: press and hold the I2J button.
 list                                                                                                                                               Or: select and confirm Cancel on the MMI con·
 Selecting a station from favoriteslll~acliopre>Sets >Line (XY)                                                                                     trot panel.
 presets
Setting the frequency                                            Frequency (XY) I Frequency (XV) HD 1
Correcting data input                                            No l meant (XV)                                                                   -There are no voice guidance' pro111pts when
Closing the futl·screen command                                ·Close                                                                                a dialog Is active.
list                                                                                                                                               -This function depends on the cell phone
                                                                                                                                                     used. You can obtain more information
                                                                                                                                                    from your cell phone service provider or
                                                                                                                                                     from your cell phone user guide.
                                                                                                                                                     AUDI AG simply provides access to control
Requirement: you must be in the Media menu.                                                 You can say the following commands depending             your cell phone with voice operation and
                                                                                            on the active media:                                     does not take any responsibility for the con·
                                                                                                                                                     tents and commands within the external
Function                                                        say:
                                                                                                                                                     voice control.
Selectir1g a source directly                                    Jukebox• I CD I DVD I SD card 1 I SD card 1 I Audi music Inter·
                                                                face' I !Phone' I USB*/ Bluetooth* I WI-Fi' I Medium (XY), for

Selecting audio/video' files in the                             Media favorites I Artists I Albums I Genres I                    I Playllsts I
Jukebox'                                                        Videos
Selecting audio files on an iPod                               IArtists I Albums I Genres I Tracks I Play lists I Composers I
(source: Au eli music Interface')                               Podcasts I Audio books
Navigating within a folder struc·                               Folder up I Line (XV)
ture/list




E:xternal voice operation                                                                  The parking old as well as the Audi voice recogni-
                                                                                           tion system must not be active.
                                                                                            A cell phone must be connected to the MM! with
Requirement:                                                                                the Hands free profile <>page 177.
The ignition and the Mfv11 must be switched on.                                            The cell phone being connected must have voice
                                                                                           control that can be controlled externally,
No phone call is in progress.
                                                                                            ~Switching   on: press and hold the 12] button on
                                                                                              the multifunction steering wheel' and say the t>-

                                                                                                                                         175      176
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                                                                                                                                                                               automatically connect to the MMI when the
                                                      CD     Note
                                                                                                               "'Select and confirm the desired cell phone from
                                                                                                                 the list of displayed Bluetoolh devices.                       Bluetooth function is switched on, they are
Introduction                                           Always follow the information found in co(i) in         • The MMI generates a PIN for the connection                    within range and the ignition is switched on.
                                                       Wi·Fi hotspot on page 195.                                st>tup c;, fig. 176.                                           The last connected cell phone is given first
To make phone calls in your vehicle using t-he                                                                 • Select and confirm Yes,                                        priority.
                                                      @Tips                                                    • Enter the PIN for connecting on your cell                    -Authorizing the MMl connection in your cell
1'1t11, connect your cell phone to the MMI via
8/uetooth.                                             -The Bluetooth connection range is limited                phone. Or: when the PIN is displayed on your                   phone will rnake automatic connection pos-
                                                         to inside the vehicle. ll can also be affected          cell phone, confirm tlw PJN on your cell phone                 sible,
Handsfree                                                by loco! conditions and intetferencewith                and in the HML The time allowed for entering                 -Pay attention to any system prompts dis·
After you have connected your cell phone to the          other devices.                                          the PIN is limited to approximately 30 seconds.                played on your cell phone, for example If
Mfvll via Bluetooth, you can use the handsfree         -·To learn which Blue tooth connections and             • Pay attention to any additional system prompts                 the system should connect automatically in
system and operate telephone functions through           which of the functions in your cell phone are           displayed on your cell phone, for example if the               the future. Depending on the cell phone,
your M~~J. You can make calls using Lhe antenna          supported, check with your cell phone serv-             system should connect automatically in the fu·                 you may also need to download the directo-
on your cell phone,                                      ice provider or the database for mobile devi-           turc. Depending on the cell phone, you may                     ry and confirn1 access to your text messages
                                                         ces at www.audiusa.com/bluetooth.                       have to confirm downloading the directory sep-                 separately.
_&WARNING                                                                                                        arately.                                                     -When leaving the vehicle, the Blue tooth
                                                      Setup                                                                                                                     connection to the cell phone will automati-
 -Medical experts warn that cell phones can                                                                    After connecting successfully
                                                                                                                                                                                cally disconnect. Depending on your cell
   interfere with the function of pacemakers.
                                                                                                               After connecting successfully, a short message                   phone, phone calls in progress may be auto-
   Always maintain a minimum distance of 20
                                                                                                               with information about the connected profiles                    matically redirected from the MMI to your
   centimeters between the cell phone anten-
                                                                                                               will appear. You can also change profiles later.                 cell phone and you can continue the call on
   na and the pacemaker,
                                                                                                               Select: (~1.'.'.'::1.'!.! button~ Settings> left control         your phone.
  -Do not carry the cell phone in a pocket di-                                                                 button> MMI settings> Connection manager                       -You can obtain more Information from your
      rectly over the pacemaker when the phone                                                                 '·'>page 242,                                                    cell phone service provider or from your cell
      Is switched on.
                                                                                                               In addition, the cell phone contacts are automat-                phone user guide. For Information on using
  -Switch the cell phone off immediately if
                                                                                                               ically loaded in the i·~M[ directory. This process               the telephone, visit www.audiusa.com/
      you suspect it may be Interfering with the
                                                                                                               can take several minutes, depending on the num-                  bluetooth or contact an authorized Audi
      pacemaker,
                                                                                                               ber of contacts.                                                 dealer or authorized Audl Service Facility.
   Do not w;e the voice recognition system'
   c:> page 170 in emergencies because your                                                                    You can also make your connected cell phone the
   voice may change in stressful situations. Jt       Requirement                                              default phone by selecting Set as default tele-
   may take longer to dial the number or the                                                                   phone in the Connection manager,.,, page 244.
                                                      The vehicle must be st~tionary and the ignition
   system rnay not be able to dial it at all. Dial                                                                                                                           You can connect two cell phones to the t1t11, for
                                                      must be switched on.
   the emergency number manually.
 -Switch your cell phone off in areas where           The Bluetooth function and visibility of the MMI
                                                                                                                CD       Note                                                example your business cell phone as the prima~y
                                                                                                                                                                             phone and your privote cell phone os the secon-
                                                                                                                 Always follow the Information found in         c.~Q)   in
   there is a risk of an explosion. These loca-       "'page 244 and cell phone must be switched on.                                                                         dary phone. You can be reached in your vehicle
                                                                                                                 Wi-Fi hotspot on page 195.
   tions are not always dearly marked. This                                                                                                                                  through both cell phones.
                                                      The cell phone to be connected must not be con ..
   may include gas stations, fuel and chemical
   storage facilities or transport vehicles, or lo-
                                                      nected to any other Bluetooth device.                     Q        Tips                                                The first connected cell phone is displayed as the
                                                      The   W~I   must not be connected to a cell phone.         -   ~1aking phone calls through the MMl is only             primary phone in the MMI. The second cell phone
   cations where fuel vapors (such as propane
                                                                                                                     possible using the Handsfree Bluetooth pro-             is connected a.s the sewndary phone.
   or gasoline vapor in vehicles orbuildings),
                                                      Connecting a cell phone                                        file.
   chemicals or large quantities of dust partl·                                                                                                                              The directory from the connected primary phone
   cles (such as flour, sawdust or metal) may         • Select: fBifEXI button >Telephone> Connect               -You can apply additional settings to con-                  will alwoys be displayed. lf you would like to use
   be present in the air. This also applies to at!      mobile device> Find new devices> Next. 1 he                nected mobile devices using the Connection                the directory frorn the secondary phone, you
   oth~r locations where you would normally             available Bluetooth devices are shown in the In-           manager c:> page 242,                                     must switch the primary and secondary phone
   turn your vehicle engine off.                        fotainment system display. Or select: IMENUI             -You can also search for the M~~I in your cell              ">page 179.                                          ~

 -The demands of traffic require your full at-          button> Settings> left control button > MMI                phone using the Bluetooth device search.
   tention, Always read the chapter                     settings> Connection manager¢ page 242.            ~     -You only have to pair your device one time.
   c:> page .158, Traffic safety infomwtlon.                                                                       Bluetooth devices that are already paired

                                                                                                    177        178
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Connecting a cell phone as the primary                      secondary phone is automatically connected               ®     E·m<Jil (MyPhone)'/E·mail (seton·                      -Edit phone number before calling: edit a
phone                                                       as the primary phone.                                          dary phone)* . . . . . . . . . . . . . . . . .   184       phone number before dialing it. Select and con-
                                                          -You car\ send and receive messages on your                                                                                 finn OK to edit. Or: press the left control but·
Connect your cell phone to the MMI via Blue·                                                                         The device name for your cell phone is displayed
                                                            primary phone as welt as on your secondary                                                                                ton to rr~turn without editing.
tooth. rhe first connected cell phone is displayed                                                                   in the Telephone menu, for example text mes·
as the Primary phone in the HHI.                            phone o page 179, fig. 177. You do not                                                                                ""Send text message: write a text message to
                                                                                                                     sage (MyPhone) co;fJg. 178.
                                                            need to switch your primary phone and sec·                                                                                the selected contact.
Refer tow page 177, Connecting a cell phone us·             ondary phone for this.                                                                                                - Delete call list: select and confirm if you would
ing B/uetooth.                                            -·You can also make your connected cell                                                                                     like to Delete this entry or Delete all entries.
Connecting a eel! phone as the s<!condary                   phone the default phone by selecting Set as                                                                           -Store as favorite: store the selected contact as
phone                                                       default telephone In the Connection man-                                                                                  a favorite.
                                                            ager o page 244.                                                                                                      -Show contact details: see"·' page 186.
Requirement: a cell phone rnust be connected to
                                                                                                                                                                                  -Connection manager: see CO:• page 242.
the MMl as lhe primary phone.
                                                         Using the telephone                                                                                                      ·- Bluetooth settings: see,,, puge 244,
Select: L~li':.f::J!o!.l button) Telephone> right con·                                                                                                                            -Online settings: seer.~ page 244.
trot button> Connect secondary telephone.                                                                                                                                         ··· Wi-Fi settings: see o page 195, Wi·Fi hotspot.
Refer to "'' poge .177, ConnecUng o cell phone us·                                                                                                                                -Telephone settings: see <7 page 187.
ing Bluetooth.                                                                                                                                                                    Favorites
Example: you have connected your business cell                                                                                                                                    Requirement: a phone number or contact must
phone to the M~~l as the primary phone and your                                                                                                                                   be stored as a favorite'-'' page 182.
private cell phone as the secondary phone. To be
able to call contacts from your private cell phone                                                                                                                                Select and confirm a favorite in the favorites list.
directory, you must switch the primary and sec-                                                                                                                                   Directory
ondary phone, since the directory from the pri·
mary phone is always displayed.                                                                                                                                                   Requirement: you must have at least one contact
                                                                                                                                                                                  stored_in your cell phone.
Switching the primary and secondary phone
                                                                                                                                                                                  Select and confirm a phone number from the di·
Requirement: a primary phone and a secondary                                                                                                                                      rectory >-:>page 185,
                                                                                                                     • Select: I. M.ENU] button> Telephone> left con·
phone must be connected.
                                                                                                                       trol button.                                               Enter number
Switch primary and second. phone: select:
I..MJ'J.~.YJ button> Telephone >right control but-                                                                   Call list                                                    -Entering a phone number as a sequence of
ton > Switch primary and second. phone.                                                                                                                                             numbers: en tor tho number using tho number
                                                                                                                     Requirement: the call list must contain a phone
                                                                                                                                                                                    speller C:· fig. 179.
:ro    Tip$
                                                                                                                     number.
                                                                                                                     Turn the control knob to display the call list.
                                                                                                                                                                                  -Entering the phone number as a sequence of
                                                                                                                                                                                    letters: select and confirm [1:\i'J!:.] above the
 -Please note that only the directory from the           Requirement: a cell phone must be connected to
                                                                                                                     Soled and confirm the desired telephone num·                   number speller. Enter a sequence of letters us·
   primary phone is alw;1ys displayed.                   the MMI ,.;. poge 177.
                                                                                                                     ber from the recent calls list.                                ing the tetter speller, for example AUDTSER·
 -You can see if a cell phone is connected as
   the primary phone or secondary phone in               • Select: IMENU I button > Telephone > left con·                                                                           VICE.
                                                                                                                     Call list symbols '"'fig, 180:                               -Dialing a phone number: select and confirm If'.
   the Connection managerS> page 242. Or:                  trot button.
                                                                                                                     (!) tvJissed calls                                             Or: push the control knob down. Select and
   the device name of the connected primary              The following phone functions are available
   phone is shown in the Telephone menu
                                                                                                                     ® Dialed numbers                                               confirm OK.
                                                         '~fig. 177/'-:>fig. 178:
   (such as MyPhone).                                                                                                ® Accepted calls                                             -Deleting individual characters: select and con·
                                                         (D Call list .... , ..... , ... , , .. , , . .      180                                                                    firm <Rl.
   If the primary phone does not connect auto·                                                                       Select: a contact from the list> right control but-
   matically to the MMI when the ignition is             @ Presets .. , ...... , . . . . . . . . . . . .     182                                                                  -Deleting all characters entered at once: turn
                                                                                                                     ton.
   switched on, for example because It is out            ®    Directory ...... , . . . . . . . . . . . . .   185
                                                                                                                                                                                    the control knob with the character selection to
                                                                                                                     -Call: call the selected contact.                              <Rl and press and hold the control knob. Or: se·
   of the vehicle range or the Bluetonth func·           @ Enter m1mber . , , .. , , .. , ....• ,            180       Connect secondary telephone/Switch primary
   tion is switched off, then a previously paired
                                                                                                                     ·.w
                                                                                                                                                                                    lect the right control button > Clear Input field<
                                                         ®   Text message (HyPhone)'/Text                              and second. phone": see c>page 179.
                                                             message (secondary phone)' , .. ,               182 p

                                                                                                             179     180
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                                                         and answer the incoming coil. If you select De·               automatically redirected from the MMI to            -Select and confirm Save.
                                                         cline, the incorninfJ call will be declined.                  your cell plione and you Gln conlinue the
                                                                                                                                                                           Renaming stored favorites
                                                       -Accepting an incoming call when there Is an ac·                call on your phone.
-Accepting a call: select and confirm Answer.
                                                         live call and a call on hold: select Replace. The            -The display of an incoming phone call in the        --Select: Favorites >a favorite from tbe list.
 ····Declining a call: select ~nd confirm Decline.
                                                         active call is replaced with the incoming call.                Infotainment system display moy still be           -Select the right control button > Rename fa-
-Muting the active call: select and confirm                                                                            visible for a few seconds after a call is an·         vorite.
                                                       -Muting the incoming call: select and confirm
     Mute.                                               Mute.                                                         swered/ignored depending on lhe cell
.... Ending a phone call/cancel dlaUng: select and                                                                                                                         Moving stored             favorit~s
                                                       -Additional call: select: Find contact > Call list/              phone in use.
     confirm End call.                                                                                                                                                     - Select: Favorites > a favorite (rom t/Je list.
                                                         Directory/Favorites> an entry from the list.
Caller information: the name, plwne number or                                                                                                                              -Select the right control button > Move favorite.
                                                       Mute: if you select and confirm this function, the
Unknown appe<Jrs in the Infotainment 5ystern                                                                                                                               -Select and confirm the location of the selected
                                                       other person on the phone cannot he~r you. You
display depending on if the caller has been stored                                                                                                                           preset.
                                                       can hear the other person. To turn the micro-                • Select: [f'i.[f@~(J\ button> Telephone> left con·
in the directory and if the phone number has
                                                       phone back on, select and confirm Unmute.                      trol button> Enter number> Enter emergency           Deleting a stored favorite
been transmitted. A pictwe may also be dis·
                                                       Hold tall/Resume held c~ll: you con ploce the ex·              call number (for example, 911) > OK.                 -Select: Favorites > a favorite from t/1e list.
played, depending on whether you have assigned
a picture to a contact in your directory and if it     isting call on hold and resume it again. Tore·                                                                      -Select the right control button > Delete favor•
was transferred to your MMI. You can find out if       sume the call, select and confirm the call you                      WARNING                                           itc > Delete this favorite or Delete all favor·
your cell phone supports this function from your       would like to resume.                                         -Because your phone works with radio sig·               ites.
cell phone network provider, your cell phone           Transfer call to mobile device•: select and con·                nals, a connection cannot be guaranteed un-
owner's m<Jnual or at www.audiusa.com/blue·            firm Transfer call to mobile device to transfer                der all circumstances. Do not rely on only           Messages
tooth.                                                 the existing call from the MMI to your cell phone.             your phone when il: comes to essential corn·
                                                                                                                       munication (such as a medical emergency).           llllll!l!!!.IX
 (D    lips                                            Switch to hands-free mode*: Requirement: you                  -Always follow the instructions given by the          l\ppliec; lo: ;,:ell phor10s wH·h Dh(:;t,Qoth H<.!S:.i<lf;E.tl\c<:.~'J~ PJc.f'lk
                                                                                                                                                                           (.fvJ}\P}
                                                       must have a phone call in progress on your cell                 emergency personnel during an emergency
 -The radio or media playback is muted during
  a phone call.                                        phone, Select and confirm Switch to hands-free                  call and only end the call when they instruct       Depending on the cell phone being t~sed and the
                                                       mode to transfer the call from your cell phone                 you Lo do so.                                        cell phone network contract, you can receive and
 -Missed calls are displayed with a symbol in
                                                       back to the Mfvll.                                                                                                  send text messages using the 1>1/11!.
  the status line of the Infotainment system
  display®"' page 167, fig. 174.                       Swap call: alternate between two phone calls                 (D    Tips
                                                                                                                                                                           Requirement
                                                       while one of the calls is on hold. Selecting End               Emergency numbers are not the same every-
                                                       call will end the active phone call. A phone call on           where. Find out which emergency number is            A cell phone must be connected to the MMI via
                                                       hold can be resumed using the right control but-               used in your current location.                       Bluetooth MAP (Message Access Profile)
                                                       ton > Resume.                                                                                                       <?page 177.
Requirement: there must be a call in progress.
                                                       Connection manager: sec c; page 242.                         Favorites                                              >Select: [Mff{Q] button> Telephone> left con-
~End    call: you can end a phone call.                                                                                                                                     trol button >Text message (MyPhone)/Text
• Send tone sequence: you can enter tone se·           Telephone settings: see ""page 187.                                                                                  message (secondary phone)•,
                                                                                                                    Up to 50 contacts, in addition to the voicenwil
  quences (DTMF) directly using the number
                                                             Tips                                                   number, can be stored in any order in the favor-       Write new text message
  speller and send to the other person on the                                                                       ites lis('.
  call.                                                 -To be notified of an incorning call during a                                                                      Select and confirm Write new text message.
• Other call options: press the right control bLit·       phone call, the call waiting function in your             • Select: rE§f.fQJ button >Telephone> left con-
                                                                                                                                                                           -Using a template: select and confirm tho de·
  ton.                                                    cell phone must be switched on when using                   trol button.                                           sired template from the list.
                                                          the Handsfree profile.
The following options are possible during a call                                                                    Storing an existing phone number as a                  -Writing your own text'; select and confirm Do
                                                        -You can obtain more information from your
depending on the cell phone being used and the                                                                      favorite:                                                not use template. Enter text using the MMl
                                                          cell phone service provider or from your cell
type of connection:                                                                                                                                                          touch control p.1d• or the letter speller.
                                                          phone user guide.                                         ... Select and confirm Call list/Directory.
                                                                                                                                                                           -Enter one or more recipients .
-Answering an additional call: if there is an in·       -When leaving the vehicle, the Bluetooth                    ... Select a contact or phone number frorn the list.
                                                                                                                                                                           -·Select and wnfirm Send.                      I>
  corning call while another call is active, you can     connection to the cell phone will automat!·                -Select: right control button> Store as favorite.
  select Answer to put the existing call on hold         cally disconnect. Depending on your cell                   -Enter a narne for the favorite or select a sug·
                                                          phone, phone calls in progress moy be               II>       gestlon.

                                                                                                     181            182
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In box                                                -Create a text message.                                                                                  or contact an authorized Audl dealer or au·
Displays all received text messages.                  -Select and confirm Store as template,                                                                    lhorlzed Audi Service Facility.
                                                                                                                                                              -To ensure that your sent e-m ails are re-
Sent                                                  Resume last text message
                                                                                                         Depending on the type of cell phone being used,        ceived, connect yollf cell phone to the Wi·Fi
Displays all sent text messages,                      The last edited text message can be resumed.       you can receive and send e-mails through the           hotspot' in the vehicle so that thee-moil
                                                                                                         1'1/'11.                                               app on your cell phone continues to have In·
Outbox                                                Reply•
                                                                                                                                                                ternet access. If' you are still not receiving e·
                                                      A reply can be sent for the selected message in    Requirement: a cell phone rnust be connected to        t11alls even though you have a successful
Displays all text mcsgagcs to be sent.
                                                      tt1e In box.                                       the MMI via Bluetooth MAP (~1essagc Access Pro·       connection, then contact your e·mail service
Drafts                                                                                                   file) L> page 177. You can find out in your celt       provider or your cell phone service provider.
                                                      Forward                                            phone owner's manual if your cell phone sup·
Displays all te.xt messages that have not yet been
                                                      The selected text message can be f{)rwarded to a   ports this function.
sent and stored text messages.
                                                      different recipient.                               .. Select: [fl~EQJ button > Telephone > left con·
W Tips                                                Send again*                                           trol button > E,mail (MyPhone)/E-mail (secon·
  - Please note that you may have to activate                                                               dary phone)•.                                    >-Select: /MENU/ button >Telephone> left con-
                                                      The selected text message can be resent.
    the receiving and sending of text messages                                                                                                                 tr()l button> E-mail (MyPhonc)/E-mail (secon-
                                                                                                         Write new e·rnail
    In your cell phone depending on the S!M           Delete this text message•                                                                                dary phone)• > Inbox/Sent/Outbox >right
    card being used (for example, when using a                                                           Select and confirm Write new e-maiL                   control button.
                                                      Tile selected text message can be deleted,
    Multi·SIML You can obtain more informa·                                                              -Using a template: select ond confirm the de-       The following options may be available dep•~nd·
    tion from your cell phone service provider or     Read out1)                                           sin•d template from the list.                     ing on the selected menu.
    from your cell phone user guide.                                                                     -Writing your own text': select and confirm Do
                                                      You can have the 1'1Ml read an open text rnes·
    For more information on supported cell                                                                 not use template. Enter text using the Mi'1T      Store as template
                                                      sage.
    phones, visit www.audiusa.com/bluetooth                                                                touch control pad• or th~ l"ttor spdler.          Ten e-mail templates are stored in the MML You
    or contact an <Wlhorized Audi dealer or au·       Text messaging settings•                           -Enter one or more recipients.                      can save up to ten additional templates,
    thorized Audi Service Facility,                                                                      -Select and confirm Send.
                                                      To display when a new text message is received,
  -You need a cell phone with ~4essage Access                                                                                                                -Create an e-mail.
                                                      activote the Text message notifications. New
    Profile that also supports the sending func-                                                         In box                                              -Select and confirm Store as template.
                                                      text messages are Indicated with «n envelop" !8l
    tion to be able to send text n1essages                                                               All received e·mails are displayed.
                                                      in the Infotainment system display status line.                                                        Resume last edited e-mail
    through the MML
                                                      Connection manager                                 Sent                                                The last e-mail in progress con be resumed,

                                                      Refer to<> page 242.                               All sent e·rnails ore displayed.                    Reply*

                                                      Wi·FI settings                                     Outbox                                              A reply can be sent for the selected e•moil in the
                                                                                                                                                             In box.
• Select: ITillJ button > left control button >text   Refer to   q   page 195,                           All e-m ails that will be sent are displayed.
  messoge (MyPhone)/toxt message (secondary                                                                                                                  Reply to all*
                                                      Telephone settings                                 Drafts
  phone)• > lnbox/Sent/Outbox >right control
                                                                                                                                                             A reply can be sent for the S<~l,•cted e-mail in the
  button.                                             Refer to"" page 187.                               All saved e·mails that have not been sent yet are
                                                                                                                                                             In box and it will be sentto all of the entered re-
                                                                                                         displayed,
The following options may be available depend·
                                                      W     Tips
                                                                                                                                                             cipients.
ing on the selected rnenu.
                                                       Messages that are deleted in the MMI are also
                                                                                                         Q)       Note                                       Forward
Storing a text message as a template                   deleted in the cell phone automaticolly.           Always follow the Information found in<> (i) in
                                                                                                                                                             The selected e-mail can be forwarded to a differ·
                                                                                                          Wi-Fi hotspot on page 1.95.                        ent recipient.
Ten text message ten1plates are stored in the
MI~L You can save up to ten additional tem-
plates.
                                                                                                         W Tips                                              Delete this message·•
                                                                                                          - For more information on supported cell           The selected e-mail can be deleted.
                                                                                                            phones, visit www.audiusa.com/bluetooth

U Not c:w"'Hahte in ilH languages.


                                                                                                   183   184
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Read out 1l                                           Directory                                                       authorized Audi dealer or authorized Audi
                                                                                                                      Service Facility.
You can have the MMI read an open e·mail.
                                                                                                                    -The directory from the cell phone that is ac-           Yov con show contact details depending on the
E·mailsettlngs•                                                                                                       tively connected will always be displayed.             \tehic/e equipment.
To display when a new e-mail is received, activate    After connecting the cell phone, the contacts in              -The contacts from the cell phone may not
                                                      it ore outomoticolly imported into the NMI.                     be transferred in alphabetical order. If there
the E-mail notifications. New e-m ails are indicat-
                                                                                                                      are too many entries, contacts with differ-
ed with an envelope t8l In the Infotainment sys-
                                                                                                                      ent first letters may be missing In the MMI.
tem display status line.
                                                                                                                    -The contacts in the local MMI memory are
Connection manager                                                                                                    always visible and can be accessed by other
Refer to c> page 242.                                                                                                 users.

Wi·Fi settings
                                                                                                                                                                              Fig. lBl :Showing contact deta!\S.
Refer to"'' page 195.
                                                                                                                   • Select: Lt:.l.I:'CNY.I button > Telephone > left con-   • Select: IMENU! button> Telephone> left con-
Telephone settings
                                                                                                                     trol button > Directoty.                                  trol button.
Refer lo ••:•poge 187.                                Requirement: you must have at least one contact                                                                        • Select and con finn Directory> a contact from
                                                                                                                   • To limit the search, enter the initials of the wn-
                                                      stored in your cell phone.                                                                                               the directory.
                                                                                                                     tact being searched with each initial separated
(D     Tips
                                                      • Select: l.tts.tJ.Id.l button >Telephone> left con-           by a space in the input field. Enter additional         • Select: right control button> Show contact de·
   Messages that are deleted in the MMI are             trol button> Directory.                                      letters if necessory.                                     tails.
   also automatically deleted in the connected                                                                     • Select and confirm a contactfrom the directo-
                                                      .... Calling a contact: select and confirm a contact                                                                   -Calling: select and confirm the desired tele-
   cell phone.                                                                                                       ry. The phone numbers for the selected contact
                                                           from the directory. The phone numbers for the                                                                       phone number.
 - Ym1 cannot read any messages while driv-                                                                          are displayed.
                                                           selected contact are displayed. To make the                                                                       -Navigating: to start navigation, select and con-
   ing.                                                                                                            ~To make the call, select and confirm a phone
                                                           cal.l, select and confirm a phone number.                                                                           firm the desired address. Select and confirm
                                                                                                                     number.                                                   Start route guidance.
                                                      -Free text search for a contact: see<.> poge 166.
Listening to voicemail
                                                      Contacts arc displayed in alphabetical order and             (I)    Tips                                               Press the right control button to open additional
                                                                                                                                                                             options for the contact details.
                                                      can be sorted by first or last name c;, page 188,             -You can scroll through long lists quickly by
• Select: IJ~H':'@Q] button >Telephone> left con-
                                                      Sort order.                                                     turning the control knob quickly. The scroll-          Add destination
  trol button. Select and confirm Call list/Direc-
  tory/Favorites > Volcemail.                         The directory can be opened through the Tele-                   ing speed depends on the number of list en-
                                                                                                                                                                             To start navigation, select and confirm the de-
                                                      phone menu as well as through the Navigation'                   tries.                                                 sired address. Select and confirm Start route
-Entering the volcemall number: enter the de-                                                                       -Additional information on free text searches
                                                      menu.                                                                                                                  guidance.
  sired number. Select and confirm OK.                                                                                can be found under o page 166.
-Dialing the voicemail number: select and con-        (!}    Tips                                                                                                            Store as favorite
 firm Volcemall.
                                                       -Additional information on free text searches                                                                         Refer to <o page 182, Favorites.
                                                         can be found under") page 166.
(D     Tips                                                                                                                                                                  Send text message*
                                                       -Check for a possible request to synchronize
 -This service must be set up and activated in           on your cell phone. Requests to synchronize                                                                         You can send a text message"' page 182 to the
   advance by the cell phone service provider.           the directory must be confirmed so that                                                                             selected contact.
  You can obtain more information from your              your cell phone contacts can be loaded Into
   cell phone service provider.                                                                                                                                              Delete contact
                                                         the ~1M!.
 -The voicemail number depends on the cell             -·The contact display In lhe MMI depends on                                                                           The selected contact can be deleted.
   phone service provider.                               the cell phone used. For more information
                                                         on supported cell phones, visit                                                                                      (!}    Tips
                                                         www.audlusa.com/bluetooth or contact an             1>-                                                               -Contacts edited In the MMI directory cannot
                                                                                                                                                                                 be automatically updated In the connected       lb-

ll t;ot av.il•bleln oil languages.

                                                                                                       185         186
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              cell phone. Audi recommends editing cell                                                       -A maximum of 1,000 contacts can be im·                    using the Ringtone function. Select and confirm     Memory capacity
              phone contacts directly in the cell phone.                                                       ported. You can check the directory memory               an entry from the list. For the Ring tone volume/   Shows the Memory capacity for the directory.
            -Only the contacts in the local MMI memory                                                         capacity at any time "''page 188.                        Message volume settings, see"' page 246. The
              can be edited or deleted.                                                                      -Never save important data an memory cards                 Microphone Input level c01n be odjusted during il   You can manage up to 17,000 contacts with the
                                                                                                               or USB storage devices. Audils not responsl·             phone callusing the control knob.                   directory. You wnload up to 4,000 contacts
                                                                                                               ble for damaged or lost files and media.                                                                     from your cell phone into each directory. You can
                                                                                                             -Contacts that were downloaded from a cell                  (D      Tips                                       also import up to 1,000 contacts from a storage
                                                                                                               pho11e cannot be exported.                                                                                   device.
         Contacts in vCard format(. vcf) can be imported
                                                                                                                                                                          -Several cell phones can be paired to the
                                                                                                             -There should be no other tiles or folders on                  MMI, but only two cell phones can be active·    Sort order
         into the directory or exported.
                                                                                                               the storage medium containing the contacts                   ly connected.
                                                                                                               to be imported.                                                                                              You can sort the contacts in your directory alp ira·
         Requirement: an SO card must be inserted in one                                                                                                                  -To delete all paired Bluetooth devices, the
                                                                                                                                                                                                                            betically according to Last name or First name.
         of the SO card readers• "'page 223, a USB stor·                                                                                                                    Bluetooth function can be reset to the fac·
         age device must be connected to the Audi music                                                     Additional settings                                             tory default settings c; page 242.              Import contacts/Export contacts
         interface* c;> page 228, or the requirements for
                                                                                                                                                                                                                            Refer to'~ page 187.
         Audi connect Infotainment services' must be
         met •.:, page 190.                                                                                                     telephone
                                                                                                                                                                                                                            Download directory
                                                                                                            ~Select: lf;lt'NU] button> Telephone> right   con·          • Select: IMENU I button> Telephone> right con·
         ~Select: [f;f[o}:i_Q] button >Telephone> left con-                                                                                                                                                                 To update the contacts in the MMI. you can man-
                                                                                                             trol button >Telephone settings.                             trol blltton.
            trol button > Directory.                                                                                                                                                                                        ually download your cell phone contacts. De-
         .. Select: right control button> Directory set-                                                    Call options•                                               Connection manager                                  pending on the cell phone, the Bluetooth connec·
            tings.                                                                                                                                                                                                          tion may need to be disconnected and reconnect·
                                                                                                            Call forwarding: you can switch the forwarding              Refer to c; poge 242.
                                                                                                                                                                                                                            ed to update the contacts.
         -Importing contacts from a storage device: se-                                                     of incoming calls to your voicemail or to another           Bluetooth settings*
             lect and confirm Import contacts> SO card 1/                                                   phone number on and off. You can check if the                                                                   Hide contacts without phone number
             SO card 2 or USB device 1/USB device 2 > de·                                                   function is activated or deactivated with Check             Refer to"-~ page 244.
                                                                                                                                                                                                                            When this function is switched onli21, contacts
             sired contacts> Start Import.                                                                  status.                                                     Online settings•                                    that do not have any numbers assigned to the111
         ... Exporting contacts to a storage device: selecl                                                                                                                                                                 will be grayed out in the directory.
                                                                                                            Call waiting: you are alerted to an incoming call           Refer to "''page 244.
             and confirm Export contacts> SD card 1/SD
                                                                                                            during a phone call when the function is switched
             card 2 or USB device lfUSB device 2 > cfesired                                                                                                             Wi-Fi settings•
                                                                                                            on RL You can check if the function is activated
             contacts> Start export.
                                                                                                            or deactivated with Check status.                           Refer to cc> page 195, Wi·Fi hotspot.
         -Selecting all contacts at once to import/ex·
             port: select and confirm Import contacts/Ex·                                                   Send own telephone number: sending your
             port contacts> SD card 1/SD card 2 or USB de·                                                  phone number with an outgoing call can be acti-
             vice 1/USB device 2 >All> Start import/Start                                                   vated and deactivated. With the Network-de·                 AppliP.t. to;
             export.                                                                                        pendent setting, the setting listed In th<l con·
                                                                                                                                                                        • Select: I t>'IENUI button >Telephone> left con·
                                                                                                            tract with the cell phone service provider Is used.
                                                                                                                                                                          trol button> Directory> right control button>
          (D         Tips                                                                                   The settings only apply to the Telephone menu In
                                                                                                                                                                          Directory settings.
           -Always read the chapter"·> page 196, Audi                                                       the MM!. Please note that the settings on your
             connect (Infotainment) general informa·                                                        cell phone will apply after disconnecting the
             tion.                                                                                          Blue tooth connection. You can check if the func·
           -For additional information on the myAudi                                                        tion is activated or deactivated with Check sta·
             account, vlsit www.audiusa.com/myaudi.                                                         tus.
           -The Imported contacts are stored in the lo·                                                     Ringtone and volume settings 1 l
             cal memory of the directory.
                                                                                                            Using the Mute telephone function, you can
                                                                                                            switch the ringtone playback through the MMI
:::"'                                                                                                       speaker on and off. You can ploy the ringtones        t>-
"':::;
rl
0        ··--¥----··----··-------------··---···--·------"··-····----------········--··----"""""""""''""""
fo"'     U OepBnds on thf: connected cell phon~,

                                                                                                                                                          187           188
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                                                                                                          Audl connect (Infotainment)

                                                                                                          Audi connect                                          - Read this chapter before operating
Troubleshooting                                                                                                                                                   c:> page 196, Audi connect (Infotainment)
                                                                                                          (Infotainment)                                          general information.
Problem                           Solution                                                                Introduction
Pairing the cell phone to the MHI Check if the requirements for pairing a cell phone have been met                                                             Configuration through
fail.ed.                          C:•page 177.                                                            With Audi connect Infotainment services, online      myAudi
                                  Or: check if you accidentally declined the pairing setup PIN on         information is transmitted directly to the vehicle
                                  your cell phone. If necessary, repeat the pairing process               and then integrated.
                                  ¢page 177.
After pairing, not all contacts/no Avoid using special characters in names.                               ,8. WARNING                                          Some Audi connect Infotainment services must
contacts are loaded in the MML      Avoid using contact groups on your cell phone.                                                                             be configmed through your personal myAudi ac-
                                                                                                           To reduce the risk of an accident, only use
Certain telephone functions are The telephor functions depend on the cell phone service provider                                                               count before using them for the first time.
                                                                                                           Audi connect Infotainment services when
grayed out or not available.        and the cell phone you are using. You can obtain more inforn1a·        road and traffic conditions permit. Always          -If you do not have your own myAudi account,
                                    tion from your cell phone service provider, in your cell phone user    read and follow the notes in •) page 158,             register online at www.audlusa.com/myaudl.
                                    guide or in the database for mobile devices at www.audlusa.wm/         Traffic safety information.                         -Add your vehicle to your myAudl account.
                                    bluetooth.                                                                                                                 -Activate/configure the Audi connect (Infotain·
Some telephone functions are        On corporate phones, son1e Bluetooth settings may not be con1-        Setup                                                  ment) services you would like for your vehicle in
switched off or not available, even patlble or the eel( phone Bluctooth function may be deactivated.                                                             your myAudi account.
though the cell phone is support" You can obtain more information from your system administrator.                                                              -For some Audi connect Infotainment services,
ed.                                                                                                                                                              you may also have to enter your myAudi user
                                                                                                                                                                 data or your myAudi PIN when Jccessing serv-
                                                                                                          The data connection for Audi connect Infotain-         ices in the i'1MI to connect your vehicle to
                                                                                                          ment services is rna de through an embedded SlM        rnyAudi.
                                                                                                          card (eSIM card) that is equipped in the vehicle.    For more information on configuration, go to
                                                                                                          The following requirements must be met to use        www.audlusa.com/rnyaudi.
                                                                                                          the embedded SlM card:
                                                                                                          -You have already registered at
                                                                                                            www.audiusa.com/myaudi and assigned ave-
                                                                                                            hicle.                                             To use s·ama Audi connect Infotaintnent services
                                                                                                          -You have also already logged in to your myAudi      (such as Twitter'), you must first connect your
                                                                                                            account under Audi connect plan for the em·        vehicle to myAudi to transfer your persona/set-
                                                                                                            bedded S!fvl card and accepted the terms of use    tings {rom your myAudi account.
                                                                                                            given there. For additional informotion, conh1ct
                                                                                                            an authorized Audi dealer or authorized Audi
                                                                                                            Service Facility.
                                                                                                          Then your Audi connect Infotainment services are
                                                                                                          activated and can be used in your vehicle.

                                                                                                           (j)   Tips
                                                                                                            -After the free subscription has ended or the
                                                                                                                                                                Fig. 183 Logying into myAudl
                                                                                                             data volume has been used up, data packets
                                                                                                             can be purchased for the use of Audi con·
                                                                                                                                                               • Select: p;:;E'.NUI button> Audi connect> right
                                                                                                             nect Infotainment services. You can find ad-
                                                                                                                                                                 control button> log in.
                                                                                                             ditional information i!bout fees and pur-
                                                                                                                                                               > Enter your myAudi user data. Or: enter your
                                                                                                              chasing at www.audiusa.com/myaudi.
                                                                                                                                                                 eight·dlgit myAudi PIN.                             ~




                                                                                                   189     190
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                                                                      Audi connect (Infotainment)                Audl connect (Infotainment)

• Confirm your entry with OK.                           basic functions are in the corresponding options         time and return to the home screen cc> page 191,
                                                        rnenu:                                                   fig. 184.
Then you can open your personal settings from
your ITl)'Audi account in your vehicle.                 ~   Select: [E\}!'JTQJ button > Audi connect > desired                                                          Information on events in various categories in
                                                            Audi connect Infotainment service> right con·                                                               the desired search area.
·w     rips                                                 trol button.
                                                                                                                 Information on parking locations and fees in the
                                                                                                                                                                        • Select City Events> left control button > wl:c>·
 You can receive your myAudi PIN if you have            Depending on the Audi connect Infotainment                                                                        gory.
 set up a myAudi account. For additional in for"                                                                 selected search area (for example Nearby).
                                                        service selected, the following basic functions are
 mation, see my.audiusa.com.                            available:                                               >Select and confirm Parking Information.

                                                        Save as preview•                                         You can use the right control button to sort the
Opening Audi connect                                                                                             parking locations By distance or By availability.      You can check the current headlines of your fa-
(Infotainment)                                          You can save every Audi connect Infotainment
                                                                                                                                                                        vorite publications in the MML
                                                        service as a preview and display it on the Audi
                                                        connect (lnfotainment) home screen Q)                                                                           Requirement: your myAudi account must be sub·
                                                                                                                 App!l~";S   to;                  conn~;"r:t
                                                        ~>page 191, fig. 184.                                                                                           scribed to newsfeeds and your vehicle must be
                                                                                                                 Information on attractions in the selected search      connected to myAudi <>page 190.
                                                        Show on map
                                                                                                                 area.                                                  >-Select: Online news> desired news feed> a
                                                        You can show selected contents on the map and
                                                                                                                 ,.. Select and confirm an attraction to display the     headline.
                                                        use them for route guidance.
                                                                                                                     details.
                                                        log In                                                                                                          (D    Tip~
                                                        Refer to c.' page 190, Lagging into myAudi in the                                                                 If you have not subscribed to any personal
                                                        vehicle.                                                                                                          newsfeeds in your myAudi account, pre-con-
• Select: the [fi~EQJ button > Audi connect.                                                                                                                              figured news feeds will be displayed.
                                                        Read outll                                               Information on gas stations with the lowest fuel
•lf necessary, confirm the note displayed with                                                                   prices for your vehicle in the selected search area.
  Accept.                                               You can allow the MMI to read out the selected
                                                        contents.                                                ~Select           and confirm Fuel prices.
A list of all of the available Audi connect lnfotain·
                                                        Calling*                                                 You can use the right control button to sort the       You can access the most important functions in
ment services is shown in the Infotainment sys·
                                                                                                                 fuel prices By price or By distance.                   your Twitter account through your MMJ.
tern display¢ fig. 184.                                 If a phone number was assigned to an entry, you
You can also filter the Audi connect Infotainment       can call the number, for exampl~ to reserve tick·                                                               Requirement:
services by category:                                   ets.
                                                                                                                                                                        You must have connected your myAudi account
• Select: [ij:fffQ] button > Audl connect > left                                                                                                                        with Twitter. You can find additional information
                                                        Start route guidance
  control button> for example, Navigation for                                                                    Information on current weather conditions as           online at www.audiusa,com/myaudl.
  the Audi connect Infotainment services in the         If a city was added to an entry, such as for City
                                                                                                                 well as weather forecasts for the selected search
  navigation rnenu •.·:;page 193.                       Events, you can use it as a n(]vigation   destina~                                                              You must have connected your vehicle with
                                                                                                                 area,
                                                        tion. Route guidance starts immediately.                                                                        rnyAudi '*page 190.
                                                                                                                 ~Select           and confirm Weather.
Audi connect                                            Change search area                                                                                              • Select Twitter> left control button> desired
Infotainment services                                   The set search area can be changed at any time,
                                                                                                                 You can also display the current weather condi-          function (for example, Trends).
                                                                                                                 tions on tho rnap, for example.
                                                        Additional information on search areas can be                                                                   The following categories can be selected in the
                                                                                                                 .. Select: left control button> an en tty.
                                                        found under c.~ page 203.                                                                                       Twitter n1enu:
If available, functions specific to cert<Jin services   Closing Audi connect Infotainment services                                                                      -My tweets: News Feed and the Tweets you have
are in ti1e selection menu of that particular Audi      Regardless of the function selected, you can                                                                      posted are listed.
connect Infotainment service<> page 160. The            close an Audi connect Infotainment service at any 1>-                                                           -Home: the Tweets for everyone you follow are
                                                                                                                 Information on flights and current arrivalldepar·
                                                                                                                                                                          displayed.
                                                                                                                 ture times in the selected search are<l.
                                                                                                                                                                        -Trends: topics on Twitter that are currently
                                                                                                                 ,. Select and confirm Flight information.                popular within a country.                          1>-
u Not ovaHohh'! in   ~n langu~ges.


                                                                                                         191      192
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                                                                    Audi connect (Infotainment)                         Audl connect (Infotainment)

Different functions are available depending on
the Twitter category you have selected:
                                                      • Press the left control button to change the cat-
                                                        egory (such as bars nearby).
                                                                                                                        Q     Tips                                            Q)     Note
                                                                                                                         -For the map update Audi connect Infotain·            Always follow the Information found in c:>('i) in
-New tweet: you can post a new tweet using
  pre-made templates or using myAudi tem-             I&     WARNING
                                                                                                                           ment service via SD card, check the current
                                                                                                                           software version in your vehicle and then
                                                                                                                                                                               Wi-Fi hotspot on page 195.

  plates that you have created yourself.               -It is only safe to use tablets, laptops, rna-                      check my.audlusa.com to see if a newer ver-        G)     Tips
- Refresh: the selected Twitter function is re-         bile devices and other similar devices when                        sion is available, You ciln also have the new       -Also see the chapter"'.> page 196, Au<i/ con-
  freshed.                                              the vehicle is stationary because, like all                        navigation data installed by an Audi dealer,           nect (In{otolnment) general information.
--Favorite: mark a Tweet as favorite to show you        loose objects, they could be thrown around                        which can be done for an additional charge.          -For more Information on the Wi-Fi audio
  liked it.                                             the inside of the vehicle in a crash ond cause                   -You can find additional information about              player and supported devices, contact an
- Retweet: you can quote a Tweet to share it with       serious injuries . Store these types of devices
                                                                                                                           the map update online at                             authorized Audi dealer or authorized Audi
  others.                                               securely while driving.                                           www.audiusa.com/myaudi.                               Service Facility.
                                                       -Do not use any wireless devices on the front
Q     Tips                                              seats within range of the air bags while driv-
                                                        ing. Also read the warnings in the chapter
 -Other settings such as account, language,                                                                                                      connect
                                                         "'->page 271, Front airbags.
   Tweet security and location settings cannot
   be changed in the MfVII. These changes must                                                                          • Select: [0~.fLLJ.1 button > Audi connect> left      • Select: l.f:::l.f".I:'JLIJ button > Audi connect> right
   be made on the Twitter website.
                                                      'G)    Tips                                                         control button> Communication.                        control button.
 -You can only connect one Twitter account             -Units of measurement, language settings                         The following Audi connect Infotainment services      The following options are available in the Audi
   with your myAudl account.                            and time are shown in the Infotainment sys-                     are currently available:                              connect Infotainment services overview:
 - Audi connect (Infotainment) makes it possi-          tern display bosed on how they were set in
   ble to access Twitter. Pern1anent avallabilily       the system settings eo page 241.                                -·Storing contacts on your computer using your        Log in•
   cannot be guaranteed, because that de-                                                                                 myAudi Account and loading the contacts into
                                                                                                                          the MIVII directory "'.>page 187.                   Refer to c.' page 190, Logging into myAudi in the
   pends on Twitter.                                                                                                                                                          vehicle.

                                                                                                                                                                              Connection manager
                                                      • Select: l.f:::I.E:.i'I.Y.J button > Audi connect> left                                                                Refer to"' page 242.
You can use the Audi MMI connect app to store           control button> Navigation,
                                                                                                                                                                              License subscription
points of interest on your mobile device (such as
                                                      The following Audi connect Infotainment services                  ,.. Select: [Mt'NUJinJtton > Audl connect> right      The validity and expiration date of your licenses
a snwrtp/wne) and Uwn use them for route
                                                      are currently available:                                              control button > Entertainment.                   are displayed. When the function is switched on
guidance In the MMI.
                                                      -Navigation with online map view and Street                       -· Wi-Fi audio player: you con access the media       Gi'i. the message Warning before subscription
Requirement:                                            View">poge212.                                                                                                        expires will display to warn you that your license
                                                                                                                           center through a Wi-Fi connected media player
The Audi MMI connect app must be installed and        -Point of Interest (POll online search with                          (such as a smartphone) "'->page 226.               is about to expire.
open on your mobile device.                             voice recognition (such as restaurants): plan                      On line rnedla and Internet radio: offers access   Refresh
                                                        route guidance using the fVII'-11 control panel                    to different online media services and opera-
You rnust be logged into your rnyAudi account in       "'page 203 and the voice recognition system                                                                            The content of the selected Audi connect Info-
                                                                                                                           tion through the fVIMI using the Audi MMI con•
the Audi MMI connect app and you must have se-          ,,, page 170.                                                                                                         tainment service or the entire Audi connect (Info-
                                                                                                                           nect app.
lected your vehicle.                                  -Set up destinations in your lvlMI using your                                                                           tainment) list is updated.
The Wi-Fi function on your mobile device and on        myAudi account or online map view                                      WARNING
the MMI must be switched on.                           C:•page 212.                                                      It Is only safe to use tablets, laptops, mobile
                                                      -Online traffic Information: receive up-to-the-                    devices and other similar devices when the ve-
The MMI must be connected to the network.
                                                        nlinute traffic information about accidents,                     hicle is stotionary because, like all loose ob-
"Press: E1~f{(j] button > Audi connect > left con-     road construction and other incidents                             jects, they could be thrown around the inside
 trol button > Information category> Travel.            ..,:•page215.
                                                                                                                         of the vehicle in a crash and cause serious in-
After opening the travel guide, travel tips In your   -Map update: import navigation map updates                         juries. Store these types of devices securely
area will be displayed including current ratings as    directly to your vehicle using an SD card or as                   while driving.
well as the corresponding category.                    an online update'·'' page 2.13.                             I*


                                                                                                             193        194
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                                                                   Audi connect (Infotainment)                    Audi connect (Infotainment)


Wi-Fi hotspot                                         CD    Note
                                                                                                                  Audi connect (MMl)
                                                                                                                  With the Audi connect (MMIJ function, you can
                                                                                                                                                                       - Audi connect Infotainment services are only
                                                                                                                                                                         available within the cell phone network cov·
                                                       -Under some conditions, certain mobile devi·                                                                      erage from your cell phone service provider.
\'ou can use th~ MMI as a Wi·Fi hotspot to con·                                                                   Allow or Deny the use of Audi connect Infotain·
                                                         ces and operating systems may automat!·                                                                       - Audi connect Infotainment services are
nect up to eight Wi-Fi devices to the Internet.                                                                   rnent services if the connection is set Lo No re·
                                                         cally switch from your vehicle's Wi·Fi hot-                                                                     available in the USA. Audi connect lnfotain·
While driving, restricted use ofunsewred, light,                                                                  quest or With request.
                                                        spot to the device's mobile data connection.                                                                     ment services are currently not available in
smoll wireless devices is only possible from the         In that event, standard text and data usage              Wi·Fi devices•                                         Canada or in Mexico.
rear of the vehicle.                                     rates would upply white the device's mobile
                                                                                                                  Using the Wi·Fi devices function, you can Allow      -Also read the information in the chapter
                                                         data connection is in use. Please refer to                                                                      <c.> page 177, Telepflone.
Requirement: the ignition rnust be switch eel on.                                                                 or Deny a connection to the Internet.
                                                         documentation provided by your mobile dec                                                                     -Availability, scope, providers, screen display
,. Select: IHE·i~UJ button >Telephone > right con-       vice's manufacture and your data carrier for
                                                                                                                        WARNING                                          and costs of set'vices may vary depending on
   trol button> Wi·Fi settings.                          details, related terms and privacy state-                                                                       the country, model, n1odel year, end device
                                                         ment.                                                     -As the driver, do not allow usage of the Wi-
The following settings can be modified:                                                                                                                                  and rates, Additional information can be
                                                       -You are responsible for all precautions tak·                  Fi hotspot to distract you from driving, as
                                                                                                                                                                         found under www.audiusa.com/audicon·
Wi-Fi                                                    en for data protection, anti-virus protection                this could increase the risk of an accident.
                                                                                                                                                                         nect
                                                         and protection against loss of data on mo·                 . It is only safe to use tablets, laptops, mo·
The Mtvll Wi·Fi hotspot is deactivated at the f.;c·                                                                                                                    -An initial registration/activation on the
                                                         bile devices that are used to access the In·                 bile devices and other similar devices when
tory, Switch the Wi-Fi hotspot to Hotspot before                                                                      the vehicle is stationary because, like all        myAudi platform at www.audiusa.com/
                                                         ternet through the Wi·Fi hotspot.                                                                               myaudl is required to use individual serv·
establishing a connection between your vehicle                                                                        loose objects., they could be thrown around
and your Wi·Fi device,                                                                                                                                                   ices. You can contact an authorized Audi
                                                      Q)    Tips                                                      the inside of the vehicle in a crash and cause
                                                                                                                                                                         dealer or.Audi connect (Infotainment) cus·
-On: the MMI Wi·Fi hotspot is active and visible                                                                      serious injuries. Store these types of devices
                                                       •• In vehicles without Audi connect (lnfotain·                                                                    tamer service at (877) SOS·AUDI (2834) to
 to other devices. You can connect your Wi·Fi                                                                         securely while driving.
                                                          ment)*, the use of the Wi·Fi hotspot is only                                                                   receive information on options for expand·
 device with the MMI.                                                                                              -Do not use any wireless devices on tl1e front
                                                          possible for the Wi·Fi audio player•. A data                                                                   ing your usage and any costs that may re·
-Off: the ~1M! Wi·Fi hotspot is deactivated. An                                                                       seats within range of the airbags while driv·
                                                          connection to the Internet cannot be estab·                                                                    sult.
 Internet connection for Wi-Fi devices is not             lished,                                                     in g. Also read the warnings in the chapter
                                                                                                                                                                       -The Audi connect Infotainment services are
 possible,                                                                                                            •.; page 271., Front airbags.
                                                       -For additional information about the Audi                                                                        a Wi-FI/Internet·based system. Ifthe sys·
                                                          connect Infotainment services, visit                                                                           tem does not function correctly even
        WARNING                                           www.audlusa.com/audlconnect.                            Audi connect                                           though all ofthe requirements are met,
  To reduce the risk of an accident, use the                                                                      (Infotainment) general                                  please try again later or contact Audi con·
  Audi connectlnfotainmentsenilces with a             Configuring the data                                        information                                             nect (Infotainment) customer service at
  WI-FI hotspot only in the rear seat when the                                                                                                                            (877) 505-AUOI (2834),
  vehicle is in motion, or only when the vehi-
                                                      connection
                                                                                                                                                                       - For det<>iled information on Audi connect
  cle is station<Jry.                                                                                                                                                     (Infotainment) and the Terms of Use, refer
 -lt is only safe to usc tablets, laptops, mo·        The data connection for Audi connect Infotain-
                                                                                                                                                                          to www.audiusa.com/audlconnett.
  bile devices and other similar devices when         ment services is pre-configured at tile factory.            {I)   Tips
  the vehicle is stationary because, like all         However, if a configural'/on should be necessary,
                                                                                                                   -You can only use services supported by Audi
  loose objects, they could be thrown around          you can adjust tile following settings.
                                                                                                                     connect (Infotainment) if you have the op·
   the inside of the vehicle in a crash and cause                                                                    tlonal MMI Navigation plus equipment with
                                                      ~Select: !EE;I;j.QJ button > ri·~ht control button >
  serious injuries. Store these types of devices
  securely while driving.
                                                        Connection manager.                                          MMI touch' and Audi connect (Jnfotain·
                                                                                                                     ment).
                                                                                                                                                                       ·\D   Tips
                                                      • Select: right control button> Online settings>                                                                  -Your privacy is important to us,
 -Do not use any wireless devices on the front          Data connection settings.                                  -Use of the LTE* mobile network standard is
  seats within range of the airbags while driv·                                                                                                                         - AUOI AG collects, processes, shares and
                                                                                                                     not available in every country. Contact an
  ing. Also read the warnings in the chapter          Using the Data connection settings menu, you                                                                        transmits your personal Information In ac·
                                                                                                                     authoriz.ed Audi dealer or authorized Au di
  <:• page 271, Front airbags.                        can set when an Internet connection should be                                                                       cordance with legal regulations in order to
                                                                                                                     Service Facility or your cell phone service
 -As the driver, do not allow usage of the WI·        made. The Internet connection disconnects auto·                                                                     ensure proper function and availability of
                                                                                                                     provider for additional information.
   Fi hotspot to distract you from driving, as        matically once the requested Audi connect Info·                                                                     the individual Audi connect Infotainment
                                                                                                                   -Usage of Audi connect Infotainment serv·
  this could increase the risk of an accident.        tainment service no longer requires any data.                                                                       services .. You can view the complete, current
                                                                                                                     ices depends on the availability of services
                                                                                                                                                                          and valid Audi connect (Infotainment) data
                                                      The following options can be selected:                 r>      through third party providers.
                                                                                                                                                                          protection policy in your MML The myAudi         ~


                                                                                                      195         195
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                                                                                                                                                  Audi connect (Infotainment)                        Audl connect e-tron services


    platform is available for to you to activate                                                                      Your personal content Is not stored within                                     Audi connect e-tron                                                 Trip data
    additlonalAudi connect Infotainment serv-                                                                         Audi AG. The necessary connection infonna-                                     services
    ices and to transfer data to your vehicle,                                                                        tion is processed and used for providing
                                                                                                                                                                                                                                                                         The Driver Information System collects data un-
    among other services. A one-time registra-                                                                        services <lnd the proper function of the serv-                                 Introduction
    tion is required to establish a connection to                                                                     ices in accordance with applicable legal                                                                                                           der certain conditions and sends it to a server.
    your vehicle. For this purpose, AUDI AG col-                                                                      guidelines.                                                                                                                                        When data is stored, you can access values such
                                                                                                                                                                                                     With Audi connect e-tron services 1>, you can ac·
    lects, processes, transmits and uses your re-                                                                   -·You can find additional information in your                                                                                                        as these using the service:
                                                                                                                                                                                                     cess various inTom1<1tion or control individual
    quired personal information as required for                                                                       MM[ in the options menu for the selected
                                                                                                                                                                                                     functions remotely using mobile devices (such as                    -driving duration,
    you to use the services provided by AUOI                                                                          Audl connect Infotainment service and also
                                                                                                                                                                                                     a smartphone) or a web portal.                                      - nverage speed driven,
    AG. Your information is not distributed to                                                                        online at www.audlusa.com/audiconnect.
    third parties. Using your cell phone with                                                                                                                                                        .... Trip data c:·poge 198.                                         -distance driven,
                                                                                                                    -By providing Audi connect Infotainment
    your myAudi platform allows you to trans-                                                                         services, Audi of America is authorized to                                                                                                         -average electric consumption.
                                                                                                                                                                                                     ··• Doors and lights ''~page 198.
    mit data for your Audi connect Infotain-                                                                          collect, process, transmit and transfer infor-                                 -Vehicle status report..; page 199.                                 For additional information on th~ Driver lnfonna-
    ment services functions to your vehicle and                                                                       mation about you and your vehicle. Addi-                                       -Car Finder"' poge 199.                                             tlon System, refer to c!> page 17, Driver informa-
    you can allow specific vehicle data to be                                                                         tional information can also be found in your                                   -Charging c-o page 199.                                             tion system.
    transmitted from your vehicle.                                                                                    MMI in the options menu for the selected                                       -Climate control <7 page 199.
  - By activating special information services                                                                        Audi connect Infotainment service.                                                                                                                 Doors and lights
    that are part of your Audi connect (Infotain-                                                                   -Information on our data protection meas-                                                  WARNING
    ment) portfolio, you can use these functions                                                                      ures in conjunction with the mobile Audi                                            o. read and follow the instructions regard-
    directly in your vehicle by entering data to                                                                      connect (Infotainment) application can be                                                                                                          You can access and display the current status of
                                                                                                                                                                                                            traffic safety •'> page 1S8.
    confirm your identity (to use social net-                                                                         found in the application's privacy policy. For                                      .                                                              the following vehicle data on your mobile devices
    works, for example). To do this, the identifi-                                                                    additional information about the                                                                                                                   without having to be inside the vehicl.e.
    cation Information you provided is forward·                                                                       www.audiusa.com/myaudl website or oth-                                         Setup
                                                                                                                                                                                                                                                                         - tfthe vehicle doors and lids are open/dosed,
    ed with the request to the respective service                                                                     er applications, websites or online services                                                                                                       -Parking lights are on/off.
    provider. Then you can access your personal                                                                       connected to Audi, visit www.audlusa.com/                                      To use Audi connect e-tron services ll, please
    content using a secure connection. This con·                                                                      privacy.                                                                                                                                           For additional information on opening ;md clos-
                                                                                                                                                                                                     note the following:
    tent Is displ<lyed In the vehicle for your use.                                                                                                                                                                                                                      ing the doors or for the vehicle lighting, refer to
                                                                                                                                                                                                     Requirements                                                        '""page 34, Opening and closing or to <7 page 51,
Troubleshooting                                                                                                                                                                                      -An authorized Audi dealer must complete a
                                                                                                                                                                                                                                                                         Exterior lighting.
                                                                                                                                                                                                       one-time activation of Audi connect e-tron serv-
                                                                                                                                                                                                                                                                               Tips
                                                                                                                                                                                                       ices for your vehicle before you can register on·
  Problem                                                           Solution                                                                                                                           line.                                                              -If the high-voltage battery is not charged,
  Audi connect Infotainment serv·                                   Some Audi connect Infotainment services must be activated/con-                                                                   -Then register at etron.audlusa.com. You can                          the amount of access requests is limited to
  ices: individual Audi connect Info·                               figured t11rough your personal myAudi accotJnt before using                                                                        use and man<>ge the Audi connect e-tron serv-                       15 after switching off the Ignition. This
  tainment services are grayed out or                               them for the first time. You can find detailed information online                                                                  ices there.                                                          helps conserve the 12 volt vehicle battery.
  not available,                                                    at www.audiusa.com/myaudi                                                                                                        -If you require assistance with the Audi connect                      You cannot control functions or access in-
....................  ····················---··-··----······-··-·
           ~---·-.·---------··----                                     ......................................- .............................................................................
 WI·Fi hotspot: it is not possible to                               Delete all e>:isting Wi-Fi connections on your mobile device and                                                                  e-tron services, you can call customer service at                    formation if the charge level of the 12 volt
  connect throuejh Wi-Fi.                                           restart it.                                                                                                                        (844) 573·8766.                                                     vehicle battery Is too low.                         I*
                                                                                                                                                                                                     -Your mobile devices must be compatible.


                                                                                                                                                                                                     H The mobile network service ls offer!C'd by a service prov!d~
                                                                                                                                                                                                        er. You can obtain   mor~     Information. about your mobHe.
                                                                                                                                                                                                        11etwork provider from an 11uthorized Attdi d('i:tler or by
                                                                                                                                                                                                        catting (()77) 505,.2834. Conlit:dcd devi(C!.i an~ not ot~
                                                                                                                                                                                                        ways 4G~compatible. The nva!tabllity of n high·speed net~
                                                                                                                                                                                                        '<'lnrk may b~ redu(ed during peak u5age or by your loca~
                                                                                                                                                                                                         Uon, lh~ n1a~pUon, and othrr f<Ktms. Nl~tv,•otk wvr.ragtl
                                                                                                                                                                                                        ~.:annot   be guaranteed everywhere. For mor~ inforrnaUon
                                                                                                                                                                                                        on. mobite coveruge,   Se('   the ,1\udi connect overview from
                                                                                                                                                                                                        yaur   mabit~   network provlder.

                                                                                                                                                                                               197   198
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                                                                   Audi connect e-tron services


 -!fat least two minutes have passed after              -If the vehicle is moved and shut off again         Navigation                                                 -The route calculated by the navigation sys·
   the last time the ignition was switched off,          using the second key, for example, the new                                                                     tern is a remmmendation for reaching your
  you can reset the access counter back to "0"           parking location is transmitted to the server      Opening navigation                                          destination, Obey traffic lights, stopping re·
   as needed after switching the Ignition on/            after switching the ignition off.                                                                               strlctions, one-way streets, lane change re·
   off again.                                                                                               The navigation system directs you to yovr desti·            strictions, etc.
                                                      Charging                                              notion, around traffic incidents and on alterna-
Vehicle status report                                                                                       tive routes, if desired.                                  <D    Note
                                                      You can control and access tho high-voltage bat·                                                                 -If the driving directions conflict with traffic
You can access various vehicle statuses using the     tery charging process remotely using these serv·                                                                   laws, obey the traffic laws.
servlces, such as:                                    ices. You have the following options:                                                                              To reduce the risk of an accident, adjust the
                                                                                                                                                                        volume of the navigation systen1 so that sig·
-high-voltage battery charge level,                   -check the battery charge level,                                                                                   nals from outside the vehicle, such oS police
-electric range,                                      - start/~nd the charging process,                                                                                  and fire sirens, <;on be heard easily at all
-mileage,                                             -program the charging timer with/without cli-                                                                      times,
-next inspection.                                       mate control,
For additional information, see c:. page 97, r'ower
                                                      - deactivate/a<;tivate the ~;harglng timer.            Fig. 185 Oiagrmn: h1ter dt>stlnaUon menu                 (D    Tips
meter ovetview and C:> page 99, Range display.        For oddltionallnforn1ation, see c:> page 108,                                                                    -Snow ancl obstructions on the GP5 antenna
                                                                                                            ,.. Press the [86,YZEf6EJ button.
                                                      Charging the battery with the Audi e·tron charg·                                                                   or interference caused by trees and large
£i. WARNING                                           ing system.                                           The Enter destination menu is displayed after                buildings can impoir satellite reception and
 Do not Ignore messages ond Worning or indi·                                                                opening navigation. If available, the following in·          affect the system's ability to determine the
 cator lights that turn on in the vehicle be·          & WARNING                                            formation can be displayed in the Infotainment               vehicle position. Several deadivated or mal-
 cause of the information in the status report.         Only perform charging functions on the              system disploy:                                              functioning satellites can also interrupt GPS
 This could lead to break downs in on the road,         voltage batlery if the vehicle is shut off cor·                                                                  reception and affect the system's ability to
                                                                                                            CD Input field for free text search . . .          200
                                                                                                                                                                         determine the vehicle position.
 accidents and serious Injuries.                        rectly, is connected to a suitable socket and
                                                        the ignition is switched off.
                                                                                                            C:V Home address .... , , .. , . . . . . . .       202     - Because street names sometimes change,
                                                                                                            Q) Last destinations . , , ......... , .           2.01      the names stored in the MMI may in rare
Car Finder
                                                                                                            @ Stored favorites . . . . . . . . . . . . . . .   202       cases differ from the actual street name.
                                                      Temperature controL
                                                                                                            If you have connected a cell phone to the MMI,
The vehicle collects data under certain conditions                                                                                                                    Entering a destination
                                                                                                            your directory contacts will also be listed if they
and sends it to a server.                             You can control the climate control in your vehi-
                                                                                                            have navigation data assigned to them.
                                                      cle remotely using these services;
When datiJ is stored, you can access values such
                                                                                                            The Favorites 0) "~fig. 185 menu item as well as
as these using the   servl~;e:                        --start/end climate control,
                                                                                                            the directory/contacts are only shown in the En·          With the free text search, you can enter the navi·
-Vehicle location display,                            -program the timer,                                   ter destination menu if you have entered one or
                                                      .... deactivate/activate the timer.                                                                             gation destination doto all at once in any order
-Display of one's own location,                                                                             more characters uslnq the input field.                    using the fl1f\1I touch control pod' or the letter/
··Route to your vehicle.                              For additional informalion, see c:. page 118, Cli-    Switching between destination entry and the               number speller !for example, 20 Elm Street, Chi·
                                                      mate control.                                         map:                                                      cago), Likewise, you can search for points of in-
If your mobile device also has a navigation func·
tion, you con navigate to your last known parking                                                                                                                     terest, contacts, previous destinations or favor-
                                                             WARNING                                        -- Press the l'i~'I<;V7fJJA'fil button repeatedly until   ites to navigote to the desired address.
location.                                                                                                      the map is displayed. Or: select the left control
                                                       Only perform the dim ate control functions if
                                                                                                               button > Switch to map.                                Press the [Fii\v/MAP] button repeatedly until the
                                                       your vehicle was shut off correctly and the lg·
                                                                                                                                                                      Enter destination menu is displayed c:. page 200,
                                                       nition is switched off.
 -The new parking location cannot be deter-                                                                        WARNING                                            fig. 185.
   mined with this service if the vehicle is                                                                 -The demands of traffic require your full at-
  moved after shutting the vehicle off and                                                                                                                            • Push the contml knob tip. The input field is dis-
                                                                                                               tention. Always read the chapter                         played CDc:> page 200, fig. 185.
  without switching the Ignition on and off                                                                   "'poge 247, Driving so{ely.
  again, for example when being towed or if                                                                  -Obey all traffic laws when driving.                     -Enter one or more seorch terms into the input
   the vehicle is stolen.                                                                                                                                              ficld.                                               •

                                                                                                      199   200
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-If available, confirm the input suggestion• to         -Select and confirm one of the last destinations
  complete the entry or a word suggestion'. Re-           from the list.
  fer to L:• page 165, Letter/number speller.           -Select and confirm Start route guidance.
-Turn the control knob to the right to change                                                                  You wn quickly and easily start route guidance          You can navigate directly to destinations in the
                                                        Deleting last destinations
  the results list.                                                                                            to your home oddress usin9 tlw home address             directoty.
-Select and confirm a destination from there-           -Select and confirm one of the last destinations       function. Favorites allow easier access to fre-
  sults list.                                             frorn the list.                                      quently used destinations.
-Select and confirm Start route guidance.                 Select: right control button> Delete destina-
                                                          tion> Delete this last destination or Delete all     • Press the [NAV/MAPI button repeatedly until
The route displays as an overview in the map.                                                                    the Enter destination menu is displayed
                                                          last destinations.
Route guidance is olready active ..                                                                              "~page 200, fig. 185.
                                                        The sele<:ted destination or all last destinations
Narrowing the search area                               is/are deleted and no longer displayed in the E.n·     Setting a home address as the destination
All countries/states are selected at the factory        ter dcstinati<m menu.                                  Requirement: a home address must be stored
for the free text search.                                                                                                                                               Fly. 186 Possible diructQt y/contach
                                                                                                               r:>page207.
-Select the right control button >Country/state                                                                Your Home address is shown directly in the Enter        Requirement: an address with navigation data or
  selection in the input field (l) c.:> page 200,                                                              destination menu®";' page 200, fig. ]85.                a navigation destination must already be as-
  fig. 185.                                             As an alternative to free text search, you canal-                                                              signed to a contact"' page 207, Directory con·
-Select the country or state (@1) that should be        so enter an addres·s in stages.                        ·-Select: the home address> Start route gu!d·
                                                                                                                                                                       torts.
  senrched using the free text search in order to                                                               a nee.

  narrow the number of results and increase the         • Press the li{ii:VT0E£iJ button repeatedly until                                                              ,. f'ress the ['N'/\\1/~fAP[ button repeatedly until
                                                          the Enter destination menu is displayed              Setting a favorite as the destination                      the Enter destination menu is displayed
  search speed. The selected entry in the coun-
                                                          ,., page 200, fig. 185.                              Requirement: "favorite must be ,;to red as a des-          ">pogo 200, fig. 185.
  try/stote selection is stored.
                                                        • Select: left control button > Enter address.         tination"'> page 207.                                   • Select: left control button > Directory > a con·
      Tips                                                                                                                                                               tact.
                                                        -Entering a destination using a country/state:         - Enl<•r at least the first three letters of the de-
 -The NMI input suggestions depend on the                 select and confirm Country. Select and confirm         sired favorite in the free text search input field.   The directory/contacts are shmvn in alphabetical
   lost navigated destinations.                           a country/state directly from the list. Or:            The favorites found are shown in the lnfotain-        order and Me marked with symbols to lndicote
 -Up to 50 entries can be stored in the last              search for <1 country/stote using tiw input field.     ment system dlspby@ "-'page 200, fig. 185.            the storage location:
   destinations list,                                     Entering a destination using the City/ZIP            -Select and confirm the desired entry.
                                                                                                                                                                       (j) Business address
 -Additional information on free text searches            code: select and confirm City/ZIP code. Enter a      -Select and confirm Start route guidance.
                                                                                                                                                                       (~)   Private address
   can be found under ceo page 166,                       city or a ZIP code. Or: select and confirm a dty
                                                          from the list.                                       @      Tips                                             @ Business destination
                                                        -Entering a destination using a street !ntersec·        -Additional settings for the home address              @ Private destination
                                                          tion•: seled and confirm Intersection. Select           can be f(lund under •o;> poge 207.                   ·-Select and confirm iJn address or a de.stinotion,
                                                          and confirm a street directly from the list. Or:      ~Additional settings for the favorites can be            When you have selected a destination, the
Your last destinations are automatically stored
                                                          search for a street using the input field.              found under r.:> page 207.                             route guidance can be started directly.
and can be loaded directly as a destination.
                                                        --Select and confirm additional details about the                                                              -Check the address input again when selecting
Requirement: a destination was already navigat-           destination such as Street, House number or                                                                    an address.
ed to.                                                    Downtown.                                                                                                    -Then select and confirm Start route guidame.
                                                        -·Select ond confirm Start route guidance.
~Press the [f.i(iSfZB~:EJ button repeatedly until                                                                                                                      Additional directory fl!nctions in the navigation
  the Enter destination menu is displayed                                                                                                                              system can be found under c.:> page207,
  ">page 200, fig. 185.

Your last destination is listed directly in the Enter
                                                                                                                                                                        {D       Tips
destination menu under the horne address and                                                                                                                             -Addresses that have been imported frorn
identified with the symbol@") page 200,                                                                                                                                   your cell phone into the MMI can also be
fig. 185.                                                                                                                                                                  used as a destination.                             lb



                                                                                                       201     202
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       -If a contact Is grayed out in the directory,        points of interest in Jny city regardless of the ac-         -Searching for online destinations in a specific        -Additional information can be found under
         this contact has neither a destination nor an      tive route guidance or the vehicle position.                   category: select and confirm Select category.           www.audiusa.com/audlconnect.
         address assigned to them.                                                                                         Select and confirm a category, such as Restau·
                                                            -Search for a point of interest name in these·
                                                                                                                           rants.
                                                              lected search area: enter the name of the point
                                                              of interest.                                               Find which search areas are <WJilable under
                                                            -Searching for a point of interest in a specific             "~page 203, Point of interest search.
                                                              category: select Select tategory. Select and               You can search for online destinations using the       • Press the l.Nto'!!.i'1f'.F.:] button repeotedly until
                                                              confirm a category, such as Restaurants.                                                                            the Enter destination menu is displayed
                                                                                                                         voice recognition system<? table on page 173,
                                                                                                                                                                                  c:· page 200, fig. 1135,
                                                            (D    Tips                                                   @     Tips                                             • Select: left control button> Geographkal coor-
                                                             -Distances to points of interest are displayed                                                                       dinates.
                                                                                                                          Always read the chapter'·'' page 196, Audi
                                                               as a stralght·line distance from your current              (ofJnect (In(otoinment) genero{ information,          -Select Latitude/longitude.
                                                               location. The actual distance from your cur·
                                                                                                                                                                                -Press the control knob to setti1e individual val·
                                                               rent location to the point of interest is up·
                                                                                                                                                                                     ues.
                                                               dated automatically. The list offound
                                                                                                                                                                                .... Turn the control knob to the left/right to
                                                               points of interest is not resorted when this
      • Press the [8/S"ZZI{Z\..£] button repeatedly until                                                                                                                            change the selected value.
                                                               hilppens.
        the Enter destination menu is displayed                                                                                                                                 -Select and confirm Start route guidance.
                                                             -There may be entries in the list that cannot
        <?page 200, fig. 185,                                                                                            Import individual destinations from your myAudi
                                                               be displayed completely due to their length.
      • Select: left control button > Points of interest.                                                                account into the MMT.
                                                              If you select these list entries using the con·
      -Changing the searth area: select and confirm            trol knob, detailed Information aboutthe                  Requirement:
        Search area and then a search area from the           selected list entry will be shown automati·                                                                       )'au con enter an additional destination when
                                                                                                                         The requirements for Audi connect (Infotain-
        list.                                                  cally after several seconds.                                                                                     route guidance is active.
                                                                                                                         ment) must be met c..'r)(rg<' 190.
      The following search categories are available:
                                                                                                                         You must have il registered rnyAudi account at
      Nearby: points of interest can be selected from                                                                    my.audiusa.com. You must have a vehicle as·
      diHerent categories, The points of interest are                                                                    signed to your myAudi account and you must
      listed starting from the in1mediate vicinity of the                                                                have stored one or more destinations.
      vehicle up to a radius of approximately 124           You wn search for points of interest on t'he In-             ~Press the [N'Av7t:1A'PI button repeatedly until
      miles (2.00 km),                                      ternet.                                                        the Enter destination menu is displayed
      Along the route: points of interest along the         Requirement: The requirements for Audi connect                 ¢page 200, fig. 185,
      route can only be selected during active route                                                                     • Select: left control button > myAudl contacts.        Fig. 188   Ex<Hr~plt!: <1LUYt<   route guldanc.e with stopover
                                                            (Infotainment) must be met<? page 190.
      guidance. The points of interest are located di-                                                                   • If necessary, enter your myAudi user data or
      rectly along or in the immediate vicinity of the      • Press the l!'l!':Y!.i'1AP] button repeatedly until           your myAudi PIN '">page }90, The contacts            Requirement: route guidance must already be ac·
      calculated route.                                       the Enter destination menu is displayed                      stored in myAudi are displayed.                      tive.
                                                              c:• page 200, fig. 185.                                                                                           ~Press the [NAWMAPj button repeatedly until
      Near destination/Near stopover: points of inter·      • Select: left control button > Online search. The           -Select and confirm a contact,
      est near tl destirwtion or <J stopover can only be
                                                                                                                                                                                  the Enter destination nwnu Is displayed
                                                              search area last set is displayed In the input             .... Select and confirm a private or business desti·
      selected during active route guidance. The points                                                                                                                             page 200, fig ..185.
                                                                                                                                                                                  C:•
                                                              field.                                                          nation.
      of interest can likewise be selected from various                                                                  -Select and confirm Start route guidance.              Entering a destination as a stopover
      categories. For example, you can search for a ho·     -Changing the search area: select: right control
                                                                                                                                                                                -Enter a destination in the input line.
      tel or pMking lot at the destination.                   button> Select search area,                                 m·nps                                                   e.;> page 200.
                                                            -Searching for online destinations in these·
      In new city: select a country/state or search in a                                                                  -You only need to enter the myAudi usN data           -Select and confirm a destination from there·
                                                              lected search area: enter a new city/state if
      new city. Enter the name of the desired city,                                                                         one time.                                             sults list,
                                                              necessary. Enter the search term, such as hoteL
~     Points of interest can be selected from various                                                                     -You can receive your myAudi PIN if you have          -Select and confirm Add as stopover.                              b>
                                                              Press the control knob. Select and confirrn an
~     categories, This function allows you to search for                                                                    set up a myAudi account.
.-<                                                           online destination from the list.                    1>-
0
N
&;

                                                                                                           203           204
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Deleting a stopover                                     Show location on map: Requirement: you must             Personal route                                        MMI monitors the traffic conditionsforyour per-
                                                        have selected a destination from the results list.                                                            sonal routes and shows possible traffic incidents
-Push the control knob up. Free text search and                                                                 assistance
  active route guidance are displayed.                  The destination entered is displayed on the map.                                                              for the possible routes to be driven in the lnfo-
-Select and confirm D¢lete stopover®                                                                                                                                  tainment system display® cl- fig. 189.
                                                        Parking at this location'·: Requirement: you            Your MMican leamyour frequenUydriven routes
  <9fig.188,                                            tnust have selected a destination from there-           and, depending on the current vehicle position,       A message will be displayed if there is a large
-The stopover is deleted.                               sults list. All parking options near the selected       suggest route guidance !for example, your daily       traffic incident (more than 12 n1inute delay) re-
                                                        location are displayed In the Infotainment sys-         commute to work and back).                            gardless of which menu is selected'"' fig. 190.
                                                        tem.                                                                                                          Select and confirm one of the following options:
                                                        Delete: the selected entry is deleted. You can d<c-                                                           -Start route guidance: the MMI starts the route
Requirement: route guidance must be active.             lctc individual entries or all entries (for example,                                                            guidance for the personal route displayed and
                                                        favorites or last destinations).                                                                                searches for a faster route if available.
~Press the [N7\viMAP] button repeatedly until
                                                                                                                                                                      ·-Ignore this route and this mess3ge: the dis-
   the Enter destination menu is displayed              Audi con nett at this location•: R.,quircmcnt: you
                                                                                                                                                                        played destination with all applicable personal
   r.o page 200, fig. 185.                              must have selected a destination from there-
                                                                                                                                                                        routes Is no longer factored into the current
• Turn the control knob to the left until the active    sults list. Allows you to search for items in the vi-
                                                                                                                                                                        trip. No more messages are shown for the dis-
   route guidance is shown"~ page 204, fig. 188.        cinity of the selected location, such as Travel in·
                                                                                                                                                                        played destination. The displayed destination
,. Select and confirm Cancel route guidance Q)          formation.
                                                                                                                                                                        with all applicable personal routes will be filc-
   ~~page 204, fig. 188. The destination is delet-      Online traffic data•: the online traffic infonna·                                                               tored into the trip again only after stopping the
   ed. Or: select the right control button> Cancel      tion qpage 215 can be switched on or off.                                                                       vehicle and switching the ignition on again.
   route guidance.
                                                        Add destination to contact: sec"> page 207.                                                                   -Ignore all messages: all personal routes are no
                                                                                                                                                                        longerfactorecl into the current trip. No more
                                                        Store as favorite: see"" page 207.                                                                              messages are displayed. Messages for personal
                                                        Voice guidance: see"'' page 209.                                                                                routes when there is increased traffic will ap-
                                                                                                                                                                        pear again after the Vehicle is stopped and the
                                                        Navigation settings: see   •c.;, page 208.
Depending on the selected function, the follow·                                                                                                                         Ignition is switched on again.
ing additional options may be available when en·
                                                        .(D   Tips                                              ~Press  the INAV7Mii.fi] button ropeat~dly until      As soon as you switch off personal route assis-
tering a destination:                                                                                                                                                 tance, the symbol in the status line turns off and
                                                         Information on online traffic data' can also             the Enter destination menu is displayed
~Press   the right control button.                                                                                0page 200, flg.l85.                                 your trips arc no longer recorded. Trips that were
                                                         be found online at www.audiusa.com/h¢lp/
                                                         audi•connect.                                          > Select: right control button> Personal route        already stored remain stored.
Cancel route guidance: Requirement: route guid·
                                                                                                                  assistance.                                         Deleting personal routes:
a nee must be active. Route guidance is canceled.
For additional information, see"' page 205.                                                                     When the function is switched on~' the lv\Ml re·      ····.Select the desired personal route in the Enter
Country information: you can display the appli-                                                                 cords the frequently-driven routes regardless of          destination menu Q) r.~ fig. 189.
cable urban and rural speed limits for nny coun-                                                                whether a destination wos entered and reached         -Select: right control button > Delete destina-
try/state. If this function is activated, the infor-                                                            or not.                                                   tion,
mation will be automatically shown to you In the                                                                As long as route guidance is not active, your per·    Deleting all personal routes:
route information (j) "''pogo 209, fig. 193 when                                                                sonal routes are listed In the Enter destination
the speed limit is exceeded "'>page 212.                                                                                                                              -Select: [B..~H.Ql button> Settings> left control
                                                                                                                menu under the home address and indicated with
                                                                                                                                                                        button > MM!settings > Factory settings.
Country/state selection: select a country/state                                                                 the symbol f<t Q) c:' fig. 189. When personal
                                                                                                                                                                      ·-Select: Navigation and online memory> R~·
(~)that should be used in the free text search,                                                                 route assistance is switched on, this symbol is
                                                                                                                                                                        store factory settings "~page 242.
for example··~ page 201, Or ~elect all countries/                                                               displayed in the Navigation menu and in the lnfo-
states.                                                                                                         tainment system display status line at the same
                                                                                                                tiTne.
Route criteria: see   C:> page   209, Route criteria.                                                                                                                  -Personal routes are learned based on the ve-
                                                                                                                The distance to the destination and the calculat·        hicle position, The route is prioritized ac-
                                                                                                                ed arrival time are also displayed for your person-      cording to how frequently you drive to a
                                                                                                                al route.s. Witho\lt starting route guidance, your       destination.                                       tJ>o




                                                                                                       205      206
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 -A maximum of three personal routes are               Favorites                                                   Alternative routes                                        Additional settings
   displayed In the Enter destination menu.
   Based on the current vehicle position, the
   traffic situation for the route that is rnost       • Press the !E£-A.:\i/.f.0J:\F>:J button repeatedly until
   likely to be driven out of the three routes           the Enter destination menu is displayed
                                                                                                                                                                             • Press the l.!:i.6Y!l::1!'.E] button repeatedly until
   will always be monitored.                             ";.page 200, fig. 185.
                                                                                                                                                                               the Enter destination menu is displayed
 ~·Please note that personal routes that have                                                                                                                                  "·>page 200, fig. 185.
                                                       -Storing a destination as a favorite: search for
   already been stored will remain stored after          the desired destination using the input field.                                                                      • Select: right control button> Navigation set·
   the ignitior1 is switched off and they must           Or: select and confirm a destir1ation from the                                                                        tings.
   be deleted manually.                                  list. Select: right control button > Store as fa·                                                                   Depending on the selected function, the follow·
                                                         vorlte.                                                   Fig. 191 Alternative route. display in the overview map
                                                                                                                                                                             ing settings can be selected:
Home address                                             Rena111ing a favorite: select: left control button
                                                         >Favorites> a favorite from the list> right               Requirement: a destination must be entered and            Show alternative routes
                                                         control button> Rename favorite.                          the route guidance must be started.
~Press the INAVfMAPI button  repeatedly until                                                                                                                                Up to three suggested routes are shown on the
  the Enter destination menu is displayed              -Move favorite: select a favorite from the list>            ,.. Prm the [f:St\\!Zf0:-A.:el button repeatedly until    map when this function is switched on l0
  ''>page 200, fig. 185.                                 right control button> Move favorite. Select                   the Enter destination menu is displayed               "·~page 208, Alternative routes.
                                                         and confirm the lac~tion of the selected preset,              "'page 200, fig. 185.
Storing a home address                                 -Deleting a favorite: select a favorite from the            ~Select; right control button > Navigation set•
                                                                                                                                                                             Low fuel warning
-Select and cor1finn Home address®                       list> right control button> Delete favorite>                  lings > Show alternative routes.                      A 111essage is displayed if the fuel gauge goes be·
  ·~·page 200, fig. 185. After opening the home          Delete this favorite or Delete all favorites.                                                                       low the reserve marking when this function is
                                                                                                                   Three routes are shown in the overview rnap
  address for the first ti111e, you will be asked to                                                                                                                         switched on 1.0. Confirming this message disploys
                                                                                                                   "'{ig. 191.
  create a home address.                               Directory contacts                                          ,. Select and confirm the desired route that you
                                                                                                                                                                             a list of gas stations in the area. When a gas     sta~

~Select and confirm Create now.                                                                                                                                              tion is selected, route guidance from the current
                                                                                                                      would like to use for route guidance.
-Enter a destination or select a destinotion fro111    Two addresses (private/bpsiness) can be as·                                                                           vehicle position is calculated.
  the list. Or:                                        signed as destinations for each contact in the di·          Up to three route suggestions and their proper·
                                                                                                                                                                             Trailer mode"
-Select and confirm a destination> right control       r~ctory.
                                                                                                                   ties are displayed an the overview map when the
  button >Store as home address.                                                                                   function is switched onl.0 c:> fig. 191.                  Trailer mode is switched off at the factory.
                                                       • Press the iNAV/HAPI button repeatedly until
A horne address will be stored in the MM! regard·                                                                  If available, the following information will ap·          When the function is switched onl.0, the maxi·
                                                         the ~nter destination menu is displayed
less of the connected cell phone. This home ad·                                                                    pear on the route suggestions:                            mum permitted speed for vehicles with trailers is
                                                         ,__,page 200, fig. 185.
dress is always available even if a cell phone is                                                                                                                            incorporated into the rollte guidance and the cal·
                                                                                                                   -Route type (fast Q), fast alternative(:>), eco·
not connected to the M~'1l.                            Storing a destination as a contact In the                                                                             cul·ated <Hrival time is adjusted accordingly. Trail·
                                                                                                                     nomic route@)
                                                       directory                                                                                                             er mode is displayed using sy111bols -"&'!in the side
Editing the home address                                                                                             Distance to the destination and the calculated
                                                                                                                                                                             menu on the map.
                                                       Requirement: a cell phone ITIU5t be mnnected to               arrival time
-Select the Home address<])"' page 200,                the NMl "·'page 177.                                                                                                  Personal route assistance*
                                                                                                                   --Traffic congestion along the t·outc including
  fig. 185.
                                                       -Select a destination > right control button >                time delays                                             Personal route assistance i> switched off at the
-Select: right control button > Edit home ad·
                                                          Add destination to contact,                              The route that was calculated according to the            factory.
  dress,
                                                       -Select and confirm Add business destination or             route criteria you selected is shown on the over·
-Select and confirm a new destination as the                                                                                                                                 Your trips are recorded and destinations are sug·
                                                          Add private destination.                                 view map. The special properties of the route are
  horne address.                                                                                                                                                             gested by the MMI when this function is switched
                                                       ····Enter a n;Jme. Or: select and confirm a directo-        also displayed@ c:> fig. 191 and given as a spo"
The selected destination is stored as the new                                                                                                                                on 1.0 c:> page 206.
                                                           ry contact from the list.                               ken message.
home address.                                          -Select and confirm Save business card.                                                                               Notification when nearby•
                                                                                                                   Using the control knob, yo~ can select the possi·
                                                                                                                   ble routing for the alternative routes and show           The notification when neMby is switched off at
                                                                                                                   the111 on map Select and confirm the desired              the fact01y.
                                                                                                                   route that you would like' to US(,' for route guid·       The ~~Ml notifies yo~ when you are approaching
                                                                                                                   ance.                                                     selected points of interest when this function is         I*



                                                                                                             207   208
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                                                                                                                                           Navigation

       switched on     51. You con also have a Notification   >-Select: right control button> Voice guidance.                                                        -Turn the control knob to the left or to the right.                fl) Entertainment sliding menu': see
       tone.                                                                                                                                                           You can also zoom in and oul on the mop using                        c.-page 163.
                                                              Voke guidance: voice guidance can be Complete                                                            the Mfvll touch control pad' '":•page 162. Or:                   @l Additional information on the crosshairs po-
       Presentation mode                                      or Shortened. With the Traffic function, spoken                                                          turn the left thumbwh€el on the multifunction                         sition: if you move the crosshairs to a loco-
                                                              nnnouncements ore only given when there are                                                              steering wheel • c:, page 13.                                         tion on the map, available information for
       The Presentation mode helps you to plan and
       follow a route without moving the vehicle. You         traffic incidents on your route. When Off is se·                                                                                                                               the current crosshairs position is displayed.
                                                              lectcd, no voice guidance is given.                                                                    Turning the crosshairs on/off
       can use Select starting point when you would                                                                                                                                                                                          Press the control knob to open destination
       Like to calculate a route starting from a location     Voice guidance during phone call: voice guid-                                                          -Switching the crosshairs on: press the control                         details or to start route guidance. When the
       other than the vehicle position, for example.          ,Jnce during a phone C<'lll can be switched on or                                                        knob in the map views· fig. 193.                                      crosshairs are turned off, the road being cur-
       Start Presentation mode to simulate route guid-        off.                                                                                                   -Switching th~ crosshairs off: press the fl'iAcR·I                      rently driven on is shown.
       ance,                                                                                                                                                           button.                                                          (j]) Map contents (points of interest, favorites).
                                                              Entertainment fader: see'·'' page 246.
                                                                                                                                                                     When the cross hairs are switched off"'' fig. 193:                      When there are multiple points of interest in
                                                              Voice guidance volume: you can adjust the vol-                                                                                                                                 the immediate vicinity, the symbol> ore
                                                              ume during voice guidance using the On/Off knob                                                        (i) Orientation: the map is either displayed as a                       shown stacked on the map.
                                                              ¢page 158 You can also find additional informa-                                                            20 north up map or a 20 heading up map.
                                                                                                                                                                                                                                        1[1! Better route t;>;': If a better route is available
                                                              tion under''' page 246,                                                                                ® Distance to the destination                                           for the current route guidance, it will be indi-
                                                                                                                                                                     0 When the trailer mode function is switched                            cated on the map including the time that
                                                              Map                                                                                                        on 0, the corresponding symbol is disployed                         would be s;wed. More information rnn be
                                                                                                                                                                         next to the arrival time.                                           found under c:> page 215.
                                                                                                                                                                     0) Scale: turn the control knob to the left or
                                                                                                                                                                         right to decrease or increase the scale. When
                                                                                                                                                                         the Automatic zoom function is switched on
                                                                                                                                                                         G?f, an "A" for "Automatic" is displayed in the
                                                                                                                                                                         magnifying glass.                                              ~Press  the [NAv/MA·r·l button repeatedly until
                                                                                                                                                                                                                                          the map is displayed c;,poge 209, fig. 193.
        Fig. 192 Possible 1outc critl!!ria                                                                                                                           CD Altitude
                                                                                                                                                                                                                                        >-Press the left control button.
                                                                                                                                                                     ® Vehido position
       • Press the JFi:4viMAP] button repeatedly until                                                                                                               (j) Route information: various information will                    The following map functions can be selected:
         the Enter destination rnenuls displayed                                                                                                                         be displayed during active route guidance
            4page200, fig.l85.                                                                                                                                           (for example, the upcoming maneuver in-                        Switch to destination Input
       • Select; right control button > Route criteria.                                                                                                                  cluding calculated distance and street                         The free text search in the Enter destination
       Q) HOV lanes 1): with the Avoid function, HOV                                                                                                                     names), The display also provides traffic in-                  menu is displayed e;.poge 200, fig. 185.
       lanes are excluded when calculating routes.                                                                                                                       formation or points of interest on the current
                                                                                                                                                                                                                                        Traffic messages
       When Allow is selected, the Jv1Ml will route you                                                                                                                  route.
       through HOV lanes and show them on the map.                                                                                                                   ® Street being driven on: displilyed here as                       Current traffic Information is displayed in the In-
                                                                                                                                                                         "offroad" when the vehicle is stationary.                      fotainment system display. You can also find ad-
       0Highways I @Toll roads/ @Ferries: if the nav-                                                                                                                                                                                   ditional information under c:> poge 214.
       igation system should nat include highways, toll                                                                                                              When the crosshairs are switched on              ~>fig.   194:
       roads or ferries- if possible- when calculal:ing                                                                                                                                                                                 Route list
                                                                                                                                                                     ~)Crosshalrs: move the crosshairs in the de-
       routes, you can select the Avoid function.              ~ li~. :t:i?~ H::;:mrnr.~~;i·: !i'Ll!,~:¥-iii:rd ¥!l'~'~' ;o,1ii~~J t~~=!i ;;;: ;:;;:r.h::::,           sired direction using the Mfvll touch control                    The route list can only be displayed when route
                                                              .switched on                                                                                             pad• or the control knob and set a point on                      guidance is active and contains information re-
                                                                                                                                                                       the map as the destination or have informa-                      garding the route, the names of the streets and
                                                              • f>ress the lN!"Y!MA.r>J button repeatedly until                                                        tion about the focal point displayed.                            the length of the route sections. When traveling
                                                                the map is displuyed ""fig. 193.                                                                                                                                        on highways, possible parking lots and rest areas
       • Press the INAV/MAPI button repeotedly until                                                                                                                 @ Speed limit display 1l: display of the maxi-
                                                                                                                                                                       mum permitted speed on the expressways                           are shown, which you can select as a stopover.            1>-
         the Enter destination rnenu is displayed             Zooming in/out on the map
                                                                                                                                                                       and highways.
'""'
rl
         c)page200, fig. 185,
N

"8
N
                                                                                                                                                                     l} Only <~pplies to vehicle~ without c<JnlNcl~based !;peed limit
N
>      1l    High oc(upancyvehide                                                                                                                                         disploy.
""
                                                                                                                                                               209   210
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POls along the route                                    leded to avoid will appear with red and white               Route information
Requirement: route guidance must be active.             shading on lhe map.                                         The display of route information, such as the cur-
                                                        Move route*: move yourfinger over the MMI                   rent street being driven on or points of interest
Searching for points of interest along your cur-                                                                    along the current route, can be switched on/off
                                                        touch control pad' or use the control knob to ad-
rent route For additional informationt see
                                                        just the route on the overview rnap.                        or can be minimized on the display of upcoming
"-'page 203.                                                                                                        maneuvers.

                                                                                                                    Automatic zoom
                                                                                                                                                                         Fig. 196 Mt~p v!ew with a nUn~ Street VI(!'N
                                                                                                                    On: the map scale is adapted automatically de-
>-Press the [8'.1\\i?.E.l\f'J button repeatedly until   • Press the Lf\I.AY.!..M.!CPI bullon repeatedly until       pending on the type of road being traveled (ex-      Requirement: The requirements for Audi connect
  the map is displayed c:> page 209, fig. 193.            the map is displayed.                                     pressway, highway, other roads) so that you al·      (Infotainment) must be met c.>. page 190.
                                                        • S~lect: right control button> Map settings.               ways have an optimal overview of the road ahead.
>-Press the right control button.                                                                                                                                        ~Press  the [i\i'i\V/HI\P] button repeatedly until
                                                                                                                    The scale is also automatically adapted when
Depending on the function selected, the follow-         Depending on the selected function, the follow-                                                                    the map is displayed.
                                                                                                                    there are upcoming maneuvers to provide a bet-
ing options can also be selected under the Map          ing settings can be selected:                                                                                    • Select: right control button > Map settings >
                                                                                                                    ter detailed view.
menu:                                                                                                                                                                      Map display> Google Earth.
                                                        Map colors                                                  Intersection: when route guidance is active, the
Cancel route guidance: see c:> page 205.                                                                            map temporarily zooms in to a detailed scale         The map display is based on data packets re·
                                                        Day/Night: the map is displayed with a light!
                                                                                                                    when there are upcoming maneuvers so that you        ceived from the Internet in the form of satellite
Adjust position: you can manually move the vehi-        dark background.
                                                                                                                    can see the street or turn better.                   images, which are then combined with the road·
cle position on the map to changf~ the route.           Automatlt: the map display adapts to the light·                                                                  WJys from the Standard map view. There are two
                                                        ing conditions (for example, changing from Day              Off: the map scale you have chosen Is main-          gigabytes of memory space in the MMI memory
Map settings: see c:> page 211.
                                                        to Night when driving through a tunnel).                    tained.                                              that can br; used to temporarily store the map or
Route criteria: see'-" page 209.                                                                                                                                         navigation data that was received. This is roughly
                                                        Map display                                                 Map content
Voke guidance: see     c;.   page 209.                                                                                                                                   the amount required for the map/navigation data
                                                        Standard: see"'> page 209, fig. 194.                        Map content such as weather, traffic Information     for a 2,485 mile (4,000 kml route. As long as the
Navigation settings: see >o) page 208.                                                                              or favorites can be displayed or hidden.
                                                        Online map view: see •.:•page 212.                                                                               satellite images loaded for route guidance are
Show alternative routes: see co> page 208.                                                                          The weather forecast' is displayed on a 3 mi (5      stored, you can use them without having an ac-
                                                        Electric range: Refer to "'page 216.                                                                             tive data connection.
Parking along the route•: parking options near                                                                      km) scale on the map'"' page 208, fig. 191.
the vehicle are displayed.                              Map orientation                                                                                                  Street View
                                                        Destination: the map indicates the destination              Online map display
Save current position•: you can save your current                                                                                                                        With Street View, you can explore many places in
vehicle position as a favorite¢ page 207 or save        and is oriented to the north.                                                                                    the world through the eyes of a pedestrian.
it as a contact in the directory c;.page 207.           2.D heading up map/2D north up map: the cur-                                                                     Street View is available when the symbol (j)
                                                                                                                    With the online map view, you con display the
                                                        rent vehicle position is displayed. The map is ori-                                                              c.' fig. 195 is displayed in the crosshalrs mode.
Audl ton ned at this location•: allows you to                                                                       map with satellite images.
seMch for Travel information at the entered lo-         ented in the direction of travel c>r to the north.                                                               Attlvating street view; turn the control knob to a
cation (events, weather at the destination, etc.).      3D position map': the current vehid.e position is                                                                scale less than 32 yards (30m).
Online traffic data'; you can switch the online         shown on a three-dimensional map and is aligned                                                                  The following functions are then available;
traffic data on or off 5'1.                             to the direction of travel. At a scale of 6? mi
                                                        (100 km) and larger, the map orientation is to                                                                   - Exploring an area step-by-step: press the con-
Country information: see c:> page 205.                  the north.                                                                                                            trol knob when the symbol@ c:> fig. 196 is dis-
                                                                                                                                                                              played.
Avoid route•: when route guidance is active, the        Overview: the entire route from the vehicle posi-                                                                -Zooming In or out on the current view in four
calculated route will avoid the area you have           tion to the destination or the next stopovr~r is dis-
specified (maximum: 12 mi (20 km)), if possible.                                                                                                                              stages: turn the control knob to the left or to
                                                        played on the map. The map scale depends on                                                                           the right@¢ fig. 196.
The navigation system calculates an alternative         the length of the route and adapts automatically.
route. The route to be avoided that you have en-                                                                                                                         .... Navigating in street view: move your finger in
                                                        The map is oriented to the north.                     i>'                                                             the desired direction on the Mfvll touch control
tered <'PPlif!S only to the current route and must
be set again, if needed. The arNs you have se-                                                                                                                                pad*.                                            t>


                                                                                                           211      212
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                                                                                             Navigation

Additional information                                                                                           Selecting the online map update                         An overview of all the traffic messages is dis-
                                                                                                                                                                         played in the lnfotainment system. Traffic inci-
Showing additional information in the Infotain·                                                                  -Select an update package from the list (g)®
                                                                                                                                                                         dents on your route are shown in the upper sec·
ment system display can be switched on in the                                                                      c;f!g. 198.
                                                        Using the online map updat·e, you con updat·e                                                                    tion of the list, sorted according lo distance.
Map content menu '-'page 212. To display any                                                                      confirm your selection with the [fi'i'>:cK] button
applicable additional information, move the             the map material in your navigation system di-             and go back to the selection.                         - Displaying all traffic messages for a street/
crossha1rs onto an item on the map and press the        rectly from your vehicle.                                -The number and amount of data for the select-            highway: select and confirm the !ill symbol. A
control knob.                                                                                                      ed update package are now displayed in the In·          list of all the traffic messages for the selected
                                                                                                                   fotainrncnt system.                                     street/highway is displayed.
i@    Tips                                                                                                                                                               -Opening a detailed view oftraffic information:
                                                                                                                 Starting the download
 -The stored online map view data can be de-                                                                                                                               select and confirm the traffic information from
   leted in Factory settings> Navigation and                                                                     -Select and confirm Start download.                       the list.
   online memory .c;page 242.                                                                                     .. Confirm the security prornpt by selecting Start     - Displaying the selected traffic information on
 -The online map view is an Audi connect In·                                                                         download again,                                       the map: select and confirm the right control
  fotainment service and is regularly updated                                                                                                                              bulton >Show on map. The shaded line shows
                                                                                                                 The update packoges begin to download and the
   when the function is opened, The process                                                                                                                                the street and the length of the traffic jam.
                                                                                                                 status of the downlo<1li progress is shown in the
   may take several seconds.                                                                                                                                             -Displaying the next traffic message on the
                                                                                                                 Infotainment system display.
 -When the online map view is switched on                                                                                                                                  map: press the control knob.
   using the 3D position map, the MMI display                                                                    Installation of online map updates
                                                                                                                                                                         Traffic information display
   automatically switches to the 2D map arlen·                                                                   The downloaded map material installs after you
   tation when driving through tunnels.                                                                                                                                  Colored warning symbols: traffic incidents on
                                                                                                                 stop your vehicle. The new update packages in-
 -For safety reasons, the Street View func·                                                                                                                              your route are shown in the upper section of the
                                                                                                                 stall only after you switch off the ignilion, After
   tions can only be used when the vehicle is                                                                                                                            list and are sorted according to distance.
                                                                                                                 restarting the ~11-11, the Infotainment system dis-
   stationary.                                                                                                   play indicates if the updates installed successful-     Warning symbols     with~:     avoided traffic inci-
 -Always read the chapter c> pagel96, Audi                                                                       ly.                                                     dents.
   connect (Infotainment) general in forma·
                                                        Requirement:                                             -Confirm the successful update with OK.                 Grayed out warning symbols: traffic incidents
   tion.
                                                                                                                                                                         that are not on your route. They are sorted ac-
 -Additional information can be found under             The requirements for Audi connect Infotainment           The new map material can now be used for navi·
                                                                                                                                                                         cording to road type (expressway, highway, other
   www.audlusa.com/audiconnect,                         services must be met'~ page 190,                         gation.
                                                                                                                                                                         road), country and name.
                                                        You must have a myAudi account and have as·
Map update                                              signed your vehicle to it.
                                                                                                                 (D     Tips                                             . {D. Tips
                                                                                                                   -The amount of available online map up·
                                                        Using your vehicle position, the Mfvll identifies                                                                  ·-Critical traffic information, such as warn-
                                                                                                                     dates in the vehicle is limited. To update
                                                        regions which you are. frequently in. Be sed on                                                                      ings about wrong-way drivers, is automati-
                                                                                                                     more regions, use the map update via SD
                                                        this, the MMl suggests update packages for                                                                           cally displayed. To hide the traffic informa·
There ere multiple options available for updating                                                                    card at my.audlusa.com.
                                                        these regions, if they a!'e available.                                                                               tion, press the Li?.A.~.tS) button or the control
your map material:                                                                                                 -Always read the chapter"" page 196, Audi
                                                                                                                                                                             knob.
                                                        ~ Select(DStart download "'>fig. 197 ifthe mes·              conned (Infotainment) general informa·
-Map updates through the online map update•                                                                                                                                - TMC traffic reports are not available in Can·
                                                          sage for a new rnap update appears in the Info·            tion.
 c>page213.                                                                                                                                                                  ada. For more Information, please contact
                                                          tainment system display. Or:
-Import map updates from the SD card to your                                                                                                                                 Sirius Canada,
                                                        • Select IMENU[ button> Settings> left control           Accessing traffic
  MML You can find additional information on-
                                                          button> System maintenance> System up·                 information
  line at my.audlusa.com.
                                                          date> Online update.
- tvlap update at an authorized Audi dealer or au-
  thorized Audi Service Facility. 1'his can result in   A selection with the available update packages
  additional costs.                                     appears in the lnfotamment system display
                                                        ~~1~.                                                >   "Press the lN.t>,Y!.M.!:'E..I button repeatedly until
                                                                                                                   the map is displayed,
                                                                                                                 >-Select: left control button> Traffic messages.



                                                                                                       213       214
                                                            ;:


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                                                                 An overview of all the traffic messages is dis·          reports of traffic situations as well as traffic             • Press the [~JAVIM.APj button repeatedly until
                                                                 played in the Infotainment system"' fig. 199.            forecasting. Your vehicle transmits and                         the rnap is displayed "-'page 209, fig. 194.
                                                                 Traffic incidents on )'OUr route are shown in the        processes its anonymous, encrypted posi·                     ,. Select: right control button> Map settings >
     By receiving traffic information through TMC,                                                                        lion information at regular intervals to the                    Map display> Electric range.
                                                                 upper section of the list, sorted according to dis-
     your MMI ca/culotes a better route -if available -                                                                   traffic data provider. If you do not want to                 >Press the [?'.A1=!5l button to return to the map
                                                                 tance@ C:.fig. 199. Colored markings indicate
     and the possible time saved for the current route                                                                    use this, you can switch off the online traf·                   view.
                                                                 the flow of traffic C:• page 215.
     guidance. You can dt'cide yourself which route                                                                      fic information function at any time.
     you would like to use.                                      -Switching online traffic Information on: press                                                                       You can read the electric ronge of your vehicle
                                                                                                                        -The online traffic Information network is                     based on the white border CDc,> fig. 200.
                                                                   the right control button and switch Online traf·       currently not available in all countries, and
     • Press the lt!0.1'-~!::1~"J button repeatedly until
                                                                   fie data on ([0). TheloNLINEisymbol is shown           the coverage is not nationwide. Additional                   The map scale will automatically adjust to the
       the map is displayed.
                                                                   in the Infotainment system display®                    information can be found under                               range.
     Requinm1ent:    rouh~   guidance must be nctive.              ¢fig. 199.                                             www.audiusa.com/audiconnect.
     If your MMI hJs calculated a better route than              You can also display the online traffic inform a·
     the current route guidance, the message A better            tion in the online m<1p view c~page 212.              e-tron navigation
     route is available. appears on the rmp along
                                                                 Traffic information display                           functions                                                       You can display the nearest charging stations at
     with the time that may be saved. A better route                                                                                                                                   any time using the point of interest search
     is indicated in the map view with the symbol 'f'ii          Color-coded markings along the route indicate
                                                                                                                                                                                       c>poge 203.
     c<• page 209, fig. 194.                                     the traffic flow:
                                                                                                                       The electric range shows the maximum dist-ance                  Requirement: Route guidance must be active and
     Accept better route                                         Green: traffic is flowing freely
                                                                                                                       that con be dri11en using electric power. Informo·              the map must be displayed.
     .... Press lhe right control button.                        Red: congestion                                       tion such as the type of road, speeds, and alti-                • Select: left control button> PO!s along the
     ·~Select and confirm lhe better route.                      Orange: stop-and-go traffic                           tude will be taken into account.                                  route> Charging station.
     -The better route is used for the remaining
                                                                 Shaded markings indicate the length of the area                                                                       All charging st<ltions in the selected search area
          route guidance and the route is recalculated.
                                                                 with congestion.                                                                                                      are displayed, You can find additional in forma~
                                                                                                                                                                                       tion about charging your vehicle inc;. page 106,
                                                                 Colored warning symbols: there is a traffic inci-
                                                                                                                                                                                       Charging.
                                                    (onnt1rt     dent immediately ahead on the route.
                                                                 Grayed out warning symbols: traffic incidents
     The MMI wn receive real-time online traffic in-             that are not on your route.
     formation about congestion, accidents, road
     construction and other incidents.                           Red warning symbols: all warning symbols will         Fig. 200 [x..:unp\e: ulectrlc ra11ge display
                                                                 be red when route guidance is not active.
                                                                 The display of colored markings, warning sym-         Troubleshooting
                                                                 bols, etc. can be set in the Map content menu
                                                                 <'.>page2.1.2.
                                                                                                                       Problem                                        Solution
                                                                 Traffic Information is switched on at the factory.
                                                                                                                       Free text search: the desired cles· The destirwtion might not be entered in the navigation database.
                                                                 You can switch off the reception of online traffic    tinatlon cannot be found.           Or: check the spelling of the search term and if the right country/
                                                                 information at any time c:opoge 215.                                                                 state was selected using for the free text search using the Coun·
                                                                                                                                                                      try/state selection¢ page 205.
      route
                                                                  G)    Tips
                                                                   -Online traffic information is not available in
     Requirement: The requirements for Audi connect                  Canada.
     (Infotainment) must be met <>page 190.                        -Always read the chapter"~ page 196, Audi
                                                                     connect (Infotainment) general informa-
;    • Press lhe INAv7M'AP.j button repeatedly until
                                                                     tion.
~      the map is displayed.
                                                                   -Having the Online traffic data function
g ,. Select: left control button> Traffic messages.
N                                                                    switched on provides the most accurate
&;
                                                                                                                215    216
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                                                                                                          Radio      Radio


       Radio                                                 The station is stored as a preset. The symbol           Radio functions                                          dia center. If there is no Apple device connect-
                                                             shows Lhe stored location in the presets list (for                                                               ed, the tagged tracks are stored temporarily in
       Opening the radio                                     example, 21).                                                                                                    the MMI (maximum of SO tracks). Once you
                                                                                                                                                                              connect your Apple device to the Audi music in·
       The radio supports the FM, AM and SiriusXM'           @Radio text (shortened display)
                                                                                                                     Using tile free text search, you can select the or·      terface, the tags are stored on the device.
       (satellite radio) bands. Using the ND Rodio re-
                                                             If available, progrorn inforrnation about the set       der that the search terms are entered in the in-
       ceiver olso o{[ows you to receive rodio stations                                                                                                                      -Manage SiriusXM alerts: see "~page 219, Sir·
                                                             station is displayed in aU ofthe station lists.         put field. Search in all frequency bands for a sta-
       on the FM and AM bands in digital format.                                                                                                                               iusXM alerts.
                                                             @Frequency                                              Uonlwme or progrom type .such as News).                 -·Store artist as favorite/Store track as favorite:
                                                                                                                                                                               see<> page 219, SiriusXM alerts.
                                                             <:!)Station name
                                                                                                                                                                             -Manual tuner: the frequency bars are dis-
                                                             @Station with HD Radio technology available                                                                       played. Select and confirm the de>ired frequen-
                                                             1-0                                                                                                               cy.
                                                             ®Channel number<> fig. 202                                                                                        Seek: the radio tunes to the previous or next re-
                                                                                                                                                                               ceivable station.
                                                             If there is a loss ofradio signal (SiriusXI"1'), the                                                            -Scan: all stations are played for several seconds
                                                             following system information is displayed in the                                                                   each.
                                                             station list:                                                                                                   -Radio settings: see '''>page 221.
                                                             NoSignal: the tuner is currently not receiving a
                                                                                                                     -Opening the free text search: when in a station
                                                             satellite signalQ) ·~fig. 202.
                                                                                                                       list, keep turning the control knob to the left
                                                             The system information turns off when the radio           until the free text search input field is dis-        ~Select: fRAi5YC'51 button >left control button > a
                                                             stations are received again.                              played.                                                 frequency band (such as FM) >a station.
                                                                                                                     - Using the free text search: see"'' poge 166,          • Select: right control button > Radio text.
                                                              @Tips                                                    Free text search.
                                                                                                                                                                             Information that accompanies the program (such
                                                               -Contact the SiriusXM* provider if you would          You can also search ·for frequencies,                   as artist, composer, track) is displayed.
                                                                 like to receive s<Jtellite programming.
       ~ Press the ~TO:J button.                                                                                     Stations from the presets@ are displayed in the
                                                               -Buildings, tunnels, bridges, open are~s, oth-                                                                Browsing through radio text entries: turn the
                                                                                                                     results list (i) "'fig. 203. The symbol@ indicates      control knob to the left or ri9ht.
       After opening the radio, the last opened station          er vehicles or objects on the vehicle roof can
                                                                                                                     which station list you switched to bnsed on the
       List is displayed.                                        affect reception.
                                                                                                                     station selection.                                      Requirement: a radio text entry must be dis-
                                                               -Satellite radio Is not available in Alaska and
                                                                                                                                                                             played and the station must be broadcasting a
       Selecting a station: select and confirm a station         Hawaii.                                                                                                     phone number, a navigation destination or a text
       from the station list. FM/AM stations that can be       -!Tunes tagging• is not supported by all radio                                                                message number as Radio Text Plus Information.
       received by digital radio are marked with the HD          stations.
       Radio technology symbol Hi)®··~ fig. 201. If re-                                                              ,. Select: rR:I'iDio] button> right control button.
                                                               -When the Apple CarPiay connection Is ac·                                                                     If a location, a phone number or a text message
       ception quality declines, the radio automatically         tive, Tag this song for.iTunes• is not availa-      The following options are available depending on        number is included with a radio text entry, the
       switches to the analog FM/At-1 station depending          ble.                                                the frequency band:                                     radio t(.xt will be shown with a colored border.
       on availability. Digital HD Radio stations' may                                                                                                                       You have the following options:
       contain multiple additional stations'. The availa-                                                            -Sound settings: see c:> page 24S.
                                                                                                                     -Store as favorite: see<> page 220, Presets.            Call*/Start route guidance*/Write text mes-
       ble additional stations' are listed under the radio
                                                                                                                                                                             sage•:
       station. If you lose reception, the additional sta·                                                           -Tag this song for iTunes<il; connect your Apple
       tions' are muted since they can no longer be re·                                                                                                                      -Select a radio text entry with Radio Text Plus in-
                                                                                                                           device to the Audi music interface' on your
       ceived.                                                                                                                                                                 formation and press the control knob,
                                                                                                                           t>1Ml. Select and confirm Tag this song for
                                                                                                                                                                             -Select and confirm Cali*/Start route guid-
       Setting the frequency band: press the IE6.0.I§J                                                                     !Tunes. The track that is currently playing is
                                                                                                                                                                               ance*/Wrlte text message•. Or: press the
       button repeatedly until the desired frequency                                                                       stored on your Apple device. Synchronize your
                                                                                                                           Apple device with iTunes. The tagged track will
                                                                                                                                                                              li'iEsbJ button to cancel.                           11>
~      band is set.
,..,                                                                                                                       display the next time you open your iTunes me-
~      (D Presets
rl
0
rJ
>                                                                                                                    l-)    ln prepilr;;ttion <ltthe timr of printing,
"'
                                                                                                               217   218
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                                                                                                                                                                Radio     Radio

                                                         Playing tracks/artists from Sirius XM alerts                                                                     Radio text is available for the selected station.      of your favorite tracks or artists currently being
(D     Tfps
                                                                                                                                                                          Refer to c; poge 218.                                  received on SiriusXM Is displayed.
                                                         Requirement: a SiriusXtvl alert must be stored for
 The availability of radio text and Radio Text
                                                         a track/artist and it must be currently playing on                                                               @!Tunes tagging                                        @SiriusXM
 Plus depends on the radio station.
                                                         a SiriusXM channel.                                                                                                                                                     /\p_PU\~'-< to: v.~hid\.".1   >:;\t!: Sir!tP.>X~-1 ;J!ut.;
                                                                                                                                                                          The Tag this song for !Tunes option is available
                                                         -Select: left control button > SiriusXM alerts>                                                                  for the set station. Ref<n to co> page 2 .18, Addi'    The SiriusXM• station list is displayed.
                                                           an rmtry from the Ust. The selected track/artist
                                                                                                                                                                          tiona/ options.
                                                           is played.                                                                                                                                                            Additional frequency bands
You can display an overview afyour favorite ar-                                                                                                                           ® FM HD Radio technology                               Depending on the vehicle equipment, you may al-
tists or tracks thot or& currently being played on       Playing tracks/artists from the
                                                         entertainment sliding menu                                                                                       The station is received through FM HD Radio            so be able to select additional frequency bands
a SlriusXM channel.                                                                                                                                                                                                              @!@"''fig. 206 In the selection menu.
                                                                                                                                                                          technology.
                                                          Requirement: the SiriusXM alert notifications
                                                         function must be switched on. You must be in the                                                                 @Screen view
                                                          Radio and Navigation menu. A SiriusXM alert no-
                                                                                                                                                                                                                                 Presets
                                                                                                                                                                          Display Cover art or Station logo. Refer to
                                                          ti(icotioiJ is displayed in the entertainment slid·                                                             "~page 221, Preferred picture view'.
                                                                                                                                                                                                                                 You can store your favorite stations from every
                                                          ing menu G) c) (ig. 204.                                                                                                                                               frequency band in tho presets list.
                                                         - Push the control knob down.                                                                                    Displaying the station list:
                                                                                                                                                                                                                                 • Select: the IRADIO\ button > lett control button
                                                         .... Select and confirm the desired track/artist.                                                                Turn the control knob. Or: press the [ilf;.~jS} but·     >Presets.
                                                                                                                                                                          ton.
                                                         Managing SiriusXM alerts
Fig. 204 SlriusXM .n{art notificaUon                                                                                                                                                                                             Requirement: the presets list must be displayed.
                                                         -Select: right control button >Manage SiriusXM
                                                                                                                                                                          Radio menu                                             -Storing presets: select and confirm a free pre-
~Select: IB.6.9..!.t:J.I button > left control button>     alerts.
 SiriusXM.                                               -Switching SiriusXM alerts on/off: when the                                                                                                                               set space. Follow the system instructions.
                                                           function is switched on 10, you are notified                                                                                                                          -Select and confirm a station from the list if
After you have stored a SiriusXM alert for your fa-                                                                                                                                                                                necess<Jry.
                                                           when this track or artist is being played on a
vorite tracks or artists, you can display an over·
                                                           SiriusXM channel.                                                                                                                                                     Requirement: a station list must be displayed.
view of your favorite tracks or artists currently
                                                         -Deleting Sirius XM alerts: select an entry (rom                                                                                                                        ... Storing presets: select: an entry (rom the list>
being received in the SiriusXM alerts menu and
                                                           the List> right control button > Delete from                                                                                                                              right control button> Store as preset. Or:
play them immediately. You can also receive a
                                                           alerts > Delete this entry or Delete all entries.                                                                                                                         press and hold the control knob for several sec-
SiriusXM olert notification @for these trocks or
artists in the entertainment sliding fllenu                                                                                                                                Fig, 20() Example: R>J~io menu                            onds.
c:>fig. 204,                                                                                                                                                                                                                     -Displaying the presets list: select: [~iX[(?J but·
                                                                                                                                                                          • Select: the iRAOlO\ button> left control but·          ton > Presets.
Storing a SiriusXM alert                                                                                                                                                    ton.
Requirement: your favorite track or artist must                                                                                                                                                                                  Requirement: the favorites list must be dis·
                                                                                                                                                                          Setting the frequency band: select and confirm         played.
be playing on a SiriusXM channel.
                                                                                                                                                                          the desired frequency band in the radio menu           -Listening to presets: select and confirm a pre-
-Select: right control button > Store track as fa·
                                                                                                                                                                          "~fig. 206. Or: press the ('Ri.\l5io] button repeat-
  varite or Store ortist as favorite.                                                                                                                                                                                              set from the list.
                                                                                                                                                                          edly until the desired frequency band is seL The       - Move preset: select a f'avorite from the list>
Switching SirlusXM alert notifications on                                                                                                                                 station list is displayed.                               right control button > Move preset. Or: press
and off                                                   g:g~· l:;li:i~ Fi.r:d:i;:;:,:~;;:.,:r: ..::..:.~.:., .. ;-::··•   ·;';; !:..; - , .• , :-::-- .• ;, :.-                                                                  and hold the control knob for several seconds.
                                                                                                                                                                          (j:) Presets
-Select: right control button > SiriusXM alert                                                                                                                                                                                     Select and confirm the location ofthe selected
                                                         Requirement: you must be tuned to a radio sta-                                                                   The presets list is displayed ""'page 220, Pre-          preset.
  notifi~ations.
                                                         tion. The Shaw "Now Playing" screen option                                                                       set-s,
                                                                                                                                                                                                                                 -Deleting presets: select a preset from the list>
When the function is switched on[0, a SiriusXM           must be switched on"~ page 221.                                                                                  @ SlriusXM alerts                                        right wntrol button > Delete preset> Delete
Alert notification 0 c:> fig. 204 is displayed for
                                                         Symbols in the additional station information                                                                    AppUo::s tn; v~hkkt. vnth !_;ifio5XI,1 ;,lr:rt.'>        this preset or Delete all presets.
several seconds in the entertainment sliding
menu fdr the Radio and Navigation menus.                 view"~ fig. 205:                                                                                                 After you have stored a SiriusXM alert for your fa·
                                                         0      Radio text availability                                                                                   vorite tracks or artists c..' page 219, an overview



                                                                                                                                                                    219   220
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                                                                                                       Radio      Media


Additional settings                                       select depend on what is offered by yoUI- provid-       Media                                                  However, in some cases, the additional informa-
                                                          er. Select: the All categories option to de~ctivate                                                            tion may not be displayed.
                                                          all filter options and display all available stations   Introduction
                                                                                                                                                                         Restricted functionality: reset the Media set·
~Select: [J:l.KQT()J button> right control button >
                                                          in the satellite station list.
                                                                                                                  There are various mediil drives and connections        tings to the factory default settings if functional-
  Radio settings.                                         Additional station information                          available in the fvlt<IL For example, you can play     ity is restricted"? page 242.
The following settings can be self;cted, depend·                                                                  audio/video' files from the jukebox' or connect
                                                          When the function is switched on !i6 and the sta·                                                              If functionality is restricted, reset the Jukebox'
ing on the band that is selected:                                                                                 your mobile device to the Audi music interface*
                                                          tions or presets list is open, the display will                                                                to the factory default settings "'.•page 242.
                                                                                                                  and operate it through the ~1M!.
                                                          switch to the Show "Now Playing" screen view
Station names (FM)                                                                                                                                                       For information ubout the properties of support-
                                                          after approximately five seconds"'' page 219. De-
                                                                                                                  Notes                                                  ed media and tile formats, see,,, page 235.
Variable: scrolling text transmitted by the FM            pending on availability, information about the
stations is shown in the Infotainment system dis-
play.
                                                          set station (such as station name, artist and sta-                                                             (j)    Note
                                                          tion logo) is displayed in this view,
                                                                                                                  Media and format restrictions: the MMI (includ-         Always follow the information found in ">(I) in
Fixed: scrolling text tronsmitted by the FM sta·          Preferred picture view•                                                                                         Wi-Fi hotspot on page 195.
tions is not shown In the Infotainment system                                                                     ing the SD card reader and the USil storage de-
display. Only the current section of the scrolling        You can set your preferred screen view for the          vice connection') was tested with a variety of
text displayed.                                           Show "Now Playing" screen •> page 2.19.                 products and media on the market. However,
                                                                                                                  there may be cases where individual devices or
                                                           Station logo: the station logo is displayed, de-                                                              CD/DVD and format restrictions: the functionali-
FM/AM HD Radio•                                                                                                   media and audio/video files' rnay not be recog-
                                                            pending on availability.                                                                                     ty of individual storage media may be limited due
You can switch HD Radio rocep\:lon on or off.                                                                     nized, may play only with restrictions or may not
                                                          -Cover art: the ~lbum cover Is displayed if availa-                                                            to the V<riety of blank CDs/DVDs available and
                                                                                                                  play at all.
                                                            ble.                                                                                                         ttw v<H"ious capacities. Audio CDs or video DVDs
Channel sorting (SiriusXM*)
                                                                                                                  Digital Rights Management: please note that            with copy protection, CDs/DVDs that do not con-
You can set the station sorting for SiriusXH sta-         Gracenote online database•                              the audio/video' files are subject to copyright        form to the standard and multisession CDs may
tion lists* by:                                           Requiren1ent: the Mfv1I must be connected to the        protection.                                            h11ve limited playback or may not play at all. Audi
··-Channel number: the stations are sorted in as·         Internet. The Cover art option m\ISt be selected                                                               recommends finalizing the recording process
                                                                                                                  The media drives do not play files that are pro-
   cending order according to their channel num-          >->page 221, Preferred picture view'.                                                                          when creating multisession CDs. Multisession is
                                                                                                                  tected by DRM and th<Jt Me identified with the
   ber,                                                                                                                                                                  not supported for fWD~;.
                                                          When the function is switched on !i6, the album         symbol I'D.
--Channel name: the st<ltions are listed in alpha·        cover or genre cover for the song that is playing                                                              Using COs/OVOs, the CD drive or the OVO drive:
                                                                                                                  Data security: never store Important data on SD
   betical order.                                         is loaded from the Gracenote online database,                                                                  to ensure correct, high-quality playback and to
                                                                                                                  cards, the jukebox•, CDs/DVDs or mobile devices.
-First category, then channel number: the sta·            depending on availability.                                                                                     prevent damage to the drive or disc reading er-
                                                                                                                  Audi AG is not responsible for damaged or lost
   tions are sorted by their category and then by                                                                                                                        rors, always store CDs/DVDs in a protective
                                                          Subscription status (SiriusXM)•                         files and media.
   their channel numbers.                                                                                                                                                sleeve and do not expose them to direct sunlight.
-First category, then ~hannel name: the sta·              This option is available when your subscription is      Loading times: the more tiles/folders/playllsts        Do not use:
   tions are sorted by their category and then by         about to expire or has already expired, The ex pi·      that are on a storage medium, the longer it will
                                                                                                                                                                         -·· Damaged, dirty or scratched CDs/DVDs
   their channel names.                                   ration date for your license is displayed.              take to load the audio/video• files. Audi recom-
                                                                                                                                                                         -Single CDs/DVDs (3 in diameter)
                                                                                                                  mends using storage media that only contain au-
Category filter (SiriusXM*)                               Call to SlrlusXM': the contact information for                                                                 - CD/DVDs that are not round
                                                                                                                  dio/video files•, To decrease the time it takes to
                                                          your satellite radio provider is displayed. To call                                                            - CDs/DVDs with labels
The stations shown in the station list can be fil-                                                                load audio/video files', create subfolclers (for ex-
                                                          your satellite radio provider using the Mt-1!, press                                                           - Protective rings
tered by your personal preferences and by pro·                                                                    ample, forthe artist or album). The loading time
                                                          Call to SlrlusXM',                                                                                             -Cleaning COs
grarn type. The program categorir;s that you can                                                                  will also increase when importing files.
                                                                                                                  Additional information: when playing, audio            Thermal protection switch: CD/DVD playback
Troubleshooting                                                                                                   files are automatically displayed with any addi·       may be temporarily unavailable if outside tem-
                                                                                                                  tional information that is stored (such as the ar-     peratures are extremely hot or cold, A thermal
Problem                                       .Solutl~n                                                           tist, track and album cover). If this information is   protection switch is installed to protect the CD/
A station with poor reception is no longer      Store the station as a preset in advance. Access the pre·         not available on the storage medium, the MMI           DVD and the laser.
displayed in the station list once you          sets using the presets list'-? page 220.                          will check the Grace note meta data database.          Laser devices: laser devices are divided into safe-
switch to a different station.
                                                                                                                                                                         ty classes 1 to 4 in accordance with DIN IEC 76 t>-


                                                                                                         221      222
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                                                                                               Media      Media

(CO) 6/VDE 083 7. The optical readers that are in·
slatted conform to safety class 1. Lasers in this
class are very weak and well shielded, so there is
                                                                                                                                                                 After you hove filled the jukebox with music ondl
no danger if used correctly.
                                                                                                                                                                 or videos, for example from your SD cord, you
                                                                                                                                                                 can play these files directly from the Jukebox.
Media drives                                                                                                                                                     The Jukebox memory copacity is appmximote/y
                                                                                                                                                                 10GB.

                                                                                                                                                                 • Press the~ l!'il'. I2I."'.l button, Press the left control
                                                                                                                                                                   button until the sources overview"-' page 230
                                                                                                                                                                   is displayed. Select and confirm Jukebox.

                                                       Fig, 208 CD drive                                   Fig, 209 CD drive                                     Adding files to the Jukebox
                                                                                                                                                                 --Press the)MEDIA) button. Press the left control
                                                     The DVD drive is located in the glove com part·      The CD drive is located in the glove compartment
                                                                                                                                                                   button until the sources overview,.~ page 230
                                                     mentqy<C•page8, fig, 2.                              @¢page 8, fig, 2.
                                                                                                                                                                   is displayed. Select one ofthefotlowing sources
                                                       Loading a CD/DVD: the CD/DVD is pulled in au-      -Loading a CO: the CD is pull~d in automatically.        to copy to the Jukebox: SD card•, CD-R0tv1',
                                                       tomatk<l!ly. Sl.ide the CD/DVD stroight into the        Slide the C[) straight into the CD slot@            DVD·ROM•, USB storage device*.
 Fig. :7.07 Inserting the SO Gird
                                                       DVD slot@ with the label facing up c:> fig. 208.        c>fig. 209with the label facing up.
                                                                                                                                                                 Requirement: the media center (for example,
Depending on the vehicle equipment, there is ei·     -Automatic playbBck: playback will start auto·       -Automatic playback: playback will start auto·
                                                                                                                                                                 tracks, albums) must be open.
ther one or two SD card readers in the glove com·      rnatically if the inserted CD/DVD contains sup-         matlcally if the inserted CD contains supported
                                                                                                                                                                 -Selecting an entry: select an entry frorn the
partment@ •> page 8, fig. 2.                           ported audio/video' files c:>page 235.                  :wdio flles c> page 236, CD drive.
                                                                                                                                                                   media center. Select: right control button>
                                                     ··Ejecting a CD/DVD: press the button®               .... Ejecting a CO: press the button® c> (!g. 209.
-Inserting the SD card: the angled corner of the                                                                                                                   Copy to Jukebox >This entry or Entire list.
                                                       c:>fig. 208,
  SD card must face toward the right front. Slide                                                         The CD is pulled in again automatkally if it Is not
                                                                                                                                                                 Requirement: the playlist must be open. Refer to
  the SD card into the card reader slot (i)          The CO/DVD is pulled in again aulomatically if it    removed from the slot wilhin ten seconds of
                                                                                                                                                                 cf.>page 232.
  ''~fig. 207until the SD card clicks into place.    is not removed from the DVD slot within approxi·     ejecting it.
                                                     mately ten seconds after ejecting it.                                                                       ... Selecting a track: select the track that is cur·
-Automatic playback: playback will start auto·                                                            The CD drive is accessed and operated through              rently playing. Select: right control button>
  matically if the inserted SD card contains sup·    The DVD drive is accessed and operated through       the MMT ,.-;page .?.30, Playing media.                     Copy to jukebox> This track or Entire album
  ported audio/video files' ,.,, page 235.           the MM!@ "~poge230, fig. 213.                                                                                   or This artist,
-Removing the SO card: press briefly on the SD                                                            CD     Npte
  card.                                               (D          Note                                      Never force a CD into the drive. The CD is
                                                                                                                                                                 Requirement: a video file rnust be playing.
                                                        -Never force a CD/DVD into the drive. The           pulled in auton1atically.                            -Select: right control button >Copy to Jukebox.
The SD cord reader is accessed and operated
through the MMI@ c:> page 230, fig. 213.                 CD/DVD is pulled in automatically.                -Do not insert COs with labels into the drive.        The copying process begins. The st<1tus ofthe
                                                        -Do not insert CDs/OVDs with labels into the        Labels can come loose from the CD and                copying process is shown in the MMI.
(j)     Note                                             drive. Labels can come loose from the CD/          damage the drive.                                    -Hiding the importing process: select and con·
 Only use one-piece SO cards. If adapter cards           DVD and damage the drive.                                                                                 firm Continue copying in background. The im-
 (5[) cards with more than one piece) are used,
                                                     ,. . . . .                                           Qr1ps                                                    porting process is hidden.
 the card could fallout oft he adapter when
                                                      (D          Tips                                     CD playback cannot be guaranteed with audio           -Canceling the importing process: select and
 driving because of vibrations, Individual             -The CD/DVD playback Is not ensured 'vith           files that have a high data rate.                       confirm Cancel copying: Or: remove the source
 pieces could then become stuck in the drive             audio files that have a. high data rate,                                                                  that is being Imported. Files already copied re·
 and impair the functionality.                         -The SHvJ card reader then does not function.                                                               main.
                                                                                                                                                                 Requirement: the copying process must be active
       Tips
                                                                                                                                                                 in the backwound.
 The SIM card reader then does not function.                                                                                                                     -Showing the copying process: select: right
                                                                                                                                                                   control button> Copying in progress.



                                                                                                  223     224
                               Case 2:17-cv-05086-PA-KS Document 19-3 Filed 09/18/17 Page 41 of 75 Page ID #:242



                                                                                                  Media    Media

When importing, the audio files are automatical-      -The jukebox does not provide an export                                                                        the satne settings on the wireless media player
ly sorted inlo the media center categories based        function due to legal reasons.
                                                                                                            (D       Tips
                                                                                                                                                                     that are used for the Wi-Fi hotspot.
on the stored additional information                  -Files or tracks without additional stored in·         -Check for any connection requests on your            -Starting the Wi·Fi audio player: start the Audl
.,, page 231. The copied video files are stored in      formation are listed as Unknown. Audi rec-             Bluetooth device.                                     MMI connect app or a UPnP server app, or set
the media center under the Videos category.             ommends adding additional information                -Multiple Bluetooth audio [1layers can be               media permissions on your media player.
                                                        (such as 103 tags) to audio files.                     connected to the MM!, but only one mobile
Playing the ]l!kebox                                                                                           d.evice can be active.                              Operating the media player: the tnedia player is
                                                      -Reset the Jukebox to the factory default
                                                                                                             - Bluetoolh protocols AVRCP (1.0/1.3/1.4)             operated through the tv1MI.
Requirement: the jukebox must contain audio/            settings when selling your vehicle
video files"' page 224, Adding files to the juke·                                                              and A2DP are supported.                             -Press the left control button repeatedly until
                                                        ''·page 242.
box.                                                                                                         -Note the volume setting on your Bluetooth              the Folders menu item appears. Select and con-
                                                                                                               device. Audi recommends setting your mo-              finn Folders.
The jukebox is accessed <H1d operated through        Bluetooth audio player                                                                                        -Playing music from the media player: select
                                                                                                               bile device to the maximum volume when
the tv1MI Q) ,; page 230, fig. 213.                  ArrUo~   to: \lf'hic!es v;lth   f1h;rton~h
                                                                                                                                                                     and confirm Media center.
                                                                                                               using it as a Blue tooth audio player.
                                                     With tile Bluetooth audio player, you can play          -·The supported media functions (such as
Displaying Jukebox memory capacity                                                                                                                                 Web radio: see ""page 22 7.
                                                     music wirelessly from your Blue tooth-capable             shuffle) depend on the Bluetooth device be·
Select: right control button> Jukebox memory
capacity. Information about the jukebox memory
                                                     device (such as o cell phone! through the MMI.            ing used.                                           & WARNING
                                                     Requirement: the vehicle must be stationary and         ·-For more information on the supported de-            -As the driver, do not allow usage of the WI·
capacity and the nutnber of stored tracks is dis-
                                                     the 13luetooth function on your Bluetooth device          vices, visit www.audiusa.com/bluetooth or             Fi hotspot to distract you from driving, as
played.
                                                     <~nd the Bluetooth audio player c; page 244 in            contact an authorized Audi dealer or author·          this could increase the risk of an accident.
Deleting tratks from the )ukeboxll                   the MM! must both be switched on.                         ized Audi Service Facility.
                                                                                                                                                                    -It is only safe to use tablets, laptops, mo·
Requirement: the Jukebox must contain audio/         -Connecting a Bluetooth device: press the                                                                       bile devices and other similar devices when
video files.                                            /MEDIAl button. Press the left control button
                                                                                                           Wi-Fi audio player                                        the vehicle is stationary because, like all
                                                                                                           t,ppUcs 10: .,.,:hick:~ 'l.'J~h W;··! i                   loose objects, they could be thrown around
- Deleting an entry: select an entry from the           until the sources overview is displayed. Select
                                                        and confirm Bluetooth audio player@                Using the Wi-Fi audio player media source on the          the Inside of the vehicle in a crash and cause
  Jukebox media center. Select: right control but-
                                                        c:>poge 230, fig. 214.                             MMI, you can connect and operate your Wi·Fi-ca-           serious injuries. Stare these types of devices
  ton> Delete from jukebox> This entry or En-
                                                     -If necessary, select and confirm, Not connected      poble media pi oyer (such as a smartplwne) to             securely whiled riving.
  tire list.
                                                        >Connect Bluetooth audio player. The Blue-         wirelessly ploy music from your media player li-         -Do not use ally wireless devices on the front
- The status of the deleting process is shown in
                                                        tooth device search starts. Follow the instruc-    brary. The media player is connected through the           seats within range of the airbags while driv·
  the MML Jukebox playback stops during the de-
                                                        tions in the MMl.                                  vehicle's Wi-Fi hotspot. A UPnP Server app or an          ing. Also read and follow the warnings in
  leting process and starts again autornaticolly
                                                     -Select and confirm the desired Bluetooth de-         integrated Vl'nfl!DLNA server on your media                        2 71, Front airbags.
  once the deletion is complete.
                                                        vice fron1 the list. The MMI generates a PIN for   player is required to access your media player li·
CD      Note                                            the connection,                                    brary.                                                  CD    Note

  Do not import audio/video files when the en·       ··-Select and confirm Yes.                            Requirement: the Wi-Fi function on your media            Always follow the information found in c:>Q) in
 gine is turned off because this will drain the      -Enter the PIN for connecting on your Bluetooth       player must be switched on. The Audi MMl con·            Wi-Fi hotspot on page 195.
 vehicle battery.                                       device. Or: if the PIN is already displayed on     nect app or a UPnP server app must be installed
                                                        your Bluetooth device, confirm it it1 the Blue-    on your media player. Or: you must be using a
                                                                                                                                                                   (D    Tips
'(}) Tips                                               tooth device and in the MMI. The time allowed      mediil player with an integr11ted UPnP/DLNA              -Always read the chapter <!.•page 196, Audi
                                                        for entering the PIN is limited to approximately   server.                                                    connect (Infotainment) general informa-
 -Tracks from audio COs cannot be imported
                                                        30 seconds.                                                                                                   tion.
   to the Jukebox for leg>Jl reasons.                                                                      -Connecting a media player: press the lM. f::.PIJ',.I
 -Files tbat have already been impo1ted are          The media is started and operated through the                                                                  - Please note that a Wi·Fi connection does
                                                                                                             button. Press the left control button until the
   automatically recognized and cannot be            mobile device orthe lv1Ml, depending on the de-                                                                  not autom~tlcally make it possible to use
                                                                                                             sources overview'"' page 230 is displayed. Se-
   copied to the Jukebox again.                      vice being used.                                p,.                                                              the Internet, For additional information,
                                                                                                             lect and confirm Wl-fi audio player(])
                                                                                                                                                                      see<:> page 190.
 -It is not possible to play audio/video' files                                                              <:>page 230, fig. 214.
   in the CO/DVD' drive while importing them.                                                                                                                       --To avoid interruptions during playback, de·
                                                                                                           ·-If necessary, select and confirm Wi-fi turned
                                                                                                                                                                      activate the power saving function on the
                                                                                                             off >Turn on Wi·fi to activate Wi-Fi in the
                                                                                                                                                                      media player or connect it to a charger.         I>
                                                                                                             M~I!I. Select WI·Fi settings, if necessary. Select

ll Not In the Playbook view.


                                                                                                   225     226
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                                                                                                                           Media            Media


        ~The   loading times for the ~udio data depend                        ;\ppk·~   lo: U',;irlf< on!inl' mudi.a                        -Do not use any wireless devices on the front        Multimedia connections
          on the media player used and the number of                          Additional requirement:
                                                                                                                                             seats within range of the airbags while driv-
                                                                              ~A 5upported online rnedia service must be avail-
          files that it contains.                                                                                                            ing. Also read and follow the warnings in
                                                                                able in your country.
        -A maximum of 2,000 entries per directory                                                                                            c> page 271, Front airbags.                         You con connect your mobile devices (such as o
          are displayed in the MML                                            -You must have an account with a supported on"
                                                                                                                                                                                                 smartphone or MPJ player) to the Audi musk in·
        -Songs downloaded for offline use using mu-                             Une media service.
                                                                              -Depending on the online media service, you
                                                                                                                                            CD     Note                                          terface and charge them using a special USB
          sk streaming services are stored on your                                                                                           -Always follow the Information found in ¢(i)        adapter.
          mobile device (such as a smartphone) and                              must install and open an app on your mobile
                                                                                device.                                                        in Wi-Fi hotspot on page 195.
          may be DRM protected. The Wi-Fi audio                                                                                              -Please note that there generally are addi-
          player wlll not play DRM protected files.                           Starting Online media                                            tional costs when using an online media
          Contact an authorized Audi dealer or au-                            - Press the !HE'iSY/\1 button. Press the left control            service account, especially when it is used
          thorized Audi Service Facility for additional                         button until the sources overview·~' page 230                  internationally.
          information on the Wi-ri audio player.                                is displ.ayed.
                                                                              -Select and confirm an online media service.
      Online media and                                                        Starting Internet radio                                        -Depending on the Internet connection and
      Internet radio                                                          -Press the f£:1~:!?Jf'] button. Press the left control           network tr~ffic, a connection loss can occur
      ;\p~Jtk:: [.;); vd\ICk:, w;\.h   A11dl (J>r'IIHid   UHf~)l'<lltHntid\                                                                    clurlng playb;eck of online media services.
                                                                                button until the sources overview ¢page 230                                                                       Fig. 211 1\udi USB odapters
      You can playback and operate various online me-                           is displayed.                                                -Online media and Internet radio usage de·
      dia services and Internet radio using the MMI.                          - Select and confirm Internet radio. The Internet                pends on the service availability of the third    You can purchase the USB adapter . . ; fig. 211.
                                                                                radio browser or the last station that was play·               party provider.                                   from an authorized Audi dealer or at specialty
                                                                                ing is shown.                                                - Audl AG simply makes the access to online         stores:
                                                                                                                                               media services possible through the ~1.MI
                                                                              -Selecting the station: if necessary, select and                                                                   @USB adapter for devices with a micro USB con·
                                                                                confirm a category in tile Internet radio Brows-               and cloes not .take any responsibility f•Jr the
                                                                                                                                                                                                 nection
                                                                                                                                               contents of the online media services.
                                                                                er> a station.
                                                                                                                                             -Always read the chapter<.? page 196, Audi          @USB adapter for devices with an Apple Light·
                                                                              Online media and Internet radio: additional op·                  connect (Infotainment) general informa-           ning connection
                                                                              tions                                                            tion.                                             @USB adapter for devices with an Apple Dock
                                                                              -Press the right control button.                               -Depending on the mobile device used, there         connector
                                                                              The following options may be available, depend-
                                                                                                                                               rnay be interruptions during media playback
      • Press the [tj_§:>_l/~] button. Press the left control                                                                                  and when using the Audi MMl connect app.          You can conned your mobile devices through the
                                                                              ing on the information shown (such as the sta·
        button until the sources overview ''~fig. 210 is                                                                                       To avoid interruptions when using a mobile        Audi music interface to the tv!MI using the USB
                                                                              tion/track that is currently playing):
        displayed.                                                                                                                             device, do not lock the screen on your mo-        adapter <Jnd charge the battery <Jt the same time.
                                                                              -Sound settings: see 9 page 245.
                                                                                                                                               bile device and keep the Audl MMI connect         /\pfllie<; to: vt:>hi(!!J'> vAb   Aurli r.wsk   int~nfi'l(.•;·
      (\pf)\h>'< l"n: 1;~ing rmlitw medh :md lnU:rm~l ntdio                   - Wi·Fi settings: see ,.,>page 195, Wi-Fi hotspot.
                                                                                                                                               app in the foreground.                            - Audi muslc interface: Refer to ,. .opage 229.
      Requirement;                                                            -Connection manager: see "'page 242.
                                                                                                                                             -Contact an authorized Audi dealer or au"
      ---The Audl MMI connect app must be installed
         and open on your mobile device,
                                                                              -Additional options rnay be available, depending
                                                                                on the active online media service or Internet
                                                                                                                                               thorized Audi Service Facility for additional      CD       Note
                                                                                                                                               information about online media.                     Handle the USB adapter carefully. Do notal"
      -You must be logged into your myAudi Jccount                              radio.
         in the Audi MMI connect app and you must                                                                                                                                                  tow it to be pinched.
         have selected your vehicle.                                           _&.      WARNING
      -The Wi-Fi function on the mobile device and on                          - It is only safe to use tablets, laptops, mo-·
         the MMI must be switched on.                                            bile devices and other similar devices when
      -If necessary, check in the connection manager                             the vehicle is stationary because, like .all
         S>page 242 if the mobile device you connected                           loose objects, they could be thrown around
         is S('lected under the MMI connect app (§).                             the inside of the vehicle in a crash and cause
"'~   -The MMI must be connected to the network.                                 serious injuries. Store these types of devices
N

"
N        The symbol for the Online media source (i)                              securely while driving.                               I>
"'
0
N        •.;. fig. 210 is shown in the MMI.
>
ro

                                                                                                                              227           22.8
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                                                                                                 Media          Media


                                                      -Operation: select and confirm the External au-            -Changed content on a mobile device 1l that
                                                       dio player source®"'' page 230, fig. 213. The               is connected to the Audl music interface
Connect your mobile devices to the Au eli mu;·ic       media are started and operated through the                  may not be displayed in the media center.
iilterfoce in order to operate them through the        mobile device@"" fig. 212.                                  In this case, reset the Media settings back
f\1MI and charge the battery.                                                                                      to Factory settings 9poge 242.
                                                            WARNING                                              -Video playback through the Audi music in-
                                                       Driving requires your complete and undivided                terface is only supported if the connected
                                                       attention. As the driver, you have complete                 device is recognized as a USB storage device
                                                                                                                                                                                      Fig. 214 Di<Jgram: possible sources h1 th~ t-1~dia ·menu
                                                       responsibility for safety in traffic. Never oper-           (for example a USB stick). Apple devices and
                                                       ate mobile devices while driving, because this              MTP devices (such as smartphones) are not                          Requirement: a media source must contain au-
                                                       inoeases the risk of an accident.                           recognized as USB slor a9e devices.                                dio/video' files "-'page 223.
                                                                                                                 -IPod/iPhone malfunctions also affect the
                                                      CD    Note                                                   operation of the MMI. Reset your iPod/
                                                                                                                   !Phone ifthis happens.
                                                                                                                                                                                      • Press the ['f:1'i''611\'j button. Press the left control
                                                                                                                                                                                        button until the sources overview is displayed.
                                                       -Remove the connector from the Audi music                                                                                      • Select and confirm the desired source. Or:
                                                                                                                 -For important information on operating
 Fig. 212 Conne(t!ny rnobile dev\Les                     interface c;Jrefully so it is not damaged.
                                                                                                                   your IPod/iPhone, refer to the user guide for                        press the fBJ£i?1bJ button repeatedly until the
                                                       -Use a USB extension cable to connect devi-                                                                                      desired source Is selected.
The Audi music interface consists of a USB inter-                                                                   tbe device. Audi recommends updating the
                                                         ces that have an integrated USB connector
                                                                                                                   iPod/iPhone software to the latest version.                        Depending on the vehicle equipment, the follow·
foce and on AUX input in the center console un-          (such as a USB stick) tr; prevent damage to
der the armrest@ c> page /3, fig. 2, as well as an-                                                              -For more information about the Audl music                           lng sources may be displayed In the Media menu:
                                                        your USB device and the Audi music inter-
other US[J interface in the center console (i§J                                                                     interface and supported devices, check the
                                                         face.
                                                                                                                    Audi database for mobile devices at                               (i) Jukebox• ...... , .. ,, .. ,.,, ... 224
c> page 8, fig. 2.                                       Extremely high or low temperatures that
                                                                                                                   www.audiusa.com/bluetooth or contact an                            @ DVD/CD drive• ................ 223,224
-Disconnecting a mobile device from the Audl             can occur inside vehicles can damage mobile
                                                         devices and/or Impair their performance.
                                                                                                                    authorized Audi dealer or authorized Audi                         ® SO card reader          ...............
                                                                                                                                                                                                                              223
  music Interface: remove the USB adapter Q)                                                                        Service Facility.                                                                                         229
                                                         Never leave mobile devices in the vehicle In                                                                                 @ Audl music interface' ..........
  "~fig. 2.12 from the Audi music interface.
                                                         extremely high or low temperatures.                                                                                               such as iPod, USB stick
-Disconnecting mobile devices with an Apple                                                                     Playing media                                                         ®    External audio player . _........                     229
  Dock connector: remove the Apple Dock con·
  nectar from the Apple device with the release       :@    Tlps                                                                                                                           such as an MP3 player connected to
  tabs pressed in®'"' poge 228, fig. 21.1.               Do not use an additional adapter or USB ex·                                                                                       the AUX input
                                                                                                                You can start and operate various media
                                                         tension cable to conhect mobile devices to                                                                                   @ Bluetooth audio player'                                  225
The media are started and operated through the                                                                  throvgh t-he f\11'1£ control panel.
                                                         the Audi music interface that already have a                                                                                 (j) Wi·Fi audio player' ···········                        226
mobile device or the M~1l, depending on the de-
                                                         cable or that rnust be connected with a USB                                                                                  @ Online media' and Internet radio'                        227
vice being used'"> pogc 230.
                                                         adapter(¢ page 228). They may impair the
Connecting two mobile devices: lftwo mobile              functionality.                                                                                                               -Playing audio/video files: select a source in the
devices (for example IPod and smartphone) are            You c<Jn purchase the AUX connector c<Jble                                                                                     Media menu > Category (such as artists> al·
connected at the same time, then both devices            from an authorized Audi dealer or at spe-                                                                                      bum> trock).
can be used as playback sources.                         cialty stores.                                                                                                               -Moving one level up In the folder structure:
                                                       -Functionality is not guaranteed for mobile                                                                                      press the I?A~IS.I button. Or: select and confirm
You can connect mobile devices using the analoq                                                                                                                                         Folder up.
                                                         devices that do not conform to the USB 2.0
AUX port.                                                                                                        Fig. 213 Dlt~grt~m:.posslbt~sources in the Nedlil menu               -Selecting the previous or next track/chapter•
                                                         specification.
-,Connecting a mobile device to the AUX input:                                                                                                                                          2 ): press the On/Off knob on the MMl control
                                                       -USB hubs are not supported.
  connect the cable® S> fig. 212 to the AUXin-                                                                                                                                          panel briefly to the left 1<1<1 or right 1>!>1.
                                                       -Some versions of the !Pod such as the IPod
  put® on the Audi music interface and then to                                                                                                                                        -Fast-forwarding and rewinding audiolvldeo•
                                                         shuffle cannot be connected to the USB
  the mobile device@ (such as an MP3 player or                                                                                                                                          files: press and hold the On/Off knob on the      !»
                                                         adapter for devices with Apple Dock connec-
  smartphonel-
                                                         tor, Connect these devices using a AUX con-
-Disconnecting a mobile device from the AUX
                                                         nector cable.                                     !»
  input: remove the cable®"' fig. 212 from the                                                                  H AppUc-5 only to t-1TP devlte!:., Ooa!i not <~pply t.n Apple dcvi·
  AUX input@"" fig. 212.                                                                                          (es. and USB mno;;s .stor~ge devkes,
                                                                                                                l)   Depending en the DVD, thls   n~ay   not be pos!>lbte during
                                                                                                                     playbac<.

                                                                                                     229        230
                                    Case 2:17-cv-05086-PA-KS Document 19-3 Filed 09/18/17 Page 44 of 75 Page ID #:245



                                                                                                         Media       Media


  t"itvll control panel to the left 1<!<1 or right N>l for   shown,. ~ fig. 215 connected to the Audi music in·      @Videos*                                              Using the free text search: see"'> page 166, Free
                                                             terface*.                                                                                                     l'exl'search.
  a longer time.                                                                                                     All available video files are displayed. Select and
-Pausing or resuming playback: pr~ss the On/                 Depending on the active source, you can select          confirm a video file.                                 Entries that contain the entered search term are
  Off knob on the MMI control panel briefly.                 audio/video files• from the following categories                                                              listed in the resultslist(5.) 0 fig. 217. You can
                                                             and add them to the pluylist:                           @Tips                                                 search for artists@"" fig. 217, alb urns® or
@Tips                                                                                                                 -Only the categories supported by the medi-          tracks@) as well as genres and videos.
 -You can scroll through long lists quickly by               Q) Favorites                                               um are available. For example, CD/DVD·
   turning the control knob quickly. The scroll-             The Favorites category appears if at least one en·         ROM tracks cannot be selected with catego-                Tips
   ing speed depends on the nuniber of list en·              try is stored in the favorites list. Refer to              ries such as Artists, Albums or G.enres.            -It willthen sear(_h through the files in the
   tries.                                                    0 page 232, Favorites.                                    vVith an IPod (source: Audi music Interface           active source.
 -For saf.-,ty reasons, the video image is only                                                                         "e page 228), the Podcasts, Audio books             -If you open free text search in the Folders
   displayed when the vehicle is stationary. On·             @Artists                                                   and Composers categories are also avalla·             category([) "~pogo 231, fig. 216 or
   ly the sound from the video plays while driv-             All available artists <Jre displayed. Select and con·      ble.                                                  theComposers, Pod casts and Audio books
   ing.                                                      firm an artist, an album and then a track.               -For safety reasons, the video Image is only            categories, it will only search through the
                                                                                                                        displayed when the vehicle is stationary. On·         files in that folder.
                                                             @Albums                                                    ly the sound from the video plays while driv·
                                                             All available albums are displayed. Select and             in g.
Various categories f'or selecting audio/video•               confirm an album and then a track.                       -When synchronizing a portable device with
files are available in the media center.                                                                                "Cloud" services, playlists may display incor-
                                                             @Genres
                                                                                                                        rectly in the Mtvll. Use· the rnedia center in
                                                             All available genres are displayed. Select and             the device.
                                                             confirm a genre (such as Pop), an artist, nn al·
                                                             bum and then a song.

                                                             (G) Tracks
                                                             All available tracks are displayed. Select and con·     You con search in the active source by tracks and
                                                             firm a track.                                           video files', for example
                                                                                                                                                                           The track, artist, album and album cover, if appli·
                                                             ([)Folders
                                                                                                                                                                           cahle, will appear in the playlist ''~ {ig. 218.
                                                             The folder structure or track/chapter list is dis-
                                                             played. Select a folder, if necessary. Select and                                                             Options menu
                                                             confirm a track.                                                                                              Refer to 0 page 233, Additional settings.
                                                             ® Playlists
                                                             All available playlists from the source and the
                                                             smart playlists are displayed. Select and confirm                                                             Up to 50 entries for every media source can be
                                                             a playlist and then a track.                                                                                  stored in any order in the favorites list.
                                                                                                                     You can open the free text search depending on
                                                             Smart playllsts:
• Press the [t:j.~Q!...S.I button. Press the left control                                                            the selected source,                                  Requirement: the playlist or media center must
  button until the sources overview is displayed.            -Last played tracks: the last tracks played in the                                                            be open.
                                                               selected source are displayed.                        Requirement: the playlist c:> page. 232 or media
  Select and confirm the desired source.                                                                                                                                   - Select the desired entry from the pl;,ylist or
                                                             --Most played: the most played songs in the .se·        center c.:> page 231 must be displayed.
                                                                                                                                                                              rqedia center.
0   Active source                                              lected source are displayed.                          Opening free text search                              "'Select: right control button> Store as favorite.
The active source is highlighted. The active                 - 5 stars to 1 star: tracks from the selected                                                                   Or: press and hold the control knob for several
                                                                                                                     .. Keep turning the control knob to the left until
source symbol (i) may change depending on the                  ~;ource are displayed according to Uwirrating.
                                                                                                                        the free text search input field (i) ">fig. 217      seconds.                                            ~
connected device, the online media service• or               -Unrated: all files from the selected source
                                                                                                                        appears. Or: push the control knob up.
Internet radio•. As an example, a USB stick is                 Without rating information (for example, in the
                                                               ID3 tag) are disployed.                         I>



                                                                                                             231      232
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                                                                                                             Media          Media

When you store a track as a favorite, the associ-                Wi-Fi settings•                                            Copy to Jukebox•                                                Switch to full screen
ated album will appear in the favorites list as an               Refer to =:• page 195, Wi·Fi hotspot.                      Refer to    c;>   page 224, Adding files to the jukebox.        The video image is displayed. Turn the control
entry.                                                                                                                                                                                      knob to display the playlist. Or: press the [i')J\:("8:1
                                                                 Connection manager                                         Set as ringtone*1l
Requirement: at least one entry must be stored                                                                                                                                              button.
in the favorites list.                                           Refer to "~page 212.                                       Requirement: a cell phone must be connected to
                                                                                                                                                                                            Replay video2l
                                                                                                                            the MMI. The track currently plnying must be in
Displaying the favorites list: press the li~lEDIA]               Additional track information
                                                                                                                            the Jukebox• "'page 224.                                        When this function is switched on l0, the current
button. Press the left control button until the
                                                                 With the function 5Witched on~ and <1 playlist                                                                             video will replay.
sources overview 0:' pogc 230 is disployed. Select                                                                          The selected track will be used as the ring tone
                                                                 open, various information about the current track
the source that contains the categories                                                                                     for incoming calls.                                             Show DVD menu
                                                                 (such as artist, album and album cover') as well
~··page 231 (for example, SO card). Saloct the Fa-
                                                                 as the playing time and the remaining playing              Gracenote online database•                                      The DVD main menu opens in the Infotainment
vorites category.
                                                                 time MP. displayed.                                                                                                        system display.
                                                                                                                            Requirement: the         M~11   must be connected to the
Requirement: the favorites list must be dis-
                                                                 Jukebox memory capacity*                                   Internet.                                                       -Selecting a menu item: select and confirm a
played.
                                                                                                                                                                                              menu item. Dr: move your finger on the MMI
 ... Listening to a preset: select and confirm a pn>-            Information on the jukebox memory capacity and             Depending on availability, various information
                                                                                                                                                                                              touch control pad' and press the wntrol knob.
     set from the list.                                          the number of stored tracks in the jukebox Is dis-         will load about the track currently playing when
- tvtove favorite: select a fworite from the list>               played.                                                    this function is switched on~.                                  Audio track 3)
     right control button > Move favorite. Sel•~ct               Change playing position                                    Favorites                                                       You can manually set the audio track (language
     and confirm the location of the selected preset.                                                                                                                                       and audio format). The language and audio for-
- Deleting a favorite: select a favorite from the                Turn the control knob lo the left or to the right.         Refer to    -~page     232.
                                                                                                                                                                                            mat options depend on the video DVD.
     list> right control button> Delete favorite>                Or: move your finger <Jcross the MMllouch con-
                                                                                                                            Additional options
     Delete this favorite or Delete all favorites.               trol pad• from left to right.                                                                                              Subtitles3l
                                                                                                                            Requirement: the vehicle must be stationary and
                                                                 ShuffleD                                                                                                                   You can set subtitles for playback manually. The
                                                                                                                            a video file* or a DVD" must be playing.
Additional settings                                              With the function switched on~' all files in the
                                                                                                                                                                                            languages available depend on the DVD.
                                                                                                                            Parental control•
                                                                 playlist are played and shown in rondorn order.                                                                            Aspect
                                                                                                                            Playback of video DVDs can be restricted using
Context-specific functions and settings are avail-               Repeat trackll                                                                                                             Audi recornmends the Automatic setting for the
                                                                                                                            parental control.
able depending on the selected source.                                                                                                                                                      picture format. You can set the picture format
                                                                 When the function is switched on G(f, the current
                                                                                                                            Enter the password for parental controL Pass-                   depending on the active file or source (for exam-
>-Press the right control button.                                track repeats.                                             word set at the factory: 1234. You have the fol-                ple video file•, DVD').                           1>
                                                                 Back to 'Playback'                                         lowing options:
Sound settings
Refer to c:· page 245.                                           The options menu is closed. The track currently            -Protection level: select and confirm the protec-
                                                                 playing appeilrs in the playlist.                            tion level (for example, Level 5). Eight different
Input level                                                                                                                   protection levels can be set for parental con-
                                                                 Play similar music•                                          troL If you set the pJrental control level at Lev-
Requirement: a mobile device must be connected
to the AUX connection cable or to a USB adapter                  The track currently playing is quickly analyzed              elS, at\ DVDs from levell-5 can be played. Vid-
c> page 2 28, fvlultimedia connections.                          (such as artists, genres, mood, beat) and a smart            eo DVDs with a higher level will not play. Select
                                                                 playlist with similar tracks is shown.                       Unrestrkted to remove all of the restrictions.
The volume of the mobile device is adapted to                                                                               -Change password: edit the current password.
the Mfv1L Audi recommends adjusting the volume                   Play more .. ,
on the mobile device to 70% of the maximum                       A smart play list is shown based on the track cur-
volume output.                                                   rently playing. You can select between a playlist
Bluetooth settings                                               with more tracks by this artist, from this album
                                                                 or of this genre.                                    11>   11 This function Is not avallabtc. for all cell phones,
Refer too:> page 244.
                                                                                                                            21 ThQ   function nutorn~ticnliy switches offwh£>n th~ source
                                                                                                                               is chnnged,
ll   The tunctlon t~utomatic<~tly switches off when the source                                                              3l Depending on the DVD, this may not be possible durlnq
     Is ch,ng•d.                                                                                                               ployback.                                              -

                                                                                                               233          234
                                                                           Case 2:17-cv-05086-PA-KS Document 19-3 Filed 09/18/17 Page 46 of 75 Page ID #:247


                                                                                                                                                                                                                                              Media                  Media


 Picture for• Description                                                                                                                 Picture for• Description                                                                                                                                                                                                  Audio files                                                                                                                            Video files•
 mat                                                                                                                                      mat                                                                                                                          Format                                       MPEG                             Windows MPEG                                                        FLAC                              MPEG 1/2                                fvtPEG4 AVC                                Windows Media
r-----------r----------------------------
 Automatic The MMI detects the picture for-                                                                                               4:3                              The image is fixed in the 4:3 pic·                                                                                                       1/2                              Media   2/4                                                                                                                                   (H.264)                                    Video 9
           mat of the source and displays the                                                                                                                              ture format. Black bars are shown                                                                                                        Layer 3                          Audio 9
           image in the optimum ratio. Black                                                                                                                               on the sides ofthe Infotainment                                                                                                                                           <Hld 10
           bars may appear on the sides of                                                                                                                                 system display.                                                                             File exten·                                 .mp3                              .wnHl                             .rn4a;                            .flac                             .mpo;                                   .mp4;                                       .wmv;
           the display, depending on the                                                                                                  16:9                             The image is fixed in the 16:9 pic·                                                         sian                                                                                                            .m4b;                                                               .mpeg                                   .m4v;                                       .asf
           source format and the Infotain-                                                                                                                                 ture format. Black bars are shown                                                                                                                                                                           .aac                                                                                                        .mov;
           ment system display thot is instal·                                                                                                                             in the upper and lower edges of the                                                                                                                                                                                                                                                                                     .a vi
           led.                                                                                                                                                            Infotainment system display.                                                                Play lists                                                                                                                        .M3U; .PLS; .WPL; .M3U8; .ASX
 Zoom                            The image is enlarged to fill the
                                 entire lnfotoinment system dis-                                                                           Q)            Tips
                                                                                                                                                                                                                                                                       Characteris-                             I up to maximum 320 kbit/s and                                                                           48kHz                                             up to maximun1 2,000 kbit/s and
                                                                                                                                                                                                                                                                       tics                                     I       48kHz sompling frequencies                                                                       sampling                                          720x576 px. at mnximum 25fps
                                 play. Switch the function off if the                                                                        ~ Nol all video DVDs have parental control.                                                                                                                                                                                                                                 frequen-

 Cinema-
                                 image is distorted.
                                  Use this setting for films in cinema
                                                                                                                                             ""The protection levels for the Parental con·
                                                                                                                                               trot are based on the US standards from the                                                                             Number
                                                                                                                                                                                                                                                                                                                I                            DVD drive•: max. 1,000 files per medium
                                                                                                                                                                                                                                                                                                                                                                                                                         cy

 scope                            format 21:9. lllack bars are shown                                                                           Motion Picture Association of America                                                                                                                                     Jukebox': approxirmtely 10GB memory capacity; max. 3,000 files can be imported
                                                                                                                                                                                                                                                                       of files
                                  intheupperand~weredgesofthe                                                                                  (MPAA). Note that the age levels for video                                                                                                                                USB storage device and memory cards: max. 10,000 files per medium; max. 1,000
                                 Infotainment system display.                                                                                  DVDs in European countries may differ.                                                                                                                                                               files per playlist/directory
·---··---···-········ ... ··-··----·--·-···-·                ..............----·-······ ...............---···-··-·····.
 Original                        The Image is displayed in the ratio                                                                         ""Password entry for Parental control witt be                                                                                  ·························-·-······-'··············································-································································-···-········'······················-···-······························-········--··················································································'
                                 of the source format. Select this                                                                             locked for approximately one minute if you                                                                                                                                                                                                                                                        on the system language and cannot always
                                                                                                                                                                                                                                                                       @Tips
                                 option If the image is distorted or a                                                                         enter the incorrect password three times in                                                                                                                                                                                                                                                       be guaranteed.
                                                                                                                                                                                                                                                                          -The rnedia drives do not support the Win·                                                                                                                           -The manufacturer of the storage device can
                                 section of the imilge is cut off                                                                              a row. The password can only be reset by an
                                                                                                                                                                                                                                                                            dows Media Audio 9 Voice format.                                                                                                                                     provide information about its "USB Device
                                 when Auto is selected.                                                                                        authorized Audi dealer.
                                                                                                                                                                                                                                                                          --For compressing MP3 files, Audi recom-                                                                                                                               Subclass".
                                                                                                                                                                                                                                                                            mends a bit rate of at least 160 kbit/s. The                                                                                                                       -Some MTP player functions are not support·
Supported media and file formats                                                                                                                                                                                                                                            display showing the remaining play time                                                                                                                              ed, such as rating music tracks and video
                                                                                                                                                                                                                                                                            may differ for audio files with variable bit                                                                                                                         playback.
                                                                                                                                                                                                                                                                            rate.
The jukebox•, SO cord reader and the USB storage device' connection support the following audiolvld·                                                                                                                                                                      -Special characters (such as those in ID3 tag
eo file properties:                                                                                                                                                                                                                                                         information) display differently depending

                                                         Audloflles                                 VIdeo files•                                  _L____
c--------f--
Supported
                                                       ·····-                                               -·
                                               50/SDHC/SDXC/MMC memory cards: with a capacity of up to 128 Gl3
                                                                                                                         --                                                                                                                                                  '.
media                                  DVD drive: audio COs (up to 80 min) with CD text (artist, album, song)', CO-ROMs with
                                        a capacity of up to 700MB; DVD±R/RW; DVD video; DVD audio with audio tracks that                                                                                                                                              The following audio file properties ore supported by the CD drive:
                                                                are compatible with a DVD video player;
                                                                                                                                                                                                                                                                                                                                                                                                                                            Audio files
                                         Audl music interface: mobile devices (such as an iPod o; page 228, MTP player, USB
                                       storage dP.vice in "USB Device Subdass 1 and 5" that conforms to USB 2.0: USB sticks,                                                                                                                                           Supported                                        •Audio COs (up to 80 rnin) witi;Cot:~~;:(~;[;;t:~lb~;;;,-;;~~k);:cP=i~oM~;;;itl;~~~p~~~=
                                         USB MP3 players (Plug-and·Ploy-capable), external USB flash drives and hard drives                                                                                                                                            media                                                                               ty of up to 700MB
 ·········--·-·-·-· ·······-·--·· ····-···--···---···-···················-·-·-·-·····-·-·-·-·-·······-·······-·························-·-·····-··-·-·-····-·············-·-········-·-·-·····-·-·····   .. ·········-·-·························-··--·-····---···
 File system                                                            Memory cards: exFAT, FAT, FAT32, NTFS                                                                                                                                                          File system                                                                                                                  CD file system: 1509660, joliet, UDF
                                                                         USB storage device: Fi\T, FAT32, NTFS                                                                                                                                                         Meta data                                          Album cover; GlF, ]PG, PNG with max. 800x800 px. The album cover from the medi-
                                                          USB storage device partitions (primary/logical*: 2 per USB-conn~ction                                                                                                                                                                                                            wn may be displayed, depending on availability.
                                                                       CD/DVD file system: 1509660, Joliet, UDF                                                                                                                                                        Format                                             MPEG 1/2            Windows Media A~~ Mf;EGz/4- - - TFLAC
Metadata                              Album cover: GIF, )PG, PNG with max.                                                                                                                                                                                           f........,..........._____,.,..... , 1___L__a__ ,Y___, e_...r_,,3,................ --~...,,............ ,i·'·--li·o'"""'"'g'••a....n. __d__,..__l_ ..     o___,. .,........... t-·-··--·····-·····---·...                                                1
                                      800x800 px. The album cover from the                                                                                                                                                                                             File extension                                     .mp3                                                              .wma                                                               .m4a;                                                              .flac
                                      medium or from Gracenote' is displayed,                                                                                                                                                                                                                                                                                                                                                                                  ,m4b;
                                      depending on availability.                                                                                                                                                                                                                                                                                                                                                                                               .aac


                                                                                                                                                                                                                                                     235             236
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                                                                                                    Media   Media


                                                        Audio files                                           Problem                                                                        [solution
Playllsts                                     .M3U; .PLS; .WPL; .M3U8; .ASX                                   WI-Fi audio player•: audio play-                                                 Audio playback interference can occur on some cell phones if the
                                                                                                              back interference.                                                               Internet connection in the vehicle was not established through
                                                                                                                                                                                               the SJM card reader on the MMI control panel and the mobile da·
Number                                      ~1aximum   1,000 files per medium
                                                                                                                                                                                               ta option on the cell phone is switched on. Deac.tivate the mobile
of files                                                                                                                                                                                       data option on your cell phone.
                                                                                                              Jukebox•: tracks on the imported                                                 When Importing playlists, all of the files themselves must be im-
                                                         ... Special characters (such as lhose in ID3 tag     playlist are grayed out.                                                       Iported.
@Tips
                                                             information) display differently depending
 -For compressing MP3 files, Audi recom-                                                                      Jukebox': imported tracks cannot If you cannot find imported tracks in the rne.dia center, they may
                                                             on the system language and cannot always
   mends a bit rate of at least 1.60 kbit/s. The                                                              be played or found.              not be supported. Only copy supported files"~ page 235 to the
                                                             be guaranteed.
   display showing the remaining play time                                                                                                     Jukebox.
   may differ for audio files with variable bit                                                              WI-Fi audio player•: multiple de-                                                 Close the Audl MMI connect app on the connected devices (for ex-
   rate.                                                                                                     vices are connected to the Wi-Fi                                                  ample, smartphones) that are not being used as the Wi-Fi audio
                                                                                                             hotspot. A rnedia player (such as a                                               player'. Likewise, close the UPnP server apps or the rnedia permis-
Troubleshooting                                                                                              srnartphone) appears as the                                                       sions on the integrated UPnP/DLNA server. Connect the desired
                                                                                                             source and cannot be changed.                                                     device as a Wi-Fi audio player• "; pogr!> 226.
Problem                              Solution                                                                 Online media•: connection failed                                                 To establish a connection to the MMI. the MHl connection switch
Audi music interface/Bluetooth       Read the instructions in the chapter o:> page 228, Multimedia con-       between the MMI and the Audi                                                     must be switched on in the Audi MM! connect app status screen.
audio player': mobile device is      nections/"~ poge 22 5, Bluetaath audio player. You can learn             MMI connect app.    ........... _____
                                                                                                             ···-~·-···   ...····-·················· .·············-·········   ,,,
                                                                                                                                                                                      ·······- ······-·······-··-·-- ......._,,,,, .............. - ..._............   ..........._........   ·················-··--········---·· ··············-·····
nat supported.                       about supported mobile devices in lhe Audi dntabase for mobile          Audi music interface: contents                                                    Reset the Media settings to the factory default settings
                                     devices at www.audiusa.com/bluetooth.                                   that are changed on a mobile de-                                                  "~page 242.
Audl music interface: the volume Adjust the volume of the mobile device to approximately 70% of              vice connected to the Audi music
i> too high/too low when starting the maximum output'·>' page 233, Input level.                              interface are not dbployed in the
playback through the AUX input.                                                                              media center,
Audi music interface: the porta-     For many cell phones or mobile devices, playback is not possible         Bluetooth audio player•: lnterfer· Playback interference can occur when using the Blu~tooth audio
ble device is not recognized as a    when the battery level is too low (less than 5% of its capacity).        cncc with track display and audio player if a music player app from a third party provider is open.
source.                              The mobile device will only be recognized as a source in the ~~Ml        playback.                          Audi recommends using the integrated media player on your Blue-
                                     after connecting if the battery charge is sufficient.                                                       tooth device (such as a smarrpnone1.
Audl music Interface: malfunc-       Th~ Bluetooth audio player function is switched on. Switch this         WHi hotspot•: your Wi-Fi device                                                   Make sure the network optin1ization functions are switched off in
tions during audio playback          function off~' page 244 when you are not using the Bluetooth            is disconnected from the Wi·Fi                                                    the Wi-Fi settings or in the network settings for your Wi-Fi device.
through an iPod/iPhone,              audio player.                                                           hotspot.                                                                          For additional information refer to the user guide for your Wi-Fi
Audi music interface: contents       Reset the Media   s~ttings   to the factory default settings                                                                                              device.
that are changed on a mobile de-     c.'1poge 242.                                                            Audl music interface: audio play-                                                f..jake sure the USB mode MTP is selected in the settings on your
vice •l connected to the Audi mu-                                                                             back through the connected mo·                                                   mobile device.
sic interface are not displayed in                                                                            bile device is not possible.
the media center.                                                                                           il)     Applies only to MTP devices, Does not npply to Apple devices und USB mass storage devices,
AUX input: thNe is static when   When connecting and disconnecting, the External audio player
connecting and disconnecting the source is already selected. Before connecting or disconnecting the
AUX connection cabl~.            mobile device, either mute the device (see 9 page 24S) or switch
                                 to a different audio source (for example"'' page 217, Opening the
                                 radio).
Bluetooth audio player'/Wi·Fi        Only one interface should be actively used at a time to ensure
audio player': audio playback in-    problem-free playback.
terference.




                                                                                                      237   238
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                                                                                                          Audi                                                interface

Audi srnartphone                                      'CD   Note                                          Operating                                                                                               Android Auto: to go back to the Android Auto
                                                                                                                                                                                                                  menu bar, push the control knob down.
interface                                              Always follow the information found in c:>(j) in
                                                       Wi-Fi hotspot on page 195.                         Opening a menu                                                                                           Opening a menu item
Setup
                                                                                                          Apple CarPlay: you can go back to tho Apple Car-                                                        Select and confirm a menu item using the Ml'-1!
                                                      ;(D   Tips
                                                                                                          Play main noenu regardless of the selected menu                                                         control panel.
You cun wnnectyour smartphone to the MMI us-
ing the Audi smartphone interface. Ce1tain con-
                                                       -The functions that can be used depend on          item by pressing and holding the [\3f.:("f:l button.
                                                         the following factors, among others:
tent on your smortphone is adopted to the Info-
tainment ~ystem display while driving and can            -the brand of your smartphone                    Troubleshooting
be operated through t-he MMJ cont-rol panel.             -the version of the operating system in
                                                           your smartphone
Requirement:                                            -the software version of the app used             Problem                                                                       Solution

The vehicle must be stationary and the ignition         - the USB adapter cable and correct connec-       Audi smartphone interface can-                                                Check the charge level of your smartphone battery.
must be switched on.                                       tion                                           not be opened.                                                                Check the USB cable <Jnd use a different one if necessary.
                                                           your cell phone service provider                                                                                             Check if Android Auto or Apple caiPlay is available in your country.
iPhone generationS or higher with Lightning             -the customized settings on your smart-                                    ............................_, ___________________   -~-~-"..C:.k.. .i!..~~-~-~:l_r~i d Au~~_l:'_~~~i~:~t~ll_~~...o..r~xo.u._r__:fl1_a_':.l:~~..':.~~---
connector and iOS 7.1.2 operating system or                phone
                                                                                                          ·-·-········~·-······~

                                                                                                          Connecting the smartphone to                                                  Check If you are using the correct USB adapter and if the USB
higher. Or:
                                                       -One of the factors above or a combination         the Mtvll failed.                                                             adapter is connected correctly to your srnartphone and the Audi
Smartphonc with Android Auto app and Android             of any of them could cause your smartphone                                                                                     music interface'·~ page 228.                                                                          I
5.0 Lollipop operating system or higher.                 to be incompatible with the Audi smart-                                                                                        Check if Apple CarPlay is activated on your smartphone.
                                                         phone interface. Compatibility cannot be                                                                                       Check in the Android Auto app if Android Auto permits new
""Connett your srnartphone to the Audi music in-
                                                         guaranteed for aU types of smartphones.                                                                                        vehicles.
   terface···? page 229 using a USB adapter
                                                         For more information and assistance, refer       The smartphone is not automat!-                                               Check if you are using the correct USB adapter and if the USB
   "''page 228, fig. 211.
                                                         to the user guide and the manufacturer of        cally detected.                                                               adapter is connected correctly to your srnartphone and the Audi
• Select and confirm Activate Apple CarPlay or
                                                        your smartphone.                                                                                                                music interface¢ page 228.
   Activate .Android Auto now.
                                                       -If the connected smartphone has voice con·                                                                                      Check if the requirements needed to connect a smartphone have
.. Follow the system instructions.
                                                         trol, you can operate your smartphone using                                                                                    been met.
• Pay attention to any addition<Jl system prompts
                                                         the external voice recognition systern
   on your smartphone if applicable.
                                                        c.-, page 175.
If you chose not to use 1\pple CarP lay or Android    -The menu language shown in the MMI is
Auto when connecting your smnrtphone for the            based on these tting s in your· S'nartphone.
first time, you can start the Audi srnartphone in-    -The time displayed in the MMI Is based on
terface later on using the Connection manager.          the settings in your smartphone.
~ Select: IM F.NU I button > Audi smartphone In·      -Several MMJ functions are not available
  terface > Change to connection manager.               when Apple Car Play or Android Auto is ac-
• Connect your smartphone to the Audi music in-         tive.
  terface using a USB adapter c> page 228,            -You cannot connect any rnobile devices via
     fig. 211.                                          llluetooth when an Apple CarPlay connec-
>-Select and confirm Audi smartphone: In the            tion is active.
  Connection manager t; page 242. You can se·         -When the Apple Car Play connection is ac-
  lect your smartphone in the list of devices th<Jt     tive, Tag this song for !Tunes•!) is not avail-
  are already p<1ired ¢page 243.                        able c) page 218.
• Follow the system instructions.




ll   ln preparation at the time of prlnttng.

                                                                                                   239    240
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                      settings                             Date format                                                    switched on 10, you can say new commands dur·
                                                                                                                          ing announcements. You do not need to wait for
                                                                                                                                                                               @      Tips
                                                           If you select DD.MM.YYYY, the date display will
Setting the date and                                       show, for example, 31.08.2017. If you select                   the signal tone (beep) during an announcement.        -Make sLtre that not only the settings were
time                                                                                                                      When the function is switched off0, you need to         deleted but also the stored data, if applica·
                                                           MM/DD/YYYY, the date disploy will show, for ex-                                                                        ble.
                                                                                                                          w~it for the signal tone (beep) to say a new com·
    1
        ou can s<et the clock time manually or using the   ample, 08/3112017. If you select YYYY·MM·
\
                                                                                                                          mand.                                                 -If you reset the Navigation and online
Gf'S'.                                                     DD, the date display will show, for example,
                                                                                                                                                                                  memory\ Apps• or Audi connect' to the
                                                           2017·08-31.                                                    Volume: you can adjust the volurne of the               factory default settings, the system auto-
• Select: l.t!£.U.V] button >Settings> left control                                                                       prompts by turning the control knob.                    matically restarts after approximately 20
  button> MMI settings> Date & time.                       MMI settings                                                   Speech training (only when the vehicle is station·      seconds. The Infotainment system display
~Or: select: LMf'.i'J..lJ..] button > Vehide > left con·
                                                                                                                          ary): you can adapt the voice recognition system        will be bl~ck for several minutes when re-
  trol button> Vehicle settings> Date & time,              • Select: [£1ENQ] button> Settings> left control
                                                                                                                          to your voice or pronunciation in order to improve      starting.
                                                             button> MMI settings.
Automatic setting                                                                                                         the system's ability to recognize your speech. ln·    -Please note that the voice recognition sys-
When this function is switched on 10, the time             Language                                                       dividual training is comprised of 20 speech en·         tem' is not available in C<Jbriolets.
and date are automatically set.                            You can ch<mge the display language as well ilS                tries that consist of commands and sequences of
                                                           the language fo1· the voice guidance• and voice                nurnbNs. You can delete the pmgrarnmed voice         Connection manager
Time                                                                                                                      training with the Reset Individual speech train·
                                                           recognition system•.
Requirement: the Automatic setting must be                                                                                ing function.
                                                           The number of languages available depends on
switched off.                                                                                                             Display brightness
                                                                                                                                                                               The connection manager gives you an overview
                                                           the market.
                                                                                                                                                                               ofyour connected devices and their network sta-
Press the control knob. You can set the Time                                                                              Display brightness: you can adjust the bright·
                                                           Measurement units                                                                                                   tus.
manually by turning and pressing th<' control                                                                             ness of the Infotainment system display by turn·
knob.                                                      The following units can be selected:                           ing the control knob.
Date                                                       ···· Speed (mph or krn/h)
                                                                                                                          Factory settings
                                                           .... Distance (miles or kilometers)
Requirement: the Automatic setting must be                                                                                The following functions can be reset to the facto·
switched off.                                              -Temperature ("For "C)
                                                           -Fuel consumption (l!lOOkrn, mpg (US), mpg                     ry default settings:
Press the control knob. You can set the Date                    (UK) or km/l)                                             .... Sound settings
manually by turning and pressing the control               -Volume (liters, gallons)                                      -Radio
knob.
                                                                                                                          -Media settings
                                                           Tool tips
Time zone                                                                                                                 -Jukebox'
                                                           When this function is switched on 10, your MMI                 -Directory                                           • Select: [ME''NTI] button> Settings> left control
When selecting the appropriate tirne zone, a               shows you tips for input. The frequency of how                                                                        button> MMI settings> Connection manager.
                                                                                                                          -Telephone
sampling of countries in this zone will be listed.         often it displays decreases with time.                                                                              ~Select and confirm a menu item.
                                                                                                                          -Blue tooth and Wl·Fi'
Automatic time zone•                                       Speech dialog system                                            - Navigation settings•                              lf a mobile device was already connected and you
When this function is switched on 10, the time             t-\pplies- lo: vt•hides with vole~ a•roonitinn By$lern         -Navigation and online memory•                       select and confirm the corresponding menu item,
will automatically adjust to the corresponding                                                                            -Speech dialog system'                               the device name and connection mode are dis·
                                                           Depending on vehicle equipment, the following
time zone.                                                                                                                ... Messagu settings•                                played under the menu item c,'fig. 219 .
                                                           functions may be available:
                                                                                                                          - Apps'                                              You can individually Connect   (10) or Disconnect
Automatic daylight saving time•                            Command display: when this function is switch-                 .... Tool tips                                       (0) a paired device:.
                                                           ed on 10, the MMI will show you the possible
When this function is switched on~. the time                                                                               .... Audi connect'
                                                           commands for voice input in the respective
will automatically switch to daylight saving time.                                                                        - Audi smartphone Interface•
                                                           menu.
Time format                                                                                                               You can select the deslr~d fun(tions individually
                                                           Short dialog: when this function is switched on
                                                                                                                          or all at once with the option Select all entries.
If you select 24h, the clock will display, for ex-         10, a shorter form of the prompts is usc'd.                                                                         -Connect 11ew device: search for and connect a
                                                                                                                          Select and confirm Restore factory settings.
ample, 13:00. If you select AM/PM, the dock                                                                                                                                     cell phone,                                         !!-
                                                           Command during voice output': this function Is
will display, for example, 1:00 PM.
                                                           switched on at the factory. When t11is function is 1>


                                                                                                                    241   242
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-List of devices already paired: select your cell       Wi·Fi audio player•                                      Show Bluetooth profiles•                               Network settings•
  phone from the list of a lithe devices that are       Requirement: the Wi·Fi hotspot• on the MMI               You can Connect or Disconnect the Handsfree,           -Login: you can chose an automatic login to
  already paired.                                       9 page 195 and on your cell phone must be                Messages', Directory/contacts and Bluetooth              your cell phone service provider's network, or
                                                        switched on.                                             audio player profiles separately.                        you can choose" manual login from the list of
                                                                                                                                                                          available networks.
                                                        -Connect new device: press the control knob.             Bluetooth settings•
                                                                                                                                                                        -Network selection: available networks in the
-Connect new device: search for and connect a             Search for and connect a Wi·Fi capable device.
                                                                                                                 - Bluetooth: select and confirm a setting for the        present location can be selected under network
  cell phone.                                           -Disconnect Wi-Fi audio player: deectivate the
                                                                                                                   Bluetooth connection visibility. Select Visible        selection. This function is only <JVailable for the
-List of devices already paired: select your cell        Wi-Fi on your Wi-Fi capable device. The device
                                                                                                                   for the MMI to be visible to other devices. Se·        Manual login setting.
  phone from the list of all the devites that are        will be automatically removed from the list.
                                                                                                                   lect Invisible for the MMl to not be visible to
  <llreildy paired.                                                                                                                                                     Apple CarP lay sound settings/ Android Auto
                                                                                                                   other devices. However, it is still possible toes-
                                                        Q)     Note
                                                                                                                   t~bllsh a Bluetooth connection with paired de-
                                                                                                                                                                        sound settings
                                                                                                                                                                        1\pp!iEs to;   'IP!:idt•~   v;it.h t\Lodi   '~rn:,r\·phot~r. int.-Pr!·;~n;
                                                          Always follow the information found in     O:•(l) in     vices when the visibility is switched off. Select
                                                          Wi·Fi hotspot on page 195.                               Off to turn visibility off. Then a Btuetooth con·    Refer to~' page 245.
The diJta connection is made using the embedded                                                                    nection is not possible,                             About Apple CarP lay/ About Android Auto
SlM curd c) page 190. You do not need to adjust                                                                  - Bluetooth audio player: when this function is        Appties lo; vehkte:s with ALJdi ;;murtphon,;;                i!~t(•rlt~c<.'

any additional settings.                                                                                           switched on~' the Oluetooth audio player is
                                                                                                                                                                        Here you will find legal information regarding
                                                        Display contacts from a cell phone (or on addi-            avoilable as a source in the Media menu.
                                                                                                                                                                        the use of Apple CarPl~y or Android Auto and in-
:CD    Not~>                                            tional ceil phone).                                      - Bluetooth name: the MMI Bluetooth name (for
                                                                                                                                                                        formation about device-specific data exchange.
  Always follow the information found in o:·(i) in                                                                 example ,AUDI MM! 2017") is displayed and
                                                        Requirement: no cell phones can be connected to            can be changed.                                      Delete CarPiay device/Delete Android Auto
  Wi-Fi hotspot on page 195.
                                                        the MMI using the H~ndsfree profile.                                                                            device
                                                                                                                 Online settings•
                                                        -Connect new device: search for and connect a
                                                            new cell phone.                                      -Data usage counter: the amount of data pack-          Requirement: your cell phone must not be con-
                                                        ... List of devices already paired: select your cell      ets that are sent and received through the Mfv11      nected to the Audi music interface with a USB
Requirement: the Audi MMI connect app must                                                                        is displayed. You can reset the data usage infor-     adapter.
                                                            phone from the list of all the cell phones that
tw installed and open on your mobile device.                are already paired.                                    mation to zero using the Reset data counter
                                                                                                                  option.                                               To remove your cell phone from the list of all cell
-Connect new device: search for and connect a                                                                                                                           phones that are already paired, select and con·
                                                                                                                 -Network status: the mobile network provider
  mobile device (such as a smartphone),                                                                                                                                 firm D~lete CarP lay device or Delete Android Au·
                                                                                                                  for data service as well as the network status
-List of devices already paired: select your lllO·                                                                                                                      to device.
                                                                                                                  are displayed.
  bile device from the list of all the devices that
                                                        -Connect your cell phone to the Audi music in·
 are already paired.
                                                          terface ,. ;. page 229 using a USB adapter
                                                                                                                 Wi·Fi settings•                                         (D      Tips

                                                          c; page 228, fig. 21.1'                                Refer to c.-> page 195, Wi·Fi !lot's pot.                Some SJM cards do not allow the S!M PIN
                                                        -Select your cell phone from the list of cell                                                                     queries to be switched off.
                                                                                                                 Storing as a default telephone
                                                          phones that have already been connected.               Ap;Jl!cs to: Vt'.llirk~; ~dth tekph ..1nr:
Audio player*                                                                                                                                                           System update
                                                                                                                 Requirement: a cell phone must be connected to
Requirement: the Oluetooth function and visibili-                                                                the i"IMI C:•page 177.                                 >Select: rr:TEFiiJ] button >Settings) l<>ft control
ty must be switched on in the MMI c:> page 244          Depending on the selected function, you can use                                                                  button> System maintenance.
and on the cell phone.                                                                                           As soon as the cell phone is in ranue and the
                                                        the right control button to access the available         Bluetooth function on the cell phone and in the        -System update: slide the storage device with
·-·Connect new device: press the control knob.          additional options in the connection manager.            MMI is switched on, this cell phone is given prior-      the update data into the appropriate drive
   Select Bluetooth audio player. Search for and                                                                 ity over the other Bluetooth devices and is con-         "'page 223. Select and confirm the drive>
                                                        Delete Bluetooth device*
   connect a mobile device.                                                                                      nected directly to the MMI. The connected cell           Start update. The length of the process de-
-List of devices already paired: select a Blue-         The selected cell phone/mobile device is discon·         phone is displayed first in the device list.             pends on the size of the update.
   tooth device from the list of alt the devices that   nee ted from the i"IMI and is removed from the
                                                                                                                                                                        -Reset driver installation: the selected media
   are already paired.                                  list of all devices that are almady paired.
                                                                                                                                                                          driver package is reset to the settings at the
                                                                                                                                                                          time of delivery.                                                           I>

                                                                                                         243     244
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                                                       -Front: only the speakers in the front of the ve-                                                                          Parking aid•
-Version information: information on the M~11
 soflW<He version and the navigation database•           hicle are active.                                                                                                        You can adjust the volume of the signal tone by
                                                                                                             • Select: l"'f;fE'NU] button >Sound > left control
  software version is displayed. The Software In·      - Rear•: only the speakers in the rear of the vehi·                                                                        turning the control knob.
                                                                                                               button.
  formation function also provides information           de are active.                                                                                                           --Adjusting the Front volume: select and ccm-
  on the software contained in the MMI and the                                                               Telephone                                                              flrm High, Medium or' Low.
                                                       Surl'ound level                                       Apptie!J Lu. vel!ick:.; \:,lith lelcpbt~n<.'
  licensing agreement.                                                                                                                                                            -Adjusting the Rear volume: select and confirm
                                                       You can adjust the surround sound by turnin9 the      Mute telephone: messages oncl ringtones are set                        High, Medium or Low.
Sound settings                                         control knob.
                                                                                                             to mute.
                                                                                                                                                                                  MMI touch*
The sound distribution and volume of the MMI           Subwoofer                                             Ringtone: see c>page 187, Ringtone and volume
wn be adjusted individuolly. The settings depend                                                                                                                                  You can ~djust the volume ofthe prompts for the
                                                       You can adjust the subwoofer by turning the con-      settings.
on vehicle equipment.                                                                                                                                                             MHI touch* by turning the control knob.
                                                       trol knob.                                            Ring tone volume: you can adjust the volume of
                                                       Speed dependent volume control*                       the selected ringtone by turning the control                         Restarting the MMI
                                                                                                             knob.
                                                       You can adjust the playback volume to the level
                                                       of noise inside the vehicle by turning the control    Message volume: you can adjust the volume of
                                                       knob.                                                 the notification for an incoming !:ext rness;1ge by
                                                                                                             turning the control knob.
                                                       Volume settings                                       Microphone Input level: you can adjust the call
                                                                                                             volume during a phone call by turning the control
                                                       t!!t!!IJ!I!I,H!I!ftt                                  knob.
                                                       The volume of an audio soure<' or a system mes-
• Select: L0JIE.iJ button> Sound> left control         sage (for exomple, from the voice recognition
                                                                                                             Navigation
  button > Entertainment.                                                                                    t\p 1 >l!l.~';   tn; v;,•.hides v.:iU~ fl'-l'li9<',t!~\n !'iy:,lem
                                                       system') con be adjusted directly while the
                                                       sound is playing using t/w On/Off knob.               Voice guidance: see'* poge 209.
Treble I Bass
                                                                                                              Voice guidance during phone tall: see                               ~Briefly   press the control knob and both buttons
You can adjust the Treble and Bass settings by         - lntreaslng or decreasing the volume: turn the
                                                                                                              c~ page 209.                                                          at" the same time to immediately open the
turning the control knob. The changed settings           On/Off knob (i) "~page .1.'>8, fig. 161 to the                                                                             menu upward '}fig. 221.
only apply for the audio source that is active at        right or left.                                       Voice guidance volume: you can adjust the voice
the time. This allows you to adjust the sound set·     -Muting or pausing: press the On/Off knob              guidance volume by turning the control knob. Or:
tings for each audio source separotdy.                   briefly, Or: turn the On/Off knob to the left un·    you con adjLJst the voice guidarKe volurne during
                                                                                                                                                                                   Software license
                                                         til the symbol@ •·? page 167 ~ppears. An ac-         active route guidance by turning the On/Off                          information
Balance/fader (Sound focus)
                                                         tive audio/video source is stopped.                  knob.
-Adjusting the sound distribution to the left or       - Unmutlng or resuming: press the On/Off knob                                                                               Information on the software contained in the
                                                                                                              Entertainment fader: the volume of <ludio play-
  right: press the control knob. Turn the control        briefly. Or: turn the On/Off knob to the right.                                                                           MMl and the license agreement.
                                                                                                              back can be temporarily lowered when the park-
  knob to the left or right to the desired position.                                                                                                                               -Select: f£:f!L@] button >Settings> left control
                                                                                                              ing system or voice guidance is active.                                button >System maintenance >Version infor·
-Adjusting the sound distribution to the front
  or rear: press the control knob again. Turn the        To reduce the risk of an accident, adjust the        Voice recognition system                                               mation.
  control knob to the left or right to the desired       volume of the audio system so that audible                                                                                -Or: online ot www.audiusa.com/softwareinfo.
  position.                                              signals from outside the vehicle, such as po-        Command display: see c; poge 241.                                    Information on the software contained In the
-Adjusting the sound distribution ratio with             lice and fire sirens, can be heard easily at all                                                                          instrument cluster and the license agreement.
  the MMI touch•: move your finger in the de-                                                                 Short dialog: see ""Page 241.
                                                         times,
  sired direction on the MMI tou<.h control pad.       1-------------------                                   Volume: seec? page 241.
                                                                                                                                                                                   Press the reset button twice within five seconds

 Sound effects                                          "<!)   Tips
                                                                                                              Speech training: see'* page 241.
                                                                                                                                                                                   ofswitrhin<J the ignition on.ll

                                                          Volumes that are too high or too low are au-
Select and confirm a Focus setting:
                                                          tomatically adjusted to a set level when the
-All: all speakers in the vehicle are active (sym·
                                                          MM! is switched on.
  metrical sound distribution).
                                                                                                              U      Not avili\;)ble in        ~u   vehicles,


                                                                                                       245     246
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       Driving                                                 The following is a list of just a few of the safety      "Make sure to use the right child restraint cor·          Correct passenger
                                                               fe;Jtures In your Audi:                                    rectly to protect children'* page 292, Child
       Basics                                                                                                                                                                     seating positions
                                                                                                                          safety.
                                                               -sophisticated safety belts for driver and all pas·
                                                                                                                        • Sit properly in your seat and make sure that
                                                                 senger seating positions,
                                                                                                                          your passengers do the same c:> poge 61, Front
                                                               -safety belt pretensioners,                                                                                        The proper driver ~eating position is important·
       Please remember· safety first!                                                                                     seats.
                                                               -safety belt height adjustment systems for the                                                                     for safe . relaxed driving.
                                                                                                                        • Fasten your safety belt and wear it properl)'· Al·
       This chapt~r contains important information,              front seats',
                                                                                                                          so instruct your passengers to fasten their safe-
       tips, instructions and warnings that you need to        -front airbags,
                                                                                                                          ty belts properly c;• page 258.
       read and observe for your own safety, the sofety        -knee airbags for the front seats'
       of your passengers and others, We have summar·          -side airbags in the front seats and outer rear
       ized here what you need to know about s<Jfety             seats•,
       belts, airbags, child restraints as well as child       -side curtain airbags with ejection mitigation           Sofe driving i.s directly related to the condition of
       safety. Your safety is for us priority number 1. Al-      feiltures',                                            the vehicle, the driver as well as the driver's a bill·
       ways observe the information and warnings in            -special LATCH anchorages for child restraints,          ty to concentrate on the road without being dis-
       this section· for your own safety as well as that       -head restraints for each seating position,              tracted.
       of your passengers.                                     - adjuSti1ble steering column.
                                                                                                                        The driver is responsible for the safety of the ve-        Fig. 222 Correct seating position
       The information in this section applies to all          -pre sense' (preventative passenger protection)
                                                                                                                        hicle and all of its occupants, If your ability to
       model versions of your vehicle. Some of the fea·        These individual safety features, can work to·           drive is impaired, safety risks for everybody in the      For your own safety and to reduce the risk of in·
       t:ures described in this sections may be standard       gether as a system to help protect you and your          vehicle increase and you also become a hazard to          jury in the event of an accident, we recommend
       equipment on some models, or may be optional            passengers in a wide range of accidents. These           everyone else on the road <.:.&.Therefore:                that you adjust the driver's seat to the following
       equipment on others. If you are not sure, ask           features cannot work as a system if they are not                                                                   position:
       your <Juthorized Audi dealer.                                                                                    • Do not let yourself be distracted by passengers
                                                               always correctly adjusted and correctly used.                                                                      • Adjust the driver's seat so that you can easily
                                                                                                                          or by using a cellular telephone.
        &     WARNING                                          Safety Is everybody's responsibility!                    • t-JEVER drive when your driving ability Is im·            push the pedals all the way to the floor while
                                                                                                                                                                                    keeping your knee(s) slightly bent C:• &.
                                                                                                                          paired (by medications, alcohol, drugs, etc.).
        -Always make sure that you follow the in·                                                                                                                                 • Adjust the ongle of the seatback so that it is in
                                                                                                                        • Observe all tr~ffic l~ws, rules of the roild and
          structions.and heed the WARNINGS in this                                                                                                                                  an upright position so that your back comes in
                                                                                                                          speed limits and plain common sense.
          Manual. It is in your interest and in the in·        Safety is everybody's job! Vehicl!! and ocwpant                                                                      full contact with it when you drive.
                                                                                                                        • ALWAYS adjust your speed to road, traffic and
          terest of your passengers,                           safety always depends on the informed and care-                                                                    • Adjust the steering wheel so that there is a dis·
                                                                                                                          weather conditions.
        -Always keep the complete Owner's litera·              ful driver.                                                                                                          tance of at least 10 Inches (25 ern) between the
                                                                                                                        • Take frequent breaks on long trips. Oo not drive
          ture in your Audi when you lend or sell your                                                                                                                              steering wheel and your breast bone"'' fig. 222.
                                                               For your safety and the safety of your passen·             for more than two hours at a stretch.
          vehicle so that this important information                                                                                                                                If not possible, sec your authorized Audi deal·
                                                                                                                        ~Do NOT drive when you <Jre tired, under pres·
          will always be available to the driver and           gers, before driving always:                                                                                         ership about adilptive equipment.
                                                                                                                          sure or when you are stressed.
          passengers.                                                                                                                                                             • Adjust the steering wheel so that the steering
                                                               ' Make sure that all lights and signals are operat·
        -Always keep the Owner's literature handy so
          that you can find It easily if you have ques-
                                                                 ing correctly.
                                                               • Make sure that the tire pressure is correct.
                                                                                                                        &      WARNING                                              wheel and airbag cover points at your chest and
                                                                                                                                                                                    not at yourface.
          tions.                                                                                                         Impaired driving safety increases tile risk of
                                                               • Make sure that all windows are clean and afford                                                                  • Grasp the top of the steering wheel with your
                                                                                                                         serious personal injury and death whenever a               elbow(s) slightly bent.
                                                                 good visibility to the outside.
                                                                                                                         vehicle is being used.
                                                               • Secure all luggage and other items carefully                                                                     • For adjustable head restraints: Adjust the head
                                                                 c) page 66, 9 page 65.                                                                                             restraint so the upper edge is as oven as pass iN
       The safety features ore part o( the occupant re·
                                                               • Make sure that nothing can interfere with the                                                                      ble with the top of your head. If that is not pos-
       straint system and work together to help reduce
                                                                 pedals.                                                                                                            sible, try to adjust the head restraint so that it
       the risk of injury in a wide variety of occident sit·
                                                               • Adjust front seat, head restraint and mirrors                                                                      is as close to this position as possible. IY\ove the
       uatlons.
                                                                 correctly for your height.                                                                                         head restraint so that it is as close to the back
~      Your safety and the safety of your passengers           >Instruct passengers to adjust the head re-                                                                          ofthe head as possible,
,-.,   should not be left to chance. Advances in tech-           straints according to their height,               P.                                                             • Fasten and wear safety belts correctly
"g     nology have made a variety of features available                                                                                                                             ·"->page262.                                         It"
~      to help reduce the risk of injury in an accident.

                                                                                                              247       24$
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> Always keep both feet in the footwellso that         -Never drive with the backrest reclined or                   -Passengers who are unbelted, out of posi·            • For adjustable head restraints: adjust the head
  you are in control of the vehicle at all times.           tilted far back! The farther the backrests are             tion or too close to the air bag can be seri·        restraint so lhe upper edge is as even as possi·
                                                            tilted back, the greater the risk of injury due            ously injured by an alrbag as it unfolds with        ble with the top of your head.lf that is not pos·
For detailed information on how to adjust the
                                                            to Incorrect positioning of the safety belt                great force in the blink of an eye.                  sible, try to adjust the head restraint so that it
driver 1S seat, seer:.:-. page G.l.
                                                            and Improper seating position,                          .. Always make sure thot there are at least             Is as dose to this position as possible
                                                       .... Children must always ride in child safety                  10 inches (25 em) between the front pas-             c:>page 63.
                                                            seats¢ page 292. Special precautions ap·                   senger's breastbone and the instrument             • Keep both feet flat in the footwell in front of
  Drivers who are tmbelted, out of position or                                                                                                                              the rb1r se.:1t
                                                            ply when installing a child safety seat on the             paneL
  too close to the air bag can be seriously In·                                                                                                                           • Fasten and wear safety belts properly
                                                            front passenger seat c:> page 267.                      -Always make sure that there are at le<Jst
  jured by an airbag as it unfolds. To help re·                                                                                                                             C:·poge 262.
                                                                                                                       4 inches (10 em) between the front pass en·
  duce the risk of serious personal injury:                                                                                                                               ,.. Make sure that children are always properly re·
                                                                                                                       ger's knees and the lower part of the instru·
 -Always adjust the driver's seat and the                                                                                                                                     strained in a child restraint that is appropriate
                                                                                                                       ment panel.
     steering wheel so that there are at least                                                                                                                                for their size and age"" page 292.
                                                                                                                    -Each passenger must always sit on a seat of
     10 inches (25 em) between your breastbone        The proper front possenger seating position is
                                                                                                                       their own and properly fasten and wear the
     and the steering wheel.                          important· for so(e, relaxed driving.                                                                                      WAR.NtNG
                                                                                                                       safety belt belonging to that seat.
 ... Always adjust the driver's seat and the
                                                      For your own safety and to reduce the risk of in·             -Before driving, always adjust the front pas-          Passengers who are improperly seated on tile
     steering wheel so that there are at least
                                                      jury in the event of an accident, we recommend                   senger seat properly.                               rear seat can be seriously injured in a crash~
     4 inches (10 em) between the knees and the
                                                      that you adjust the seat for the front passenger              --For adjustable he<Hl restmints: before driv·         -Each passenger must always sit on a seat of
     lower part of the instrument panel.
                                                      to the following position:                                       lng, always also adjustthe head restraints            their own and properly fasten and wear the
 -Always hold the steering wheel on the out·
                                                                                                                       properly.                                             safety belt belonging to that seat.
     side of the steering wheel rim with your         • Adjust the angle of the seatback so that it is in
                                                                                                                    -Always keep your feet on the floor in front           -Safety belts only offer maximum protection
     hands at the 9 o'clock and 3 o'clock posl·         an upright position and your back comes in full
                                                                                                                       of the seat, Never rest the111 on the seat, in·       when the safety belts are properly posi-
     tions to help reduce the risk of personal in·      contact with it whenever the vehicle is moving.
                                                                                                                       strument panel, out of the window, etc. The           tioned on the body and securely latched. By
     jury if the driver'sairbag inflates.             'For adjustable head restraints: adjust the head
                                                                                                                       alrbag system and safety belt will not be             notsitting upright, a rear seat passenger in·
 -Never hold the steering wheel at the                 restraint so the upper edqe is as evet1 as possi-
                                                                                                                       able to protect you properly and can even In·         creases the risk of personal injury from im·
     12 o'clock position or with your hands at          ble with the top of your head.lf that is not pos ..
                                                                                                                       crease the risk of Injury in a crash.                 properly positioned Siifety belts!
     other positions inside the steering wheel          sible, try to adjust the head restraint so that It
                                                                                                                       Never drive with the backrest reclined or           -For adjustable head restraints: always ad-
     rim or on the steering wheel hub. Holding          is as close to this position as possible
                                                                                                                       tilted far back! The farther the backrests are        just the head restraint properly so that it
     the steering wheel the wrong way can cause         ~page 63. Move the head restraint so that it is
                                                                                                                       tilted back, the greater the risk of injury due       can give m~xlmurn protection.
     serious injuries to the hands, arms and head       as close to the back of the head as possible.
                                                                                                                       to incorrect positioning of the safety belt
     ifthe driver's airbag inflates,                  • Keep both feet flat on the ·floor in front of the
                                                                                                                       and improper seating position,
 -Pointing the steering wheel toward your               front passenger seat.
                                                                                                                    -Children must always ride In child safety
     face decreases the ability ofthe supplemen·      • Fasten and wear safety belts correctly
                                                                                                                       seats'* page 292. Special precautions ap·
     tal driver's airbag to protect you In a colli·    "~page   262.                                                                                                      Correctly adjusted head restraints are an impor·
                                                                                                                       ply when Installing a child safety seat on the
     sion.                                                                                                                                                                tont· port ofyour vehicle's ocwponl: restroint ~ys­
                                                      For detailed information on how to adjust the                    front passenger seat c.:> page 267.
 -Always sit in an upright position and never                                                                                                                             tem and can help to reduce the risk of Injuries in
                                                      front passenger's seat, see '*page 61.
     lean against or place any part of your body                                                                                                                          accident situations.
     too close to the area where the airbags are
     located,
                                                      & WARNING
 -Before driving, always adjust the front seats        Front seat passengers who are unbelted, out
                                                                                                                   Rear seat passengers must sit upright with both
     properly and make sure that all passengers        of positioil or too close to the airbag can be
                                                                                                                   feet on the floor consistent with their physical
     are properly restrained.                          seriously injured or killed by the airbag as It
                                                                                                                   size and be proper(v restrained whenever the ve·
 - For adjustable head restraints: before drlv·        unfolds. To help reduce the risk of serious
                                                                                                                   ilide is in use.
     lng, always also adjust the head restraints       personal injury:
     properly.                                         -Passengers must always sit in an upright po·               To reduce the risk of injllry caused by an incorrect
 - Never adjust the seats while the vehlde is            sition and never lean against or place any                seating position in the event of a sudden braking
     moving. Your seat may move unexpectedly             part of their body too dose to the area                   maneuver or an accident, your passengers on the
    and you could lose control of the vehicle.           where the airbags are located.                       W.   rear bench scat must always observe the follow·         !=!g. 223 Head restraint: vieWed from the front
                                                                                                                   lng:

                                                                                                       249         250
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The head restraints must be correctly adjusted to                                                                                                                   lf a brake circuit fails, increased br;:.ke pedal trav-
achieve lhe best: protection.                                                                                                                                       el is required to bring the vehicle to a full slop.
                                                        The occupant restroint system can only reduce           Improper seating positions increase the risk
• Adjust the head restraint so the upper edge is        the risk of injury if vehicle occupants ore properly    of serious personal injury and death whenever              WARNING
  as even as possible with the top of your head. If     seated.                                                 a vehicle is being used.
  that is not possible, try to adjust the head re-                                                                                                                    Pedals that cannot move freely can cause loss
                                                                                                                --Always make sure that all vehicle occupants
  straint so that it is as close to this position as    lmproper seating positions can cause serious in-                                                             of vehicle control and increase the risk of seri-
                                                                                                                  stay in a proper seating position and are
  possible c;> fig. 223.                                jury or death. Safety belts can only work when                                                               ous injury.
                                                                                                                  properly restrained whenever the vehicle is
"'Applies to: rorvvard/b~F:k adjustable heMJ reu        they are properly positioned on the body. Im-                                                                -Never place any objects in the driver's foot-
                                                                                                                  being used.
  ,;(roin\s: Move the head restraint so that it is as   proper seilting positions reduce the effectiveness                                                             well. An object could get into the pedal ilrea
  close to the back of the head as possible.            of safety belts and will even Increase the risk of                                                             and interfere with pedal funCtion. In case of
• If there is~ passenger on the ren r center seat-      injury and death by moving the safety belt to crit-    Driver's and front                                      sudden braking or an accident, you would
  ing position, slide the center head restraint up-     ical areas of the body. Improper seating positions     passenger's footweU                                     not be able to brake or accelerate!
  ward at least to the next notch.                      also increase the risk of serious injury and death                                                           ·-Always make sure that nothing can fall or
                                                        when an airbag deploys and strikes an occupant                                                                 move into the driver's footwell.
Adjusting head restraints··.;, page 63.                 who is not In the proper seating position. A driver

      WARNING
                                                        is responsible fm the safety of all vehicle occu-
                                                        pants and especially for children. Therefore;          I&    WARNING
 All seats are equipped with head restraints.                                                                   Always make sure that the knee airbag can in-       Always use floor mats that can be securely ot-
                                                        • Never allow anyone to assume an incorrect
  Driving without head restraints or with head                                                                  flate without interference. Objects bet\NCen        t·oched to the floor mat fasteners onrl do not in-
                                                          seating position when the vehicle is being used
  restraints that are not properly adjusted in-                                                                 yourself and the air bag can increase the risk      terfere with the free movement of the pedals.
                                                          c!•,&.
 creases the risk of serious or fatal neck injury                                                               of injury in an accident by interfering with the
                                                                                                                                                                    ~Make   sure that the floor mats are properly se-
 dramatically. To help reduce the risk of injury:       The following list contains exxamples of some           way the airbag deploys or by being pushed in-
                                                                                                                to you as the airbag deploys.                         cured and cannot move and interfere with the
 -Always drive with the head restraints in              positions that will increase the risk of serious in-
                                                                                                                -No persons (children) or animals should ride         pedals"'',&.
    place and properly adjusted.                        jury and death. Our hope is that these examples
 -Every person In the vehicle must have a               will make you more awe1re of seating positrons            in the footwellin front of the passenger          Use only floor mats that leave the pedal area un-
    properly adjusted head restraint.                   that are dangerous.                                       seat. If the airbag deploys, this can result in   obstructed and that are firmly secured so that
 -Always make sure each person In the vehicle                                                                     serious or fatal injuries.                        they cannot slip out of position. You can obtain
                                                        Therefore, whenever the vehide is moving:               - No objects of any kind should be carried In
    properly adjusts their head restraint. Adjust                                                                                                                   suitable floor mats from your mtthorized Audi
    the head restraint so the upper edge is as          -never stand up in the vehicle                            the footwcll area in front of the driver's or     Dealer.
    even as possible with the top of your head.         - never stand on the seats                                passenger's seat. Bulky objects (shopping
                                                                                                                   bags, for example) can hamper or prevent         Floor mat fasteners are Installed in your Audi.
    lfthat Is not possible, try to adjust the head      -·never kneel on the sf'ats
    restraint so that it is as close to this position   -never ride with the seat back reclined                   proper deployment ofthe alrbag. Small ob-         Floor mats used in your vehicle must be attached
    as possible.                                        --never lie down on the rear seat                         jects can be thrown through the vehicle if        to these fasteners. Properly securing the floor
 - Applie~. to: fnrward/bac~ adjusl.a!J!o head          -never lean up against the instrument panel               the airbag deploys and injure you or your         mats will prevent them from sliding into posi-
    re>traints: Move the head restraint so that it      - never sit on the edge of the seat                       passengers.                                       tions that could interfere with the pedals or im-
    is as close to the back ofthe head as possi-        -never sit sideways                                                                                         p<Jir safe operation of your vehicle in other ways.
    ble.                                                -never lean aut the window                             Pedal area
 - Never attempt to adjust head restraint                                                                                                                                  WARNING
                                                        -never put your feet out the window
   while driving.lfyou have driven off and              -never putyourfeet on the instrument panel
                                                                                                               M@ftU                                                 Pedals thot cannot move freely can result in a
    must adjust the driver headrest for any rea-        -never rest your feet on the seat cushion or back      The pedals must always be free to move and            loss of vehicle control and increase the risk of
   son, first stop the vehicle safely before at-          of the seat                                          must never be interfered with by a floor mat or       serious personal injury.
   tempting to adjust the head restraint.               -never ride in the footwell                            any other object.                                     -- Alwoys moke sure th•t floor mats a1e prop-
 -Children must always be properly restrained           ·-never ride in the c<Jrgo mea                                                                                  erly secured.
   in a child restraint that is appwpriate for                                                                 Make sure that all pedals move freely without In-     -Never place or install floor mats or other
   their age and size ,.:,page 292.                                                                            terference and that nothing prevents them from           floor coverings in the vehicle that Gmnot be
                                                                                                               returning to their original positions.                   properly secured in place to prevent them
                                                                                                               Only use floor mats that leave the pedal area free       from slipping and interfering with the ped·
                                                                                                               and can be secured with floor mat fasteners.             als or the ability to control the vehicle.            ~


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 -Never place or install floor mats or other                                                                     - Close the power top•,
    floor coverinqs on top of already installed                                                                  _Open al\ air outlets in the instrument pan-       Tile luggage compartment is equipped with four
                                                             Improperly stored luggage or other iterns can
    floor mats. A-dditional floor mats and other                                                                   el,                                              tie-downs to secure luggage and other items.
                                                             fly through the vehicle causing serious per·
    coverings wilt reduce the size of the pedal                                                                  -Switch off the air recirculation,
                                                             so nat injury in the event of hard braking or an
    area and interfere with the pedals.                                                                          -Set the fresh air fan to the highest speed.       Use the tie-downs to secure your cargo properly
                                                             accident. To help reduce the risk of serious
 .. Always properlyreinstalt and secur~ floor                                                                                                                       r.; page 253, Loading the luggage compartment.
                                                             personal injury:
    mats that have been taken out for cleaning.
                                                             -Always put objects, for example, luggage or                                                           In a collision, the taws of physics mean that even
 -Always make sure that objects cannot fall                                                                     Always make sure that the doors, all win·           smaller items that are loose in the vehicle will
                                                               other heavy items in the luggage com part·
    into the driver footwett while the vehicle is                                                               dows, the power roof', the power top• and           become heavy missiles that can cause serious in-
                                                                ment.
    moving. Objects can become trapped under                                                                    the rear Ud are securely closed and locked to       jury. Items in the vehicle possess energy which
                                                             -Always secure objects in the luggage com-
    the brake pedal and accelerator pedal caus·                                                                 reduce the risk of Injury when the vehicle is       vary with vehicle speed and the weight oft he
                                                                partment using the tie-down hooks and
    ing a loss of vehicle control.                                                                              not being used.
                                                               suitable straps.                                                                                     it ern. Vehicle speed is the most signi fi<:ont factor.
                                                                                                                -After closing the rear lid, always make sure
                                                                                                                                                                    For example, in a frontal collision at a speed of
Storing cargo correctly                                                                                           that it is properly closed and locked.
                                                                                                                                                                    30 mph (48 km/h), the forces acting on a 10-lb
                                                                                                                -Never leave your vehicle unattended espe-
                                                             Heavy loads will influence the way your vehl·                                                          (4. 5 kg) object are about 20 times the normal
                                                                                                                  cially with the rear lid lefl open. A child
                                                             de hnndles. To help reduce the risk of a loss                                                          weight of the item. This means that the weight
All luggage and other objects must be properly                                                                    could crawl into the vehicle through the lug·
                                                             of control leading to serious personal injury:                                                         of the item would suddenly be about
stowed and sewred in the luggage comport·                                                                         gage compartment and close the rear lid be·
                                                             -Always keep in mind when transporting                                                                 200 lbs. (90 kg). You can imagine the injuries
mcnt.                                                                                                             corning trapped and unable to get out. Be-
                                                               heavy objects, that a change in the center of                                                        that a 200 lbs. (90 kg) item flying freely through
                                                                                                                  ing trapped in a vehicle can lead to serious
                                                               gravity can also cause changes in vehicle                                                            the passenger compartment could cause in a col·
                                                                                                                  personal injury.
                                                               handling:                                                                                            tision like this.
                                                                                                                  Never let children play in or around the vehi·
                                                               ~Always distribute the load as evenly as
                                                                                                                  cle.                                                     WARNING
                                                                 possible.
                                                                                                                -Never let passengers ride in the luggage
                                                               -Place heavy objects as far forward in the                                                            Weak, damaged or improper straps used to
                                                                                                                  compartment. Vehicle occupants must at-
                                                                 luggage compartment as possible.                                                                    secure items to tie-downs can fail during hard
                                                                                                                  ways be properly restrained in one of the ve·
                                                             -Never exceed the Gross Axle Weight Rating                                                              braking or in a collision and cause serious per-
                                                                                                                  hide's seating positions.,,
                                                               or the Gross Vehicle Weight Rating specified                                                          sonal injury.
                                                                                                                                                                     -Always use suitable mounting straps and
Fig. 224 Safe lond positioning: ploce heavy objects as low
                                                               on the safety compliance sticker on the left
                                                               door jamb. Exceeding permissible weight
                                                                                                                (D Tips                                                properly secure items to the tie·downs in
and <1~ far forW,;:'ird as possible.                           standards can cause the vehicle to slide and     -Air circulation helps to reduce window fog-           the luggage compartment to help prevent
                                                               handle differently.                                ging. Stale air escapes to the outside               Items from shifting or flying forw<nd as dan·
Loose items in the luggage compartment can                   -Please observe information on safe driving          through vents in the trim panel. Be sure to          gerous missiles.
shift suddenly, changing vehicle handling charac·              e:>page 247.
                                                                                                                  keep these slots free and open.                    -When the rear seat backrest is folded down,
teristics. Loose items can also increase the risk of                                                            -The tire pressure must correspond to the              always use suitable mounting straps and
serious personal injury in a sudden vehicle ma-
neuver or in a collision.
                                                             A    WARNING                                         load. The tire pressure is shown on the tire
                                                                                                                  pressure label. The tire pressure label is to·
                                                                                                                                                                       properly secure items to the tie-downs in
                                                             To help prevent poisonous exhaust gas from                                                                the luggage compartmentto help prevent
                                                                                                                  cated on the driver's side ll·pillar. The tire       items from flying forward as dangerous
• Distribute the load evenly in the luggage com-             being drawn into the vehicle, always keep the
                                                                                                                  pressure label lists the recommended cold            missiles into the passenger compartment.
  partment.                                                  rear lid closed while driving.                       tire inflation pressures for the vehicle at its    -Never attach a child safety seat tether strap
~Always ploce and properly secure heavy items in             -Never transport objects larger than those           maximum capacity weight and the tires that           to a tie·down.
  the luggage compartment as far forward as                    fitting completely into the luggage area be-      were on your vehicle at the time it was man-
  possible.                                                    cause the rear lid cannot be fully closed.         ufactured. For recommended tire pressures
• Secure luggage using the tie-downs provided                -If you absolutely must drive with the rear lid      for normal load conditions, please see chap·
  <7page 66.                                                   open, observe the following notes to reduce        ter C:• page 336.
• Make sure that the rear seatback is securely                 the risk of poisoning:
  latched in place.
                                                               -Close all windows,
                                                               - Close the power roof',


                                                                                                          253   254
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                                                                    Driving safety

        Reporting Safety Defects              NHTSA
        Applicable to U.S.A.                  U.S. Department ofTransporta-
                                              tion
        If you believe that your vehicle
                                              1200 New jersey Ave., S.E.
        has a defect which could cause a
                                              West Building
        crash or could cause injury or
                                              Washington, DC 20590                        JOL Vr\1.                                            cated behind tile head restraints in
        death, you should immediately in-                                                                                                      <;>fig, 226.
        form the National Highway Traffic     You can also obtain other infor-            For additional road safety infor-                    The rollbars, reinforced windshield
        Safety Administration (NHTSA) in      mation about motor vehicle safe-            mation, please visit the Road                        belt tensioners help protect front a
                                              ty from:                                    Safety website at:                                   sengers in the event of a rollover.
        addition to notifying Audi of
                                                                                                                                               The roUover protection system func
        America, Inc.                         http:/ /www.safercar.gov                    http://www .tc.gc.ca/ eng/                           the power top is both open and do~

        If NHTSA receives similar com-                                                    roadsafety/menu. htrn
                                              Applicable to Canada                                                                                     WMNING
        plaints, it may open an investiga-                                                                                                      Do not use the area behind there:
                                              If you live in Canada and you be-           Active rollover
        tion, and if it finds that a safety                                               protection system
                                                                                                                                                restraints"' fig. 225 as a storage
                                              lieve that your vehicle has a de-                                                                 the area where the rotlbars deplo:
        defects exists in a group of                                                                                                            over protection system is triggere
                                              feet that could cause a crash, in-
        vehicles, it may order a recall and                                                                                                     place there can be propelled throt
                                              jury or death, you should immedi-                                                                 hicle and make It more difficult fo
        remedy campaign. However,                                                         Tile rollover protection system protects vehicle
                                                                                                                                                bars to deploy. This increases the
                                              ately inform Transport Canada,              occupants in t/Je event of a rollover.
        NHTSA cannot become involved in                                                                                                         ous or Ufe·lhreatenlng injuries.
                                              Defect Investigations and Recalls.
        individual problems between you,
                                              You should also notify Audi Cana-
        your dealer, or Audi of America,
                                              da.
        Inc.                                                                                                                                   Rollover protection deploys in a col
                                              Canadian customers who wish to                                                                   over.
        To contact the NHTSA, you may
                                              report a safety-related defect to                                                                Depending on the collision, sensors
        either call:
                                              Transport Canada, Defect Investi·                                                                the vehicle and the control module
        Tel.: 1-888-327-4236 (TTY:                                                                                                             rollover system to deploy.
                                              gations and Recalls, rnay either
        1-800-424-9153) or                                                                                                                     For safety reasons, rollover protecti
                                              call Transport Canada totl-free at:                                                              ploys during front, side and rear col
        1-800-424-9393                                                                                                                         A certnin lovol of severity.
                                              Tel.: 1-800-333-0510 or
        or you may write to:                  Tel.: 1-819-994-3328 (Ottawa re-
                                              gion and from other countries)
                                              TTY for hearing in1paired: TeL:
                                              1-888-6 7 5-6863
~
N
                                              or contact Transport Canada by              Fig. 226 Hear se•ts: deployed   ro\lbar
~-
:::l
Q
                                              mail at:                               ..   The ildivc rollover protection system consists of:
"'>Ol
                                                                             255          256
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                                                                                                                                            belts

                                                                             • Pull the loop upward in the direction of the ar·                  beLts                                   -Never strap more than one person, includ-
                                                                               row and hold it In place c; fig. 22 7.                                                                      ing small children, Into any belt. It is espe·
                                                                             • Slide the rollbar down.                             General notes                                           cially dangerous to pll1Ce a saFety bell over a
                                                                             • Release the loop just before the roll bar re~ches                                                           child sitting on your lap.
                                                                               its end position (1·2 in./3·5 em).                                                                        ·-Never let more people ride in the vehicle
                                                                             • Press the rollbar down until it stops.              Wearing safety belts correctly saves lives!             than there are safety bells avalloble.
                                                                             • Make sure the rollbar is secure before releasing                                                          -Be sure everyone riding in the vehicle Is
                                                                               it.                                                 This chapter explains why safety belts aro neces·
                                                                                                                                   sary, how they work and how to adjust and wear          properly restrained with a separate safety
                                                                             • Close the cover® c;, fig. 228.                                                                              belt or child restraint.
                                                                             • Repeat the procedure on the other rollbar.          them correctly.
                                                                             "You can now close the power top again.               ~Read    all the information that follows and heed
                                                                                                                                     all of the instructions and WARNINGS.
                                                                                   WARNING                                                                                              Your vehicle lws a warning system for the driver
                                                                              -Make sure your head or other parts of your
                                                                               body are not located In the area above the
                                                                                                                                   I&     WARNING                                       and front seat passenger l'O remind you about
                                                                                                                                                                                        the importonce of buckling-up.
                                                                                                                                    Not wearing safety belts or wearing them irn·
                                                                               rollbar when pressing tl1e rollbar down. If          properly increases the risk of serious personal
                                                                               the rollbar is not secured correctly, It could       injury and death.
                                                                               deploy again as soon as you release It and           -Safety belts are the single most effective
                                                                                capse injuries.                                       means available to reduce the risk of serious
                                                                              -Have the rollover protection system checked            injury and deati1 in ilutornobile accidents.
                                                                                by and autllorlzed Audl dealer or authorized          For your protection and thot of your passen·
                                                                                Audi Service Facility if it malfunctions. Oth·        gers, always correctly wear safety belts
       Fig. 228 Deployed roHbar with   pov·<~er   top fr'!lme t.adng   up~      erwise the system may not deploy correctly            when the vehicle is moving.
       ward.
                                                                                In a collision.                                     -Pregnant women, injured, or physically im·
      If the rollover protection has triggered but the                        -Modifying the rollover protection system or            paired persons must also use safety belts.         Fig. 229 S;;tfcty belt W<Jrning light in the lnstwmc-nt d11S~
                                                                                individuJl components is not permitted.               Like all vehicle o(cupants, they are more          t~r-   enlarged
      vehicle was not Involved in an accident, you can
      retract the rollover protection yourself in an                          -Work on the rollover protection system                 likely to be seriously injured if they do not
      emergency. Drive to an ;authorized Au ell dealer or                      should only be performed by an authorized              wear safety belts. The best way to protect a      Before driving off, always:
      authorized Audi Service Facility immediately to                           Audi dealer or authorized Audi Service Facili-        fetus Is to protect the mother- throughout        ~Fasten  your safety belt and make sure you are
      have the malfunction corrected.                                          ty. Otherwise the system may not function              the entire pregnancy.                               wearing it properly.
                                                                               correctly in a collision or It could deploy un-
                                                                                                                                                                                        • Make sure til at your passengers also buckle up
      With the power top open                                                   expectedly.
                                                                                                                                                                                          and properly wear their safety belts.
      • Pull the loop upward in the direction of the ar·                      -Have the system inspected at service inter·                                                              • Protect children with a child restraint system
         row and hold it in place c> fig. 227.                                 vals. This ensures the system will always be        Applie:; to: vel1ldes w:Uwul powe.r Lop: Your Audi     appropriate for the size and age.
      .. Slide the rollbar down.                                                ready For use. Have an authorized Audi deal·       has a total of five seating positions: two in the
      • Release the loop just before the rollbar reaches                       er or authorized Audi Service. Facility check       front and three in the rear. Each seating position   The warning light      II
                                                                                                                                                                                                              in the instrument cluster
         its end position (1·2 in. I 3·5 em).                                  the rollover protection system every two            has a safety belt.                                   lights up when the ignition is on as a reminder to
      • Press the rollbar down until it stops.                                 years at the latest.                                                                                     fasten the safety bdts. In cdditlon, you will henr
                                                                                                                                   Applies to: Vc'hides w:th power top: Your Audi
      • t--Jake sure the rollbar is secure before releasing                                                                                                                             a warning tone for a certJin period of time.
                                                                                                                                   has a total offour seating positions: two in the
         it.                                                                                                                       front and two in the rear. Each seating position     Fasten your safety belt and make sure that your
      • Close the cover (0 r:> fig. 228.                                                                                           has a safety belt.                                   passengers also properly put on their safety
      • Repeat the procedure on the other rollbar.                                                                                                                                      belts.
      With the power top closed
                                                                                                                                   Li}.   WARNING
                                                                                                                                    Not wearing safety belts or wearing them im·
~     • Switch the ignition on.                                                                                                     properly increases the risk of r.erious personal     -Safety belts are the single rnost eff(~ctiv(~
:;:   • Press the power top switch to adjust the power                                                                              injury and death.                                      means available to reduce the risk of serious                 >
~       top frame until it Is vertical "'>fig. 228,
N
&;

                                                                                                                          257      258
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                                                                                                               belts                     belts


   injury and death in automobile accidents.           at the same speed the vehicle was moving just                           Lin belted occupants are not able to resist the tre·
   For your protection and that of your passen-        before lhe crash, untilsornethlng stops them-                           mendous forces of impact by holding tight or
                                                                                                                                                                                      People think it's possible t-o use the hands to
   gers, always correctly wear safety belts            here, the wall"' fig. 231.                                              bracing themselves. Without the benefit of safe·
                                                                                                                                                                                      brace the body in a minor collision. It's simp~v
   when the vehicle is moving.                                                                                                 ty restraint systems, the unrestrained ocwpmtt
                                                       The same principles apply to people sitting in a                                                                               not true!
 --Failure to pay attention to the warning light                                                                               will slam violently into the steering wheel, in·
                                                       vehicle that is Involved in a frontal collision. Even
   that carne on, could lead to personal injury.                                                                               strun1ent panel, windshield, or whatever else is
                                                       at city speeds of 20 to 30 mph (30 to 50 km/h),
                                                                                                                               in the way,~. fig. 232. This impact with the vehi-
                                                       the forces acting on the body can reach one ton
                                                                                                                               cle interior has all the energy they had just be-
Why use safety belts?                                  (2,000 lbs, or 1,000 kg) or more. At greater
                                                                                                                               fore the crash.
                                                       speeds, these forces are even higher.
                                                                                                                               Never rely on airbags alone for protection. Even
                                                       People who do nat use safety belts are also not
Frontal crashes create rre1y strong forces for peo-                                                                            when they deploy, ~irbags provide only additional
                                                       attached to their Vt'hic\G. In a frontal collision
ple riding in vehicles.                                                                                                        protection. Airbags are not supposed to deploy in
                                                       they will also keep moving forward at the speed
                                                                                                                               all kinds of accidents. Although your Audl is
                                                       their vehicle was travelling just before the crash.
                                                                                                                               eqllipped with airbags, all vehicle occupants, In-
                                                       Of course, the laws of physics don'tjust apply to
                                                                                                                               cluding the drivN, must wear safety bdts cor-          Flg. 2:34 Driver is correctly res.lraiMd in a sudde.n braking
                                                       frontal collisions, l:hey det;!rmine what happens                                                                              maneliVer
                                                                                                                               rectly in order to minimize the risk of severe in-
                                                       in all kinds of accidents and collisions.
                                                                                                                               jury or death in a crash.
                                                                                                                                                                                      Safety belts used properly can make a big differ-
                                                                                                                               Rernember too, that airbags will deploy onl)'          ence. Safety belts help to keep passengers in
                                                                                                                               once and that your safety belts are always there       their seats, gradually reduce energy levels ap-
                                                                                                                               to offer protection in those accidents in which        plied to the body in an accident, and help prevent
                                                       ln crashes unbelted occupants cannot stop                               airbags are not supposed to deploy or when they        the uncontrolled movement that can cause seri-
                                                       themselves from flying forvtard and being in·
                                                                                                                               have already deployed. Unbelted ocwpants can           ous injuries. In addition, safety belts reduce the
                                                       jured or killer/. Always wearyour safety bolts!
                                                                                                                               also be thrown out of the vehicle where even           danger of being thrown out ofthe vehicle.
                                                                                                                               more severe or fatal injuries can occur.
                                                                                                                                                                                      Safety belts attach passengers to the car and give
                                                                                                                               It is also Important for the rear passengers to        them the benefit of being slowed down more
                                                                                                                               wear safety belts correctly. Unbelted passengers       gently or "softly" through the "give" in the safety
                                                                                                                               in the rear seats endanger not only themselves         belts, crush zones and other safety features engi-
                                                                                                                               bLtt also the driver and other passengers              neered into to day's vehicles. By "absorbing" the
                                                                                                                               4>fig. 233. In a frontal collision they will be        kinetic energy over a longer period of time, the
                                                                                                                               thrown forward violently, where they can hit and       safety belts make the forces on the body more
                                                                                                                               injure the driver and/orfront seat passenger.          "tolerable" and less likely to cause injury.
                                                                                                                                                                                      Although these examples are based on a frontal
                                                        Fig. 232 .A driver not WCilring asufuty belt La violently
                                                        thra.wn forward                                                                                                               collision, safety belts can also substantially re-
Th1; physical principles are simple. Both the vehi-                                                                                                                                   duce the risk of injury in other kinds of crashes,
cle and the passengers possess energy which var-                                                                                                                                      So, whether you're on a long trip or just going to
ies with vehicle speed and body weight. Engi-                                                                                                                                         the corner store, always buckle up and make sure
neers call this energy "kinetic energy."                                                                                                                                              others do, too, Accident statistics show that vehi-
The higher the speed of the vehicle and the                                                                                                                                           cle occupants properly wearing safety belts have
greater the vehicle's weight, the more energy                                                                                                                                         a lower risk of being injured and a much better
that has to be "absorbed" in the crash.                                                                                                                                               chance of surviving an accident. Properly using
                                                                                                                                                                                      safety belts also greatly increases the ability of
Vehicle speed is the most significant factor. If                                                                                                                                      the supplemental airbags to do their job in a cole
the speed doubles from 15 to 30 mph (25 to                                                                                                                                            llsion. For this reason, wearing a safety belt Isle-
SO km/h), the energy increases 4 times!                 Fig. 233 A rear passenger not wearing a safety belt will fly                                                                  gally required in most cotmtries induding much
                                                       forward and Strike the driver                                      P.
Because the passengers of this vahicln are not us-                                                                                                                                    of the United States and Canada.
ing safety belts'-'> fig. 230, they will ke~p moving


                                                                                                                    259        260
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                                                                                                   belts              belts

Although your Audi is equipped with airbags, you          glasses, pens, keys, etc., as these may cause    Safety belts                                               Converti bte locking retractor
still have to wear the safety bells provided. Front       injury.                                                                                                     Every safety belt except the one on the driver
airbags, for example, are activated only in some         -Never allow safety belts to become darn·                                                                    seat is equipped with a convertible locking retrac·
frontal collisions. The front airbags are not acli·       aged by being caught in door or seat hard·       So{ety first- everybody buckle up!                         tor that must be used when lhe safety belt is
vated in all frontal collisions, in side and rear col-    ware.                                                                                                       used to attoch a child safety seat. Be sure to read
lisions, in roll overs or in cases where there is not    ·-Do not wear the shoulder part of the belt                                                                  the important information about this feature
enough deceleration through impact to the front            under your arm or otherwise out of position.                                                               ¢page 303.
of the vehicle. The same goes for the other airba~J      -Several layers of heavy clothing may inter·
systems in your Audi. So, always wear your safety          fere with correct positioning of belts andre·                                                                    WARNING
belt and make sure everybod)' in your vehicle is           duce the overall effectiveness of the system,                                                               Improperly positioned safety belts can cause
properly restrained!
                                                         -Always keep belt buckles free of anything                                                                    serious injury in an accident <7 page 263,
                                                           that may prevent the buckle from latching                                                                   Safety belt position.
                                                           securely.                                                                                                   -Safety belts offer optimum protection only
                                                         -Never use comfort clips or devices that ere·                                                                   when .the seatbock is.upright and belts are
                                                                                                           Fig. 235 Belt buckle: and tongue on the drivE-r's Se<'~t
Safety belts must alwoys be correc!'ly positioned          ate slack in the shoulder belt. However, spe·                                                                 properly positioned on the body.
across t·he strongest bones of your body                   cial clips may be required for the proper use                                                               -·Always make sure that the reM seat back-
                                                                                                           To provide maximum protection, safety belts
                                                           of some child restraint systems.                                                                              rest to which the center rear safety belt' is
,. Always wear safety belts as illustrated and de·                                                         must always be positioned correctly on the wear·
                                                         -Torn or frayed safety belts can tear, and                                                                      attached is securely latched whenever the
                                                                                                           er's body.
    scribed in this chapter.                               damaged belt hardware can break In an acd·                                                                    rear center safety belt is being used.lfthe
,.. Make sure that your safety belts arc always            dent, Inspect belts regularly, If webbing,      • Adjust the front seat and head restraint proper-            backrest is not securely latched, the passen·
    ready for use and are not dam~ged.                     bindings, bulkles, or retractors are dam-         ly c:> page 61, Front seats.                                ger will move forward with the backrest dur-
                                                           aged, have belts replaced by an authorized      ~Hake sure the seatback of the rear seat bench                ing sudden braking, in a sudden maneuver
                                                           Audi dealer or qualified workshop.                isln an upright position nnd securely latched in            and especially in a crash.
 Not wearing safety belts or wearing them im·            -Safety belts that have been worn and loaded        place before using the belt o Li'o,.                      -Never attach the safety belt to the buckle
 properly increases the risk of serious personal           in an accident must be replaced with the        • Pull the safety bdt evenly across the chest and             for another seat. Attaching the belt to the
 injury and death, Safety belts can work only              correct replacement safety belt by an au•         pelvis q fig. 235, o &.                                     wrong .buckle will reduce safety belt effec-
        used correctly.                                    thorized Audi dealer. Replacement may be        • Insert the tongue into the correct buckle of                tivelless and can cause serious personal in-
   Always fasten your safet>; belts correctly be-          necessary even if damage cannot be dearly         your seat until you hear it latch securely,                 jury.
   fore driving offand rnake sure oll passen-              seen. Anchorages that were loaded must al·      • Pull on the belt to make sure thilt it is securely        -A passenger who is not properly restrained
   gers are correctly restrained,                          so be Inspected.                                  latched in the buckle.                                      can be seriously injured bythe safety belt it·
   For maximum protection, safety belts must             --Never remove, modify, disassemble, or try                                                                     self when it moves from the stronger parts
                                                                                                           Automatic safety belt retractors
   always be positioned properly on the body.              to repair the safety belts yourself.                                                                          ofthe body into critical areas like the abdo-
                                                         -Always keep the belts dean. Dirty belts may      Every safety belt is equipped with an automatic
   Never strap more than one person, includ-                                                                                                                             men.
                                                           not work properly and can impair the func·      belt retractor on the shoulder belt. This feature
   ing small children, into any belt.                                                                                                                                  -Always lock the convertible locking retractor
                                                           tlon of the Inertia reel"> table Interior       locks the belt when the belt is pulled out fast,
   Never place a safety belt over a child sitting                                                                                                                        when you are senJring a child sofety seat in
                                                          cieoning on page 349.                            during hard broking ond in an accident. The belt
   on your lap,                                                                                                                                                          the vehicle~ poge 305.
                                                                                                           may also lock when you drive up or down a steep
   Always keep feet in the fa otwell in front of
                                                                                                           hill or through a sharr curve. During norm" I driv·
   the seat while the vehicle is being driven.
                                                                                                           lng the belt lets you move freely.
   Never let any person ride with their feet on
   the instrument panel or sticking out the                                                                Safety belt pretensioners
   window or on the seat.
                                                                                                           The safet-; belts are equipped with a belt preten-
   Never remove a safety belt while the vehicle
                                                                                                           sionerthat helps to tighten the safety belt and
   is moving. Doing so will increase your risk of
                                                                                                           remove slack when the pretensioner is activated
   being injured or killed.                                                                                c:> page 265. The function of the pretensioner is
   Never wear belts twisted.                                                                               monitored by a warning light c; page 29.
   Never wear belts over rigid or breakable ob-
   jects in or on your clothing, such as eye



                                                                                                    261    262
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                                                                                                                       belts




Correct belt position is the key to getting maxi-                                                            Unbuckle the safety belt with the red releose
mum protection from safety belts.                     The best way to protect the fetus is to make sure      button only after the vehicle has stopped.            With the oid of the safety belt height adjust-
                                                      thot expr>ctant mothers always wMr safety belts                                                              ment, the three point safety belt strap routing
                                                      correctly- throughout th£> pregnancy.                                                                        con be fitted to the shoulder a reo, according to
                                                                                                                                                                   body size.




 FiS, 236   5ctf~tybeltpos.ltlon                                                                             Fig. 238 R!!leasing   th~ tongu~   from the butklt!


Standard features on your vehicle help you adjust     Flg. 237 Safely belt position during prrgnan(y         • Push the red release button on the buckle
the position of the safety belt to match your body                                                             c:> fig. 2 38, The belt tongue will spring out of   Fig. 240 Safety belt height adjuslnuml for the front   ~euts

size.                                                 To provide maximum protection, s~fety belts              the buckle '~ &.                                     k10p~aroun~ fittings

                                                      must alwoys be positioned correctly on the wear-       • Let the belt wind up on the retractor as you
-belt heigth adjustn1ent for the front seats•,                                                                                                                     The shoulder belt should lie. as close to the center
                                                      er's body c) page 263.                                   guide the belt tongue to its stowed position.
- height-adjustable front seats.                                                                                                                                   of the collar bone as possible end should fit well
                                                      • Adjust the front seat and odjustable head re·                                                              on the body 9 & in Safety belt position on
       WARNING                                          straint• correctly o page 61, Front seots.           &_     WARN~NG
                                                                                                                                                                   page 263.
 Improperly positioned safety belts can cause         • Pull the safety belt evenly across the chest so       Never unfasten safety belt while the vehicle is
                                                        that it sits as low as possible on the pelvis and     moving. Doing so will increase your risk of be-      • Push the loop-around fittings up<> fig, 240 @,
 serious personal injury in an accident.
                                                        there is no pressure on the abdomen                   ing injured or kil.led.                               or
 -The shoulder belt should lie as close to the
                                                       >:•fig. 237, "'&.                                                                                           • squeeze together the (j) button, and push the
   center of tlw collar bone as possible and
                                                      • Insert the tongue into the correct buckle of                                                                 loop-around fittings down@.
   should fit well on the body. Hold the belt
                                                        your seat until you hear it latch securely.                                                                • Pull the belt to make sure th<1t the upper at-
   above the latch tongue and pull it evenly
                                                      • Pull on the belt to make sure that it is securely                                                            tachment is properly engaged.
   across the chest. so that it sits as low as pos-
                                                        latched in the buckle.
   sible on the pelvis and there is no pressure
                                                                                                                                                                         WARNJNG
   on the abdomen. The belt should always fit
   snugly'·~ fig. 236. Pull on the be.lt to tighten                                                                                                                 Always read and heed all WARNINGS and oth·
   if necessary.                                       Improperly positioned safety belts can cause                                                                 er important information c> page 261.
 -The lap belt portion of the safety belt must         serious personal injury in an accident.
   be positioned as low as possible across pel-        -Expectant mothers must always wear the                                                                     G)    Tips
   vis and never over the abdomen. Make sure             lap portion of the safety belt as low as pos-                                                              With the front seats, the height adjustment
   the belt lies flat and snug "'fig. 236, Pull on       sible across the pelvis ond below the round-                                                               of the seat can also be used to adjust the. po-
   the belt to tighten if necessary.                     ing of the abdomen.                                                                                        sition of the safety belts,
 -A loose-fitting safety belt can cause serious        -Always read and heed all WA.RN!NGS and
   injuries by shifting its position on your body        other it11portant information c:> Lh in Fasten-
                                                                                                             • Slide the clip so that you can easily reach the
   from the strong bones to more vulnerable,            ing safety belts on poge 262.
                                                                                                               belt latch when putting the s~fety belt on.         Incorrectly positioned safety belts can cause se-
   s<>ft tissue and cause serious injury.
 -Always read and heed all WARNINGS and                                                                                                                            vere injuries.
   other Important information"' page 261,                                                                                                                         Wearing safety belts improperly can cause seri-
                                                                                                                                                                   ous injury or death. Safety belts can only work
                                                                                                                                                                   when they are correctly positioned on the body.                I>·




                                                                                                       263   264
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                                                                                                   belts                   belts

Improper seating positions reduce the effective-       verity and in a rollover. This tightens the belt and       components do not cause injury or pollute the
ness of safely bells and will even increase the        takes up belt stock"' & in Service and disposal of         environment:.
risk of injury and death by moving the safety belt     safety belt pretensioner on page 266. Taking up
to critical areas of the body. Improper seating        the slack helps to reduce forward occupant                       WARNING
positions also increase the risk of serious injury     movement during a collision.                                Improper care, servicing and repair proce-
and death when an airbag deploys and strikes an                                                                    dures can increase the risk of personal injury
occupant who is not in the correct seoting posi-        &_WARNING                                                   and death by preventing a safety belt preten-
tion. A driver is responsible for the safety of all     -It is possible for the pretensloners to deploy            sioner from activating when needed or acti-
vehicle occupants and especially for children.           incorrectly.                                              vating it unexpectedly:
Therefore:                                               The pyrotechnic system can only provide                   ···The belt pretensioner system can be <Jctivat-
~   Never permit anyone to ;;~ssume an incorrect         protection for one collision. If the pyrotech-               ed only once. If belt pretensioners have
    sitting position in the vehicle white traveling      nic pretensioners deploy, the pretensioning                  been activated, the system must be re-
    c)&,,                                                system must be replaced.                                     placed.


         WARNING                                       ·m    Tips
                                                                                                                   -Never repair, adjust, or change any parts of
                                                                                                                      the safety belt system.
                                                                                                                   - Silfety belt systems including safety belt
    Improperly worn safety belts Increase the risk      The pyrotechnic safety belt pretensioners can
                                                        on(y deploy once.                                             pretensioners cannot be repaired. Special
    of serious personal injury and death whenever
                                                        -The safety belt pretensioners do not deploy                  procedures are required tor removal, Instal-
    a vehicle is being used,
                                                         in minor frontal, side and rear-end colli·                   lation and disposal of this system.
    -Always make sure that all vehicle occupants
                                                          sions.                                                   - For any work on the safety belt system, we
      are correctly restrained and stay in a correct
                                                        -A fine dust is released when the pyrotechnic                 strongly recommend that you see your au-
      seating position whenever the vehicle Is be-
                                                          safety belt pretensioners deploy. This Is nor-              thorized Audi dealer or qualified technician
      ing used.
                                                          mal and is not caused by a fire in the vehi-                who has nn Audl approved repair manual,
    ~Always read and heed illl WARNINGS and
                                                         cle.                                                         training and special equipment necessary.
      other
                                                        -The relevant safety requirements must be
                                                          observed when the vehicle or components                 @     For the sake of. the environment
Belt tensioners                                          of the system are scrapped. A qualified                   Undeployed airbag modules and ptetension-
                                                          dealership is familiar with these regulations            ers might be classified as Perchlorate Materi-
                                                          and will be pleased to pass on the Informa-              al .. spedal handling may apply, see
In front~ sidt' and rear-end collisions above a           tion to you.                                             www. dtsc. ca. g ov I hazard ouswaste/ p ere h to-
particular severity and in a rollover, safety belts
                                                        -Be sure to obsef\le all safety, environmental             rate. When the vehicle or parts of there-
are tensioned automatically.                                                                                       straint system including airbag modules safe·
                                                         and other regulations if the vehicle or Indi-
Reversible safety belt tensioners                        vidual parts of the system, particularly the              ty belts with pretensioners are scrapped, ~ll
                                                         safely belt or alrbag, are to be disposed, We             applicable laws and regulations must be ob-
The safety belts on the front seats are equipped
                                                          recommend you have your authorized Audi                  served. Your authorized Audi dealer is familiar
with power reversible tensioners. The following
                                                         dealer perform this service for you.                      with these requirements and we recommend
functions are available when the drlver's/front
                                                                                                                   th<~t you have your dealer perform this service
passenger's safety belts are fastened:
                                                                                                                   for you.
- Jn certain driving situations, the safety belts
  may tighten with a reversible tensioning func-
  tion "'page 133.                                     The safety belt pretensioners are parts of the
-The safety belts rnay also tighten with this re·      safety belts on your Audl. Installing, removing.
  versible tensioning function in minor collisions.    servicing or repairing of belt pretensioners can
                                                       d~mage the safety belt system and prevent it
Pyrotechnic safety belt pretensioners                  from working correctly in a collision.
The safety belts are equipped with safety belt         There are some important things you have to
pretensioners. The system is activated by sensors      know to make sure that the effectiveness of the
in front, side and rear-end collisions of graat se·    system will not be impaired and that discarded         ~


                                                                                                     265          266
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                                                                                                                                                                                        .................
                                                                                                                                                                        ................................................ .... .. .
Ai               system                                 reaching the pedals, or if you have concerns with       also not inflate in side or rear collisions, or in          -To reduce the risk of Injury when an airbag
                                                        regard to the function or opNaUon of the Ad·            roll-overs.                                                  inflates, always wear safety belts properly
Important information                                   vanced Airbag System, please contact your au·                                                                             <>page 262, So{ety belts.
                                                                                                                Always remember: Airbags will deploy only once,
                                                        thorized Audi de-aler or qualified workshop, or                                                                     -Always make certain that children age 12 or
                                                                                                                and only in certain kinds of collisions. Your safety
                                                        call Audi Custorner Relations at 1·800·822·2834                                                                         younger always ride in the rear seat. lf chit·
                                                                                                                belts <Jre <Jlways there to offer protection in those
                                                        for possible modifications to your vehicle.                                                                             dren are not properly restrained, they may
                                                                                                                situations in which airbags are not supposed to
Airbags are only supplemental restraints. For                                                                                                                                   be severely injured or killed when an airbag
airbags to do their job, occupants must always          When the airbag system deploys, a gas generator         deploy, or when they have already deployed; for
                                                        will fill the airbags, break open the padded cov·       example, when your vehicle strikes or is struck by              inflates.
properly wear their safety belts and be in a prop-
                                                        ers. and inflate between the steering wheel and         another vehicle after the first collision.                  ... Never let children ride unrestrained or irn·
er seating position.
                                                        the driver and between the instrument panel and                                                                         properly restrained in thevehide. Adjust the
                                                                                                                This is just one of the reasons why an airbag is a              front seats properly.
For your safely and the safety of your pass en·         the front passenger. The airbags will defl~te im-
                                                                                                                supplementary restraint and is not a substitute
gers, before driving off, always:                       mediately ofter deployment so thot the front oc-                                                                    -Never ride with the backrest redined.
                                                                                                                for a safety belt. The airbag system work> most
                                                        cupants can see through the windshield again                                                                        -Always sit as far as possible from the steer·
• Adjust the driver's seat and steering wheel                                                                   effectively when used with the safety belts.
                                                        without interruption.                                                                                                   ing wheel or the instrument panel
  properly''~ page 248,                                                                                         Therefore, always properly wear your safety belts
                                                                                                                                                                                c..' page 248.
• Adjust the front passenger's seat properly            All crf this takes place in the blink of an eye, so     '·? pag£! 2SB.
                                                                                                                                                                            -Always sit upright with your back against
    <>page249,                                          fast that many people don't even realize that the
                                                                                                                                                                                the backrest of your seat.
• Wear safety belts properly •>page 261,                airbags have deployed. The airbags also inflate         .&._WARNING
                                                                                                                                                                            -Never place your feet on the instrument
,.. Always properly use the proper child restraint      with a great deal afforce and nothing should be          Sitting too dose to lhe steering wheel or in·                  panel or on the seat. Always keep both feet
    to protect children c::·poge 292.                   in their way when they deploy. Front airbags in          strument panel will decrease the effective·                    on the floor in front of the seat to help pre-
                                                        combination with properly worn safely belts slow          ness of the airbags and will increase the risk
In a mlli>ion, airbags must inflate within the                                                                                                                                  venl serious injuries to the legs and hips if
                                                        down and limit the occupant's forward move·               of personal injury in a collision.
blink of an eye and with considerable force. The                                                                                                                                the airbag inflates.
                                                        ment. Together they help to prevent the driver           -Never sit closer than 10 inches (25 em) to
supplemental airbags can cause Injuries if the                                                                                                                              -Never recline the front passenger's seat to
                                                        and front seat passenger from hitting parts of             the steering wheel or instrument panel.
driver or the front seat passenger is not se<Jted                                                                                                                               transport objects. Items can also move into
                                                        the inside of the vehicle while reducing the forces      - lf you cannot sit more than 10 inches
properly. Therefore in order to help the airbag to                                                                                                                              the area of the side <1irbag or the front air·
                                                        acting on the occupant during the crash. ln this            (25 em) fron1 the steering wheel, investi,
do its job, it is important, both <Js a driver and as                                                                                                                           bag during braking or in a sudden maneu-
                                                        way they help to reduce the risk of injury to the           gate whether adaptive equipment may be
a passenger to sit properly <Jt all times.                                                                                                                                      ver. Objects near the airbags can become
                                                        head and upper body in the crash. Airbags do not           available to help you reach the pedals and                   projectiles and cause injury when an airbag
By keeping room between your body and the               protect the arms or the lower parts of the body.            increase your seating distance from the                     inflates.
steering wheel and the front of the passenger           Both front airbags will not inflate in all frontal         steering wheel.
compartment, the airbag can infi<Jte fully and
completely and provide supplemental protection
                                                        collisions. The triggering of the airbag system de·        All vehicle occupants and especially children
                                                                                                                    must be restrained properly whenever riding
                                                                                                                                                                        !"~WARNING
                                                        pends on the vehicle deceleration rate caused by
in certain frontal collisions c) page 248, Correct                                                                                                                           Airbags that have deployed In a crash must be
                                                        the collision and registered by the electronic con·         in a vehicle. An unrestrained or improperly
passenger seating positions, For details on the                                                                                                                              replaced.
                                                        trot unit. lf this rate is below the reference value        restrained child could be injured by striking
opNation of the seat adjustrnent contrc1ls                                                                                                                                  ... Use only original equipment airbags ap·
                                                        programmed into the control unit, the airbags              the interior or by being ejected from the ve·
9   page 61.                                                                                                                                                                     proved by Audi and Installed by a trained
                                                        will not be triggered, even though the car rnay be          hide during a sudden maneuver or impact.
                                                                                                                                                                                 technician who has the necessary tools and
It's especially important that children are proper-     badly damaged as a result oF the collision. Vehi·          An unrestrained or improperly restrained
                                                                                                                                                                                 diagnostic equipmentto properly replace
ly restrained ">page 292.                               cle dan1age, repair costs or even the lack of vehi·        child is also at greater risk of injury or death
                                                                                                                                                                                 any airbag in your vehicle and assure system
                                                        cle damage is not necessarily an Indication of             through contact with an Inflating airbag.
There is a lot that the driver and the passengers                                                                                                                                effectiveness in a crash.
                                                        whether an airbag should inflate or not.                 -If you are unrestrained, leaning forward, sit·
can and must do to help the individual safety fea·                                                                                                                          .... Never permit salvaged or recycled airbags to
                                                                                                                    ting sidewoys or out of position In any way,
tures installed in your Audi work together as a         Since the circumstances will vary considerably                                                                           be installed in your vehicle.
                                                                                                                   your risk oF injury is much higher.
system.                                                 between one collision and another, it is not possi·
                                                                                                                 - You.will also receive serious injuries and
                                                        ble to define a ronge of vehicle speeds that will
Proper seating position is important so that the                                                                   could even be killed if you are \lp against the
                                                        cover every possible kind and angle of impact
front airbag on the driver side can do its job. If                                                                 airbag or too close to it when it inflates·
                                                        that will always trigger the a irbags. Important
you have a physical impairment or condition that                                                                   even with an Advanced Airbag.
                                                        factors include, for example, the natme (hard or                                                                • Be sure to read the important information and
prevents you From sitting properly on the driver
                                                        soft) oF the object which the cor hits, the ongle of                                                              heed the WARNINGS for important details
seat with the safety belt properly fastened and
                                                        impact, vehicle speed, etc. The front airbags will P.

                                                                                                      267       268
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         about children and Advanced Alrbags                  -will stay on If there is a small child or child re·      Always remember, a child safety seat or infant        -Never put the forward-facing child restraint
         t;'   rwge 292.                                        straint on the front passenger seat,                    corrier installed on the front seat may be struck       up against or very near the instrument pan-
                                                              -will go off ifthe front passenger seat is occu-          and knocked out of position by the rapidly inftat·     el.
       Even though your vehicle is equipped with an Ad·        pied by an adult as registered by the capacitive         ing passenger's ;,irbag in a frontal collision. The   -Always move the front passenger seat to
       vanced Airbag System, make certain that utl chil·                                                                airbag could greatly reduce the effectivenes.> of
                                                               passenger detection system ">page 279, Mon·                                                                      the highest position in the up and down ad·
       dren, especially those 12 years ;111d younger, at·                                                               the child restraint and even seriously injure the
                                                               ito ring the Advanced Airbag System.                                                                             justmcnt range and move it back to the
       ways ride in tho back seat property restrained for                                                               child during inflation.
                                                              The PASSENGER AIR BAG OFF light comes on                                                                          rearmost position in the seat's fore and aft
       their age and size. The air bag on the passenger
                                                              when electrical capacitance registered on the             For this reason, and because the back seat is the       adjustment range, as far away from the air-
       side makes the front seat a potentially dangerous
                                                              front passenger seat is equal to or less than the         safest place for children· when properly restrain·      bag <lS possible, before installing the for·
       place for a child to ride. The front seat is not the
                                                              combined capacitance of a typicall year·old in·           ed according to their age and size· we strongly         ward-facing child restraint.
       safest place for a child in a forward-facing child
       safety seat. It can be a very dangerous place for      fant and one of the rearward-facing or forward·           recomrnend that children Dlways sit in the back       -Always make sure that the safety belt upper
       an Infant or a child in a rearward-facing seat.        facing child restraints listed in Federal Motor Ve·       seat"~ page 292, Child safety.                          anchorage is behind the child restraint and
                                                                                                                                                                                not next to or in front of the child restraint
       The Advanced Airbag System in your vehicle has
       been certified to corn ply with the requirements
                                                              hide Safety Standard 208 with which the Ad·
                                                              vanced Airbag System in your vehicle W<lS certi·
                                                              fie d.
                                                                                                                        I&    WARNING                                           so that the safety belt will be properly posi·
                                                                                                                                                                                tioned.
                                                                                                                         A child in a rearward-facing child safety seat
       of United States Federal Motor Vehicle Safety                                                                                                                          - Make sure that the PASSENGER AIR 13AG
                                                              If the total electrical capacitance registered on          installed on the front passenger seat will be
       Standard (FMVSS) 208, as well as Canada Motor                                                                                                                            OFF light comes on and stays on all the time
                                                              the front passenger seat is more than that of a            seriously injured and can be killed if the front
       Vehide Safety StandMd (CHVSS) 208 as applica·                                                                                                                            whenever the ignition is switched on.
                                                              Lyplcall year-old child but less than the weight           airbag inflates· even wit:h an Advanced Airbag
       bte at the time your vehide was manufactured.
                                                              of a small adult, the front alrbag on the pass en·         System.
       According to requirements, tha front Advanced
                                                              ger side can deploy (the PASSENGER AIR BAG                 -The inflating airbag will hit the child safety
       Airbag System on the passenger side has been
                                                              OFF light docs not come on}.                                 seat or infant carrier wilh great force and        To reduce the risk of serious lnjury, make sure
       certified for "suppression" for infants of about
                                                                                                                           will smash the child safety seat and child         that the PASSENGER AIR BAG OFF light will
       12 month old and younger and for "low risk de·         lfthe PASSENGER AIR BAG OFF light does not                   against the backrest, center armrest, door         be displayed whenever a child restraint is in·
       ployrnent" for children aged 3 to 6 years old (as      come on, the front airbag on the passenger side              or roof,                                           stalled on the front passenger seat and the
       defined in the standard).                              has not been turned off by the electronic control          -Always install rear-facing child safety seats       ignition is switched on.
       The PASSENGER AIR BAG OFF light in the instru·         unit and can deploy if the control unit senses an             on the rear seat.                                 -If the PASSENGER AIR BAG OFF light does
       ment panel tells you when the front Advanced           imract that meets the conditions stored in Its             .. If you must install a rearward facing child         not stay on, perform the checks described
       Airbag on the passenger side has been turned off       memory.                                                       safety seat on the front passenger seat be·         ""'page 2 79, Monitoring the Advanced Air·
       by the electronic control unit.                        For example, the airbag may deploy if:                        cause of exceptional circumstances and the          bag System.
       Each time you switch on the ignition, the PAS·                                                                       PASSENGER AIR BAG OFF light does not              -Take the child restraint off the front passen·
                                                              -a small child that is heavier than a typicall                                                                    ger seat and install it properly at one of the
       SENGER AIR BAG OFF light will carne on for a                                                                         come on and stay on, Immediately install
                                                               year· old child is on the front passenger seat                                                                   rear seat positions If the PASSENGER AIR
       few seconds and:                                                                                                     the rear-facing child safety seat in a rear
                                                               (regardless of whether the child is in one of the                                                                BAG OFF light does not stay on.
                                                                                                                            seating position and have the air bag system
       -will stay on if the front passenger seat is not        child safety seats listed,.,~ page 295), or
                                                                                                                            inspected by your Audi dealer.                    -Have the airbag system inspected by your
        occupied,                                             -a child who has outgrown child restraints is on                                                                  Audi dealer immediately.
                                                                                                                         -Forward-facing child safety seats Installed
       -wilt stay on if the electrical capacitance meas·       the front passenger seat.
                                                                                                                            on the front passenger's seat may interfere       -Always carefully follow instructions from
        urecl by the capacitive passenger detection sys·      1f the front passenger alrbag is turned off, the              with the deployment of the airbag and               child restraint manufacturers when instal·
        tem for the front passenger seat equals the           PASSENGER AIR BAG OFF light comes on in the                   cause serious personal injury to the child.         ling child restraints,
        combined c<~pacitance of an infant up to about        instrument cluster and stays on.
        one year of age and one of the rearward-facing
        orforward·facing child restraints listed in Fed·       lfthe front passenger alrbag deploys, the Feder-         I&    wARNING
                                                              al Standard requires the airbag to meet the "low           If, in exceptional circumstances, you must in-       If, in exceptional circumstances, you must in·
        eral Motor Vehicle Safety Standard 208 with
                                                               risk" deployment criteria to reduce the risk of in·       stall a forward-facing child restraint on the        stall a forward or rearward-facing child re·
        which the Advanced Airbag Syst(~ITl in your vehi·
                                                              jury through interaction with the airbag. "Low             front passenger's seat:                              straint on the front passenger's seat;
        de was certified. For a listing of the child re·
        straints that were used to certify your vehicle's     risk" deployment occurs in those crllshes that             -Always make sure the forward-facing seat            -Improper installation of child restraints can
        compliance with the U.S. Safety Standard              take place at lower decelNations as defined in               has been designed and certified by its man·          reduce their effectiveness or even prevent
        "'>page 295.                                          the electronic control unit¢ page 279, PASS EN·              ufacturer for use on a front seat with a pas·        them from providing any protection.              I>
                                                              CER AIR BAG OFF light.                               1>      senger front and side airbag.


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 -An Improperly Installed child restraint can                                                             -Therefore, always wear your safety belts and        -Never recline the front passenger seat to
    Interfere with the airbag as it deploys ~nd                                                             make sure that everybody in your vehicle is         transport objects. Items can also move into
    seriously injure or even kill the child- even                                                           properly restrained.                                the deployment area of the side airbags or
    with an Advanced Airbag System.                                                                       -Always hold the steering wheel with both             the front airbag during breaking or In a sud-
 .. Always carefully follow the manufacturer's                                                              hands on the outside of the steering wheel          den maneuver. Objects near the airbags can
    instructions provided with the child safety                                                             rirn at the 9:00 o'clock <Jnd 3:00 o'clock po-      fly dangerously through the passenger com-
    seat or carrier.                                                                                        sitions to help reduce the risk of personal in·      partment and cause injury, particularly
 -Always make sure that there Is nothing on                                                                 jury if the driver's air bag inflates.              when the seat is reclined and the airbags in-
    the front passenger seat th<Jt will cause the                                                         ··Never lwld the steering wheel at the l2             flate.
    capacitive passenger detection system in                                                                o'clock position or with your hands any·
    the seat to signal to the Airbag System that
    the seat is occupied by a person when it is
                                                      stnJrr)ent pand
                                                                                                            where inside the steering wheel or on the
                                                                                                            steering wheel hub. Holding the steering
                                                                                                                                                              I& WARNING
                                                     Your vehicle is equipped with an "Advanced Air·                                                           A person on the front passenger seat, espe-
    not; or to signal that it is occupied by some-                                                          wheel the wrong way incre,15es the risk of         cially infants and small children, will receive
                                                     bag System" in compliance with United States
    one who is heavier than the person actually                                                             severe Injury to the arms, hands, and head if      serious injuries and can even be killed by be-
                                                     Federallvlotor Vehicle Safety Standard
    sitting on the seat. The presence of addi-                                                              the driver alrbag deploys.                         ing too close to the airbag when it inflates.
                                                     (Fiv!VSS) 208, as well as Canada f~otor Vehicle
    tional objects could cause the passenger                                                                                                                   -Although the Adv;mced Airbag System in
    front airbag to be turned on when it should
                                                     Safety Standard (01VSS) 208 as applicable ill
                                                     the time your vehicle was manufactured, The
                                                                                                          i£ WARNING                                             your vehicle is designed to turn off the front
    be off, or could cause the airbag to work in a                                                         Objects between you and the airbag will in-           passenger airbag if an infant or a small child
                                                     safety belts for the seats have "'pretensioners"
    way that is different from the way it would                                                           crease the risk of injury in a crash by interfer-      Is on the front passenger seat, nobody can
                                                     that help to take slack out of the belt system.
    have worked without the object on the seat;                                                            ing with the way the airbag unfolds and/or by         absolutely gLJarantee that deployment un-
                                                     The pretensioners are also activated by the elec-
                                                     tronic control unit for the airbag system.            being pushed into you as the airbag inflates.         der these special conditions is impossible in
Front airbags                                                                                             -Always make sure nothing is in the front air-         all conceivable situations that may happen
                                                     The front safety belts also heve load limiters to                                                           during the useful life of your vehlde.
                                                                                                              bag deployment zone that could be struck
                                                     help reduce the forces applied to the body in a
                                                                                                             by the alrbag when It inflates.                   -The Advanced Airbag System can deploy in
                                                     crash.                                                                                                      accordance with the ,low risk" option for 3-
The airbag system can provide supplemental                                                                -Objects in the zone of a deploying airbag
protection to prop~rly restrained front scat occu-   The airbag for the driver is in the steering wheel      can become projectiles whe11 the airbag de-         and 6-year-old children under the U.S. Fed-
pants.                                               hub <?fig. 241 and the airb~g for the front pas-         ploys and cause serious personalinjury.            eral Standard if a child with electrical capac-
                                                     senger is in the instrument panel"> fig. 242. The    -Never hold things in your hands or on your            Itance greater than the combined capaci·
                                                     genera! location of the airbags is marked "AIR-         lap when the vehicle is In use.                     tance of a typical one-year old infant re-
                                                     BAG".                                                - Never place accessories or other objects             strained In one of the forward facing or rear-
                                                                                                             (such as cup holders, telephone brackets,           facing child safety seats with which your ve·
                                                     There is a lot you need to know about the airbags
                                                                                                             note pads, navigation systems, or things            hide was certified is on the front passenger
                                                     in your vehicle. We urge you to read the detailed
                                                                                                             that are large, heavy, or bulkY) on the doors;      seat and the other conditions for airbag de-
                                                     information about airbags, safety belts and child
                                                                                                             never attach then to the doors or the wind-         ployment are met.
                                                     safety in this and the other chapters that rnake
                                                                                                             shield; never place them over or 1iear or at-     ""Accident statistics have shown that children
                                                     up the owner's literature. Please be sure to heed
                                                                                                             tach them to the area marked ,.AIR BAG" on          are generally safer in the rear seat area than
                                                     the WARNINGS· they are extremely important
                                                                                                             the steering wheel, instrument panel or the         in the front seating position.
                                                     for your safety and the safety of your passengers,
                                                                                                             seat backrests; never placu them between          -For their own safely, all children, especially
                                                     especially infants and small children.
                                                                                                             these areas and you or any other person in          12 years and younger, should always ride in
                                                     ,&. WARI\IING                                           the vehicle.
                                                                                                          - Never attach objects to the windshield
                                                                                                                                                                 the back properly restrained for their age
                                                                                                                                                                 and size.
                                                      Never rely on airbags alone for protection,
                                                                                                             above the passenger front alrbag, such as
                                                      -Even when they deploy, airbags provide only
                                                                                                             accessory GPS navigation units or music
                                                        supplemental protection.
                                                                                                             players. Such objects could cause serious in-
                                                      - Airbag.work most effectively when .used              jury in a collision, especially when the air·    Your vehicle is equipped with a front Advanced
                                                        with properly worn safety belts.                                                                      Airbag System in compliance with United States
                                                                                                             bags inflate,
                                                                                                                                                              Federal Motor Vehicle Safety Standard 208, as
                                                                                                                                                              well as CanJda Motor Vehicle Safety Standard         b

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(CMVSS) 208 as applicable at the time your vehi-        -When a person is detected on the front passen-        seat. Please IJe sure to read the important infor-
                                                                                                                                                                    '.&.WARNING
cle was manufactured.                                    ger seal that has an electrical capacitance that      mation in the sections that follow and be sure to
                                                         is more than the total electrical capacitance of      heed all of the WARNINGS.                              If, in exceptional circumstances, you must in-
The front Advanced Airbag System supplements                                                                                                                          stall a forward-facing child restraint on the
                                                         a child that is about 1 year old restrained in one
the safety belts to provide additional protection                                                                                                                    front passenger's seat:
                                                         of the rear-facing or forward-facing infant re-
for the driver's and front passenger's heads and                                                                                                                     .... Always make sure the forward-facing seat
                                                         straints (listed in Federal Jvlotor Vehicle Safety     To reduce the risk of injury when an airbag in-
upper bodies in frontal crashes. The airbags in·                                                                                                                          has been designee! and certified by its man-
                                                         Standard 208 with which the Advanced Airbag            flates, always wear safely belts properly.
flate only in frontal impacts when the vehicle de·                                                                                                                        ufacturer for use on a front seat with a pas·
                                                         Systern in your Vf!hicle was certified), the ·front    -If you are unrestrained, leaning forward, sit-
celeration Is high enough.                                                                                                                                                senger front and side airbag,
                                                         airbag on the passenger side may or may not              ting sideways or out of position in any way,
The front Advanced Airbag System for the front           deploy.                                                                                                     -Never put the forwnrd-facing child restraint
                                                                                                                  your risk of injtrry is much higher.
scat occupants is not a substitute for your safety                                                                                                                        up against or very near the instrument pan-
                                                        The PASSENGER AIR BAG OFF light comes on                -You will also receive serious injuries and
belts. Rather, it is part of the overall occupant re-                                                                                                                  eL
                                                        when the electronic control unit detects a total          could even be killed if you are up against the
straint system in your vehicle. Always remember                                                                                                                      -Always move the front passenger scat to
                                                        electrical capacitance on the front passenger seat        airbag or too dose to it when it inflates-
th<Jt the airbag system can only help to protect                                                                                                                       the highest position in the up and down ad-
                                                        that requires the front airbag to be turned off. If       even with an Advanced Airbag ""'page 267,
you, if you are sitting upright, wearing your safe-                                                                                                                    justment range and mov~ it back to the
                                                        the PASSENGER AIR BAG OFF light doc•s not
ty br~lt and wearing it properly, This is why you                                                                                                                      rearrnost position in tho seat's fore and aft
                                                        come on, the front airbag on the passenger side              WARNING
and your passengers must always be properly re·                                                                                                                        adjustment range, as far away from the air·
                                                        has not been turned off by the control unit and         A child in a rearword-facing child safely seat
strained, not just because the law requires you to                                                                                                                     bag as possible, before installing the for-
                                                        can deploy if the control unit senses an impact         installed on the front passenger seat will be
be,                                                                                                                                                                    ward-facing child restraint.
                                                        that meets the conditions storecl in its rnemory.       seriously injured and can be killed if the front     -Always make sure that the safety belt upper
The Advanced Airbag System in your vehicle has                                                                  airbag inflates- even with an Advanced Airbag
                                                        If the total electrical capacitance registered on                                                              anchorage is behind the child restraint and
been certified to meet the "low risk" require-                                                                  System,
                                                        the front passenger seat is rnore than that of a                                                               not next to or in front of the child restraint
ments for 3 and 6 year-old children on the pas-                                                                 -Although the Advanced Airbag System in
                                                        typical J. year-old, but less than the weight of a                                                             so that the safety belt will be properly posi-
senger side and very small adults on the driver                                                                   your vehicle is designed to turn off the front
                                                        small adult, the front airbag on the passenger                                                                 tioned.
side, The low risk deployment criteria are intend-                                                                alrbag when a rearward-facing child re-
                                                        side may deploy (the PASSENGER AIR BAG OFF                                                                   -Always make sure that there is nothing on
ed to help reduce the risk of injury through inter-                                                               straint has bean installed on the front pas-
                                                        light does not corne on).                                                                                      the front passenger seat that will cause the
action with the front airbag that can occur, for                                                                  senger seat, nobody can absolutely guaran-           capacitive passenger detection system in
example, by being too dose to the steering wheel        For example, the airbag may deploy if:                    tee that deployment is impossible in all con-
and instrument panel when the airbag inflates,                                                                                                                         the seat to signal to the Airbag System that
                                                        -a small child that is heavier than a typicall            ceivable situations that may happen during           the seat is occupied by a person when it is
In addition, the system has been certified to            year-old child is on the front passenger seat            the useful life of your vehicle,                     not, or to signal that it is occupied by some-
corn ply with the "suppression" requirements of          (regardless of whether the child is in one of the      -The inflating airb<lg will hit the child safety       one who is heavier than the person actually
the Safety Standard, to turn offthe front airbag         child safety seats listed r.; page 29S),                 seat or infant carrier with great force and          sitting on the scat. The presence of addi-
for infants 12 months old and younger who are           -a child who has outgrown child restraints is on          will smash the child safety seat and child           tional objects could cause the passenger
restrained on the front passenger seat in child re-      the front passenger seat.                                against the backrest., center armrest, door,         front airbag to be turned on when it should
straints that are listed in the Standard                                                                          or roof.                                             be off, or could cause the air bag to work .in a
                                                        lf the front passenger airbag is turned off, the
q page 295, Child restraints and Advanced front                                                                 -Always install rearward-facing child re-              way that is different from the way it would
                                                        PASSENGER AIR BAG OFF light in the center of
airbag system,                                                                                                    straints on the rear seaL                            have worked without the object on the seat.
                                                        the instrument panel will carne on and stay on.
                                                                                                                -If you must install a rearward facing child         -Make sure that the PASSENGER AIR BAG
"Suppression" requires the front airbag on the
                                                        If the front passenger airbag deploys, the Feder-         safety seat on the front passenger seat be-          OFF light comes on and stays on all the time
passenger .>ide to be turned off if:
                                                        al Standard requires the airbag to meet the "low          cause of exceptional circu111stances and the         whenever the ignition is switched on.
-a child up to about one year of age is restrained      ri>k" deployment criteria to help reduce the risk         PASSENGER AIR BAG OFF light does not
 on the front passenger seat in one of the rear-        of injury through interaction with the airbag.            come on and stay on, immediately install
 facing or forward-facing infant restraints listed      "low risk" deployment occurs in those crashes             the rear-facing child safety seat in a rear
 in Federal Motor Vehicle Safety Standard 208           that take place at lower decelerations as defined         seating position and have the airbag systern      The front passenger seat in your vehicle has a lot
 with which the Advanced Airbag System in your          in the electronic control unit qpage 279.                 inspected by your Audi dealer.                    of very important parts of the Advanced Airbag
 vehicle was certified. For a listing of the child                                                                                                                  System in it. These parts Include the capacitive
                                                        Always remember; Even though your vehicle is
 restraints that were used to certify your vehi-                                                                                                                    passenger detection system, wiring, brackets,
                                                        equipped with Advanced Airbags, the safest place
 cle's complianc<? with the US Safety Standard                                                                                                                      and more. The control unit monitors the system
                                                        for children is properly restrained on the back  l1w
 ,.:, puge 295,
                                                                                                                                                                    on the front passenger seat when the ignition is "'

                                                                                                      273      274
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switched on and turns the airbag indicator light       -A sensor in the safety belt latch for the driver   -If a seat heater has been retrofitted or oth·             the alrbag indle<Jtor           in the lnstru·
on when a m<Jlfunction in the one of lhE> system        and for the front' seat p<lssenger that senses          erwise added to the front passenger seat,             ment cluster.
components is detected ,., page 279. 8ecause            whether that safety belt is latched or not and          never install any child restraint systern on        --If liquid is pooled an the seat, but has not
the front passf~nger seal contains important            transmits this inforrn<Jtion to the electronic          this seat.                                            soaked in, this may also keep the <Jirbag sys·
parts of the Advanced Air bag System, you must          control unit.                                      .... Never use cushions, pillows, blankets, or             tern from working properly and cause the
take c;are to prevent it from being damaged.                                                                    similnr items on the front passenger seat.            passenger frontal airb<~g to be ennbled
Dsmage to the seat may prevent the Advanced            _&WARNING                                                The additional layers prevent the capacitive          (turned an), even though there is a properly
Airba<.J System for the front passenger seat from       Damage to the front passenger seat can pre·             passenger detection system from accurately            installed child restraint systen1 on the seat.
doing its job in a crash.                               vent the front airbag from working properly.            measuring the capacitance of the child safe·          Wet towels or other wet things on the seat
                                                        ·-Improper repair or disassembly of the front           ty seat and/or the person on the seat and             cushion can have the same effect. If the
The front Advanced Airbag System consists
of the following:                                          passenger and driver seat will prevent the           thus keep the Advanced Airbag System from             front passenger frontal airbag is turned on,
                                                          Advanced Airbag System from functioning               working properly.                                     the PASSENGER AIR BAG OFF light will go
 ··Crash sensors in the front of the vehicle that          properly.                                                                                                  out.
                                                                                                           --Never place or use any electrical device
    measure vehicle acceleration/deceleration to
                                                          Repairs ta the front passenger seat must be           (such as a laptop, CD player, electronic
     provide information to the Advanced Airbag
                                                           performed by qualified snd properly trained          games device, power inverter or seat heater
    System about the severity of the crash.
                                                          workshop personnel.                                   far child safety seats) on the front passen·
-An electronic control unit, with integrated                                                                    ger seat if the device is connected to the 12·
                                                        -Never remove the front passenger or driver
    crash sensors for front and side impacts. The                                                               volt socket or the cigorette lighter socket.       The front Advanced Airbag System and the side
                                                          seat from the vehicle.
    control unit "decides" whether to fire the front                                                            Such devices can influence the capacitance         airbags supplement the protection atfered by the
                                                        -Never remove the upholster}' from the front
    airbags based on the Information received from                                                              registered by the capacitive passenger de·         frontthree·point safety belts with pretensioners
                                                           p~ssenger seat.
    the crash sensors. The control unit also "de·                                                               tection system, so that incorrect inform a-        and load limiters and the adjustable head re·
                                                        -Never disassemble ar remove parts from the
    cides" whether the safety belt pretensioners                                                                tion is provided to the airbag control unit.       straints" ta help reduce the risk af injury in a
                                                          seat or disconnect wires from it.
    should be activated.                                                                                                                                           wid~ rang~ of sccident and crash situations. Be
                                                        -Never carry sharp abjec;ts in your pockets or     -If you must use a child restraint on the front
-An Advanced Airbag with gas generator far the                                                                  passenger seat and the child restraint man·        sure to read the important information about
                                                           put them on the seat. The capacitive pas-
    driver inside lhe steering wheel hub.                                                                       ufacturer's instructions require the use af a      safety and heed the WARNINGS in this chapter.
                                                          senger detection mat in the front passenger
-An Adv<Jnced Air bag with g<Js generator insidE>                                                               towel, foam cushion or something else to
                                                          seat will not function properly if it is punc·                                                           Deployment of the Advanced Airbag System and
    the instrument panel for the front passenger.                                                               properly position the child restraint, make
                                                          tured.                                                                                                   the activation of the safety belt protensioners de-
-A capacitive passenger detection system under·                                                                 certain that the PASSENGER AIR BAG OFF
                                                        -Never carry things on your lap or carry ob·                                                               pend on the deceleration measured by the crash
    neath the front passenger seat cover.lhis sys·                                                              light comes an and stays on whenever the
                                                          jetts on the front passenger seat. Such ob·                                                              sensors and registered by the electronic control
    tem measures the electrical cap<Jcitance of the                                                             child restraint is Installed an the front pas·
                                                          Jects can influence the capacitance regis·                                                               unit. Crash severity depends on speed and decel·
    person in the seat. The information registered                                                              senger seat.
                                                          tered by the capacitive passenger detection                                                              eratlan as well as the rnass and stiffness af the
    is sent continuously to the electronic control                                                         -If the PASSENGER AIR BAG OFF light does
                                                          system, so that incorrect information is pro·                                                            vehicle or object involved in the crash,
    unit to regulate deployment afthe front Ad·                                                                 not come on and stay an, immediately in·
                                                          vlded ta the alrbag control unit.
    vanced Air bag an the passenger side.                                                                       stall child restraint in a rear seating position   On the passenger side, regardless of safety belt
                                                        -Never store items under the front passenger
-An airbag monitoring system and indie<Jtar                                                                     and have the airbilg system inspected by           use, the front passenger frontal airbag witt be
                                                          seat. Parts af the Advanced Alrbag System
    light in the instrument cluster<:> poge 279.                                                                your Audi dealer.                                  turned off if the electrical capacitance measured
                                                          under the passenger seat could be dam·
... A sensor in each front seat registers the dis·                                                                                                                 by the capacitive passenger detection system an
    tance between the respective seat and the
    steering wheel ar instrument paneL The infor·
                                                          aged, preventing them and the airbag sys·
                                                          tem frorn working properly.                      I& WARNING                                              the front passenger seat is less than the amount
                                                                                                                                                                   programmed in the electronic control unit. The
                                                        -Never place seat covers or replacement up·         If the froht passenger seat gets wet, dry it irn·
    mation registered is sent continuously ta the                                                                                                                  front passenger frontal airbag will also be turned
                                                          holstery that have nat been specifically ap·     mediately.                                              off if the capacitance measured by the system for
    electronic control unit to regulate deployment
                                                          proved by Audi on the front seats.               -lf liquid soaks into the front passenger seat,         the front passenger seat equals that of an infant
    of the front Advanced Airbegs.
                                                        -Seat covers can prevent the Advanced Air·           this can keep the airbag system from work·            of about one year of age in one of the child safety
-The PASSENGER AIR BAG OFF light comes on
                                                          bag System from recognizing child re·             ing properly and may, far instance, deacti·            seats that was Used to certify the Advanced Air·
    and stays on in the center of the instrument
                                                          straints or occupants on the front passenger      vate the passenger frontal airbag. If this             bag System under Federal Motor Vehicle Safety
    panel''~ page 316 and tells you when the front
                                                          seat ~nd prevent the side airbag in the seat      happens, the PASSENGER. AIR BAG OFF                    Standard 208. The PASSENGER AIR BAG OFF
    Advanced Airbag on the passenger side has
                                                          backrest from deploying properly.                  light will con1e on and stay an together with         light cornes an and stays on to tell you when the
    been turned off.
                                                                                                                                                                   front Advanced Airbag System on the p<1ssenger
                                                                                                                                                                   side has been turned off"' page 2 79.

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                                                               used to lubricote the airbags as they deploy. It
                                                               could irritate skin.
                                                                                                                     i&    WARNING                                         ti;~;;~~ ~fth~~ide airb;g or the front air·
                                                                                                                                                                           bag during braking or in a sudden maneu-
          To reduce the risk of injury whtm an air bag In-                                                           A child in a rearward-facing child safety seat
                                                               It is important to remember that while the sup·                                                            ver. Objects near the airbags can become
          flates, always wear safety belts properly.                                                                 installed on the front passenger seat will be
                                                               plemental airbag system is designed to reduce                                                               projectiles and cause injury, particularly
          -If you are unrestrained, leaning forward, sit-                                                            seriously injured and can be killed if the front
                                                               the likelihood of serious injuries, other injuries,                                                        when the seat is reclined.
            ting sideways or out of position in any Way,                                                             airbag inflates- even with an Advanced Airbag
                                                               for example swelling, bruising and minor a bra·                                                           -Never place or transport objects on the
            your risk ofinjvry is much higher.                                                                       System.
                                                               sions, can also happen when airbags inflate. Air·                                                           front passenger seat. Objects on the front
          -You will also receive serious injuries and                                                                -The inflating airbag will hit the child safety
                                                               bags do not protect the arms or the lower parts                                                             passenger seat could cause the capacitive
            could even be killed if you are up against the                                                             seat or infant carrier with great force and
                                                               of the body. Front airbags supplement the three·                                                            sensor in the seat to signal to airbag system
            ~irbag or too d.ose to it when it inflates-                                                                will smash the child safety seat and child
                                                               point safety belts only in some frontal collisions                                                          thJt the seat is occupied by a person when it
            even with an Advanced Airbag 0 page 267.                                                                   against the backrest, center armrest, door
                                                               in which the vehicle deceleration is high enough                                                            in fact is not, or that the person on the seat
                                                                                                                       or roof.
                                                               to deploy the ~irbags.                                                                                      Is heavier than he or she actually is. The
                                                                                                                     -Always install rear-facing child safety seats
                                                                                                                                                                           change in electric capacitance because of
                                                               Front alrbags will not deploy:                          on the rear seat.
                                                                                                                                                                           such objects can cause the passenger front
                                                                                                                     -If you must install a rearWard facing child          airbag to be turned on when it should be
                                                               - ifthe ignition is switched off when a crash oc-
                                                                                                                       safety seat on the front possenger scat be-         off, or can cause the airbag to work in a way
                                                                 curs;
                                                                                                                       cause of exceptional circumstances and the         th~t is different from the way it would have
                                                               - In side collisions,
                                                                                                                       PASSENGER AIR BAG OFF light does not               worked without objects on the seat.
                                                               -in rear· end collisions,                               come on and stay on, immediately install
                                                               -in rollovers,                                                                                            -Always make sure lhat there is nothing on
                                                                                                                       the rear-facing child safety seat in a rear
                                                               -when the crash deceleration measured by the                                                               the front passenger seat that will cause the
                                                                                                                       seating position and have the airbag system
                                                                 alrbag system is less than the minimum thresh·                                                            capacitive passenger detection system in
                                                                                                                       inspected by your Audi dealer.
                                                                 old needed for airbag deployment as registered                                                            the seat to signal to the Airbag System that
                                                                 by the electronic control unit.                                                                           the se~t is oc~upied by aperson when it is
                                                                                                                     .&,_WARNING                                           not, or to signal that it is occupied by some·
         Fig. 243 Inflated front alrbags
                                                               The front passenger alrbag also will not              Objects between you and the airbag will in-           one who is heavier than the person actually
                                                               deploy:                                               crease the risk of injury in a crash by interfer-     sitting on the seot. The presence of an ob-
        Safety belts are important to help keep front
                                                               -when the front passenger seat is not occupied,       ing with the way the airbag unfolds or by be-        ject could cause the passenger front airbag
        seat occupants in the proper seated position so
                                                               -when the electrical capacitance measured by          ing pushed Into you as the airbag inflates.           to be turned on when it should be off, or
        that airbags can unfold properly and provide sup-
        plemental protection in a frontal collision.            the capacitive passenger detection system for        -Never hold things in your hands or on your           could cause the airbag to work In a way that
                                                                the front passenger seat indicates that the pas-       lap when the vehide is in use.                      is different from the way it would have
        The front airbags are designed to provide addi-                                                              -Never transport items on or in the area of          worked without the object on the seat.
                                                                senger side frontal airbag must be switched off
        tional prot~rtion for the chest and fare of the                                                                the front passenger seot. Objects could
                                                                by the electronic control unit (the PASSENGER
        driver and the front seat passenger when:                                                                      rnove into the area of the front airbags dur-     .&,_WARNING
                                                                AIR BAG OFF ligl1t "'' poge 279 and how they
        -safety belts are worn properly,                        work comes on and stays on).                           ing braking or other sudden maneuvers and         The fine dust created when airbags deploy can
        ... the se~ts haw been positioned so ttmt the oc-                                                              become dangerous projectiles that can             cause breathing problems for people with a
            cupant is properly seated as far as possible              WARNING                                          cause serious personal injury if the airbags      history or asthma or othet breathing comli-
            from the airbag,                                                                                           inflate.                                           tions.
                                                                Sitting in the wrong position can increase the
        ... and for adjustable head restraints: the head re-                                                         -Never place or attach accessories or other         -To reduce the risk of breathing problems,
                                                                risk of serious injury in crashes.
            straints have been properly adjusted.                                                                      objects (such as cup holders, telephone              those with asthma or other respiratory con·
                                                                -To reduce the risk of injury when the airbags
                                                                                                                       brackets, large, heavy or bulky objects) on          ditions should get fresh air right away by
        Because airbags inflate in the blink of an eye with       inflate, the driver and passengers must al-
                                                                                                                       the doors, over or near the area marked              getting out of the vehicle oropening win-
        great force, things you have on your lap or have          ways sit in an upright position, must not
                                                                                                                       "AIRBAG" on the steering wheel, inslru-              dows or doors.
        plact~d on lhe seat could becom(~ dangerous pro·
                                                                  lean against or place any part of their body
                                                                                                                       ment panel, seat backrests or between             -If you ilre in a collision in which airbags de-
        jectiles, and be pushed into you if the ;:~irbag in·      too dose to the area where the airbags are
                                                                                                                       those areas and yourself. These objects              ploy, wash your hands and face with mild
        flates.                                                   located.
                                                                                                                       could cause injury in a crash, especially            soap and water before eating.
"'                                                              -Occupants who are unbelted, out of position
,,"'~   When an airbag deploys, fine dust is released.            or too dose to the airbag can be seriously
                                                                                                                       when the oirbags inflate.
                                                                                                                     -Never recline the front passenger's seat to
                                                                                                                                                                         --Be careful not to get the dust into your eyes,
~       lhis is normal and is not caused by a fire in the         injured by an airbag as it unfolds with great                                                             or into any cuts or scratches.
0
        vehicle. This dust is made up mostly of a powder                                                               transport objects. Items can also move into
"'>ro                                                             force in the blink of an eye opage 268.

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                                                                                                                                                                               The PASSENGER AIR BAG OFF light will show               straints on the front seat- some important
 - lfthe residue should get Into your eyes,
                                                                                                                                                                               the status of the front seat passenger's frontal        things to know and c, page 292, Child safety.
   flush them with water.
                                                                                                                                                                               Advanced Alrbag a few seconds after the lgni·
                                                                                                                                                                                                                                       If the PASSENGER AIR BAG light comes
                                                                                                                                                                               tlon Is switched on and the alrbag indicator
Monitoring the                                                                                                                                                                                                                         on ...
                                                                                                                                                                               light goes off. The PASSENGER AIR BAG OFF
Advanced Airbag System                                                                                                                                                         light;                                                  If the PASSENGER AIR BAG OFF light comes on
                                                                                                                                                                                                                                       when one of the conditions Us ted above is met,
                                                                                                                                                                               -will stay on if the front passenger seat is not        be sure to check the light regularly to make cer-
                                                                                                                                                                                  occupied;                                            tain that the PASSENGER AIR BAG OFF light
Twa separate indicators monitor the function of
                                                                                                                                                                               -will stay on if the electrical capacitance meas·
tho Advanced Airbag Systam: (·he  SJlight and
                                                                                                                                                                                  ured by the capacitive passenger detection sys-
                                                                                                                                                                                                                                       stays on continuously whenever the ignition is
the PASSENGER AIR BAG OFF light.                                                                                                                                                                                                       on. If the PASSENGER AIR BAG OFF light does
                                                                                                                                                                                  tern for the front passenger seat equals the         not appear on and does not stay on oll the time,
                                                      F:!•ii·· :ii.ii:::1   C.;;,;;,t;:;r .;;;::n.m:?.l;;:: l:i·l!:~i:Hi ;;:f;;g·r :;~;·~·iF¥,! :;rif ~:=;:;r::;gr;;;!
The Advanced Airbag Systen1 as well as the side       light
                                                                                                                                                                                  cornbined capacitance of an infant up to about       stop as soon as it is safe to do so and
airbags and side curtain airbags with ejection                                                                                                                                    one year of age and one of the rearward-facing
                                                                                                                                                                                  or forward-facing child restraints listed in Fed-    -reactivate the system by turning the ignition
mitigation features (including the electronic con-    The PASSENGER AIR BAG OFF light is located In
                                                                                                                                                                                  eral Motor Vehicle Safety Standard 208 with            off for more than4 seconds and then turning it
trol unit, sensors and .system wiring) are all        the center of the instrument panel 'i• fig. 244.
                                                                                                                                                                                  which the Advanced Airbag Systen1 in your vehi-        on ~lgl.\in;
monitored continuously to make sure that they
                                                      The PASSENGER AIR BAG OFF light will come on                                                                                cle was certified; For a listing of the child re-    -remove and reinstall the child restraint. Make
are functioning properly whenever the ignition is
                                                      ~nd stay on to tell you when the~ front Advanced                                                                                                                                   sure that the child restraint is properly instal·
on. Every time you turn on the ignition, the air-                                                                                                                                 straints that were used to certify your vehicle's
bag system indicator light m   will come on for a
                                                      Airbag on the passenger side has been turned off
                                                      by the electronic control unit. If the bulb for the
                                                                                                                                                                                  compliance with the U.S. S~fety Standard
                                                                                                                                                                                  c:,page29S.
                                                                                                                                                                                                                                         led and that the safety belt for the front pas-
                                                                                                                                                                                                                                         senger seat has been correctly routed through
few seconds (function check).
                                                      PASSENGER AIR BAG OFF light burns out, the                                                                                                                                         the child restraint as described in the child re·
The system must be inspected when the                 alrbag indicator light     will come on to signal a   m                                                                  -will go out if the front passenger seat is occu-
                                                                                                                                                                                  pied by an adult as registered by the capacitive       straint manufacturer's instructions;
Indicator light Si:                                   malfunction in the Advanced Airb2g System. Al·
                                                                                                                                                                                  passenger detection system.                          -make sure that the convertible locking retrac-
                                                      though the burned-out bulb will not change the                                                                                                                                     tor on the safety belt for the front passenger
-does not come on when the ignition is switched                                                                                                                                ···The PASSENGER AIR BAG OFF light must carne
                                                      way the front passenger's frontal air bag works, it                                                                                                                                seat has been activated and that the safety belt
  on,                                                                                                                                                                             on and stay on if the ignition is on and ...
                                                      will no longer be possible to use the PASSENGER                                                                                                                                    has been pulled tight.
-does not go out a few seconds after you have                                                                                                                                  -a car bed has been installed on the front pas-
                                                      AIR l!AG OFF light to make sure that the airbag                                                                                                                                  -make sure that no electrical device (such as a
  switched on the ignition, or                                                                                                                                                    senger seat, or
                                                      on/off status is correct for the occupant on the                                                                                                                                   laptop, CD player, electronic games device,
··comes on while driving.                                                                                                                                                      -a rearward-fating child restraint has been in-
                                                      front passenger seat. Have the airbag system in-                                                                                                                                    power inverter or seat heater for child safety
                                                                                                                                                                                  stalled on the front passenger seat, or
If an airbag system malfunction is detected, the      spected immediately by your authorized Audl                                                                                                                                        seats) is placed or used on the front passenger
indicator light will come on to serve as a constant                                                                                                                            --a forward-facing child restraint has been instal-
                                                      dealer.                                                                                                                                                                            seat if the device is connected to the 12-volt
reminder to have the system inspected immedi·                                                                                                                                      led on the front passenger seat,
                                                      The PASSENGER AIR BAG OFF light will blink                                                                                                                                         socket or the cigarette lighter socket;
ately.                                                                                                                                                                         -and if the electrical capacitance registered on
                                                      for about 5 seconds when:                                                                                                    the front passenger seat ls equal to or less than   -make sure that no seat heater has been retro·
If" malfunction occurs thnt tums the frnnt air-                                                                                                                                    tha combined capacitance of a typicall year·           filled or otherwise added to the front passen-
                                                      -~the ignition Is switched on and
bag on the passenger side off, the PASSENGER                                                                                                                                       old infant and one of the rearward-facing or           ger seat;
                                                      -the capacitive passenger detection system,                                                                                                                                       -make sure that nothing can interfere with the
AIR BAG OFF light will come on and stay on                                                                                                                                         forward-facing child restraints listed in Federal
                                                        which switches the front seat passenger's fran·                                                                                                                                  .safety belt buckles and that they are not ob·
whenever the ignition is on.                                                                                                                                                       Motor Vehicle Safety Standard 208 with which
                                                        tal Advanced Airbag on and off, detects a                                                                                                                                         structed;
                                                        change in the status of the front passenger                                                                                the Advanced Airbag System in yoUI· vehicle was
      WARNING                                                                                                                                                                      certified.                                           -make sure that there are no wet objects (such
                                                        seat.                                                                                                                                                                             as a wet towel) ;Jnd no water or other liquids on
  An airbag system that is not functioning prop-
                                                      As soon as the PASSENGER AIR BAG OFF light                                                                               If the front passenger seat is not occupied, the           the front passenger seat cushion .
  erly cannot provide supplemental protection
                                                      stops blinking, always rnake sure that the airbag                                                                        front airbag will not deploy, and the PASSENGER
 .in a frontal crash.                                                                                                                                                                                                                  If the PASSENGER AIR BAG light stilt does
                                                      status (on or off) as shown by the PASSENGER                                                                             AIR BAG OFF light will stay on. Never install a
 -If the airbag indicator light c.;> page 29                                                                                                                                                                                           not come on ...
                                                      AIR BAG OFF light is proper for the age, size and                                                                        rearward-facing child restraint on the front pas-
    comes when the vehicle is being used, have
                                                      electrical capacitance of the person occupying                                                                           senger seat, the safest place for a child in any         lf the PASSENGER AIR BAG OFF light still does
    the system inspected immediately by your
                                                      the front passen9er seat. Always make sure that                                                                          kind of child restraint is at one of the seating po-     not come on and does not stay on continuously
    authorized Audi dealer, It is possible that
                                                      the safety belt For the front passenger seat is                                                                          sitions on the rear seat"~ page 268, Child re-           (when the ignition is switched on),                   OJ>
    the olrbag will inflate when It is not sup-
           to, or will not inflate when It should.    properly fastened.                                ""


                                                                                                                                                                         279    280
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-take the child restraint off the front passenger        -If the PASSENGER AIR BAG OFF light does                     seat Into Its rear most position in the seat's                                             -Never cover, obstruct, or change the steer·
    seat and install it properly at one of the rear        not go off when an adult who is not very                   fore and aft adjustment range, as far away                                                   ing wheel horn pad or airbag cover or the in·
    seat positions. Have the airbag system inspect·        small is silting on the front passenger seal               from the airbag as possible. The backrest                                                    strurnent panel or modify them In any way.
    ed by your Audi dealer irnrnedia lely.                 after taking the steps described above,                    must be adjusted to an upright position.                                                   -Never attach any objects such as cup holders
... move the child to a rear seat position and make       make sure the adult is properly seated and                  Make sure that the PASSENGER AIR BAG                                                         or telephone mountings to the surfaces cov·
    sure that the child is properly restrained in a        restrained at one of the rear seating posi·                OFF light comes on and stays on all the time                                                 ering the <~irbag units.
    child restraint that is uppropriate for its size      tions. Hove the airbag system inspected by                  whenever the Ignition is switched on.                                                      -For cleaning the horn pad or instrument
                                                                                                                   ················   ···················   ····························•·····················
    and age.                                              your authorized Audi dealer before trans·                                                                                                                panel, use only a soft, dry cloth or one mois·
The PASSENGER AIR BAG light should NOT
                                                          porting anyone on the front passenger seat,            _&WARNING                                                                                         tened with plain water. Solvents or cleaners
come on ...                                                                                                       -If the PASSENGER AIR BAG OFF light does                                                         could damage the airbag cover or change
                                                        j_& WARNING                                                 not go out when an adult is sitting on lhe                                                     the stiffness or strength of the material so
The PASSENGER AIR BAG OFF light should NOT
                                                        An alrbag system that Is not functioning prop·              front passenger seat after taking the steps                                                    that the airbag tan not deploy and protect
come on when the ignition is on and an adult is                                                                                                                                                                    properly.
                                                        erly cannot provide supplemental protection                 described above, make sure the adult is
sitting in a proper seating position on the front
                                                        in a frontal crash.                                         properly seated and restrained at one of the                                                 -Never repair, adjust, or change any parts of
passenger seat. lf the PASSENGER AlR BAG OFF
                                                        -If the alrbag indicator light¢ page 29                     rear seating positions.                                                                        the airbag system.
light comes on and stays on or flashes for about
                                                          comes when the vehicle is being used, h<lve             - Have the airbag system inspected by your                                                     -All work on the steering wheel, instrument
5 seconds while driving, under these circumstan·
                                                          the system inspected immediately by your                  Audi dealer before transporting anyone on                                                      panel, front seats or electrical system (in·
ces, make sure that:
                                                          authorized Audi dealer. It is possible that               the front passenger seat.                                                                      eluding the installation of audio equipment,
-the adult on the front passenger seat is proper·         the<~irbag will inflate when it is not sup·                                                                                                              cellular telephones and CB radios, etc)
  ly seated on the center of the seat cushion with        posed to, or will not inflate when it should.          @            Tips                                                                                 must be performed by a qualified technician
  his or her back up against the backrest and the                                                                                                                                                                  who has the training and special equipment
                                                                                                                  If the capacitive passenger detection system
  backrest is not reclined,                                  WARN!NG                                                                                                                                               necessary.
                                                                                                                  determines that the front passenger seat Is
-the adult is not taking weight off the seat by                                                                                                                                                                  -For any work on the airbag system, we
                                                        If the front airbag inflates, a child without a           empty, the frontal airbag on the passenger
  holding on to the passenger assist handle                                                                                                                                                                        strongly recommend that you sec your au·
                                                        child restraint, or in a rearward-facing child            side wilt be turned off, and the PASSENGER
  <lbove the front passenger door or supporting                                                                                                                                                                    thorized Audi dealer or qualified workshop.
                                                        safety seat, or in a forward-facing child re·             AIR BAG OFF light will stay on.
  their weight on the armrest,                                                                                                                                                                                   -Never modify the front bumper or parts of
                                                        straint that has not been properly installed
  the safety belt is being properly worn and that                                                                                                                                                                  the vehicle body.
                                                        will be seriously injured and can be killed.
  there is not a lot of slack in the safety belt web-                                                                                                                                                            -Always make sure that the side airbag can
                                                        -Even though your vehicle is equipped with
  bing,                                                                                                          Parts of the airbag system are installed at many                                                  inflate without interference:
                                                          an Advanced Airbag System, make certain
-there are no aftermarket seat covers or cush-                                                                   different places on your Audi. Installing, remov-                                                 -Never install seat covers or replacement
                                                          that all children, especially 12 years and
  Ions or other things (such as blankets) on the                                                                 ing, servicing or repairing a part in an area of the                                                upholstery over the front seatbacks that
                                                          younger, always ride on the back seat prop·
  front passenger seat that might cause lhe ca·                                                                  vehicle con darnage a part of ~n airbog systern                                                     have not been specifically approved by
                                                          erly restrained for their age and size.
  pacitlve passenger detection system to mlscal·                                                                 and prevent that system from working properly                                                       Audi.
                                                        -Always Install forward or rear-facing child
  culate electrical capacitance.                                                                                 in a collision.                                                                                  -Never use additional seat cushions that
                                                          safety seats on the rear seat- even with an
                                                          Advanced Alrbag System.                                                                                                                                    cover the areas where the side airbags in-
                                                                                                                 There are some important things you have to
                                                        -If you must ins tali a rearward-facing child                                                                                                                flate.
                                                                                                                 know to make sure that the effectiveness of the
                                                          safety seat on the front passenger seat be·                                                                                                             -Damage to the original seat covers or to
                                                                                                                 system will not be impaired and that discarded
                                                          cause of exceptional circumstances and the                                                                                                                 the seam in the area of the side airbag
                                                                                                                 components do not cause injury or pollute the
                                                          PASSENGER AIR BAG OFF light does not                                                                                                                       module must always be repaired immedi·
                                                                                                                 environment.
 -If the status of the Advanced Airbag System             appear and stay on, immediately install the                                                                                                                ately by an authorized Audi dealer.
   has changed while the vehicle is moving, the           rear-facing child safety seat in a rear seating                                                                                                        -The airbag system can deploy only once. Af·
   PASSENGER AIR BAG OFF light blinks for                 position and have the airbag system in·                                                                                                                  ter an airbag has been deployed, it must be
                                                                                                                  Improper care, servicing and repair proce·
  about 5 seconds to catch the driver's atten·            spected by your Audi dealer.                                                                                                                             replaced with new replacement parts de·
                                                                                                                  dures can increase .the risk of personal injury
  tion.lfthis happens, always stop as soon as           -If, In exceptional circumstances, you must                                                                                                                signed and approved especially for your
                                                                                                                  and death by preventing an airbag frorn de-
  it Is safe to do so and check the steps descri·         inst<Jll u forward-facing child restraint on                                                                                                             Audl model version. Replacement of com·
                                                                                                                  ploying when needed or deploying an air bag
  bed above.                                              the front passenger seat, always move the         P.                                                                                                     plete airbag systems or alrbag components
                                                                                                                  unexpectedly:
                                                                                                                             ~------------~                                                                        must be performed by qualified workshops
                                                                                                                                                                                                                   only. Make sure that any airbag service          ~


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   action is entered In your Audl Warranty &          crease the risk of serious personal injury in a          The airbag system is not a substitute for your
                                                                                                                                                                                WARNING
   Maintenance booklet under AIR BAG RE·              crash.                                                   safety belt. Rather, It Is part of the overall occu·
                                                                                                               pant restraint system in your vehicle. Always re-           Safety belts and the airbag syslern can only
                                                                                                                                                                          •m


   PLACE/11ENT flECORD.                               -Never install suspension components that
                                                                                                               rnernber that the <1irbag system can only help to           provide protection when occupants are in
 -Applies to plug· in hybrid' vehicles: In the          do not have the saMle performance charac-
                                                                                                               protect you if you are wearing your safety belt             the proper seating position ¢page 277,
   event of a collision where the airbags de-           teristics as the components originally Instal-
                                                                                                               and wearing it properly. This is why you should            -If the airbag indicator light qpage 29
   ploy, the electricul connection to the high·         led on your vehicle,
                                                                                                               always wear your safety belt, not just because              comes when the vehicle is being used, have
   voltage battery is automatically disconnect-       - Never use tire-rim combinations that have
                                                                                                               the law requires you tn do so   r~ page   258,   Gener~     the system inspected Immediately by your
   ed. This prevents a short circuit.                   not been approved by Audi.
                                                                                                               al notes.                                                   authorized Audl dealer, It is possible that
                                                                                                                                                                           the airbag will inflate when it is not Slip·
:@)   For the sake of the ellllironment              Knee airbags                                              Remember too, airbags will deploy only once and              posed to, or will not Inflate when it should.
 Undeployed airbag modules and pretension·                                                                     only in certain kinds of accidents- your safety
 ers might be classified as Perchlorate Materi-                                                                belts are always there to offer protection in those
 al-speci8l handling may apply, see                                                                            accidents in which airbags are not supposed to
 www.dlsc.ca.gov/h<~•ardouswaste/perchlo­            rhe knee airbag system con provide supplemen-             deploy or when they have already deployed, for
 rate. When the vehicle or parts of there-           tal protection to properly restrained front seat          exarnplo when your vehicle strikes or is struck by        The risk of injury to the leg Qreo can be reduced
 straint system Including air bag modules and        ocwpants.                                                 another after the first collision.                        hy fully in flo ted knee airbogs.
 safety belts with pretensionr>rs are scrapped,                                                                This is just one of the reasons why an alrbag is
 all applicable laws and regulations must be
                                                                                                               not a substitute for the safety belt. The airbag
 observed. Your authorized Audl dealer is fa-                                                                  system works nwst effectively when used with
 miliar with these requirements and we recom·                                                                  the safety belts. Therefore, always wear your
 mend that you have your dealer perform this                                                                   safety belts correctly.
 service for you.
                                                                                                               It is important to remember thnt while the S\JP·
                                                                                                               plement~l   knee alrbag system is designed tore-
                                                                                                               duce the likelihood of serious injuries, other inju-
                                                                                                               ries, for exampl.e, swelling, bruising and minor
Changing the vehicle's suspension system can                                                                   abrasions and friction burns can also occur when
change the way that the Advanced Airbag System                                                                 an airbag inflates.
performs in a crash. For example, using tlre·rim     The driver knee airbag is in the instrument panel                                                                   The knee air bag system has been designed so
combinations not approved by Audl, lowering the      underneath the steering wheel cci> fig. 245, the          The knee airbag system basically consists of:             that the airbags for the driver and front passen-
vehicle, changing lhe stiffness of the suspension,   airbag for the passenger is at about the same             -The electronic control module                            ger deploy in certain but not all froJ)tal. collisions.
including the springs, suspension struts, shock      height in the instrument panel undernenth the             -Two inflatable airba9s (airbag and gas 9enera•           If the front airbags deploy, the knee airbags also
absorbers etc. can change the forces thnt are        glove comportment.                                          tor), one for the driver and one for the front          deploy in frontal collisions when the deployment
measured by the airbag sensors and sent to the       The knee airbag offers additional protection to             passenger                                               threshold stored in the control unit is met.
electronic control unit. Some suspension changes     the driver's and passenger's knees and upper and          -The airbag indicator light in the instrument
can, for example, Increase the force levels meas·                                                                                                                        When the system deploys, the airbags fill with u
                                                     lower thigh areas and supplements the protec-               panel
ured by the sensors and make the airbag system                                                                                                                           compressed propellant gas, and inflate between
                                                     tion provided by the safety belts.                                                                                  the lower part of the Instrument panel and the
deploy In crashes in which it would not deploy If                                                              The knee airbag system wilt not deploy:
the changes had not been made. Other kinds of        If the front airbags deploy, the knee alrbags also                                                                  driver and the lower part of the instrument panel
                                                                                                               -when the ignition is switched off
changes Mlay reduce the force levels measured by     deploy in frontal collisions when the deployment                                                                    and the front pJssenger c:> page 277, fig. 243.
                                                                                                               .... in frontal collisions wh(!n the deceleration
the sensors and prevent the airbag from deploy-      threshold stored in the control unit is met                                                                         Although they are not a soft pillow, they can
                                                                                                                    measured by the control unit is too low
ing when It should.                                  "-'page 277, More important things to know                                                                          "cushion" the impact and in this way they can
                                                                                                               -·in side collisions
                                                     about front airbogs.                                                                                                help to reduce the risk of injury to the lower ex-
                                                                                                               -in rear-end collisions
      WARNING                                        In addition to their normal safety function, safe·        - in rollovers                                            tremities.
 Changing the vehicle's suspension including         ty belts help keep the driver or front passenger in       -in the event of a system malfunction {warning/           All of this takes place in the blink of an eye, so
 use of unapproved tire-rim lOrnbinalions can        position in a frontal collision so that the airbags            indirator light is on) '"'poge 2.9.                  fast that many people don't even realize that the
 change Advanced Airbag performance and in·          can provide supplemental protection.                  ~
                                                                                                                                                                         airbags have deployed. The airbags also inflate
                                                                                                                                                                         with a great deal of force and it is important for        ~


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occupant safety that nothing should be in their        with the way the airbag deploys or by being           can be used with properly installed child re-          help to protect you if you are wearing your safety
way when they deploy.                                   pushed into you as the airbag deploys.               straints. Please be sure to read the important in-     belt and wearing il properly. This is another rea-
                                                       - Never let anybody, especially children or           formation and warnings whenever using a child          son why you should always wear your safety
Fully inflated airbags in combination with proper-
                                                          animals ride in the footwellln front of the        restraint in a vehicle: Safety belts o:> poge 258,     belts, not just because the law requires you to do
l)' worn safety belts slow down and limit the oc-
                                                          passenger scat. If the airbag deploys, this        Air bag system"" page 267, Child safety                so"' page 2S8, General notes,
cupi.lnt's forwmd movement and help to reduce
                                                          can result in serious or fatal injuries.           C:>poge 292.
the risk of injury.                                                                                                                                                 It is Important to remember that while the sup·
                                                       -Never carry objects of any kind in the foot-         The side alrbag system basically consists of:          plemental side airbag system is designed tore-
                                                          well area in front of the driver's or pas-                                                                duce the likelihood of serious injuries, other inju-
                                                                                                             -the electronic control module and external side
                                                          senger's ~eat. Bulky objects (shopping                                                                    ries, for example, swelling, bruising, friction
                                                                                                               ln·)pac.t sensors
                                                          bags, for example) can interfere with or                                                                  burns and minor abrasions can also be associated
                                                                                                             -the two airbags located in the sides of the front
                                                          pwve nt proper deployment cf the airbag.                                                                  with deployed side airbags. Remember too, side
Airbags arc only suppi<Jmental restraints. Always                                                              backrests and the two airbags' located in the
                                                          Small objects can be thrown through the                                                                   oirbags will deploy only once and only in certoin
wear safety belts correctly and ride in a proper                                                               rear backrest
                                                          vehicle ifthe airbag deploys and injure you                                                               kinds of accidents- your safety belts are always
seating position.                                                                                            -the airbag warning light in the instrument clus-
                                                          or your passengers.                                                                                       there to offer protection.
                                                                                                               ter.
There is a lot that you and your passengers must      -Make sure there are no cracks, deep scratch-
                                                                                                                                                                    Vehicl(~ Uamage, repair costs or even the lack of
know and do to help the safety belts and airbags        es or other damage in the area of the instru·        The airbag system is monitored electronically to
                                                                                                                                                                    vehicle dan1age are not necessarily an indication
to provide supplemental protection.                     ment panel where the knee air bags are lo-           make certain that it is functioning properly at all
                                                                                                                                                                    of over-sensitive or failed airbag activation. In
                                                        cated.                                               times. Each time you switch on the ignition, the
lA .WARNING                                           -If children are incorrectly seated, their risk
                                                        of injury increases in a collision
                                                                                                             airbag system indicator light will come on for a
                                                                                                             few seconds (self diagnostics).
                                                                                                                                                                    some collisions, both front and side airbags may
                                                                                                                                                                    inflate. Remember too, that alrbags will deploy
 An inflating knee airbag can cause serious in-                                                                                                                     only once and only in certain kinds of collisions-
 jury, Wearing safety belts incorrectly and im-        ""page 292, Child sofev.
                                                                                                             The side airbag system supplements the safety          your safety belts are always there to offer protec·
  proper seating positions increase the risk of                                                              belts and can help to reduce the risk of injury to     tlon in those accidents in which airbags are not
  serious personal injury and death whenever a       Side airbags                                            the driver 1S 1 front and rear* passenger's upper      supposed to deploy or when they have already
 vehicle is being used.                                                                                      torso on the side of the vehicle that is struck In a   deployed.
 -The knee alrbag system cannot protect you                                                                  side collision. Tlw airbag deploys only in side im·
    properly If you are seated too close to any of   The oirbog system can provide .supple.rneMal
                                                                                                                                                                    The side alrbag system will not deploy;
                                                                                                             pacts and only when the vehicle acceleration reg-
    the airbag locations. When adjusting their       protection to properly restrained occupants.            Istered by the control unit is high enough. lf this    -when the ignition is switched off
    seat positions, it is important that both the                                                            rate is below the reference value programmed in-       -in side collisions when the acceleration meas-
    driver and the front passenger keep their                                                                to the control unit, the side airbags will not be        ured by the sensor is too low
    upper bodies and knees at the following                                                                  triggered, even though the car may be badly            -In front-end collisions
    minimum safe distances:                                                                                  damaged as a result of the collision, It is not pos-   -in rear·end collisions
    - at least 10 inches (25 em) between the                                                                 sible to define an airbag triggering range that        - in rollovers.
       chest and the steering wheel/instrument                                                               will cover every possible angle of impact, since
                                                                                                                                                                    In some types of accidents the front airbags, side
       panel,                                                                                                the circumstances will vary considerably between
                                                                                                             one collision and another. Important factors in·       curtain airbags and side airbags rnay be triggered
    -at least 4 inches (10 em) between the
                                                                                                                                                                    together.
       knees and the lower part of the instru-                                                               elude, for example, the nature (hard or soft) of
      ment ponel.                                                                                            the impacting object, the angle of impact, vehicle
                                                                                                                                                                           WARNING
 -The risk of personal injury increases if you                                                               speed, etc. ":'·page 287, Important safety in-
    lean forward or to the $Ide, or if the seat is                                                           structions on t!Je side oirbag system.                  -Safety belts and the airbag system will only
                                                     The side airbags are located in the sides of the                                                                  provide protection wlren ocwpants me in
    improperly positioned and you are not wear-                                                              Aside from their normal safety function, safety
                                                     front seat backrests <e> fig, 247 and the rear back-                                                              the proper seating position "~page 287.
    ing your safety belt. The risk increases even                                                            belts work to help keep the driver or front pas-
                                                     rest' facing the doors.                                                                                         -If the airbag indicator light c;> page 29
    more should the alrbag deploy.                                                                           senger in position in the event of il side collision
 --,Always make sure that the knee airbag can        The side airbags installed for the front seating                                                                  comes when the vehicle is being used, have
                                                                                                             so that the side airbags can provide protection.
    inflate without interference, Objects be-        positions have been designed and certified to                                                                     the system inspected immediately by your
    tween you and the airbag can increase the        help reduce the risk of injury that can be caused       The airbag system is not a substitute for your            authorized Audi dealer. It Is possible that
    risk of injury in an accident by interfering     by airbags when they inflate, particulilrly when        safety belt. Rather, it is part of the overall occu-      the airbag will inflate when it is not sup·
                                                     the occupant sitting next to it is not seated prop-     pilnt restraint system in your vehicle. Always re-        posed to, or will not inflate when it should.
                                                     erly, The side airbag for the front passenger seat "'   member that the side air bag system can only

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                                                                                                                      Airbag

                                                                help to reduce the risk of injury to the upper part      -Damage to the original seat covers or to             doors when air escapes through larger, un·
                                                                ofthe body.                                                the seam in the area of the side airbag             closed openings in the door panel.
Side airbags deploy inst·anUy and can help re·
                                                                A fine dust may develop when the airbag deploys.           module rnust always be repaired immedi-             -Never drive with interior door trim panels
duce the risk of upper torso injuries for occu-
                                                                This is normal and does not mean there Is a fire           ately by an authorized Audi dealer.                   removed.
pants who are properly restrained,
                                                                In the vehicle.                                        -·Objects between you and the airbag can In·            -Never drive when parts have been re-
                                                                                                                         crease the risk of injury in an accident by in-         moved from the inside door panel and the
                                                                                                                         terfering with the way the airbag unfolds or            openings they leave have not been proper·
                                                                                                                         by being pushed into you as the airbag in-              ly closed,
                                                                                                                         flates,                                               -Never drive when loudspeakers in the
                                                                Alrbags are only supplemental restraints. Always         -Never place or attach accessories or other             doors have been removed unless the
                                                                properly wear safety belts ancf ride in a proper           objects (such as cup holders, telephone               speaker holes have been properly dosed.
                                                                seating posiUon.                                           brackets, or everi large, bulky objects) on         -Always make certain that openings are
                                                                There is a lot that you and your passengers must           the doors, over or near the area marked               covered or filled If additional speakers or
                                                                know and act accordingly to help the safely belts          "AIR BAG" on the seat backrests.                      other equipment is installed in the inside
 App!k.s to: vehi<.h:s wit.h.HJt puw~!t tt.;p
                                                                and airbags do their job to provide supplemental         -Such objects and accessories can become                door panels.
 fig, 248 Side impact protl!ctlon: inflated side airbags (ex~
                                                                protection,                                                dangerous projectiles and cause injury              -Always have work on the doors done by an
 ample)
                                                                                                                           when the supplemental side airbag de-                 authorized Audi dealer or qualified work·
                                                                      WARNING                                              ploys.                                                shop.
                                                                                                                           Never carry any objects or pets in the de·
                                                                 An inflating side airbag can cause serious or
                                                                                                                           ployment space between them and the             Side curtain airbags
                                                                 fatal injury. Improperly wearing safety belts
                                                                                                                           airbags or allow children or other passen-
                                                                 and improper seating positions increase the
                                                                                                                           gers to travel in this position.
                                                                 risk of serious personal injury and death
                                                                                                                       -Always use the built·ih coat hooks only for
                                                                 whenever a vehicle is being used,
                                                                                                                         lightweight clothing. Never leave any heavy       Tl1e side curtain airbag system can provide sup-
                                                                 -In order to reduce the risk of injury when
                                                                                                                         or sharp-edged objects in the pockets th<1t       plemental protection to proper0t restmined oc·
                                                                   the supplemental side airbag inflates:
                                                                                                                         may interfere with side airbag deployment         cupants.
 !1.pt.lllr:'.< to; vdndc'.< '>'ht"h   PO\•;ef h~p
                                                                   -Always sit in an upright position and never
                                                                                                                         and can cause personal Injury In an accident.
 f:Jg. 2.49 Side Impact prob:!:c.t!un: Inflated side alrbags         lean against the area where the supple-
                                                                                                                       --Always prevent the side airbags from being
                                                                     mental side airbag is located,
                                                                                                                         damaged by heavy objects knocking against
When the system is triggered, the airbag is filled                 -Never let a child or anyone else rest their          or hitting the sides of the seatbacks,
with propellant gas and breaks through a seam in                     head against the side trim panel in the
                                                                                                                       -The alrbag system can only be triggered
the seat surface area marked "AIRBAG", lt ex-                        area where the supplemental side air bag
                                                                                                                         once. If the airbag has been triggered, the
pands between the side trim panel and the pas-                       inflates.
                                                                                                                         system must be replaced by an authorized
senger, In order to help provide this additional                   -Always make sure that safety belts are
                                                                                                                         Audi dealership.
protection, the side airbag must inflate within a                    worn correctly,
fra,tion of a second at very high speed and with                                                                       - Damage (cracks, deep scratches etc.) to the
                                                                   -Do not let anyone sitting in the front seat
great force, The supplemental side airbag could                                                                          original seat covers or to the seam In the
                                                                     put their hand or any other parts oftheir                                                             ~ ~~. 2 ~!:!: ::..!::.~;;   ;:;.;;; t:<·k: ;o.!;;:i;.;;.,~;l:;., ~=~·=;;;:·.;; ;;,!;:i.;r: :;,~;l:;;. r. ..
injure you if your seating position is not proper or                                                                     area of the side airbag rnodule must alwilys                                                                                                                    ;;!;:
                                                                     body out of the window.                                                                               bng location (cx.amplr)
upright or if items are lo,ated in the area where                                                                        be repaired immediately by an authorized
                                                                 -Always rnake sure that the side airbag can             Audi dealer.
the supplemental side airbag expands. This ap·                     inflate without interference.                                                                           The side curtain airbags are located on both sides
plies especially to children'·'' page 292, Child                                                                       ·-If children are seated improperly, their risk
                                                                   -Never install seat covers or replacement                                                               of the Interior above the front and rear side win·
safety. Supplemental side airbags inflate be·                                                                            of injury increases in the case of an accident
                                                                     upholstery over the front seatbacks that                                                              dows ,.·:>fig. 250. They are identified by the word
                                                                                                                         9 page 292, Child safety,
tween the occupant and the door panel on the                                                                                                                               "AIRBAG" on the windshield frame and the cen·
                                                                     have not been specifically approved by            -Never attempt to mo<:lify any components of
side of the vehicle that is struck in certain side                                                                                                                         ter roof pillar.
                                                                     Audi.                                               the airbag system in any way,
collision 4< fig. 248, 4< fig. 249,
                                                                   -Never use additional seat cushions that            -In a side collision, side alrbags will not func-   The side curtain airbags contain features that
Although they are not a soft pillow, they can                        covcrthe areas where the side airbags de-           tion properly if sensors cannot correctly         provide ejection mitigation to help prevent vehi·
"cushion" the impact and in this way they can                                                                            measure increasing air pressure inside the        cle occupants or parts of their bodies from being
                                                                                                                                                                           completely or partially ejected from the vehicle

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       interior in certain side impacts and vehicle roll-     The side curtain airbag system basically
       overs.                                                 consists of:

       The side curtain airbag system supplements the         ,, The electronic control module and external side   Side curtain oirbags con work together with side
       safety belts and can help to reduce the risk of in-       impact sensors                                    oirbags to help reduce the risk of head and upper                Airbags are only supplemental restraints. Always
       jury for occupants' heads and upper torso on the       -The side curtain airbags above the front and        torso injuries for occupants who are properly re-                pmperly wear safety belts and ride in a proper
       side of the vehicle that is struck in a side colli-       rear side windows with ejection mitigation fea-   strained.                                                        seaUng position,
       sion. Tha side curtain airbag inflates in side im-        tures
                                                              -The airbag indicator light in the instrument                                                                         There is ,1 lot th<lt you and your passengc!rs must
       pacls <mel only when the vehicle acceleration reg-                                                                                                                           know and do to help the safety belts and airbags
       istered by the control unit is high enough. If this       panel
                                                                                                                                                                                    do their job to provide supplemental protection.
       rate is below the reference value programmed in-       The airbag system is monitored electronically to
       to the control unit, the side curtain airbag will      make certain it Is functioning properly at all                                                                        &_WARNING
       not be triggered, even though the cnr may be           times. Each time you switch on the ignition, the                                                                       Improperly wearing safety belts and Improper
       badly damaged as a result of the collision. It is      alrbag system indicator light will come on for a                                                                       seating positions Increase the risk of serious
       not possible to define an airbag triggering range      few seconds (self diagnostics).                                                                                        personal injury and death whenever a vehicle
       that will cover every possible angle of impact,
                                                              The side curtain airbag is not activated:                                                                              is being used.
       since the circumstances will vary considerably be-
       tween one collision and another. Important fac-                                                              Fig. 251 Illustration of prlndplo: Inflated side curtoin nlr·    -Never let occupants place any parts of their
                                                              -if the ignition is switched off,                    bags on the \(!ft sld12 (exnrnplC!)                                  bodies in the area from which the side cur-
        tors include, for example, the nature (hard or          in side collisions when the acceleration meas·
       soft) of the impacting object, the angle of im-                                                                                                                                  tain airbag inflate.
                                                                ured by the sensor is too low,                     The side curtain airbags inflate between the ot·                  ,, Always make sure that the side curtain air-
       pact, vehicle speed, etc."' page 290, How side         -in rear-end collisions.                             cupant and the windows on the side of the vehi·
       wrtoin oirbags work.                                                                                                                                                             bags can Inflate without interference,
                                                                                                                   cle that is struck in a side collision C:• fig. 251.
       Aside from their normal safety function, safety        I&. WARNING                                          When the sy5tern is triggered, the side curtain
                                                                                                                                                                                     -Use the bu Itt-in coat hooks only for light-
                                                                                                                                                                                        weight clothing. Never leave any heavy or
       belts work to help keep the driver orfront pus-         -Safety belts and the airbag system will only       airbag is filled with propellunt gas and breaks                      sharp-edged objects in the pockets that may
       senger in position in the event of a collision so         provide protection when occupants are in          through a seam above the front and rear side                         interfere with airbag deployment and can
       that the side curtain airbags can provide protec-         the proper seating position c:' page 61,          windows identified by the AlRBAG label. ln order                     cmtse person<Jl injury in a collision.
       tion.                                                     Front scats.                                      to help provide this additional protection, the                   -Never use hangers to hang clothes on the
       The airbag system is not a substitute for your          -If the airbag Indicator light <)page 29            side curtain airbag must inflate within the blink                    hooks.
       safety belt. Rather, it is part of the overall occu-      comes when the vehicle is being used, have        of an eye at very high speed and with great force.                -Only use factory-installed sun shades or, if
       pant restraint system in your vehicle. Always re-         the system inspected Immediately by your          The side curtain airbag could injure you if your                     shades installed after the vehicle leaves the
       member that the airbag system can only help to            authorized Audi dealer. It Is possible that       seating position is not proper or upright or if                      factory, use only genuine Audl sun shades.
       protect you if you are wearing your safety belt          the airbag will inflate when it is not sup-        items are located in the area where the supple-                   - Never swing the sun visors,over to the side
       and wearing it properly. This is another reason           posed to, or will not inflate when it should.     mental side curtaif1 airbag inflates. This applies                   windows If things such as pens, garage door
       why you should always wear your safety belts,                                                               especially to children S> page 292.                                  openers, hands-free speakers, etc. are at-
       not just because the law requires you to do so                                                                                                                                   tached to the sun visors. They could come
                                                                                                                   Although they are not a soft pillow, side curtain
       ~'page   258, General notes.                                                                                airbags can "cushion" the. impact and in this way                    loose and cause serious injury if theside cur-
                                                                                                                                                                                        tain airbag inflates.
       It is important: to remember that while the side                                                            they Gill help to reduce the risk of injury to the
                                                                                                                   head and the upper part of the body.                              ·-A deploying airbag inflates in a fraction of a
       curtain airbag system is designed to help reduce
                                                                                                                                                                                         second and with great force.
       the likelihood of serious injuries, other injuries,                                                         A fine dust may develop when the airbag deploys.                  -Never attach objects to the cover or in the
       for example, swelling, bruising, friction burns                                                             This is quite normal and does not mean there is a
       and minor abrasions can also be associated with                                                                                                                                   deployment zone of a side curtain airbag.
                                                                                                                   fire in the vehicle.                                              -The airbag deployment zones must be kept
       these airbags upon deployment. Remember too,
       these airbags will deploy only once and only in                                                                                                                                   clear at all times. Make sure there are no
       certain kinds of accidents- your safety belts are                                                                                                                                objects, pets, nr other rersons in the space
"'     always there to offer protection.                                                                                                                                                 between any vehicle occupant and any air-
~                                                                                                                                                                                        bag at any time.
,...
N

:'01                                                                                                                                                                                 -Do not attach any accessories to the doors.
N
6J

                                                                                                           289     290
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                                                                      Child


I& WARNING                                                            Child                                                  ··National Highway Traffic Safety Administration
                                                                                                                               (NHTSAl, currently at: hlt:p://www.safe-
-··The airbag system can deploy only once. If                         Important information                                    rcar.gov (for the USA)
   the. airbag has been triggered, the system                                                                                -Transport Canada Information Centre, current·
   must be replaced by an authorized Audi                                                                                      ly at: http://www.tc.geco (for Conada)
   dealer or qualified workshop.                                      The rear seot is generally the safest place in a
-Always have work Involving the side curtain                                                                                 Consult the child safety seat manufacturer's in·
                                                                      collision.
   airbag system, removal and installation of                                                                                structions in order to be sure the seat is right for
   the air bag components, or other repairs                           The physical principles of what happens when           your child's size q page 296, Important safety
   performed by a qualified dealership. other·                        your vehicle is in a crash apply also to children      instructions for using child safety seats. Please
   wise the air·bag system may not work cor·                          c> page 259, What happens to occupants not             be sure to read and heed all of the important in-
   rectly.                                                            W('aring soft•ty /Nits?. But unlike adults and         formation and WARNINGS ilbout cbild safety,
-.Never attempt to modify any components of                           teenagers, their rnusdes and bones are not fully       Advanced Airbags, and the installation of child
   the air bag system in any way.                                     developed. In many respects children are at            restraints in this chapter,
                                                                      greater risk of serious injury in crashes than         There is a lot you need to know about the Ad·
                                                                      ;:rdults.                                              vanced Airbags in your vehicle ~nd how they work
                                                                      Because children's bodies are not fully devel·         when infants and children in child restraints are
                                                                      oped, they require restraint systems especially        on the front passenger seat. Because at the large
                                                                      designed for their size, weight, and body struc·       amount of important information, we cannot re·
                                                                      ture. Many countries and all states of the United      peat it all here. We urge you to read the detailed
                                                                      States and provinces of Canada have laws requir·       information in this owner's manual about airbags
                                                                      ing the use of approved child restraint systems        and the .t..dvanccd Air bag System in your vehicle
                                                                      for infants and small children,                        and the very important information about trans·
                                                                                                                             porting children on the front passenger seaL
                                                                      In a frontal crash at a speed of 20·35 mph
                                                                                                                             Please be sure to heed the WARNINGS· they are
                                                                      (30·56 km/h) the forces acting on a 13-pound
                                                                                                                             extremely important for your safety and the safe·
                                                                      (6 kg) infant will be more than 20 times the
                                                                                                                             ty of your passengers, especially infants and
                                                                      weight of the child. This means the weight of the
                                                                                                                             small children.
                                                                      child would suddenly be more than 260 pounds
                                                                      (120 kg). Under these conditions, only <111 appro·            WARNING
                                                                      priate child restraint properly used can reduce
                                                                      the risk of serious injury. Child restraints, like      -Accident statistics have shown that children
                                                                      adult safety belts, must be used properly to be           are generally safer in the rear seat area than
                                                                      effective. Used improperly, they can incr<~ase the        in the front seating position, Always restrain
                                                                      risk of serious injury in an accident.                    any child age 12 and under in the rear.
                                                                                                                              ·-All vehicle occupants and especially children
                                                                      All children, especially those 12 years and young·        must be restrained properly whenever riding
                                                                      er must always ride in the back seat properly re-         in a vehicle, An unrestrained or improperly
                                                                      strained for their age and size. If you must install      restrained child could be Injured by striking
                                                                      a child restraint on the front passenger seat in          the interior or by being ejected from the ve-
                                                                      exceptional circumstances, be sure to read and            hicle during a sudden maneuver or Impact.
                                                                      heed the important information <ll1d W<lfnin9s            An unrestrained or improperly restrained
                                                                      c.> page 268, Infants and other children who are          child is also at greater risk of injury or death
                                                                      properly restrained in an appropriate child re·           through contact with an inflating airbag;
                                                                      straint that is for their size and age can benefit      -A suitable child restraint properly installed
                                                                      from the protection that supplemental side air-           and used at one of the rear seating positions
                                                                      bags provide in some kinds of crashes.                    provides the highestdegree of protection
                                                                      For more information please see information               for infants and small children in most acci-
                                                                      provided by the:                                          dent situations.                                    1>


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                                                                                        Child                    Child


It&.       WARNING                                     -Never put the forward·faclng child re·
                                                           straint up against or very near the instru-
                                                                                                                    -Always make sure that the PASSENGER
                                                                                                                      AIR BAG OFF light cornes on and stays on
                                                                                                                                                                         senger seat in child restraints that are listed in
                                                                                                                                                                         the 5ta nd a rd.
  Children on the front seat of any car even with                                                                     all the lirne whenever the ignition is
                                                           ment panel.                                                                                                   Even though your vehicle is equipped with an Ad·
  Advanced Airbags can be seriously injured or                                                                        switched on.
                                                       - i\pj,liec> to: vdmles with s;Jfety bett ht,iqht                                                                 vanced Airbag system, all children, especially
  even killed when an airbag Inflates. A child in
                                                           Jdju:>tme11t; Always set the safety belt up-             -If the PASSENGER AIR BAG OFF light                  those 12 years and younger, should illways ride
  a rearward-facing child safety seat installed
                                                           per onchorage to the adjustment position                   does not come on and stay on, immediate-           in the back seat properly restrained for their age
  on the front passenger seat will be seriously
                                                           that permits proper installation in accord-                ly install the forward-facing child safety         and size. The airbag on the passenger >ide makes
  injured and can be killed if the front airbag in-
                                                           ance with the child restraint manufactur·                  seat in a rear seating position and have           the front seat a potentially dangerous place for a
  flates.                                                                                                             the airbag system Inspected by your au-
                                                           er's instructions.                                                                                            child to ride. The front seat is not the safest place
  -The inflating airbag will hit the child safety
                                                       -Always move the front passenger seat to                       l:horlze.d Audi dealer.                            for a child in a forward-facing child safety seat. It
    seat or infant carrier with great force and
                                                           the highest position in the up and down                  -Always buckle the child safety seat firmly          can be a very dangerous pl~ce for an infant or a
    will smash the child safety seat and child
                                                           adjustment range and move it back to the                   in place even if a child is not sitting in it. A   larger child in a rearward-facing seat.
    against the backrest, center armrest, or
                                                           rearmost position in the seat's fore and                   loose child safety seat can fly around dur·
    door.                                                                                                                                                                The vehicle's Advanced Airbag System has a ca·
                                                           aft adjustn1ent range, as far away from                    ing a sudden stop or in a collision.
    Always install rear-facing child safety seats                                                                                                                        pacitive passenger detection system in the front
                                                           the airbag as possible, before installing                -Always read and heed all WARNINGS
    on the rear seaL                                                                                                                                                     passeng~r   seat cushion that (an detect the pres-
                                                           the forward-facing child restraint.                        whenever using a child restraint in a vehi-
  -If you must install a rearward facing child                                                                                                                           ence of a baby or a child in a child restraint sys·
                                                       -Always make sure that the safety belt up-                     cle '*page 258, Safety belts,"'' page 267,
    safety seat on the fmnt passenger seat in                                                                                                                            tem on this seat.
                                                           per anchorage is behind the child restraint                Airbag system and ._,,page 292, Impor-
    exceptional drcu!llstances and the PASS EN·                                                                       tant information.                                  The capacitive passenger detection system regis~
                                                           and not next to or in front of the child re-
    GER AIR BAG OFF light does not come on                                                                                                                               ters the changes that result in an electrical field
                                                           straint so that the safety belt will be prop·
    and stay on, immediately Install the rear-
    facing child safety seat In a rear seating po-
                                                           erly positioned.                                      (D    Tip$                                              when a child, a child restraint, and a baby blanket
                                                       ,.. Always make sure that nothing prevents                 Always replace child restraints that were in·          are on the front passenger seat. The change in
    sition and have the airbag system inspected
                                                           the front passenger's seat from being                  stalled in a vehicle during a crash. Damage to         the measured capacitance due to the presence of
    immediately by your Audi dealer.                                                                                                                                     a child, a child restraint, and a baby blanket on
                                                           moved to the rearmost position in its fore             a child restraint that Is not visible could cause
I&
l""""C'""'"'"""'

           WARNII'lG
                                                           and aft adjustment range.
                                                       -Never place objects on the seat {such as a
                                                                                                                  it to fail in another collision situation.             the front passenger seat is related to the child
                                                                                                                                                                         restraint system resting on the se<Jt. The meas·
  -Forward-facing child safety seats installed             laptop, CD player, electronic games de·                                                                       ured capacitance of a child restraint system var-
      on the front passenger seat may interfere          vice, power inverter or seat heater for                                                                         ies depending on the type of system and specific
      with the deployment of the airbag and             child safety seats). These may influence                 Your vehicle is equipped with a front "Advanced         rnake and model.
      cause serious personal injury to the child.       the electrical capacitance measured by the               Airbag System" in compliance with United States         The electrical capacitance of the verious types,
  ,.. If exceptional circumstances require the use      capacitive passenger detection sy5tom and                Federal Motor Vehicle Safety Standard (FMVSS)           makes, and models of child restraints specified
      of a forward-facing child restraint on the        can illso fly around in an occident and                  208, as well as Canada Motor Vehicle Safety             by the U.S.National Highway Traffic Safety Ad-
      front passenger's seat, the child's safety        cause serious personal injury.                           Standard (CMVSS) 208 as applicable at the time          ministration (NHTSA) in the relevant safety
      and well-being require the following special     -Never place or use any electrical device                 your vehicle was manufactured.                          standard are stored in the Advanced Airbag Sys-
      precautions to be taken:                          (such as a Laptop, CD player, electronic
                                                                                                                 The Advanced Air bag system in your vehicle has         tem control unit together with the capacitances
      -Always make sure that the forward-facing         garncs device, power inverter or seat heat-                                                                      typical of infants and a 1-year old child. When a
                                                                                                                 been certified to meet the "low-risk" require-
        seat has been designed and certified by its     er for child safety seats) on the front pas·                                                                     child restraint is used on the front passenger
                                                                                                                 ments for 3- and 6-year old children on the pas-
        manufacturer for use on a front passenger       senger seat if the device is connected to                                                                        seat with a typicall year·old infant, the Ad·
                                                                                                                 senger side and small adults on the driver side.
        seat with a front and side airbag.              the 12-volt socket or the cigarette lighter                                                                      vanced Airbag System compares the capacitance
                                                                                                                 The low risk deployment criteria are intended to
      -Always carefully follow the manufacturer's       socket.                                                                                                          measured by the capacitive passenger detection
                                                                                                                 reduce the risk of injury through interaction with
        instructions provided with tl1e child safety   -If a seat heater has been retrofitted or                                                                         system with the data stored In the electronic con·
                                                                                                                 the air bag that can occur, for example, by being
        seat or infant carrier.                         otherwise added to the front passenger                                                                           trol unit.
                                                                                                                 too close to the steering wheel and instrument
      - Never install a child restraint without a       seat, never install any child restraint sys·
                                                                                                                 panel when the airbag inflates. In addition, the
        properly attached top tether strap if the        tem on this seat.
                                                                                                                 system has been certified to comply with the
        child restraint manufacturer's instructions    -Make sure that there are no wet objects                  "suppression" requirements of the Safety Stand-
        require the top tether strap to be used,         (such as a wet towel) and no Water or oth·              ard, to turn off the front airbag for infants up to
                                                         er liquids on the front passenger seat                  12 months who are restrained on the front pas-
                                                        cushion.                                           ll>


                                                                                                    293          294
